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                         IN THE UNITED STATES BANKRUPTCY COURT

                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                         CHARLOTTE DIVISION



In re:                                                                 Case No. 16-31602 (JCW)

KAISER GYPSUM COMPANY, INC., et al.,1                                            Chapter 11

                        Debtors.                                          (Jointly Administered)


     DECLARATION OF C. MARIE ECKERT IN SUPPORT OF DEBTORS’ RESPONSE
    TO GLACIER NORTHWEST INC.'S MOTION IN LIMINE TO EXCLUDE DEBTOR'S
    EXPERT WITNESS AND ALTERNATIVE CONDITIONAL MOTION IN LIMINE TO
      EXCLUDE PORTIONS OF GLACIER NORTHWEST INC.'S EXPERT WITNESS

                   I, C. Marie Eckert, declare as follows:

                   1.      I am an attorney with the law firm of Miller Nash Graham & Dunn LLP,

one of the counsel of record for the Debtors in this action. I have personal knowledge of the

following facts, and I am competent to testify.

                   2.      On June 11, 2020, I took the deposition of Philip Spadaro.

                   3.      Attached as Exhibit 1 to this declaration are excerpts from the transcript

and exhibits of Mr. Spadaro's deposition.

                   4.       Attached as Exhibit 2 to this declaration is copy of Mr. Bixby's Expert

Report on Behalf of Hanson Permanente Cement, Inc., dated May 20, 2020, exclusive of figures

and exhibits.

                   5.      Attached as Exhibit 3 to this declaration is a copy of the Expert Report by

TIG Environmental dated May 2020, which was Exhibit 5 to Mr. Spadaro’s deposition, exclusive

of references, tables, figures, and Appendix A.



1
 The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers
follow in parentheses): Kaiser Gypsum Company, Inc. (0188) and Hanson Permanente Cement, Inc. (7313). The
Debtors' address is 300 E. John Carpenter Freeway, Irving, Texas 75062.


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                   6.     Attached as Exhibit 4 to this declaration is a copy of Mr. Bixby’s Rebuttal

Expert Report dated June 3, 2020, exclusive of figures, tables, and other exhibits.

                   I certify under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Dated this 22nd day of June, 2020
                                              By: /s/ C. Marie Eckert
                                                  C. Marie Eckert




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                                CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing Declaration of C. Marie Eckert in Support
of Debtors' Response to Glacier Northwest Inc.'s Motion In Limine to Exclude Debtor's Expert
Witness and Alternative Conditional Motion In Limine to Exclude Portions of Glacier Northwest
Inc.'s Expert Witness has been served upon the following counsel of record by e-mail, addressed
to the following as shown below:

                              Amit Ranade
                              Hillis Clark Martin & Peterson P.S.
                              1001 4th Avenue
                              Seattle, Washington 98154
                              Phone: (206) 623-7580
                              Fax: (206) 206-623-7789
                              Email: Amit.Ranade@hcmp.com

Dated this 22nd day of June, 2020.


                                             /s/ C. Marie Eckert
                                             C. Marie Eckert, P.C.
                                             Miller Nash Graham & Dunn LLP
                                             3400 U.S. Bancorp Tower
                                             111 S.W. Fifth Avenue
                                             Portland, Oregon 97204

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                Deposition of Phillip Spadaro

        Kaiser Gypsum Company, Inc., et al.

                              June 11, 2020




                      206.287.9066 l 800.846.6989
                1325 Fourth Avenue, Suite 1840, Seattle, Washington 98101
                                www.buellrealtime.com
                              email: info@buellrealtime.com




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                UNITED STATES BANKRUPTCY COURT
               WESTERN DISTRICT OF NORTH CAROLINA
                  CHARLOTTE DIVISION
         ______________________________________________________
         In Re:              ) Chapter 11
                          )
         KAISER GYPSUM COMPANY, INC., ) CASE NO.
         et al.,            ) 16‐31602 (JCW)
                          )
                 debtors.      )

         ______________________________________________________

           VIDEOCONFERENCE DEPOSITION UPON ORAL EXAMINATION
                        OF
                  PHILLIP SPADARO
         ______________________________________________________




                  Taken in Seattle, Washington
           (ALL PARTICIPANTS APPEARING VIA VIDEOCONFERENCE)




         DATE TAKEN: June 11, 2020
         REPORTED BY: Nancy M. Kottenstette, RPR, CCR 3377




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   1                 APPEARANCES
   2     FOR GLACIER NORTHWEST:
   3       Amit D. Ranade, Esq.
           HILLIS CLARK MARTIN & PETERSON
   4       999 Third Avenue
           Suite 4600
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           206.623.1745
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   8       1809 Seventh Avenue
           Suite 1400
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 10        howard@verislawgroup.com
 11      FOR HANSON PERMANENTE CEMENT:
 12        C. Marie Eckert, Esq.
           MILLER NASH GRAHAM & DUNN
 13        3400 U.S. Bancorp Tower
           111 Southwest Fifth Avenue
 14        Portland, OR 97204
           503.205.2477
 15        marie.eckert@millernash.com
 16      ALSO PRESENT:
 17         Deborah Murphey, Glacier in‐house counsel
            Pete Stoltz, Glacier government affairs manager
 18         Charles McChesney, Hanson in‐house counsel
            Sabine Datum, TIG Environmental
 19         Ryan Bixby, Sound Earth Strategies
 20
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   1     deviate from any of those figures in the RI,
   2     Exhibit 3?
   3       A No. We didn't intentionally deviate from
   4     them. We had to make our own surface area
   5     measurements because the exact surface areas weren't
   6     provided. So we gave those figures to our GIS
   7     department and had them digitize the operational
   8     areas, and we used the numbers resulting from that
   9     process.
 10        Q I will come back to that in a little bit.
 11          And then the final one is the exacerbation
 12      factor, which we will talk more about. Would you
 13      agree that determining an exacerbation factor is a
 14      subjective determination?
 15        A Not entirely, no. There's perhaps a little
 16      bit more subjectivity than some of these other easily
 17      obtained metrics, but I would not say that it's
 18      entirely subjective, no.
 19        Q Would you agree that it has a subjective
 20      component that would be different from, say, metric
 21      one, the origin of contaminants of concern; correct?
 22        A Yes. I would agree to that, yes.
 23        Q With respect to the algorithm that you used,
 24      there were ‐‐ the steps are outlined in your report,
 25      and at the end of Step 5, the results of the algorithm

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   1     talked about, and that is with Reichhold and Carlisle
   2     and the prior construction activities.
   3         Now, why did you not ‐‐ did TIG not assign any
   4     exacerbation factor related to either of those prior
   5     two construction activities, for lack of a better
   6     word?
   7       A Yeah. The answer is fundamentally the same as
   8     what I said a little bit earlier, that we saw those.
   9     We understand that, certainly, there would have had to
 10      have been some activities, but we deemed them very
 11      small as to be de minimis.
 12        Q Okay. You think plant construction and
 13      drainage ditches and all those things combined can be
 14      de minimis?
 15        A Yes.
 16        Q Okay. And, well, going back to Hanson, so the
 17      amount of soil that was removed or redistributed, if
 18      any, by Hanson, is unknown; correct?
 19        A There's no precise measurement of it, and if
 20      you mean unknown in that respect, yes. There is
 21      considerable documentation and the ability to infer
 22      that it was very large, and the air photo evidence
 23      suggests there's quite a bit of soil movement during
 24      construction of the facility. And the facility
 25      itself, being the type it is, suggests that much

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   1     deeper foundations, much more substantial soil
   2     excavations would have to have been performed.
   3       Q I understand. And just to be clear on my
   4     prior question, I'm reading from your report at
   5     page 11. It says: However, bottom of the page 11,
   6     excuse me, the total amount of soil removed and/or
   7     redistributed during the removal of the facilities,
   8     including building foundations, is unknown. And then
   9     you have a citation there to ERM. So I assume that
 10      came from the RI report we discussed?
 11        A Correct.
 12        Q Shifting gears a little bit, Glacier bought
 13      the property in 1991. Did Glacier conduct any
 14      environmental investigations prior to purchasing the
 15      property?
 16        A I'm not aware of any, no.
 17        Q And would it have been a common or uncommon
 18      practice in 1991 to conduct an environmental
 19      investigation prior to leasing or purchasing property?
 20        A You know, that was a very transitional time,
 21      and I say the industry and the industrial real estate
 22      industry was in flux. There was no consensus,
 23      certainly no requirement, for such things as there is
 24      now. So I think it would have been something quite
 25      optional.

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   1         In Step 6 of the algorithm, you assigned an
   2     exacerbation factor to 15 percent, which took Hanson
   3     from 1.26 percent to 14.88 percent. And if you would
   4     like to look ‐‐ find that reference, I've got page 24
   5     of your expert report talks about that reassignment to
   6     Hanson of 15 percent of the liability of prior owners.
   7         So I'll let you get there if you need to. And
   8     then my question is: Is that correct, that Step 6
   9     resulted in the application of an exacerbation factor
 10      that increased Hanson's share to just below
 11      15 percent?
 12        A Yeah. That's a correct representation of our
 13      report.
 14        Q And I asked you earlier about whether that was
 15      a subjective determination, and I think you recognized
 16      that there was some subjective component. I mean,
 17      there is no data to support that ‐‐ the magnitude of
 18      that factor, no specific facts; correct?
 19        A I wouldn't ‐‐ I wouldn't agree with you on
 20      that point, no. I would say that it's less
 21      quantitative than the other metrics that we were able
 22      to apply. But it's not arbitrary, and it's not
 23      entirely subjective.
 24          We looked at all of the evidence of the aerial
 25      photos, of what was detected where at the site, and

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   1     what elevation, what lateral extent, and, you know,
   2     our first approach was just to make kind of a coarse
   3     aerial extent change measurement. And we came up with
   4     a quite high number, something on the order of
   5     45 percent change due to those redevelopment
   6     activities.
   7          We thought that 45 percent was really far too
   8     high an exacerbation factor to apply under these
   9     circumstances, but it was based on our careful
 10      consideration of the evidence and, therefore, not just
 11      arbitrary or random. We further looked at changes
 12      that were made in volume, and by volume I mean we made
 13      some back calculations of what volumes of soil might
 14      have been moved due to different activities. And we
 15      arrived at something around 26 percent of soil volume
 16      might have been moved. Again, we thought that was too
 17      high.
 18           So I will acknowledge that there is
 19      subjectivity to it, but the subjectivity that we
 20      applied was after very careful thought, very diligent
 21      inspection of the evidence and of what might have been
 22      considered just in sort of a coarse way of looking at
 23      it. In finding those factors to be too high, we
 24      applied 15 percent in judgment that was reasonable.
 25      It was a reasonable place to arrive for an

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   1     exacerbation factor in this case.
   2       Q Your judgment, again, was based on an
   3     assumption that Hanson knowingly moved contaminated
   4     material. If you were to assume that Hanson did not
   5     know that it was moving contaminated material or
   6     increasing contaminations, what would the impact be on
   7     the exacerbation factor?
   8       A I don't have an answer for you. That ‐‐ I
   9     appreciate your question very much, but it requires
 10      careful thought, not speculation. So I don't know.
 11          And Amit is preparing to say something so I'll
 12      shut up.
 13                 MR. RANADE: The timing and the format
 14      is sometimes unfortunate.
 15                 THE WITNESS: I try to keep my eye on
 16      you for objections. I apologize. I have to look at
 17      so many different things. It's quite hard.
 18                 MR. RANADE: The Brady Bunch screen;
 19      right?
 20          I wanted to ‐‐ I have an objection to that
 21      question. I think it's misstating the prior
 22      testimony. I don't recall Mr. Spadaro saying that
 23      knowledge was a relevant factor here, but given the
 24      passage of time, you may want to restate your question
 25      so he can answer it. He can certainly answer it.

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   1     share to Hanson up to 14.88 percent. And then we come
   2     to Step 7 of the algorithm. In Step 7 of the
   3     algorithm, TIG reallocates liability only to Glacier,
   4     Hanson, and Reichhold.
   5         Were you told to assume that the costs should
   6     only be allocated between these three parties?
   7       A This is part of my understanding of the
   8     problem statement for our work. I wasn't told to do
   9     this, but, you know, from the very beginning and
 10      understanding the case we're dealing with, it made
 11      sense to me that ultimately our work, TIG's work, my
 12      opinion would have to provide useful answers in the
 13      context of this case where there are only those three
 14      parties ‐‐ I realize, of course, Reichhold isn't
 15      present, but the three parties in the mix, so to
 16      speak. So from the very beginning, it was my
 17      intention to come to this step.
 18        Q Well, did you consider that all of the costs
 19      did not need to be allocated in this proceeding
 20      because all the parties are not present?
 21        A Well, I acknowledged that that is a potential
 22      outcome, but, no, I didn't include that in our
 23      thoughts. Perhaps just in my effort to really account
 24      for all the monies at play, I assumed from the get‐go
 25      that we're dealing with the cost of investigation here

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   1     that piece of the liability to the parties that I feel
   2     are here. So, you know, I didn't ‐‐ I don't feel like
   3     I did anything unfair with that.
   4       Q So when I asked if you had done a similar sort
   5     of allocation, you said yes. I should have made the
   6     question clearer. I understand that happens,
   7     obviously, when you get orphan shares.
   8         Have you ever done a reallocation like
   9     happened here in Step 7 of the algorithm when you knew
 10      that there were other viable parties that are out
 11      there and available to be sued?
 12        A You know, sometimes ‐‐ I can think of a couple
 13      cases where we have done that as a way of reaching a
 14      consensus where one or more parties was just deemed to
 15      be not relevant to the discussion. I'm thinking of
 16      some of the work I've done in other places, yeah,
 17      where there were parties that could have been pursued
 18      had ‐‐ it's not up to me, of course, whether to decide
 19      to pursue someone or not pursue someone for cost
 20      recovery.
 21          But there are instances that I can think of
 22      where there could have been others to pursue and
 23      parties simply chose not to do so and to absorb those
 24      shares in a consensus fashion. I don't think it's
 25      unique, and perhaps I don't think it's highly unusual

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   1     to take this approach.
   2       Q You just referred to reallocating shares in a
   3     consensus fashion. That would not be applicable in
   4     this case; right?
   5       A Being an adversarial procedure, no, I guess
   6     not.
   7       Q And you ‐‐ well, we've established that you
   8     haven't been involved in a proof of claim proceeding,
   9     so let me ask a related but slightly different
 10      question.
 11             As a result of this reallocation in Step 7 of
 12      the algorithm, you've got Glacier has 3.52 percent,
 13      Reichhold has 58.94 percent, and Hanson at
 14      37.54 percent. Now, the dollar amount attributable to
 15      Hanson as a result is $3,230,597 and some change. I'm
 16      taking this out of your report. Are you aware that
 17      that is more than Glacier has paid for environmental
 18      cleanup costs?
 19        A No. I didn't do that math that you're
 20      describing right there to measure that up against what
 21      parties have paid, no. You know, I suppose I'll take
 22      your word for it. You've obviously done that math.
 23        Q Well, I'll tell you that I will represent to
 24      you that Glacier has represented to Hanson in the
 25      course of this proceeding that they incurred a little

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   1     over $3 million in costs, 3,008,000 and some change.
   2     So this recovery would be more than Glacier has paid.
   3         Have you ever done an allocation where the
   4     result was that your client gets back more than
   5     they've paid in cleanup costs?
   6             MR. RANADE: I'm going to object to
   7     that question. I think it's assuming some facts that
   8     maybe haven't been established. I think it's implying
   9     statements that are not necessarily true, but go ahead
 10      and answer the question.
 11        A Yeah. I'm thinking back, you know, scrolling
 12      back through memories. I can't think of a case that
 13      has an example like that, no, Ms. Eckert.
 14        Q If you are able in a proceeding like this to
 15      recover all or more than Glacier has paid, in your
 16      view could Glacier then go after other parties and
 17      have similar recoveries based on allocation just among
 18      the parties through a different proceeding?
 19        A I think that is more of a legal question as to
 20      what parties can do in cost recovery. I may not be
 21      the best person to address that.
 22        Q Fair enough. You're probably right.
 23          Have you ever had a court award your client
 24      more than they have paid in costs?
 25        A No, I have not.

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   1              CERTIFICATE
   2
   3     STATE OF WASHINGTON
   4     COUNTY OF KING
   5
   6           I, Nancy M. Kottenstette, a Certified
   7     Shorthand Reporter in and for the State of Washington,
   8     do hereby certify that the foregoing transcript of the
   9     deposition of Phillip Spadaro, having been duly sworn,
 10      on June 11, 2020, is true and accurate to the best of
 11      my knowledge, skill, and ability.
 12          I do further certify that I am a disinterested
 13      person in this cause of action; that I am not a
 14      relative of the attorneys for any of the parties.
 15            IN WITNESS WHEREOF, I have hereunto set my
 16      hand and seal this 12th day of June, 2020.
 17
 18
 19            ____________________________________
               Nancy M. Kottenstette, RPR, CCR 3377
 20
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                                                                   Confidential Mediation Communication




May 20, 2020


Mr. Jeff Miller
Miller Nash Graham & Dunn LLP
500 Broadway Street, Suite 400
Vancouver, Washington 98660

SUBJECT:       EXPERT REPORT ON BEHALF OF HANSON PERMANENTE CEMENT, INC.
               Westside Property
               5900 West Marginal Way Southwest, Seattle, Washington
               Project Number: 1290‐001

Dear Mr. Miller:

I am pleased to provide Hanson Permanente Cement, Inc. (Hanson; formerly known as Kaiser Cement
Corporation) with this expert report detailing my findings and opinions regarding the potential liability of
Hanson and other parties with respect to the environmental impacts at the Westside Property, located at
5900 West Marginal Way Southwest (the Property).

This report is prepared on behalf of Hanson and addresses Hanson’s potential contribution to the impacts
present at the Property. My understanding is that Hanson is engaged in a claim objection resolution
process that will include mediation with the current owner of the Property, Glacier Northwest, Inc.
(Glacier), and that claim objection process that is intended to resolve a dispute over liability for past
remedial costs at the Property.

The report focuses on potential contributions of chemicals of potential concern (COPCs) from past
activities and operations on the Property. It is intended to assist in the allocation process by summarizing
the vast quantity of information regarding the historical activities and operations and by providing my
opinion regarding the nature and extent of impacts at the Property and the assignment of liability for
those impacts.

I am a Washington State‐licensed geologist and an environmental professional, as defined in the American
Society for Testing and Materials International’s Standard E1527‐13, Standard Practice for Environmental
Site Assessments: Phase I Environmental Site Assessment Process. I have practiced as an environmental
consultant in the Puget Sound region since 1998 and have been employed by SoundEarth Strategies, Inc.
(SoundEarth) since 2005. I have served as a Principal with SoundEarth since 2009. As indicated on my
résumé (Attachment A), I have personally performed more than 500 Phase I Environmental Site
Assessments (ESAs) of properties throughout the Puget Sound region, and have performed senior review
of more than 1,000 Phase I ESAs that have been prepared by other SoundEarth staff. These Phase I ESAs
have included a review of the historical and current operations performed on and proximal to a wide
variety of industrial and commercial properties for the purpose of evaluating the potential risk of impacts



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from those operations. In addition, I have overseen the investigation of hundreds of properties with
known or suspected impacts to soil, groundwater, and soil vapor, as well as the investigation and
remediation of sites with known or suspected sediment impacts, including several industrial properties
along the Lower Duwamish Waterway.

I have been retained as an expert witness for more than a dozen projects involving cost recovery and cost
allocation under the Washington State Model Toxics Control Act and Comprehensive Environmental
Response, Compensation, and Liability Act. However, none of these cases have proceeded to trial or
required me to be deposed within the last 4 years, and I have not authored any publications in the last 10
years. My standard billing rate, which was used in the preparation of this expert report on behalf of
Hanson, is $300 per hour. My expert witness billing rate during testimony is $450 per hour.

Respectfully,
SoundEarth Strategies, Inc.



Ryan K. Bixby, LG
Managing Principal

Attachment:                     A, Résumé

cc:         Charles McChesney, Three Rivers Management, Inc.

RKB:dnm




SoundEarth Strategies, Inc.                                                                                                                                         Page | 2
P:\1290 Kaiser Gypsum Company, Inc\1290‐001 Former Kaiser_Hanson Property\Deliverables\2020 Expert Report\Main Text\1290‐001_Cover_Letter_F.docx


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                                                                   Mr. Bixby has over 22 years of experience completing hundreds of Phase I
                                                                   and Phase II Environmental Site Assessments and directing numerous
                                                                   remediation projects to evaluate the sources and extent of contamination
                                                                   associated with current and historical land uses. He has completed
                                                                   remedial investigations and feasibility studies on dozens of sites, working
                                                                   with regulatory agencies to receive site closure through the Voluntary
   Ryan K. Bixby, LG                                               Cleanup Program and Ecology’s formal programs. He has provided
                                                                   litigation support to assign and direct cost recovery efforts under the
   Managing Principal                                              Washington State Model Toxics Control Act.


  PROJECT EXAMPLES
Jorgensen Forge Corporation (JFC), Washington. Served as the Principal‐in‐charge                       EXPERIENCE AND KNOWLEDGE
for the investigation and remediation of the JFC property, a roughly 20‐acre property                   Personally completed over 500 Phase
located on the eastern bank of the Lower Duwamish Waterway. Operations at the                            I Environmental Site Assessments
facility have included metal melting, forging, heat‐treating, galvanizing, machining, and                (ESAs) on residential, commercial,
                                                                                                         and heavy industrial properties and
distribution. Impacts encountered at the JFC property include those from
                                                                                                         performed senior review of more
polychlorinated biphenyls, chlorinated solvents, petroleum hydrocarbons, metals, and
                                                                                                         than 1,000 Phase I ESAs completed
polycyclic aromatic hydrocarbons (PAHs). As part of the remediation efforts associated                   by other staff.
with the Lower Duwamish Waterway, contaminated sediments and associated bank
                                                                                                        Managed 2 large petroleum
materials along the JFC property have been investigated, dredged, and removed as part                    programs consisting of more than 60
of an Early Action Area under an Administrative Settlement Agreement and Order on                        sites and 3 former bulk fuel facilities.
Consent for Removal Action Implementation issued by the U.S. Environmental
                                                                                                        Oversaw the implementation of
Protection Agency. SoundEarth’s activities at the JFC property have also included the                    petroleum remediation systems of
operation, maintenance, and optimization of a stormwater treatment system that is                        various types at 16 sites.
intended to minimize the concentration of chemicals of concern to the stormwater                        Conducted numerous Phase II
outfalls that discharge to the Duwamish River.                                                           subsurface soil and groundwater
Perine Property, Seattle, Washington. Principal‐in‐charge for the investigation, remediation,            investigations on properties, such as
and cost recovery efforts associated with an industrial property that was adversely                      retail gasoline stations, automotive
impacted by an adjacent, upgradient plating facility. Oversaw Phase I and Phase II                       service centers, dry cleaning facilities,
                                                                                                         abandoned landfills, shipyards, bulk
Environmental Site Assessments, which demonstrated that chlorinated solvents,
                                                                                                         fuel facilities, and other industrial
including PCE, had migrated beneath the Perine property via groundwater and soil                         sites.
vapor. Assisted the client’s counsel in demonstrating that the impacts originated from
                                                                                                        Prepared and oversaw Remedial
the adjacent property, and facilitated cost recovery efforts against the adjacent                        Investigations (RIs), Feasibility
property owner and its insurers. Oversaw the design and installation of a vapor                          Studies (FSs)/Disproportionate Cost
intrusion mitigation system to prevent exposure to workers within the Perine property                    Analyses, Cleanup Action Reports,
building. Currently monitoring the effectiveness of a cleanup action plan to address the                 and Closure Reports.
impacts beneath the Perine property.                                                                    Identified potentially liable persons
Duwamish Marine Center Remediation, Lower Duwamish Waterway, Seattle, Washington. Principal‐in‐          and established cost allocation via
charge for an RI under an Agreed Order with Ecology to assess the nature and extent of                   forensic analyses.
contamination in soil, groundwater, air, stormwater, and sediments at a property                       EDUCATION
located adjacent to the Lower Duwamish Waterway.                                                       BA in Geology, Whitman College, Walla
Seattle Parks and Recreation Bryant Building, Portage Bay, Seattle, Washington. Principal‐in‐charge    Walla, WA, Minor in Anthropology
for the Phase I and II ESAs, hazardous material survey, and sediment sampling of a                     Graduate School, University of
property located on Portage Bay. Delineated impacts from petroleum hydrocarbons,                       Montana
PAHs, metals, and volatile organic compounds. Directed sediment sampling and
stormwater outfall investigations and assisted Seattle Parks and Recreation with future                LICENSES AND CERTIFICATIONS
planning efforts. Provided a remedial cost estimate and remedial plan that aided in                     Washington State Licensed
future planning efforts and negotiations with project stakeholders, and facilitated                      Professional Geologist #1691
discussion on capitol cost budgeting.                                                                   HAZWOPER—40‐hour OSHA
Seattle Parks and Recreation Due Diligence Program, City of Seattle, Seattle, Washington. Managed
the due diligence program between 2005 and 2008 before taking over the Principal
review responsibilities in 2008. Provided reporting and guidance for environmental due
diligence associated with potential property acquisitions by the City of Seattle Parks and
Recreation Department (SPR). Participated in the development of over 50 Phase I ESAs
and additional investigations and hazardous material surveys to aid in the purchase and
rehabilitation of SPR properties into open space and other park facilities.

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                                                                                                                  RYAN K. BIXBY, LG
                                                                                                                       MANAGING PRINCIPAL

Hungry Whale Gasoline Station, Port of Grays Harbor, Grays Harbor, Washington. Oversaw the completion of the RI phase of the Agreed Order
for this project and worked with the Port of Grays Harbor toward completion of their remaining obligations. The Hungry Whale
is an operational retail gasoline station with confirmed impacts to the subsurface from leaking underground storage tanks (USTs).
The Port of Grays Harbor currently owns the property on which the gasoline station operates and entered into an Agreed Order
with Ecology to conduct the RI and FS, and to prepare a cleanup action plan.
Washington State Department of Transportation, Washington. Performed Principal review on eight Phase I ESAs of properties located
adjacent to the Alaskan Way viaduct in preparation for condemnation and property acquisition associated with the SR 99 bored
tunnel. The due diligence efforts were performed in an effort to identify potential releases that may be encountered in the
course of the planned excavation effort as well as assignment of liability.
Trammell Crow Residential, Washington. Performed due diligence on several multiparcel properties that have historically been occupied
by dry cleaning facilities and/or retail gasoline stations. The due diligence efforts included Phase I ESAs and subsurface
investigations, the results of which allowed the client to make informed decisions regarding the value and liabilities associated
with the properties.
Goodman Real Estate. Performed principal review of numerous Phase I ESAs for properties that were owned or being considered for
purchase by Goodman Real Estate, including commercial, residential, and industrial properties. The client‐imposed schedules
frequently required that the due diligence efforts be completed in less than 2 weeks in order to allow the transaction to proceed.
KeyBank Due Diligence, KeyBank, Washington. Managed numerous Phase I and II ESAs conducted for KeyBank in conjunction with
lending activities. Completed more than a dozen reports for a variety of client and property types.
Due Diligence and Environmental Site Assessments. Completed more than 500 Phase I ESAs on residential, commercial, and heavy
industrial properties throughout the Pacific Northwest, California, and Colorado. Conducted numerous Phase II subsurface soil
and groundwater investigations, including direct‐push technology, sonic rig, hollow‐stem auger, and test pit excavation on
properties, such as current and former retail gasoline stations and automotive service centers, dry cleaning facilities, abandoned
landfills, shipyards, and bulk fuel facilities. Oversaw more than 50 soil and groundwater remediation projects, many of which were
involved in Agreed Orders or the Voluntary Cleanup Program and which subsequently resulted in No Further Action (NFA)
determinations from the regulatory agency.
Expert Witness and General Litigation Support. Retained as the Expert Witness or Consulting Witness on more than a dozen projects.
Cases ranged in complexity from commingled plumes of heating oil beneath residential properties, to widespread impacts of a
former dry cleaning property and adjoining rights‐of‐way. Required an understanding of the spatial and temporal distribution of
impacts and the forensic analytical results to assist in the pursuit of cost recovery and cost allocation. Also required the
preparation of figures and other exhibits that were intended to be introduced in court on behalf of our client. Individual
settlements associated with the cases on which Mr. Bixby has worked have exceeded $1,000,000.
TOC Holdings Co. Petroleum Program, TOC Holdings Co., Washington and Oregon. Responsible for the program management and oversight of
the TOC Holdings Co. retail petroleum program between 2005 and 2018, which included more than 60 facilities. Oversaw the
completion of field activities, including groundwater monitoring, operation and maintenance visits, and UST removal and
excavation activities; coordinated the preparation of Phase I and Phase II ESAs, RIs, FSs, and corrective action plans/reports; and
ensured the proper design and installation of remedial systems. Also responsible for the development of proposals, client
management, and communications with local, state, and federal regulatory agencies. In 2008, TOC Holdings Co. adopted an
aggressive 7‐year plan to obtain closure for all of its facilities. Mr. Bixby worked with Oregon Department of Environmental
Quality and Ecology to achieve NFA determinations at more than a dozen of the facilities, and others were prepared for successful
property transactions.
North Colfax Petroleum Contamination Site, Colfax, Washington. Principal‐in‐Charge for the RI and FS that are being performed under an
Agreed Order with Ecology. This multiple‐potentially‐liable‐persons site has been impacted by releases from retail gasoline
stations that have operated on three separate properties. The impacts from the site extend beneath adjoining rights‐of‐way and
a railroad spur.
Tesoro Petroleum Program, Tesoro Refining and Marketing Company, Washington and Idaho. Managed the investigation, monitoring, and
remediation of numerous current and former retail gasoline stations for the Tesoro Petroleum Program between 2005 and 2019.
In addition to retail gasoline stations, the program included a former bulk fuel facility in Mount Vernon, Washington, that was
discovered in the course of an RI at the adjacent operational gasoline station.


                                                                                                              SOUNDEARTH STRATEGIES   2

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   EXPERT REPORT ON BEHALF OF HANSON PERMANENTE
   CEMENT, INC.




   Property:                                  Prepared for:
   Westside Property                          Miller Nash Graham & Dunn LLP
   5900 West Marginal Way Southwest           500 Broadway Street, Suite 400
   Seattle, Washington 98106                  Vancouver, Washington

   Report Date:
   May 20, 2020

   CONFIDENTIAL MEDIATION COMMUNICATION
   CONFIDENTIAL UNDER APRIL 19, 2018 AGREED
   PROTECTIVE ORDER (DKT. 901)




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                                      ACRONYMS AND ABBREVIATIONS

Ash Grove              Ash Grove Cement West, Inc.

AST                    aboveground storage tank

bgs                    below ground surface

CERCLA                 Comprehensive Environmental Response, Compensation, and Liability Act

Carlisle               Carlisle Lumber Company

COPC                   contaminant of potential concern

Crown Zellerbach Crown Zellerbach Corporation

CWS                    Chemical Warfare Service

D/Fs                   dioxins/furans

DRPH                   diesel‐range petroleum hydrocarbons

DSI                    Duwamish Shipyards, Inc.

Ecology                Washington State Department of Ecology

ERM                    ERM‐West Inc.

ERM RI                 DRAFT Remedial Investigation/Feasibility Study Report—Volume 1, dated January 24,
                       2020, prepared by ERM‐West, Inc.

FS                     feasibility study

Glacier                Glacier Northwest, Inc.

Hanson                 Hanson Permanente Cement, Inc.

Kaiser                 Kaiser Cement Corporation

LDW                    Lower Duwamish Waterway

LDWG                   Lower Duwamish Waterway Group

LSI                    Lone Star Industries, Inc.

Mineralized Cell       Mineralized Cell Wood Preserving Company

PAH                    polycyclic aromatic hydrocarbon

PCB                    polychlorinated biphenyl


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                               ACRONYMS AND ABBREVIATIONS (CONTINUED)

PCP                    pentachlorophenol

pH                     power of hydrogen

Port                   the Port of Seattle

the Property           the uplands portion of the Westside Property located at 5900 West Marginal Way
                       Southwest in Seattle, Washington; King County Parcel Number 192404‐9029

Reichhold              Reichhold Chemical

RI                     remedial investigation

SL                     screening level

SoundEarth             SoundEarth Strategies, Inc.

SPU                    Seattle Public Utilities

T115                   Terminal 115

TEQ                    toxicity equivalency quotient

U.S.                   United States

USEPA                  United States Environmental Protection Agency




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                                              Report on Behalf of Hanson Permanente Cement, Inc.


1.0      INTRODUCTION

SoundEarth Strategies, Inc. was commissioned by Hanson Permanente Cement, Inc. (formerly known as
Kaiser Cement Corporation [Kaiser]; hereinafter referred to as Hanson) to produce an expert report
regarding Hanson’s potential liability for the contamination present at the uplands portion of the Westside
Property (the Property) located at 5900 West Marginal Way Southwest in Seattle, Washington (King
County Parcel Number 192404‐9029; Figure 1).

2.0      BACKGROUND

As documented in the DRAFT Remedial Investigation/Feasibility Study Report—Volume 1, dated January
24, 2020, prepared by ERM‐West, Inc. (ERM; the ERM RI; GLACIER06561), the Property is situated along
the western shore of the Lower Duwamish Waterway (LDW) and covers a total of approximately 18 acres.
The uplands portion of the Property covers approximately 13.68 acres of the land, and approximately 4.19
acres of the Property is submerged, forming an embayment referred to as Glacier Bay. (GLACIER06561, at
GLACIER06575) The focus of this expert report is on the uplands portion of the Property, as the
investigation and remediation of the aquatic portion of the Property is being addressed as part of the
Lower Duwamish Waterway (LDW) CERCLA Remedial Design/Remedial Action process.

The Property is occupied by a cement storage and distribution terminal that was constructed by Hanson
in the 1960s and is currently owned and operated by Glacier Northwest, Inc. (Glacier). (GLACIER06561, at
GLACIER06575)

2.1      OWNERSHIP HISTORY
Sometime between 1913 and 1922, the Port of Seattle (Port) filled a large portion of the Property with
material dredged from the east‐adjacent LDW. (GLACIER06561, at GLACIER06578) The aquatic portion of
the Property was owned by the Port between approximately 1911 and 1973. (GLACIER06561, at
GLACIER06578‐79) King County purchased the upland portion of the Property in 1918 and owned it until
1943. The uplands portion of the Property was briefly owned by Henri Carlisle between April and July of
1943, when it was purchased by the U.S. Government, which owned the uplands portions of the Property
until it was sold to the Port in 1964; at that time, the Port owned both the uplands and aquatic portions
of the Property. Kaiser (Hanson) purchased the entire Property in 1973 and sold it to Lone Star Industries,
Inc. (LSI) in April 1987, which transferred it to Lone Star Northwest, GP in December of that same year.
Onoda Northwest purchased the entire Property in April 1991, transferring it to Lone Star later that
month. Glacier purchased the entire Property in April 1991 and has owned it since that time.
(GLACIER06561, at GLACIER06578)

2.2      PRE‐HANSON HISTORY OF OPERATIONS AND IMPROVEMENTS
Several industrial operations that resulted in widespread contamination to soil, groundwater, and
sediments operated on the Property prior to Hanson’s first involvement with the Property in 1965.

         2.2.1     Mineralized Cell
         Between 1936 and 1939, Mineralized Cell Wood Preserving Company (Mineralized Cell) leased
         the Property from King County to operate a wood treatment facility. Mineralized Cell’s operations
         included the introduction of a solution containing arsenic, copper sulfate, zinc sulfate, and other
         chemicals into logs stored on the southern portion of the Property. Untreated logs were delivered


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         to the Property via the LDW. As depicted on the 1936 aerial photo included on Figure 2,
         Mineralized Cell’s operations covered much of the Property, and included a dock that was situated
         on the northeastern portion of the Property and small structures on the southern portion of the
         Property that were used for the storage and application of the arsenical solution. The solution
         was reportedly introduced to one freshly cut end of a log until such time as the solution emerged
         from the other end of the log and dripped directly onto the ground, which would have resulted in
         significant contamination of soil and groundwater. (GLACIER06561, at GLACIER06581‐82)
         Photographs and descriptions of the wood preservation operation show leaks, spills, and direct
         discharge of wood treatment chemicals in the former wood preservation area on the southern
         portion of the Property. (GLACIER06561, at GLACIER06649) As evidenced by a 1937 photo,
         housekeeping practices employed by Mineralized Cell were very poor, with piles of potentially
         contaminated wood waste and the equipment used in the chemical injection process strewn
         about the Property (Appendix A). (GNW_00027958, at GNW_00027959) Vehicle access roads are
         visible entering the Property from two locations along the western Property boundary, as well as
         extending from the northeastern portion of the Property onto the north‐adjacent property.
         Contaminated soil from Mineralized Cell’s operations would have been tracked along these access
         roads, further distributing the contamination to other portions of the Property.
         Although additional records regarding Mineralized Cell’s operations on the Property were not
         available, its waste handling practices at a facility located on the east side of the LDW were
         described in a 1945 report, which indicated that the chemical storage tanks used by Mineralized
         Cell at that location were washed twice daily, with the sludge and remaining chemicals draining
         directly onto the ground. Fuel oil supply tanks reportedly overflowed during filling events, with
         the oil discharging directly to the ground. (B‐DUW‐2157514, at B_DUW‐2157524‐25) It is
         reasonable to conclude that similar operational practices were employed by Mineralized Cell at
         its facility on the Property.
         There is no record of a stormwater system in operation during Mineralized Cell’s period of
         operations, and it appears that stormwater either percolated into the ground, where it would
         have resulted in significant impacts to groundwater and deeper soil, or flowed overland to the
         east before discharging to the LDW.
         Based on the operational practices evident in photos taken of its facility, Mineralized Cell’s
         operations would have resulted in widespread impacts to soil and groundwater beneath the
         uplands portions of the Property by arsenic, copper, and zinc, with the highest concentrations
         situated on the southern portion of the Property where the log treatment activities and chemical
         storage occurred. Surficial releases of the arsenical solution at the Property would have infiltrated
         the soil and, due to arsenic’s high solubility, resulted in impacts to groundwater, which then would
         have migrated to the south and east via groundwater flow to other downgradient areas of the
         Property. These impacts would have also migrated via the overland flow of surface water that
         came into contact with the arsenical solution, as well as being transported via vehicle traffic along
         the access roads that are visible in the 1936 aerial photo and the loading dock where treated logs
         were likely transported.
         2.2.2     Whetlerite Manufacturing
         In 1940, the U.S. Government awarded a contract to the Carlisle Lumber Company (Carlisle) to
         construct a charcoal and Whetlerite manufacturing and testing facility on the Property.
         (GLACIER06561, at GLACIER06582‐83) Information regarding the volume of soil that may have
         been excavated in the course of the facility’s construction or the location where the excavated


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         soil may have been disposed of is not available. Construction was reportedly completed in 1942
         and Carlisle operated the facility between August 1942 and February 1943, when the contract was
         transferred to Crown Zellerbach Corporation (Crown Zellerbach), which operated the facility from
         February 1943 to November 1944. Throughout this period, the Chemical Warfare Service (CWS),
         as the agent for the U.S. Government, performed chemical testing of the Whetlerite.
         (GLACIER06561, at GLACIER06582)
         Operations at the facility included the manufacturing and testing of Whetlerite, a product made
         from activated carbon that is impregnated with copper, silver, or chromium for use in gas masks.
         (GLACIER06561, at GLACIER06582; KC_00528488, at KC_00528507; FED0003835, at FED0003836;
         FED0003342, at FED0003345) At peak capacity, the plant produced five tons of charcoal and two‐
         and‐a‐half tons of Whetlerite per day. (GLACIER06561, at GLACIER06582) Before ceasing
         operations in November 1944, the United States Army and its contractors produced 5.2 million
         pounds of charcoal and 2.6 million pounds of Whetlerite at the plant. (GNW_00028368, at
         GNW_00028407)
         The Whetlerite facility’s production areas, laboratories, warehouses, offices, chemical storage
         tanks, transformers, underground storage tanks, a septic tank, and railroad spurs were situated
         on the northern portion of the Property (Figure 3). A drainage ditch traversed the entire southern
         portion of the Property in an east–west direction and discharged to the LDW. (GNW_00045737,
         at GNW_00045863) Spent carbon generated during the Whetlerite manufacturing process would
         have contained elevated concentrations of arsenic, copper, and zinc, as well as dioxins/furans
         (D/Fs). (GLACIER06561, at GLACIER06650‐51) The spent carbon was reportedly incinerated or
         disposed of in pits and drainage ditches throughout the Property, and liquid wastes from the
         laboratory were reportedly disposed of in the septic system on the northeastern portion of the
         Property. (GNW_00045737, at GNW_00045776‐77) According to a 1945 report, the
         manufacturing process included an approximately 750‐gallon wash tank that contained a copper
         ammoniate solution. The tank was reportedly cleaned out monthly and initially drained directly
         to the LDW, but it was later recommended that the waste material be “dumped onto an adjacent,
         vacant field.” According to the 1945 report, “This field was already being used as a dumping
         ground for discarded charcoal and sawdust.” (B‐DUW‐2157514, at B‐DUW‐2157524‐25) The on‐
         Property disposal of liquid and solid wastes in this manner would have resulted in lasting impacts
         to soil and groundwater at the Property, as evidenced by the discovery of charcoal, sawdust,
         and/or briquettes at “numerous locations,” during the remedial investigation of the Property.
         (GLACIER06561, at GLACIER06650‐51)
         2.2.3     Reichhold Chemical
         Reichhold Chemical (Reichhold) leased the Property from the U.S. Government between 1946 and
         1961 (RH00005602, at RH00005603) and manufactured resins, glues, and chemicals at the
         Property between approximately 1947 and 1958. (RH00005602, at RH00005604) Reichhold also
         manufactured pentachlorophenol (PCP) at the Property between 1953 and 1956. (RH00005602
         to RH00005604)
         As depicted on Figure 4, Reichhold constructed a new boiler house, a tank farm area to store
         chemicals used in the manufacturing process, plants for the production of PCP and sodium
         pentachlorophenate, a plant for the production of formaldehyde, as well as sewer systems, roads,
         fencing, and a railroad spur. (GLACIER06561, at GLACIER06583‐84) Most of these improvements
         were situated on the northern portion of the Property.




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         Eleven aboveground storage tanks (ASTs) are first visible in the central portion of the Property in
         an aerial photo taken in 1951. (GNW_00045737, at GNW_00045914) Reichhold used the ASTs,
         which were reportedly situated within an unlined containment area, to store methanol,
         formaldehyde, phenol, urea (solid), chlorine, sodium hydroxide, and hydrochloric acid.
         (GLACIER06561, at GLACIER06583) The aboveground storage of these material in an unlined tank
         farm presents a significant risk of impacts to the underlying soil and groundwater. The ASTs were
         removed by 1961, when Reichhold vacated the Property. (GLACIER06561, at GLACIER06583)
         Reichhold constructed a washwater impoundment area adjacent to the shoreline on the eastern
         portion of Property (Figure 4). The impoundment area was reportedly constructed in 1955 and
         was used to “collect process water for treatment and infiltration into the soil.” According to the
         ERM RI, the impoundment was closed in 1960. (GLACIER06561, at GLACIER06583) However, the
         impoundment was not visible in aerial photos taken after 1956. (GNW_00045737, at
         GNW_45918) While in use, the washwater impoundment would have collected water containing
         PCP, D/Fs, and other contaminants of potential concern (COPCs) that would have percolated into
         the underlying soil, resulting in impacts to soil and groundwater, especially along the Property’s
         eastern shoreline.
         Two rail spurs occupied the Property during Reichhold’s period of operations. One of the spurs
         ran along the Property’s northern boundary and the other extended south through the central
         portion of the Property to access the east side of the tank farms (Figure 4). (GLACIER15394, at
         GLACIER15405) The loading and transporting of chemicals via these rail spurs would have
         increased the potential for releases to occur outside the production and storage areas.
         Several drainage ditches are visible on the Property during Reichhold’s period of operations.
         (GNW_00045737, at 00045912‐923) The unlined drainage ditches reportedly conveyed
         Reichhold’s process water to the washwater impoundment area. The drainage ditches also
         conveyed stormwater, which was discharged directly to the LDW. (GLACIER06561, at
         GLACIER06584) Process water in the ditches and impoundment area would have infiltrated and
         impacted soil and groundwater.
         Laboratory waste and sanitary sewage were also conveyed to a septic tank in the northern portion
         of the Property, with liquid waste discharging from the tank to the LDW. Process water was
         directed to a wooden tank located at the northern portion of the Property for treatment prior to
         discharge to the washwater impoundment.
         Chemical products and process wastes were discharged to the ground surfaces, significantly
         impacting soil and groundwater. These poor “housekeeping” practices resulted in multiple spills
         at the Reichhold facility that were reported between 1948 and 1955, as described below
         (RH_00005707 at RH_00005711‐12):
                       December 1948. 8,000 gallons of formalin and several drums of concentrated
                        ammonia was discharged to the LDW.
                       April 1953. There were reports of green‐colored discharges from an outfall. This
                        observation prompted an investigation that identified phenol, formaldehyde, urea,
                        blood, and resins in sumps that were being conveyed and discharged at the
                        washwater impoundment.
                       August 1953. A fluorescent, white precipitate was observed in the LDW and
                        attributed to a leak of 500 pounds of a glue product.



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                       December 1953. A fish kill was attributed to 8,000 gallons of formalin being
                        transferred to a surface water drainage ditch that subsequently discharged to the
                        LDW.
                       June 22, 1955. A large fish kill led to an investigation that attributed the incident to a
                        phenol spill (phenol concentration of 18,000 parts per million and pH of 3.8). Another
                        spill, two weeks later, indicated that phenol was leaking from the drainage ditch along
                        the southern boundary of the Property and discharging to the LDW.

         On October 18, 1956, the State of Washington Pollution Control Commission issued a Waste
         Discharge Permit to Reichhold that allowed for the discharge up to 510,000 gallon per day of
         cooling water and contaminated water to the LDW if various discharge criteria were achieved
         (e.g., pH between 6.5 and 8.5 and phenol concentrations below 1 part per million).
         (RH_00000550, at RH_00000580)
         Historical and existing transformer locations are shown on Figure 2‐4 of the ERM RI
         (GLACIER15394, at GLACIER15399). During the U.S. Government’s ownership of the Property, one
         transformer enclosure was located at the United States Army Building 7 (GLACIER02873, at
         GLACIER02874) During Reichhold’s lease of the Property from the U.S. Government, one
         transformer enclosure was located at Reichhold Building 7 and one fenced transformer station
         was located south of Boiler House Building 21 (GLACIER02873, at GLACIER02874). An inventory of
         equipment at the Property in 1963 shows there were two transformers (located in Building 9 and
         21 of the Reichhold operations). (GLACIER06561, at GLACIER06584) Acknowledging that the
         inventory was prepared two years before Hanson’s involvement with the Property, it is unknown
         whether the transformers were present on the Property at the onset of Hanson’s lease.
2.3      HANSON’S HISTORY OF OPERATIONS AND IMPROVEMENTS
The Port purchased the Property in 1964 and began leasing to Hanson in 1965. (GLACIER06561, at
GLACIER06584) Between 1965 and 1969, Hanson leased the Property from the Port and built a cement
storage and distribution terminal on the Property (Figure 5). Lease documents between Hanson and the
Port indicate that “Lessee shall fill and improve the lease premises by making improvements…as it deems
necessary….” (KC2005739, at KC2005744) The lease also required that the plans for improvement “shall
be subject to approval in writing by the Port before the original construction.” (KC2005739, at KC2005744)
Hanson continued to lease the Property from the Port until 1973, at which point Hanson purchased the
Property from the Port. (GLACIER06561, at GLACIER06585)

Hanson entered into an agreement with Duwamish Shipyards, Inc. (DSI), which operated on the north‐
adjoining property, to remove two of the former Reichhold buildings from the Property in September
1965. (KC2005959; KC2005961) Demolition of the remaining former Reichhold structures began on
September 28, 1965. (KC2008182) The Roy Moseley Company was contracted to remove the former boiler
building from the Property in 1966. (KC2005946) In 1966, the McFarland Wrecking Company was
contracted to remove all existing building structures, except the office building, concrete building, and
machinery foundations from the Property. (KC2008714) As indicated in Section 2.2.3, the 11 ASTs that
had been installed and used by Reichhold were removed from the Property by 1961, before Hanson’s
operations at the Property began.

Hanson constructed the existing cement receiving dock on the eastern portion of the Property in 1967.
(KC2012876) A piling plan for the receiving dock indicates that 42 three‐ton piles, 12 sixty‐ton piles, 12
eighty‐ton piles, and 8 six‐pile dolphins were used during the construction of the dock. (KC2006065)


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Between 1968 and 1969, Hanson constructed a bulk cement storage and distribution facility on the
Property. (KC2005831) Cement was removed from ships, barges, and railroad cars and transported on
conveyor belts to silos and then distributed to cement trucks. A truck wash station was located on the
western portion of the facility. (KC2005831) New docking facilities and an enclosed ship unloader were
constructed on the Property in 1981. (KC2000890, at KC2000890) An oil storage room and a maintenance
shop are depicted to the east of the storage silos on an undated map showing stormwater runoff.
(KC2012911)

Cement types received at the Property included bulk shipments of American Society of Testing Materials
Types I and II, Oil Well, Rapid Hardening, and High Early. (KC2006272; KC2006218) Reports documenting
the specific quantities and any results of analytical testing of cement stored at the Property were not
contained in the available records, but the raw materials used in Hanson’s operations (cement) would not
have contained concentrations of COPCs that could have resulted in impacts to the Property. During an
inspection by the Washington State Department of Ecology (Ecology) in 1972, the cement transfer process
was noted by Ecology as being “accomplished with no visible spillage and very little dust.” (RH_00000767,
at RH_00000777)

The Washington State Pollution Control Commission issued a permit to Kaiser (Hanson) for the daily
discharge of up to 4,000 gallons of non‐contact cooling water at the Property in 1969. (RH_00000767, at
RH_00000874) In 1972, Kaiser received a permit for the discharge into the LDW of non‐contact cooling
water for air compressors and water from a truck wash. (RH_00000767, at RH_00000863) The discharge
point outfall was located immediately south of the cement loading dock. (RH_00000767, at RH_00000862)
Ecology issued a waste discharge permit under the National Pollutant Discharge Elimination System to
Kaiser in 1974, which authorized a maximum of 30,000 gallons per day of non‐contact cooling water and
26,000 gallons per day of truck wash water. (RH_00000767, at RH_00000822) During an inspection by
Ecology in 1977, the discharge appeared to be “reasonably clear,” and cooling water had been converted
from a continuous discharge to a discharge only when operating. (RH_00000767, at RH_00000775)

In a 1974 aerial photograph, a light‐colored substance can be seen on the southeastern portion of the
Property (Figure 5). (KC2012906) According to interviews with former Kaiser employees, bentonite was
mistakenly pumped into a cement silo, then discharged to the ground surface, which is the source of the
light‐colored substance visible in the 1974 aerial photo. (GLACIER03561, at GLACIER06585)

Based on review of aerial photographs and observed changes in the shoreline, fill material was placed
along the shoreline of the Property in the late 1960s. (KC2012912, at KC2012939; GNW_00028118, at
GNW_00028162). Between 1967 and 1968, portions of the shoreline were extended as much as 57 feet
eastward relative to the shoreline that existed in 1963 (prior to Hanson’s involvement with the Property).
However, other areas of the shoreline were not expanded at all, particularly in the northeastern portion
of the Property (Figure 5). In total, the shoreline expansion increased the uplands portion of the Property
by approximately 15,743 square feet (0.36 acres).

Although the current ERM RI contends that the material placed along the shoreline originated from the
excavation of soil during construction of the cement terminal on the Property, no documentation
regarding the source or pre‐placement chemical composition of the fill material has been identified by
Glacier or Hanson. (KC2011879, at KC2011936) In the 2015 draft of their RI, ERM confirmed that “the
source of the material used to fill the shoreline of the Property is unknown.” (GNW_00028368, at
GNW_00028387). There is also no evidence that Hanson was aware, at the time when its construction
activities were conducted, of any impacts to soil, groundwater, or sediments of the Property from the


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historical operations that predated Hanson’s period of operations, as the first environmental investigation
of the Property did not occur until 1985, long after the shoreline expansion was completed. (KC2005992)

Regardless of whether the material placed along the shoreline originated from soil that had been
excavated from the Property or from material that was imported from another property, the fact remains
that there is no evidence that Hanson’s redevelopment or operational activities resulted in any increase
in the mass of contamination at the Property.

Terminal 115 (T115), which is owned by the Port, is situated adjacent to the south of the Property. The
northeast corner of T115’s shoreline (adjacent to the southeast corner of the Property’s upland area) was
expanded slightly by the Port in 1963 and expanded again to its current configuration in 1970 (Appendix
A). (GLACIER06561, at GLACIER06587‐88) In their expert report prepared on behalf of Glacier for the LDW
allocation effort, Geosyntec speculated that material excavated during construction of the cement
terminal may have been transported to the south‐adjoining T115 property to be used as fill during the
expansion of that shoreline, which involved the placement of nearly 2 million cubic yards of material.
(GNW_00045737 at GNW_00045797) Although there is no evidence to support this speculation, much
less that Hanson participated in the redistribution of impacts from one Port‐owned property to another,
if true, that action would have resulted in a net decrease in the mass of contamination at the Property.

Prior to construction of the cement terminal on the Property, ditches were historically used by Property
owners and operators to convey stormwater and process water from the Property to the LDW.
(GLACIER06561, at GLACIER06578) In 1975, Hanson reportedly installed a stormwater system in the
southern portion of the Property that included a 15‐inch diameter concrete stormwater pipe with five
catch basins. This system tied into the 48‐inch diameter Seattle Public Utilities (SPU) stormwater line
located south of the Property and within the City of Seattle easement on the T115 property.
(GLACIER06561, at GLACIER06578) The new stormwater system would have reduced the infiltration of
stormwater through the contaminated soil of the Property, thereby reducing the potential risk of
additional impacts to groundwater. An investigation of the stormwater system conducted in 2014
revealed that the stormwater system was abandoned some time prior to 1991. Samples of solids that had
collected in the stormwater pipe were found to contain elevated concentrations of arsenic, copper, zinc,
and D/Fs. However, no evidence of a breach in the 15‐inch stormwater pipe was reported during the test
pitting or camera survey conducted during the investigation, and the material surrounding the pipe
exterior was compact soil, as opposed to coarse bedding material that could have acted as a preferential
pathway for contaminant migration. (GLACIER06561, at GLACIER06611) As such, it is reasonable to
conclude that the construction of a stormwater sewer system would have resulted in a net improvement
to the environmental conditions at the Property. The ERM RI concluded that “The historical stormwater
system is considered an insignificant historical transport mechanism” at the Property. (GLACIER06561, at
GLACIER06655)

The transformers that had been utilized by Reichhold and other previous operators at the Property and
which likely contained polychlorinated biphenyls (PCBs) were removed when the buildings that Reichhold
had most recently occupied were removed. Hanson installed new transformers during the construction
of the cement terminal. These new transformers were not considered to be a potential source of PCB
impacts, as the ERM RI concluded by stating “…the presence of electrical equipment containing PCBs
ceased as a primary source when the older electrical equipment was removed from the Site between 1964
and 1969.” (GLACIER06561, at GLACIER06656)




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2.4      POST‐HANSON HISTORY OF OPERATIONS AND IMPROVEMENTS
Hanson operated the cement terminal at the Property from approximately 1968 until 1987, when it was
sold to LSI. (GLACIER06561, at GLACIER06585‐06586) Between 1987 and 1991, Ash Grove Cement West,
Inc. (Ash Grove) leased the Property from LSI for continued use as a cement terminal and added a vacuum
ship unloader and replaced the conveyor system with a pneumatic system to convey cement to the
storage silos. (GLACIER06561, at GLACIER06586) Glacier acquired the Property in two separate
conveyances in 1991. (GLACIER06561, at GLACIER06586)

Glacier currently operates the bulk cement storage and wholesale distribution terminal located on the
northern portion of the Property. The southern portion is not involved in cement terminal operations and
is currently used for vehicle and equipment storage, warehousing, and maintenance. A stormwater swale
and outfall are located in the central portion of the Property. With the exception of the vacuum ship
unloader and pneumatic system that was installed between 1987 and 1991 by Ash Grove, replacing the
previous conveyor system used by Hanson, the current operations at the facility appear similar to those
during Hanson’s period of operations. (GLACIER06561, at GLACIER06586)

2.5      HISTORY OF ADJOINING PROPERTIES
Following is a brief discussion of the current and historical uses of adjoining properties.

         2.5.1     Duwamish Shipyards, Inc.
         The north‐adjoining DSI property is currently used for container storage. Between the 1940s and
         mid‐2000s, DSI operations included the repair and maintenance of floating vessels, including tug
         boats, barges, dredges, fishing vessels, and small passenger vessels. (GLACIER06561, at
         GLACIER06586) DSI ceased shipyard‐related activities at the DSI property in 2007. (GLACIER06561,
         at GLACIER06587) The boundaries of the Property were adjusted in 1964, prior to Hanson’s lease
         of the Property, and as a result several historical features associated with Reichhold’s operations,
         including the septic tank and waste treatment tank, were located on what is now the DSI property.
         (GLACIER06561, at GLACIER06582)
         2.5.2     Terminal 115
         The Port owns and operates T115, which is located along the western shore of the LDW and abuts
         the southern boundary of the Property. The LDW was dredged to straighten and deepen the
         waterway between 1913 and 1922. Within this time frame (1915 to 1917), T115 was also dredged.
         (GLACIER06561, at GLACIER06587). Fill activities at T115 were observed in the 1930s, 1940s,
         1950s, 1960s, and early 1970s, with the eastern portion of T115 being filled with gravel, sand, silt,
         concrete, bricks, coal, wood, garbage, and other miscellaneous materials between 1963 and 1970
         (Appendix A). (GLACIER06561, at GLACIER06587) The Port’s filling activities extended a short
         distance onto the southeasternmost portion of the Property and created the southern shoreline
         of Glacier Bay (Figure 5).
         T115 is currently occupied by several seafood facilities, cargo storage and transfer operations,
         vehicle maintenance facilities, and a commercial fleet vehicle refueling station. (GLACIER06561,
         at GLACIER06587) Historical operations of T115 have included former Boeing Plant #1; retail
         gasoline service; vehicle maintenance; salvage, gravel and concrete production; and a tin
         reclamation facility. (GLACIER06561, at GLACIER06587)
         The tin reclamation facility was located on the northern portion of T115, immediately adjacent to
         the Property. The facility reclaimed tin from scrap steel and recycled tins cans between 1963 and


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         1998. (GLACIER06561, at GLACIER06587) Process waste generated during the tin reclamation
         process included spent plating solutions and black mud filtrate that discharged to Glacier Bay via
         a surface drainage ditch on the southeastern portion of the Property. (GLACIER06561, at
         GLACIER06588) Aerial photographs show a light‐colored plume of accumulated sediment or liquid
         being discharged into Glacier Bay near the Property’s southeast corner (Appendix A).
         (GLACIER06561, at GLACIER06588) An investigation of the tin reclamation facility by the Port
         identified metals (arsenic, cadmium, chromium, copper, lead, mercury, nickel, tin, and zinc),
         semivolatile organic compounds (including polycyclic aromatic hydrocarbons), petroleum, and
         volatile organic compounds in soil and groundwater samples. The samples were not analyzed for
         D/Fs, but D/Fs were identified in soil and sediment at the discharge location of the wastewater
         and stormwater released from the former tin reclamation facility. (GLACIER06561, at
         GLACIER06658)
         2.5.3     Lower Duwamish Waterway
         The LDW Superfund Site, located adjacent to and east of the Property, extends over the northern
         5 miles of the Duwamish River to the southern tip of Harbor Island. In September 2001, the LDW
         was listed on the National Priorities List. The United States Environmental Protection Agency
         (USEPA) and Ecology have divided lead‐agency responsibilities for the cleanup of the LDW and for
         uplands source control, respectively. In December 2000, the Lower Duwamish Waterway Group,
         consisting of the City of Seattle, King County, the Port, and Boeing entered into the Administrative
         Order on Consent with the USEPA and Ecology to conduct a remedial investigation (RI)/feasibility
         study (FS) pursuant to both CERCLA and Washington State Model Toxics Control Act. The RI and
         FS were completed in 2010 and 2012, respectively, and the USEPA issued the LDW Record of
         Decision in November 2014. The selected remedy for sediments applies to the portion of the LDW
         extending up to the elevation of 11.3 feet above mean lower low water. Liability for the impacts
         in the LDW, including the submerged portions of the Property within Glacier Bay, is currently
         being allocated. (GLACIER06561 at GLACIER06573, 06587‐06588)

3.0      PREVIOUS INVESTIGATIONS AND INTERIM ACTIONS

Shannon & Wilson, Inc. conducted a geotechnical Foundation Investigation on behalf of Kaiser Engineers
in 1966, prior to the construction of the cement terminal. The general subsurface conditions were
comprised of loose sand, identified as fill material, overlaying soft organic clay, medium‐dense sand,
medium silt, medium dense sand with shells, and hard silt. (POS_00287137) No evidence of an
environmental investigation conducted on behalf of Hanson or prior to Hanson’s period of ownership or
operation at the Property has been identified to date. However, two investigations were completed on
behalf of others during the time that Hanson owned the Property. JRB Associates performed a preliminary
assessment evaluation of the Property on behalf of the USEPA and Ecology on September 7, 1984. That
assessment indicated that USEPA concluded “there is no evidence that hazardous waste is, or ever was,
disposed of on‐site.” (KC2009770, at KC20099771‐76)

Parametrix conducted an Environmental Audit of the southern portion of the Property on behalf of the
Port in 1985. During the audit, 29 soil borings were advanced on the Property and four composite soil
samples were submitted for laboratory analysis for priority pollutants. Arsenic and phthalates were
detected in the soil samples. Other chemicals of concern, including volatile organic compounds,
semivolatile organic compounds, carcinogenic polycyclic aromatic hydrocarbons, and PCP were not
detected. (KC2005992, at KC2006007‐6014)



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A number of environmental investigations have been conducted at the Property since 1985, which have
revealed significant impacts to the Property as a result of releases that occurred prior to Hanson’s
operation or ownership of the Property. Details regarding these investigations are provided in the ERM
RI. (GLACIER06561, at GLACIER06602‐04)

Based on previous investigations, PCP impacts were primarily located in two areas of the Property where
Reichhold formerly operated a PCP production plant and where Reichhold impounded washwater.
(GLACIER06561, at GLACIER00608) An ozone sparging system was installed to treat PCP in groundwater
in the shallow aquifer at the Property in the two areas and consisted of 22 sparge wells in the former PCP
production plant area and 29 sparge wells in the washwater impoundment area of the Property.
(GLACIER06561, at GLACIER00608) A soil vapor extraction system was also installed as a protective
measure to capture ozone that was not oxidized in the subsurface. The in situ ozonation system operated
between May/April 2000 to October 2005. (GLACIER06561, at GLACIER00608)

Based on previous investigations, arsenic impacts were primarily located in the southern portion of the
Property where Mineralized Cell formerly operated. (GLACIER06561, at GLACIER00608) Dissolved arsenic
in shallow groundwater was treated by an oxidative process using hydrogen peroxide to geochemically fix
arsenic in the subsurface. The hydrogen peroxide infiltration gallery was constructed in the south‐central
area, and approximately 20,000 gallons of 3 percent hydrogen peroxide solution was piped into an
infiltration gallery during two treatment events performed in 2000. (GLACIER06561, at GLACIER00608)

ERM completed a DRAFT Remedial Investigation/Feasibility Study Report—Volume 1 for the Property in
2018 on behalf of Glacier, dated January 24, 2020. A draft of Volume 2 of the report, which contains the
FS components, was required to be delivered by May 1, 2020, but was not provided to Hanson until May
8, 2020. The delay in delivery did not provide sufficient time to review and incorporate the findings of the
FS into this expert report. 1 As such, the discussion below relies only on the information provided in
Volume 1 (the ERM RI), which outlines ERM’s findings and conclusions regarding their RI of the Property.
(GLACIER06561) Had the FS components contained in Volume 2 of that report, which was dated April 30,
2020, been made available earlier, it may have allowed for an assessment of the remedial alternatives
that were considered for use at the Property, as well as the estimated costs associated with those
alternatives, including the recommended alternative. However, acknowledging that neither the RI nor the
FS has been approved by Ecology under the ongoing Agreed Order process, it would be premature to
assume that Ecology will concur with the findings or conclusions of either volume of the report. Additional
information regarding the distribution of impacts is provided in the ERM RI and in later sections of this
report.

Soil samples collected in the course of the ERM RI contained concentrations of arsenic, copper, zinc, PCP,
polycyclic aromatic hydrocarbons (PAHs), D/Fs, PCBs, diesel‐range petroleum hydrocarbons (DRPH), and
oil‐range petroleum hydrocarbons above their respective screening levels (SLs). (GLACIER06561, at
GLACIER06620‐27) Arsenic, copper, DRPH, PCP, and D/Fs were detected in groundwater at concentrations
above their respective SLs. (GLACIER06561, at GLACIER06627‐31) Dissolved arsenic was detected in seep
samples collected along the shoreline of the Property at concentrations exceeding the SLs.
(GLACIER06561, at GLACIER06631)



1
 I reserve the right to supplement this expert report to the extent that the documents or information not revealed
by Glacier at the original May 1, 2020, production date could affect my findings or opinions expressed herein.


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4.0      GEOLOGY/HYDROGEOLOGY

The following is a summary of findings regarding the geology and hydrogeology of the Property, as
described in the ERM RI. (GLACIER06561)

4.1      FILL MATERIAL
The shallow lithologic units at the Property consist of native Duwamish tidelands deposits (the lower sand
and silt aquitard units) overlain by fill. (GLACIER06561, at GLACIER06589) According to the expert report
prepared by Geosyntec on behalf of Glacier for the LDW allocation effort, two layers of fill are present
beneath the Property, including a layer of shallow fill located above a layer of dredged fill that originated
during historical dredging events from the east‐adjacent LDW between 1913 and 1922. (GLACIER06561,
at GLACIER06580‐81) Information regarding the chemical composition of the dredged material at the time
of its placement was not available, but the dredged fill may have contained elevated concentrations of
metals, petroleum, and other COPCs that were in use by the industrial operators along the LDW prior to
1922. The shallow fill at the Property was placed over the dredge fill in multiple events, beginning as early
as 1922. The source(s) of the fill and its chemical composition at the time of placement on the Property
are unknown, but such fill materials commonly contain metals, petroleum, and other COPCs, especially if
the fill originated from dredged material or from material imported from other industrial facilities.
Considering that the shallow fill material is present throughout most of the Property, widespread
distribution of the COPCs that may have been present in the shallow fill at the time of placement should
be anticipated.

The layer of shallow fill material, consisting of silt, sand, gravel, brick, carbon/charcoal, and concrete
debris is generally continuous across the Property and extends to a depth of approximately 3 to 5 feet
below ground surface (bgs). The dredged fill is approximately 4 to 9 feet thick and is generally continuous
beneath the upland portion of the Property. The dredged fill overlies the silt aquitard, which in turn
overlies a lower sand unit. (GLACIER06561, at GLACIER06589‐92)

Although not described as such in Geosyntec’s expert report, the ERM RI lists a third type of fill material,
which ERM defines as “bank fill.” This material is situated east of the wooden bulkhead that formed the
1922 shoreline of the Property, and ERM suggests that this material originated from construction activities
related to Hanson’s redevelopment of the Property. The bank fill reportedly consists of heterogenous mix
of silt, sand, gravel, and construction debris such as bricks, wood, and concrete. The bank fill along the
riverbank was identified from the surface to depths ranging between 1.25 and 14 feet bgs.
(GLACIER06561, at GLACIER06591) The bank fill ranges in thickness from 0 to 14 feet bgs, and its average
thickness is approximately 8 feet. The fill material located along the eastern shoreline is protected by rip
rap, which armors the shoreline and prevents bank erosion from occurring. (GLACIER06561, at
GLACIER06591)

T115 has undergone significant filling, a majority of which occurred between the 1950s and 1971.
(GLACIER06561, at GLACIER06587 and GLACIER06659) As seen on aerial photos taken in August 1961 and
June 1963, the portion of T115 that abuts the southeastern corner of the Property was expanded during
this time frame, prior to Hanson’s operations at the Property. (GNW_00045737, at GNW_00045923‐24)
A photo of the Property shoreline taken in August 1963 shows what appears to be concrete debris
(Appendix A). (GLACIER05453, at GLACIER05470) A comparison of the 1936 and 1963 shorelines of the
Property, depicted on Figure 2‐21 of the ERM RI, reveals that approximately the southern third of the
Property’s shoreline was expanded eastward by as much as nearly 20 feet, which resulted in the creation
of approximately 4,549 square feet of land, as shown on Figure 5. Acknowledging that this shoreline


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expansion occurred by 1963, prior to Hanson’s involvement with the Property, it is apparent that Hanson
was not responsible for this expansion, and that fill material of unknown origin was placed along the
Property’s shoreline sometime between when Reichhold ceased operations and Hanson’s tenure at the
Property began. The U.S. Government owned the Property at the time that this material was placed along
the Property’s eastern shoreline. (GLACIER06561, at GLACIER06579)

Beginning in November 1969, the Port initiated a project to further expand T115 through extensive filling,
dredging, and excavation. T115 was filled with 722,000 cubic yards of dredge spoils and 1.1 million yards
of other fill material. (GLACIER06561, at GLACIER06659) The northernmost portion of the T115 expansion
activities that extended as much as 55 feet onto the Property, forming the southern shore of Glacier Bay,
was added between 1969 and 1970. (GLACIER06561, at GLACIER06592) The portion of the shoreline that
extends onto the Property encompasses approximately 21,231 square feet of land (Figure 5).

4.2      GROUNDWATER FLOW
According to the ERM RI, two distinct saturated zones have been identified underlying the Property (a
shallow unconfined aquifer and a deep confined aquifer). Shallow unconfined groundwater was
encountered in the shallow and dredge fill beneath the Property at depths between 4 and 13 feet bgs.
The saturated thickness of the shallow aquifer varies across the Property from 2 to 11 feet, and also
experiences seasonal fluctuations of approximately 2 to 3 feet. This shallow aquifer lies above a silt
aquitard. A deep confined aquifer is present in the lower sand, which lies beneath the aquitard and is fully
saturated. (GLACIER06561, at GLACIER06594‐99)

Groundwater elevations in the both the shallow aquifer and the deep aquifer fluctuate sinusoidally with
time, indicating that both units are hydraulically connected to the LDW and are tidally influenced. The net
groundwater flow direction in the shallow aquifer and deep aquifer is toward the LDW. Groundwater
generally flows to the east–northeast in the northern portion of the Property, to the south and east in the
central portion of the Property, and to the south–southeast in the southern portion of the Property. The
average calculated groundwater flow velocity in the shallow aquifer is approximately 12.7 feet per year.
(GLACIER06561, at GLACIER06598)

Based on water level data for five pairs of shallow and deep wells, there is a net downward vertical
gradient between the shallow aquifer and deep aquifer. The shallow aquifer also discharges through seeps
along the eastern bank of the shoreline to the LDW. (GLACIER06561, at GLACIER06596)

Groundwater elevation data indicate the presence of a depression in the southeastern portion of the
Property. This depression in the groundwater table, likely caused by the 48‐inch‐diameter SPU stormwater
line that runs parallel to and south of the Property, results in groundwater flow to the south from the
Property and to north from T115 in the direction of the stormwater line. (GLACIER06561, at
GLACIER06596)

4.3      SEDIMENTS
Sediments in the vicinity of the Property have been confirmed to contain arsenic, PCBs, carcinogenic PAHs,
PCP, D/Fs, and numerous other contaminants of concern at concentrations exceeding their respective
remediation actions levels. (SC_00036634 at SC_00036723) An allocation to establish liability for the cost
to remediate the sediments of the LDW, including the sediments of Glacier Bay, is currently underway.




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5.0      DISTRIBUTION OF IMPACTS

The magnitude and extent of COPCs in upland soil (saturated and unsaturated) are shown on ERM RI
Report Figures 5‐1 through 5‐9. (GLACIER15394, at GLACER15430‐38) Groundwater COPC analytical
results for the six most recent monitoring events are shown on ERM RI Report Figures 5‐11 through 5‐19
(Appendix B). (GLACIER15394, at GLACIER15440‐48) According to the ERM RI, contouring was based on
the maximum concentration detected between November/December 2011 and August/September 2015.

Figures 6 through 9 of this report depict the areas on the Property where arsenic, D/F, PCP, and PCBs are
present at concentrations above their respective SLs in vadose soil, saturated soil, and groundwater,
regardless of the affected media or magnitude of the exceedance. Although other COPCs are present at
the Property, these four COPCs represent the vast majority of impacts at the Property and have the most
significant impact on investigation costs. Figure 10 depicts the combined distribution of these impacts and
also provides the calculated area of impacts from arsenic, D/Fs, PCP, and PCBs. In total, approximately
561,000 square feet of the Property’s roughly 595,900 square feet of uplands is impacted by one or more
of these four COPCs at concentrations exceeding the applicable SLs.

5.1      ARSENIC
The distribution of arsenic correlates closely with the operations of Mineralized Cell on the southern
portion of the Property and the Whetlerite manufacturing areas on the northern portions of the Property.
Arsenic impacts are also noted along the access roads that formerly traversed the southern, western, and
northern portions of the Property, and proximate to the loading dock on the northeastern portion of the
Property where treated logs were likely transported. Arsenic impacts on the southern portion of the
Property may also be partially the result of spent carbon from the Whetlerite manufacturing/testing
process being disposed of at those locations. Soil and shallow groundwater beneath the former
impoundment area operated by Reichhold also exhibit exceedances of the arsenic SL, suggesting that the
process water that was impounded in the basin contained arsenic.

As indicated on Figure 6, the only upland areas of the Property not having arsenic SL exceedances in at
least one media of concern are its southwest corner, a narrow strip near its southeast corner, and two
areas near its northern and northeast borders. The area beneath the silo on the northern portion of the
Property has not been investigated for the presence of arsenic or other COPCs, which explains this
relatively large apparent gap in the distribution of arsenic impacts in this area. Copper and zinc are also
present in soil and groundwater at the Property at concentrations above their respective SLs, but their
footprints (Figures 5‐3 and 5‐4 of the ERM RI) are almost entirely contained within the footprint of the
arsenic impacts. (GLACIER15394, at GLACIER15432‐33)

As shown on Figure 6, arsenic exceedances of the SL in soil and groundwater cover a total of 513,539
square feet (11.79 acres) of uplands at the Property. This area constitutes roughly 91 percent of all the
areas on the Property where one or more of the four selected COPCs is present in soil or groundwater at
concentrations above the applicable SL.

5.2      DIOXINS/FURANS
D/Fs toxicity equivalency quotients (TEQs) exceeding the SLs are generally situated in the former
Reichhold operational areas, including the former washwater impoundment (GP‐45), the former PCP
production plants (GP‐74), and the former tank farms (GP‐49), as well as along the riverbank (TB‐02B, TB‐
03D, TB‐04A, TB‐05B, and TB‐06). The highest D/Fs TEQs detected at the Property were encountered in


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boring TB‐06, which is located on the southeastern corner of the Property, proximate to the former tin
reclamation facility on the T115 property and the outfall of a drainage ditch that formerly ran along the
southern boundary of the Property. Notably, boring TB‐06 was advanced through material that was placed
at that location between 1961 and 1963, prior to Hanson’s involvement with the Property.

With the exception of boring TB‐06, which is located proximate to several other potential sources of D/Fs,
each of the four other riverbank sample locations along the Property’s eastern shoreline where D/Fs have
been detected above the SLs were situated immediately adjacent to the former washwater impoundment
area. Only two of these borings (TB02 and TB05) are situated east of the bulkhead that ERM defines as
the western boundary of the bank fill, which they assert was placed by Hanson. The remaining riverbank
borings were advanced through dredge fill material that was placed prior to Hanson’s operations at the
Property.

D/Fs were also detected above the TEQ SL in a soil sample collected from boring TB‐07, located along the
southern shoreline of Glacier Bay. This boring was advanced through material that was placed by the Port
during the expansion of T115. None of the historical operations at the Property could have contributed to
the impacts present at this location, and it is apparent that these impacts are entirely attributable to the
Port’s placement of fill material for the construction of T115.

Approximately the western third of the Property, as well as areas in the northeastern and south‐central
upland portion of the Property, have no D/Fs TEQ SL exceedances. The distribution of D/Fs in soil correlate
closely to the operations of Reichhold, although some of the impacts from D/Fs may also have been the
result of releases from the Whetlerite production operations by Carlisle, Crown Zellerbach, and the U.S.
Government.

As shown on Figure 7, the total area of D/F impacts that exceed the TEQ SL for soil and groundwater on
the Property is nearly 265,000 square feet, which constitutes approximately 47 percent of the impacted
upland portion of the Property.

5.3      PCP
Vadose and saturated soil samples with reported PCP concentrations exceeding the SL are present in the
northern, central, eastern, and southeastern portions of the Property in the former Reichhold operational
areas, with the highest PCP concentrations primarily in the footprint of Reichhold’s former washwater
impoundment area. Reichhold is the only known generator of PCP at the Property.

Saturated soil samples with PCP concentrations exceeding the SL are located primarily in the former
Reichhold operational areas, including the location of the former washwater impoundment (GP‐44, GP‐
45, and GP‐46), the location of the former PCP production plants (GP‐2, GP‐55, and GP‐74), the location
of the former phenate process area (GP‐36), the location of the former southern drainage ditch (GP‐16),
and in the vicinity of the former laboratory building (GP‐27, GP‐28, and GP‐54). The two saturated soil
samples exhibiting PCP concentrations exceeding the SL are in the dredge fill beneath the location of the
former washwater impoundment area (GP‐7) and the former drainage ditches on the southern portion of
the Property (GP‐16).

As shown on Figure 8, the total area of PCP impacts that exceed the SLs for soil and groundwater on the
Property is nearly 175,000 square feet, which constitutes approximately 31 percent of the impacted
upland portion of the Property.



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5.4      PCBS
Isolated areas of PCB SL exceedances are present at 13 locations throughout much of the Property,
including the location of each of the five current and former transformers that are identified on uplands
portions of the Property on Figure 5‐8 of the ERM RI (Appendix B). Inexplicably, when ERM correlated
these PCB impacts with potential sources in Section 7.3.7 of the ERM RI, there is no mention of the fact
that impacts are present at each of these five current and former transformer locations. Instead, ERM
states that the PCB exceedances are “…limited to the riverbank with a few isolated areas in the north,
west, and southern areas of the upland portion of the Site.” (GLACIER06561, at GLACIER06647‐48) The
reason for ERM’s failure to connect the most obvious source of PCBs with the impacts situated
immediately beneath them in not evident, but it is not the only apparent oversight by ERM with respect
to the distribution of PCB impacts at the Property. Section 7.4.1.7 of the ERM RI states that “Although
extensive sampling was performed in the vicinity of the 1940s and 1960s era transformers, PCBs were not
detected in these areas at concentrations exceeding SLs.” This statement is incorrect; PCBs are described
as having been detected at concentrations above the SL in 9 of the 12 vadose zone soil samples and 17 of
the 63 saturated soil samples, including in samples collected in the vicinity of current and former
transformers. (GLACIER06561, at GLACIER06625)

In addition to the vicinities of the current and former transformers, elevated concentrations of PCBs were
also detected in the vicinity of other known sources of PCBs, including north of the cement silos along the
northern Property boundary, where an electrical shop was formerly located (GP‐28); on the northeast
corner of the Property (TB‐01) immediately south of a former sand blast shed (the former location of
which is situated on what is now the DSI property); and two locations along the southern portion of the
Property where drainage ditches formerly carried process water and contaminated stormwater (GP‐83
and TB‐06).

PCBs were encountered at concentrations above the SL in soil collected from several locations along the
Property’s riverbank (GP‐72, TB‐02, TB‐03, TB‐05). As was the case with D/Fs encountered along the
shoreline, the samples containing elevated PCBs in riverbank samples were collected in the immediate
vicinity of the former washwater impoundment, and only two of the four borings where elevated PCBs
were detected in riverbank samples (TB‐02 and TB‐05) were situated east of the 1963 shoreline that was
expanded in 1967–1968. Despite the fact that the impoundment received process waste and is known to
be contaminated by multiple COPCs, ERM did not analyze any soil samples from within the impoundment
basin for the presence of PCBs.

Finally, PCBs in excess of the SL were detected in soil collected from boring TB‐07, located on the southern
shoreline of Glacier Bay, in material that was placed by the Port during the construction of T115.

As shown on Figure 9, the total area of PCB impacts that exceed the SL for soil and groundwater on the
Property is more than 76,000 square feet, which constitutes approximately 14 percent of the impacted
upland portion of the Property.

6.0      RELATIVE CONTRIBUTION OF SOURCES

The vast majority of the impacts present at upland locations of the Property were caused by those parties
with operations that included the hazardous substances that were directly or indirectly discharged to soil
and groundwater at the Property. Those parties include Mineralized Cell, Carlisle, Crown Zellerbach, the
U.S. Government, and Reichhold. Other owners or operators that are considered to potentially warrant
an assignment of liability and are discussed in the following sections include the Port, King County,


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Hanson, and Glacier. The various other parties that have owned or leased all or portions of the Property
since 1965, when efforts to remove the remaining infrastructure associated with the operations that
generated the impacts were initiated, are considered de minimis contributors to the impacts present at
the Property and are not discussed further.

Assuming the Court first determines that Hanson qualifies as a liable party, then assignment of an
appropriate percentage of liability for each of the parties with ownership or operational involvement at
the Property requires the establishment of key equitable factors, which in this matter I consider to include
the following:
      (1) Whether a party handled or used products containing the COPCs in its operations.
      (2) The degree of care exercised by a party to prevent the release or further spread of a release during
          its operations or period of ownership.
      (3) The magnitude and duration of the releases caused by a party.
      (4) The extent of the party’s knowledge and awareness of the presence of contamination during their
          period of ownership/operation.
      (5) The anticipated relative cost associated with the investigation of the specific COPCs released by
          the party.
      (6) The distinguishability of impacts related to the party.
6.1       EQUITABLE FACTOR 1—WHETHER A PARTY USED OR HANDLED PRODUCTS CONTAINING THE
          COPCS IN ITS OPERATIONS
          6.1.1    Mineralized Cell
          Mineralized Cell operated a wood treatment facility at the Property between 1936 and 1939
          under lease from King County, the Property owner at the time. (GLACIER06561, at GLACIER06579;
          GLACIER06581) Mineralized Cell’s operation included the pressurized application of a solution
          containing arsenic, copper, and zinc into one end of a freshly cut log until such time as the solution
          passed through the log and dripped from the other end of the log onto the ground.
          (GLACIER06561, at GLACIER06581) A 1936 aerial photo showing Mineralized Cell’s operation at
          the Property suggests that dozens, if not hundreds of logs were staged on the Property for
          treatment at any one time (Figure 2). A ground‐level photo taken of the facility in 1937 depicts a
          shed containing what appears to be sacks of the chemicals used to make the wood treatment
          solution. (GNW_00028798, at GNW_00028799) Arsenic, copper, and zinc are all COPCs that are
          present in soil or groundwater at concentrations exceeding their respective SLs; as such,
          Mineralized Cell warrants a significant assignment of liability under this factor.
          6.1.2    Carlisle, Crown Zellerbach, and U.S. Government
          Under contract to the U.S. Government, which owned the Property at the time, both Carlisle and
          Crown Zellerbach operated a plant on the northern portion of the Property during the early 1940s
          that manufactured charcoal and Whetlerite, a product made by impregnating activated carbon
          with copper, silver, or chromium for use in gas masks. (GLACIER06561, at GLACIER06582)
          Following production, the Whetlerite was tested by the CWS, as the agent for the U.S.
          Government, using chemicals such as arsine, chloropicrin, cyanogen chloride, and phosgene. The
          facility was equipped with laboratories, chemical storage areas, underground storage tanks, and
          potential PCB‐containing transformers. (GLACIER06561, at GLACIER06582) A report prepared in
          1945 described an approximately 750‐gallon tank containing copper ammoniate that was
          reportedly washed out once per month and dumped directly into the LDW or onto the ground of
          the Property. (GLACIER06561, at GLACIER06582) Chemicals used in the laboratory were


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         reportedly discharged to the septic system on the Property and solid waste was reportedly
         disposed of on the grounds of the Property. (GLACIER06561, at GLACIER06582) In addition to the
         copper, zinc, and other metals that were used in the manufacturing process and the arsenic that
         was used in the laboratory testing of Whetlerite, D/Fs were likely produced during the combustion
         of wood that contained zinc chloride. (GLACIER06561, at GLACIER06650) Arsenic, copper, zinc,
         PCBs, and D/Fs are COPCs that have been encountered at the Property above their respective SLs;
         as such, Carlisle, Crown Zellerbach, and the U.S. Government each warrant an assignment of
         liability under this factor. As both owner and operator of the plant, and as the party responsible
         for the disposal of arsenic from the laboratory testing process, the U.S. Government warrants a
         higher assignment of liability under this factor than do either Carlisle or Crown Zellerbach.
         6.1.3     Reichhold
         In the period between 1946 and 1961, Reichhold leased the Property from the U.S. Government
         and manufactured a number of chemicals and products, including resins, glues, formaldehyde,
         PCP, and sodium pentachlorophenate. (GLACIER06561, at GLACIER06583) D/Fs are a known by‐
         product of the PCP manufacturing process. (GLACIER06561, at GLACIER06652) Reichhold’s facility
         was also equipped with 11 aboveground tanks containing methanol, formaldehyde, phenol, urea,
         chlorine, sodium hydroxide, and hydrochloric acid. Liquid wastes generated during Reichhold’s
         operations were discharged to a septic system, drainage ditches, a washwater impoundment area
         located along the shoreline of the Property, or directly to the LDW. (GLACIER06561, at
         GLACIER06652) Reichhold’s chemical manufacturing process included the use and handling of
         PCP, phenols, and D/Fs. (GLACIER06561, at GLACIER06583‐84) In addition, considering the time
         frame in which they were installed and used, transformers present on the Property during
         Reichhold’s time of operations would certainly have contained PCBs. Reichhold historically
         generated the largest volume of the some of the most toxic COPCs at the Property, including
         phenols, PCP, PCBs, and D/Fs; as such, Reichhold warrants the most significant assignment of
         liability under this factor.
         6.1.4     Hanson and Glacier
         Hanson formerly operated the existing cement terminal on the Property and Glacier is the
         terminal’s current operator. The cement terminal’s historical and current operations are limited
         to the storage and distribution of cement; cement manufacturing has not been performed at the
         Property. (GLACIER06561, at GLACIER06576) Trace concentrations of naturally occurring metals
         are present in the cement that passes through the terminal prior to distribution, but the
         concentrations in cement are not high enough to be a source of contamination to the Property.
         Although small quantities of petroleum have been stored and used by each of the cement
         terminal operators at the Property, there is no evidence to suggest that any significant releases
         of petroleum occurred during the operations of any of these entities. Furthermore, there is no
         evidence to suggest that PCB‐containing transformers have existed at the Property during the
         cement terminal’s operations. As such, the operation of the cement terminal by Hanson and
         Glacier is not considered to be a source of COPCs to the Property and does not warrant the
         assignment of any liability under this factor.
6.2      EQUITABLE FACTOR 2—THE DEGREE OF CARE EXERCISED BY A PARTY TO PREVENT THE RELEASE
         OR FURTHER SPREAD OF A RELEASE DURING ITS OPERATIONS OR PERIOD OF OWNERSHIP
         6.2.1     Mineralized Cell
         A limited amount of information is available regarding Mineralized Cell’s operations, including a
         1936 aerial photo, a ground‐level photo from a 1937 tax assessor record, a patent for a wood

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         treatment process, and a nearly contemporaneous description of their operations at a nearby
         facility on the east side of the LDW. (GNW_00027958, at GNW_00027959‐60; GLACIER06561, at
         GLACIER06581) This limited information strongly suggests that Mineralized Cell made no effort to
         prevent a release of hazardous substances during their operations. The process of applying an
         arsenical solution to the logs involved allowing the solution to drip out of the logs and onto the
         ground as an indication of when the treatment was complete, so releases of the arsenical solution
         were an intended consequence of their operation. Furthermore, the 1937‐vintage photo of their
         operations depicts equipment used to store and apply the chemical injectate strewn about the
         unpaved ground surface, along with piles of what appear to be wood shavings that may also have
         been contaminated by the solution applied to the logs. (GNW_00027958, at GNW_00027959) A
         description of Mineralized Cell’s operations at a nearby facility in 1945 indicated that the storage
         tanks in which the solution was mixed were washed out twice daily and that any residual sludge
         or chemicals was drained onto the ground. The report also indicated that the fuel oil used to heat
         the solution during the mixing process would occasionally overflow from the supply tanks during
         filling and spill directly onto the ground. At least some of the treated wood at that facility was
         shipped via the LDW, which allowed for the recently applied chemicals to leach out of the wood
         into the waters of the LDW. (B‐DUW‐2157514, at B‐DUW‐2157524‐25) Although the 1945 report
         did not describe the specific operations of Mineralized Cell at the Property, it is reasonable to
         conclude that similar practices were employed at both of these Mineralized Cell facilities. As such,
         Mineralized Cell warrants a significant assignment of liability under this factor. In addition,
         because King County was the Property owner and leased the Property to Mineralized Cell, King
         County was in the best position as among all other potentially responsible parties to exercise
         control and regulation over Mineralized Cell's operations. (GLACIER06516, at GLACIER06579)
         Therefore, to the extent Mineralized Cell no longer exists or cannot be located, King County would
         warrant responsibility for the liability being assigned to Mineralized Cell under this factor.
         6.2.2     Carlisle, Crown Zellerbach, and U.S. Government
         Carlisle and Crown Zellerbach each reportedly used a 750‐gallon tank of copper ammoniate in
         their manufacturing process that was washed out once per month and drained into the LDW or
         dumped onto the ground at the Property. According to a 1945 report, the Property was also used
         “as a dumping ground for discarded charcoal and sawdust,” some of which likely contained
         elevated concentrations of copper, zinc, and D/Fs from the Whetlerite manufacturing and
         laboratory testing processes. (B‐DUW‐2157514, at B‐DUW‐2157524‐25) These disposal practices
         have been confirmed by the discovery of sawdust, charcoal briquettes, and other materials
         associated with the production of charcoal and Whetlerite during investigations of the Property.
         (GLACIER06561, at GLACIER06651) In addition, the chemicals used in laboratory testing
         performed by CWS on behalf of the U.S. Government were reportedly discharged to a septic
         system located within the former Property boundaries, which then discharged to the LDW.
         (GLACIER06561, at GLACIER06651) These disposal practices are not representative of a high
         standard of care, and as such, Carlisle, Crown Zellerbach, and the U.S. Government warrant an
         assignment of liability under this factor. As both owner and operator of the plant, the U.S.
         Government warrants a higher assignment of liability under this factor than do either Carlisle or
         Crown Zellerbach.
         6.2.3     Reichhold
         Reichhold appears to have behaved in the most egregious manner with respect to the degree of
         care taken in the handling and disposal of hazardous substances at the Property. They reportedly
         discharged much of the large volumes of process water from their PCP and other chemical


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         manufacturing operations directly to the LDW or to the drainage ditches that led to the LDW,
         installed numerous large ASTs within an unlined tank farm, and constructed a washwater
         impoundment area immediately adjacent to the LDW. (GLACIER06561, at GLACIER06583‐84;
         GLACIER06652) While in use, the washwater impoundment would have collected water
         containing PCP, D/Fs, and other COPCs that would have percolated into the underlying soil,
         resulting in impacts to soil and groundwater, especially along the Property’s eastern shoreline.
         The washwater impoundment also included an outflow that discharged to the LDW.
         (GLACIER06561, at GLACIER06652)
         Laboratory waste was conveyed to a septic tank in the northern portion of the Property with liquid
         waste discharging from the tank to the LDW. Process water was also directed to a wooden tank
         located at the northern portion of the Property for treatment prior to being discharged to the
         washwater impoundment area. Chemical products and process wastes were discharged to the
         ground surfaces, significantly impacting soil and groundwater. (GLACIER06561, at GLACIER06652)
         These practices resulted in multiple spills that were reported at the Reichhold facility between
         1948 and 1955, including a discharge of 8,000 gallons of formalin and several drums of
         concentrated ammonia to the LDW in 1948; reports of green‐colored discharges from an outfall
         that prompted an investigation of their washwater impoundment in 1953; a 1953 release of 8,000
         gallons of formalin that resulted in a fish kill in the LDW; and a release of phenol in 1955 that was
         investigated and found to have caused a large fish kill in the LDW, only to then discover another
         phenol release just two weeks later. (RH_00005707 at RH_00005711‐12)
         Although it should not be assumed that industrial operators in the 1950s were aware of the
         impact that these types of releases can have on human health and the environment, Reichhold
         was a manufacturer of toxic chemicals, which logically would have employed chemists and other
         scientists that had an above‐average understanding of these concepts, especially after learning
         that releases from their facility had resulted in fish kills and prompted investigations into their
         source. As such, Reichhold warrants a significant assignment of liability under this factor.
         6.2.4     Hanson
         Hanson’s operations were limited to the transfer of cement and did not involve the use or
         handling of any significant amount of hazardous substances. (KC2006272; KC2006218)
         Nevertheless, Hanson took the steps necessary to comply with the discharge criteria established
         for their process water, stormwater, and air emissions. During an inspection by Ecology in 1972,
         the cement transfer process was noted by Ecology as being “accomplished with no visible spillage
         and very little dust.” (RH_00000767, at RH_00000777) While minor violations of air permit
         discharge criteria did occur during Hanson’s operations, these types of violations are not
         uncommon at cement transfer and other industrial facilities, and minor, short‐term discharges of
         this nature are not the source of the COPCs present at the Property. (KC2005468, at KC2005468;
         KC2004912, at KC2004912; KC2005907, at KC2005907)
         Hanson’s process water discharges consisted of non‐contact cooling water and water from the
         truck wash station that Hanson installed at the Property to prevent the off‐Property tracking of
         cement and other solids by vehicles. Their discharges were performed in compliance with their
         regulatory agency‐approved permits. (RH_00000767, at RH_00000874; RH_00000767, at
         RH_00000863) During an inspection by Ecology in 1977, the water being discharged from the
         facility appeared to be “reasonably clear” and cooling water had been converted from a
         continuous discharge to a discharge only when operating. (RH_00000767, at RH_00000775) As
         with the air emissions noted above, the discharges of process and stormwater by Hanson would
         not have resulted in the impacts that have been confirmed to be present at the Property.

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         Hanson installed an improved stormwater system on the northern portion of the Property that
         remains in use today, as well as a stormwater drainage system on the southern portion of the
         Property that included several catch basins. The stormwater system on the southern portion of
         the Property has since been decommissioned, but while it was in operation it would have reduced
         the infiltration of stormwater through contaminated soil, as well as the potential risk of impacts
         to groundwater. (GLACIER06561, at GLACIER06578) The ERM RI concluded that “The historical
         stormwater system is considered an insignificant historical transport mechanism” at the Property.
         (GLACIER06561, at GLACIER06655)
         Glacier has argued that Hanson placed material along the eastern shoreline of the Property that
         had been excavated from contaminated areas of the Property during its redevelopment in 1967‐
         1968. (GLACIER06561, at GLACIER06584‐85) Although neither the source of the material placed
         along the shoreline nor the concentrations of COPCs in that material at the time of placement
         have been confirmed (as conceded by Glacier’s consultant in their expert report for the LDW
         allocation process [GNW_00045737, at GNW_00045788]), to the extent that the material that
         was placed by Hanson may have contained elevated concentrations of COPCs, there is no
         evidence to suggest that Hanson was aware of the impacts in the material. As such, it is
         unreasonable to expect that they would have taken steps to prevent the release or spread of
         COPCs that they did not know they may have been handling. Therefore, Hanson does not warrant
         the assignment of any liability under this factor.
         6.2.5     Glacier
         Due to the untimely and late production of documents by Glacier, a thorough evaluation of the
         degree of care exercised by Glacier to prevent a release or spread of a release could not be
         completed within the time frame available for this expert report, but no evidence was observed
         that suggests Glacier’s operations or ownership of the Property contributed to the releases that
         have impacted the Property.
         However, with respect to the degree of care exercised by Glacier in preventing the spread of a
         release, it is worth noting that the presence of contamination at the Property was identified at
         the Property in 1985, six years before Glacier purchased the Property in April 1991. (KC2005992,
         at KC2006012‐15) Despite the nearly 30 years that have elapsed since Glacier purchased the
         Property, they have not yet completed a final report documenting their RI or FS efforts. While the
         impacts at the Property are complicated, 30 years is an unreasonably long time for a liable party
         such as Glacier, which owns the Property and is in a position to expedite its investigation and
         remediation, to complete this process. The contamination in soil remains a secondary source of
         impacts to groundwater, which has migrated at a reported average flow velocity of 12.7 feet per
         year, likely causing the distribution of impacts to spread. (GLACIER06561, at GLACIER06597) As
         such, Glacier warrants an assignment of liability under this factor.
6.3      EQUITABLE FACTOR 3—THE MAGNITUDE AND DURATION OF THE RELEASES CAUSED BY A
         PARTY
         6.3.1     Mineralized Cell
         Mineralized Cell’s operations resulted in the intentional, direct discharge of a solution containing
         arsenic, copper, and zinc to a large area on the southern portion of the Property. What appears
         to be thousands of pounds of chemicals used to make the arsenical solution can be seen in the
         1937 ground‐level photo of their operations. (GNW_00027958, at GNW_00027959) A different
         Mineralized Cell facility that operated on the east side of the LDW reportedly washed and dumped
         the sludge from their chemical storage tanks twice daily, suggesting that at least 110 gallons of

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         solution was applied daily, assuming that the storage tank was no smaller than a 55‐gallon drum,
         as it appears in the photo. (GNW_00027958, at GNW_00027959) The actual volume of hazardous
         substances released at the Property by Mineralized Cell cannot be known, but it is reasonable to
         conclude that the magnitude of releases from their operation was large, especially when applied
         across the 3‐ to 4‐year period of their operations. As such, Mineralized Cell warrants a significant
         assignment of liability under this factor.
         6.3.2     Carlisle, Crown Zellerbach, and U.S. Government
         The volume of copper ammoniate that was reportedly washed out of a 750‐gallon tank and
         dumped into the LDW or onto the ground of the Property on a monthly basis by Carlisle and Crown
         Zellerbach and the amount of spent laboratory waste containing arsenic and other COPCs that
         was discharged to the septic system by CWS on behalf of the U.S. Government cannot be
         reasonably estimated based on the available information. Similarly, it is not possible to estimate
         the amount of treated carbon, briquettes, and other contaminated solid waste that was disposed
         of on the southern portion of the Property. However, considering that the southern portion of
         the Property was referred to as a “dumping ground” and that solid waste attributable to the
         charcoal and Whetlerite manufacturing operations has since been discovered at several locations
         throughout the southern portion the Property, it is reasonable to conclude that the volume of
         liquid and solid waste improperly disposed of at the Property from the charcoal and Whetlerite
         plant was large. (GLACIER06561, at GLACIER06582) As such, Carlisle, Crown Zellerbach, and the
         U.S. Government each warrant an assignment of liability under the magnitude component of this
         factor.
         With respect to the duration of the releases, Carlisle operated the plant for a relatively brief
         period between August 1942 to February 1943 (7 months), when their contract was transferred
         to Crown Zellerbach due to Carlisle’s inability to meet production goals. Crown Zellerbach
         operated the plant from February 1943 to November 1944, a period of 22 months.
         (GLACIER06561, GLACIER06582) The U.S. Government was reportedly involved in the testing of
         the Whetlerite throughout the operational periods of both Carlisle and Crown Zellerbach.
         (GLACIER06561, at GLACIER06582) Therefore, while each of these three entities warrants an
         assignment of liability under the durational component of this factor, the liability of the U.S.
         Government, as both owner and operator over the longest period of time, should exceed that of
         Crown Zellerbach, which should in turn exceed that of Carlisle.
         6.3.3     Reichhold
         As described in Section 6.2.3, the magnitude of intentional and unintentional releases from the
         Reichhold chemical plant was greater than the other historical operators that generated and
         disposed of the COPCs found at the Property. In addition, compared to Mineralized Cell, Carlisle,
         Crown Zellerbach, and the U.S. Government, Reichhold conducted its operations over a longer
         period of time; Reichhold operated for a period of 16 years (1946–1961) and none of the other
         facilities operated at the Property for more than 4 years. (GLACIER06561, at GLACIER06578‐80) In
         light of both the magnitude and duration of its operations, Reichhold warrants the most
         significant assignment of liability under this factor.
         6.3.4     Hanson and Glacier
         As previously discussed, Hanson’s and Glacier’s operations are not considered to be a source of
         COPCs, so they do not warrant an assignment of liability under this factor based on their
         operations at the Property.



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6.4      EQUITABLE FACTOR 4—THE EXTENT OF THE PARTY’S KNOWLEDGE AND AWARENESS OF THE
         PRESENCE OF CONTAMINATION DURING THEIR PERIOD OF OWNERSHIP/OPERATION
Each of the pre‐1964 operators at the Property knowingly and actively discharged hazardous substances
to the Property. However, to the extent that they existed, environmental regulations of this era were
loosely enforced and the impacts that such releases could have on human health and the environment
were not widely understood. That being said, of the pre‐1964 operators, Reichhold and the parties that
manufactured Whetlerite, especially the U.S. Government, which was responsible for laboratory testing,
clearly employed scientists that can reasonably be assumed to have had an above‐average understanding
of the potential risks associated with releases of the nature, magnitude, and duration that they were
causing. For that reason, Reichhold and the U.S. Government warrant the most significant assignment of
liability under this factor, followed by Crown Zellerbach and Carlisle. Although Mineralized Cell may also
have retained chemists as part of their operation, considering the relatively unsophisticated manner of
their operations (treating logs in an open field) relative to those of Reichhold and the Whetlerite
manufacturers, which were equipped with laboratories and would have most certainly employed chemists
to run them, Mineralized Cell’s assignment of liability for this factor is lower than that of the others.

Hanson, on the other hand, operated a cement transfer facility that utilized very few potential sources of
contaminants. They were unaware of any impacts that existed at the Property prior to their operation or
ownership of the Property, as pre‐acquisition environmental due diligence investigations were
uncommon at the time. In addition, unlike petroleum‐contaminated soil, which can exhibit a strong,
distinct odor when excavated, in my experience, the COPCs that have been detected at elevated
concentrations in material placed along the shoreline (PCP, D/Fs, PCBs, metals) do not exhibit a strong
odor when encountered in soil, so the construction crew that placed the material may have had no
awareness of any impacts that may have been present in the material. The first environmental
investigation of the Property that confirmed the presence of contamination at the Property was
conducted in 1985, at least 12 years after Hanson purchased the Property and nearly 20 years after they
allegedly placed contaminated material along the shoreline. (KC2005992, at KC2006012‐15) As such, an
assignment of liability to Hanson for this factor is unwarranted.

Due to the fact that Glacier did not provide Hanson with the documents requested in discovery until May
8, 2020, a full week after the deadline for their delivery had passed, it was not possible for me to
thoroughly assess whether Glacier performed adequate due diligence prior to their purchase of the
Property in 1991. However, assuming that Glacier did perform at least some level of due diligence prior
to purchase, as was becoming more common following the passage of CERCLA in 1980 (especially for large
industrial properties), then Glacier would have been aware of the initial 1985 environmental investigation
that revealed the presence of contamination at the Property. If so, then they willingly entered into the
purchase of the Property knowing that, as an owner, they would be liable for the impacts on the Property.
Regardless, numerous investigations have been completed since that time and Glacier has had nearly 30
years of ownership to complete an investigation and remediation of the Property. (GLACIER06561, at
GLACIER06602‐05) Despite the significant amount of time that has passed since they purchased the
Property, a final cleanup action plan has not yet been developed, much less implemented, and the
contamination present beneath their Property continues to migrate and present unacceptable risks to
human health and the environment. As such, Glacier warrants a significant assignment of liability under
this factor.




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6.5      EQUITABLE FACTOR 5—THE ANTICIPATED RELATIVE COST ASSOCIATED WITH THE
         INVESTIGATION OF THE SPECIFIC COPCS RELEASED BY THE PARTY
Due to the untimely and late production of documents by Glacier, a thorough review of the draft FS that
was prepared by ERM could not be completed in time to provide substantive comments regarding it in
this report. However, acknowledging that neither the RI nor the FS has been approved by Ecology under
the ongoing Agreed Order process, it would be premature to assume that Ecology will concur with the
findings or conclusions of either of these documents. Furthermore, as discussed in the mediation brief
submitted on behalf of Hanson, Bankruptcy Code Section 502(e)(1(B) essentially mandates that a
potentially responsible party cannot recover future, unspent costs from a Chapter 11 Debtor and that for
this reason, Glacier dropped the portion of its claim that was seeking a share of future costs. Therefore,
anticipated future remedial costs are not an appropriate factor for use in the assignment of liability in this
case.

The most widespread COPC at the Property is arsenic, which covers approximately 91 percent of the total
area of SL exceedances from COPCs at the Property and encompasses virtually all of the areas where
copper and zinc impacts are present. Mineralized Cell and the U.S. Government, the latter of which
operated the laboratory that used and disposed of arsenic‐containing chemicals in the Whetlerite
laboratory, are each responsible for the distribution of arsenic, copper, and zinc impacts at the Property.
Arsenic is toxic and recalcitrant, which does not make it amenable to the less expensive forms of passive
remediation such as monitored natural attenuation. However, the investigation of arsenic impacts can be
completed at a cost that is relatively low due to the fact that the laboratory analysis of metals can be
performed at a cost of approximately $50 per metal analyzed in each sample (i.e., a single sample analyzed
for only arsenic is $50; a single sample analyzed for arsenic and copper is $100, etc.; Appendix C is a quote
received from Friedman & Bruya, Inc., a Washington‐accredited, Seattle‐based laboratory, and includes
their standard rates for analyses of selected COPCs capable of achieving the trace detection limits required
for the investigation of the Property). Also, for sites such as large industrial properties and orchards, where
the impacts are widespread, institutional controls are often used as part of the cleanup action plan at
arsenic sites, which may dramatically reduce the cost to eliminate the exposure pathways.

The second most prevalent COPC at the Property is D/Fs, which cover approximately 47 percent of the
total area of impacts at the Property, followed by PCP (31 percent) and PCBs (14 percent). Although the
distribution of D/Fs impacts is just over half that of arsenic, the cost for an analysis of D/Fs, which ranges
from $510 to $792 per sample to achieve the detection limits needed for sites being investigated or
remediated under an Agreed Order along the LDW, is more than an order of magnitude higher than the
cost of arsenic. The costs to analyze a single sample for the presence of PCP or PCBs (using the lowest
possible detection limits, as required for sites such as the Property) are approximately $185 to $245 and
$135 to $185, respectively. Although laboratory costs are not the only factor in the cost of an
environmental investigation or remediation, they typically constitute a significant percentage of the total
project costs. Taking into consideration both the extent of impacts and the cost of laboratory analysis for
each of these COPCs, the most significant assignment of liability under this factor should be to Reichhold,
which is responsible for most of the D/Fs impacts, all of the PCP impacts, and most of the impacts from
PCBs.

Carlisle, Crown Zellerbach, and the U.S. Government are responsible for a relatively small percentage of
the D/Fs impacts and may also be responsible for some of the PCB impacts; Mineralized Cell does not
share in the liability for impacts from D/Fs or PCBs. The U.S. Government, as the operator of the laboratory
that disposed of arsenic in their laboratory’s waste streams, is also responsible for approximately 25
percent of the arsenic impacts. Based on this assignment of liability for the distribution of impacts and

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accounting for the higher cost to analyze for D/Fs and PCBs, the U.S. Government and Mineralized Cell
warrant an equivalent assignment of liability (due to the higher cost of D/Fs that will be carried by the U.S.
Government), followed by Crown Zellerbach and then Carlisle.

6.6      EQUITABLE FACTOR 6—THE DISTINGUISHABILITY OF IMPACTS RELATED TO THE PARTY
         6.6.1     Metals
         COPCs associated with Mineralized Cell’s operations include arsenic, copper, and zinc. This same
         set of COPCs (plus D/Fs) is associated with the operations of the U.S. Government. Carlisle and
         Crown Zellerbach are not responsible for the arsenic impacts, but are responsible for copper and
         zinc (and a small percentage of D/Fs). Arsenic concentrations exceeding the SLs have been
         encountered in soil and/or groundwater throughout most of the Property, covering 91 percent of
         the total area of impacts from all COPCs and encompassing virtually all the areas of impacts from
         copper and zinc. Although not clearly distinguishable from releases from the Whetlerite
         manufacturing process, the distribution of arsenic, copper, and zinc suggests that Mineralized Cell
         is responsible for approximately 60 percent of the metals impacts at the Property, with the
         remaining 40 percent split between the U.S. Government (20 percent), Crown Zellerbach (15
         percent) and Carlisle (5 percent).
         6.6.2     Dioxins/Furans
         D/Fs impacts from operations on the Property are attributable to Reichhold and, to a lesser
         extent, Carlisle, Crown Zellerbach, and the U.S. Government. The combined impacts from these
         operations, which are distributed across 47 percent of the total area of impacts from all COPCs,
         are primarily situated in the vicinity of Reichhold’s operations, including the washwater
         impoundment area, the PCP production plant, and the tank farm. Acknowledging the strong
         correlation between the distribution of D/Fs impacts and the operations of Reichhold, it is most
         equitable to assign liability for the vast majority of D/Fs impacts to Reichhold.
         The Port is entirely responsible for the D/Fs impacts that were encountered on the Property along
         the narrow strip of land that forms the southern shoreline of Glacier Bay, as the Port was
         responsible for the placement of this material during construction of T115 and no other known
         sources of D/Fs to this portion of the Property have been identified. Additional discussion is
         provided in Section 7.6.
         6.6.3     PCP
         Reichhold is the only known generator of PCP at the Property, the impacts from which cover
         approximately 31 percent of the total area of impacts from all COPCs (Figure 10). As such,
         Reichhold’s operations warrant an assignment of full responsibility for these impacts.
         6.6.4     PCBs
         Based on their years of operation and absence of significant infrastructure, PCB‐containing
         transformers are not likely to have been present during Mineralized Cell’s operations. PCB‐
         containing transformers were present during the operational periods of the U.S. Government,
         Carlisle, Crown Zellerbach, and Reichhold; these transformers were removed prior to the Property
         redevelopment activities in the mid‐1960s. (GLACIER02873, at GLACIER02874‐75) Each of the
         known or suspected PCB‐containing transformers was situated in an area of the Property with
         confirmed PCB impacts (Figure 9). Although isolated areas of PCB impacts are present in areas
         where transformers were not known to have existed, absent an alternative identifiable source of



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         PCBs, liability for the PCB impacts at the Property should be assigned to Reichhold, the U.S.
         Government, Crown Zellerbach, and Carlisle, consistent with their years of operation.
         6.6.5     1967–1968 Shoreline Expansion
         The assertion by Glacier that Hanson placed contaminated material along the shoreline of the
         Property during the 1967–1968 shoreline expansion activities has not been proven. Uncertainty
         remains regarding the volume of material that was placed along the shoreline and the chemical
         composition of the material at the time it was placed. What is known is that (1) the shoreline
         expansion activities performed in 1967–1968 resulted in the creation of approximately 15,743
         square feet (0.36 acres) of uplands and (2) the material placed in the course of the shoreline
         expansion activities is currently contaminated by numerous COPCs, including arsenic, D/Fs, PCP,
         and PCBs (Figures 5 through 10).
         While Hanson is clearly not the original source of the contamination that is present along the
         shoreline or elsewhere at the Property, the available information does not allow for a definitive
         determination of how these impacts came to exist in the fill material placed along the shoreline
         in 1967–1968. To the extent that some liability may rest with Hanson for the impacts along the
         eastern shoreline of the Property, the distinguishability of those impacts may assist in the
         assignment of that liability.
         The combined area of impacts at the uplands portion of the Property totals 561,880 square feet
         (12.9 acres) and the area of impacted soil within the footprint of the 1967–1968 shoreline totals
         15,743 square feet (0.36 acres). Therefore, the land created in 1967–1968, all of which contains
         one or more COPCs at concentrations above the SL, comprises 2.8 percent of the total area of
         impacts, which should establish a ceiling for Hanson’s liability for impacts at the Property.
         However, additional factors must be considered that result in Hanson meriting a much smaller
         percentage of liability, such as the fact that (1) Hanson is not the original source of the
         contamination that is present along the riverbank; (2) Hanson was not aware that the material
         may have been contaminated at the time it was placed; (3) the fill used in the shoreline expansion
         was placed on material that was already contaminated, and (4) there was no net increase in
         contaminant mass at the Property as a result of Hanson’s redevelopment, shoreline expansion,
         or operational activities.
         6.6.6     1970 T115 Expansion
         The Port owned the uplands portion of the Property between 1964 and 1973. They leased the
         Property to Hanson and required Hanson, as part of the lease, to redevelop the Property, which
         necessitated the demolition of the chemical manufacturing plant that Reichhold had most
         recently operated. (KC2005739, at KC2005744)

         The Port also owns the south‐adjacent T115 property, the majority of which was created by the
         Port in 1969–1970 by the placement of nearly two million cubic yards of material, some of which
         was sourced from material that was dredged from the LDW. (GLACIER06516, at GLACIER06587;
         GLACIER06659) The northernmost portion of the T115 expansion project extended onto the
         easternmost portion of the Property, forming the southern bank of Glacier Bay. The portion of
         the T115 expansion that extends onto the Property covers an area of approximately 21,321 square
         feet of land, which constitutes approximately 3.5 percent of the total area of the Property that is
         impacted by one or more of the COPCs. Several COPCs, including arsenic, copper, zinc, PCBs, and
         D/Fs, are present in soil within this strip of land, and the Port should be assigned all liability for all



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         the impacts present in this portion of the Property, as there are no other known sources for the
         contamination in the material that the Port placed at that location (Figure 10).

7.0      RECOMMENDED ASSIGNMENT OF LIABILITY

The recommended percentage of liability for each of the parties discussed above is as follows:


                                                         RECOMMENDED
                                                         PERCENTAGE OF
                                           PARTY            LIABILITY

                                Mineralized Cell               14
                                Carlisle                       2
                                Crown Zellerbach               6
                                U.S. Government                20
                                Reichhold                      50
                                Port of Seattle               3.5
                                Hanson                        1.5
                                Glacier                        3
                                TOTAL                         100


Below is a summary of the factors that influenced the assignment of liability to the parties involved in the
release and spread of contamination throughout the uplands portion of the Property.

7.1      MINERALIZED CELL
Mineralized Cell’s wood treatment operations on the southern portion of the Property over the course of
4 years between 1936 and 1939 involved the storage, mixing, application, and release of a solution
containing arsenic, copper, and zinc, which are primary COPCs for the Property. (GLACIER06561, at
GLACIER06581‐82) Consistent with the times in which they operated, Mineralized Cell does not appear to
have taken any steps to prevent the release or spread of COPCs used in its operations. In fact, the
discharge of waste to the ground via the treatment solution dripping from the exposed ends of logs
appears to have been an intended component of its operations. The quantities of materials used in its
operations is unknown and the volume of the waste that was released during the storage, mixing, and
application processes cannot be estimated, but it can reasonably be assumed that thousands of gallons
of the solution were released to the ground surface of the Property over the course of its operations. The
distribution of impacts, which shows that the highest concentrations of arsenic, copper, and zinc are
present immediately beneath the footprint of Mineralized Cell’s treatment area, confirms that its
operations resulted in significant contamination to the Property. (GLACIER15394, at GLACIER15430‐33;
GLACIER15440‐43; GLACIER15457‐60) These impacts were transported throughout much of the Property
by vehicles that tracked contaminated soil across access roads, as well as the movement of freshly treated
wood to the loading dock on the eastern shore of the Property and the overland flow of water that
contacted the contaminated soil.


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One or more of the COPCs used by Mineralized Cell in its operations (primarily arsenic) are present in soil
and groundwater across approximately 91 percent of the impacted portions of the Property. However,
because arsenic, copper, and zinc were used and released in the testing of Whetlerite in the 1940s, only
a portion of the impacts from these COPCs are attributable to Mineralized Cell. Most of the impacts
beneath the southern portion of the Property are attributable to Mineralized Cell, but the southern
portion of the Property was also used by others as a “dumping ground” for materials that contained these
contaminants. (B‐DUW‐2157514, at B‐DUW‐2157524‐25) There is no evidence to suggest that Mineralized
Cell’s operations caused the arsenic impacts in the north‐central portion of the Property (where the
Whetlerite manufacturing processes were performed), but the drainage ditches, access roads, and the
loading dock on the eastern shore provide potential explanations for how impacts from Mineralized Cell
could have come to exist in most other areas of the Property. Based on the overall distribution of arsenic,
copper, and zinc impacts and accounting for the operations of the Whetlerite manufactures, I attribute
approximately 60 percent of the distribution of arsenic, copper, and zinc to Mineralized Cell’s operation.
However, Mineralized Cell is not responsible to any significant extent for the release of other COPCs,
impacts from which are situated within much of the same footprint as those of arsenic, copper, and zinc.
Therefore, Mineralized Cell’s assignment of liability should be much less than 60 percent.

7.2      CARLISLE
Under contract to the U.S. Government, Carlisle constructed the charcoal and Whetlerite manufacturing
plant on the northern portion of the Property, which was reportedly completed in 1942 and operated
until 1944. (GLACIER06561, at GLACIER06582) It is unknown to what extent the construction of the
manufacturing plant would have had on the distribution of the impacts from Mineralized Cell.

Carlisle, Crown Zellerbach, and the U.S. Government each operated at the facility, which resulted in
significant impacts from arsenic, copper, and zinc, but also D/Fs, PCBs, and other COPCs. The arsenic
impacts associated with the Whetlerite plant were the result of wastes from the laboratory that was run
by the U.S. Government, and are not attributed to Carlisle; however, Carlisle is responsible for a portion
of the other COPCs, and each should be assigned liability for impacts present beneath the Property.

The most significant impacts associated with Carlisle’s operations are located on the northern portion of
the Property, but Carlisle and the other operators of the Whetlerite plant also used the southern portion
of the Property as a “dumping ground” for their contaminated solid waste. (B‐DUW‐2157514, at B‐DUW‐
2157524‐25) Their operations resulted in large volumes of liquid wastes being disposed of onto the
ground, which then would have migrated along drainage ditches to the Property shoreline and the LDW.
Carlisle’s contribution to the impacts at the Property cannot be distinguished from those of Crown
Zellerbach, and are only distinguishable from the impacts of the U.S. Government by the fact that Carlisle
is not responsible for arsenic contamination; however, Carlisle operated at the Property for only a period
of seven months and therefore deserves a relatively small assignment of liability.

7.3      CROWN ZELLERBACH
With the exception of the construction of the Whetlerite plant, Crown Zellerbach’s operations at the
Property were the same as those of Carlisle. However, Crown Zellerbach operated at the facility for a
period of 22 months, which is roughly three times as long as Carlisle’s operations. (GLACIER06561, at
GLACIER06582) As such, Crown Zellerbach warrants an increased assignment of liability relative to Carlisle,
in proportion to the duration of their operations.




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7.4      U.S. GOVERNMENT
The U.S. Government owned the Property for approximately 22 years between 1943 and 1964, during
which time the Property was used as a charcoal and Whetlerite manufacturing plant by CWS (as agent for
the U.S. Government), Carlisle, and Crown Zellerbach, and as a chemical manufacturing plant by
Reichhold. Their agents contracted with Carlisle to construct the charcoal and Whetlerite manufacturing
plant, and they contracted and worked with both Carlisle and Crown Zellerbach throughout the facility’s
entire period of operations from 1942 to 1944. (GLACIER06561, at GLACIER06582)

Unlike Carlisle and Crown Zellerbach, the U.S. Government’s agents also operated the Whetlerite plant’s
laboratory. (GLACIER06561, at GLACIER06582) One of the functions of the laboratory was to test the
Whetlerite in order to confirm that the gas masks in which it was to be used were able to protect the
person wearing it from exposure to toxic chemicals, such as arsenic. (GLACIER06561, at GLACIER06582)
Therefore, the U.S. Government’s agents were clearly aware of the adverse impacts that toxic chemicals
such as those being produced and disposed of at the Property had on human health. Despite this, the
laboratory knowingly disposed of liquid and solid wastes containing arsenic and other COPCs throughout
the Property, including directly to the septic system on the northeastern portion of the Property and in
the “dumping grounds” on the southern portion of the Property. (B‐DUW‐2157514, at B‐DUW‐2157524‐
25) Considering the widespread distribution of arsenic in soil and groundwater at the Property, the
presence of arsenic in the wastes produced by the laboratory is significant. Also significant is the fact that
the work being done by both Carlisle and Crown Zellerbach was performed on behalf and for the benefit
of the U.S. Government, which owned the Property throughout the plant’s period of operations.
(GLACIER06561, at GLACIER06582) The U.S. Government warrants an assignment of liability that accounts
for their period of ownership and operation at the Whetlerite plant, as well as their ownership of the
Property during Reichhold’s operations.

7.5      REICHHOLD
Reichhold leased the Property from the U.S. Government for approximately 16 years between 1946 and
1961. (GLACIER06561, at GLACIER06583) After renovating the former Whetlerite plant and constructing
a number of other improvements on the northern portion of the Property, in 1947 Reichhold began
producing resins, glues, and chemicals, such as PCP and sodium pentachlorophenate. Although PCP, of
which D/Fs are a known by‐product, was only reportedly manufactured between 1953 and 1956,
Reichhold’s chemical production activities continued at the Property until 1961. (GLACIER06561, at
GLACIER06583) During that entire period, the facility operated PCB‐containing transformers in several
locations, which resulted in PCB impacts in soil at each known transformer location. (GLACIER02873, at
GLACIER02874‐75)

Reichhold discharged untold quantities of contaminated waste to the drainage ditches on the Property
and directly into the LDW, despite being a chemical manufacturing company that was undoubtedly
familiar with the toxicity of the chemicals that it was discharging. (GLACIER06561, at GLACIER06584)
Several of these discharges were so severe that they resulted in large fish kills in the LDW. (RH_00005707,
at RH_00005711‐12) Reichhold also constructed an unlined impoundment area immediately adjacent to
the shoreline of the Property, which allowed the contaminated water that was stored in it to infiltrate and
resulted in significant impacts to soil and groundwater along the shoreline by a number of COPCs,
including PCP, D/Fs, and PCBs, which are highly toxic. (GLACIER06561, at GLACIER06583‐84;
GLACIER06652)




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Reichhold is the only party that handled and disposed of PCP and is mostly responsible for the D/Fs that
are present in the subsurface. (GLACIER06561, at GLACIER06652) Acknowledging the distinguishability
and toxicity of the wastes that Reichhold released at the Property, as well as the volume of those
discharges, which occurred over a period of time that was nearly four times longer than any of the other
operators that preceded it at the Property, Reichhold warrants an assignment of liability that is
significantly larger than any other party. (GLACIER06561, at GLACIER06583‐84)

7.6      PORT OF SEATTLE
The Port owned the uplands portion of the Property between 1964 and 1973. The Port leased the Property
to Hanson and required Hanson, as part of the lease, to redevelop the Property, which necessitated the
demolition of the chemical manufacturing plant that Reichhold had most recently operated. (KC2005739,
at KC2005744)

The Port also owns the south‐adjacent T115 property, the majority of which was created by the Port in
1969–1970 by the placement of nearly 2 million cubic yards of material, some of which was sourced from
material that was dredged from the contaminated waters of the LDW. (GLACIER06561, at GLACIER06587;
GLACIER06659) The northernmost portion of the T115 expansion project extended onto the easternmost
portion of the Property, forming the southern bank of Glacier Bay. The portion of the T115 expansion that
extends onto the Property covers an area of approximately 21,321 square feet of land, which constitutes
approximately 3.5 percent of the total area of the Property that is impacted by one or more of the COPCs.
Several COPCs, including arsenic, copper, zinc, PCBs, and D/Fs, are present in soil within this strip of land,
and the Port should be assigned all liability for all the impacts present in this portion of the Property, as
there are no other known sources for the contamination in the material that the Port placed at that
location. (GLACIER06561, at GLACIER06659‐60)

7.7      HANSON
Hanson originally leased the Property from the Port in 1964 and purchased it from the Port in 1973.
(GLACIER06561, at GLACIER06579) Hanson owned the Property until 1987, when they sold it to LSI.
(GLACIER06561, at GLACIER06585‐06586) In accordance with the terms of its lease with the Port, Hanson
demolished the structures and associated equipment that had been used most recently by Reichhold and
constructed most of the existing components of the cement terminal, which Hanson only used to store
and transfer cement. Cement was not manufactured at the Property, and there is no reason to suspect,
nor have assertions been made, that Hanson’s operation of the cement terminal contributed to the
impacts present at the Property. (GLACIER06561, at GLACIER06576; KC2006272; KC2006218)

The stormwater system that Hanson reportedly installed on the southern portion of the Property would
have served to reduce the infiltration of precipitation through contaminated soil and thereby reduce the
potential for additional groundwater contamination while it was in operation, which reportedly ceased
some time before 1991. (GLACIER06561, at GLACIER06585‐86) It is not surprising that solids collected
from inside the former stormwater pipe contained elevated concentrations of some COPCs; such
contamination is present in near‐surface soil throughout much of the area that drained into the
stormwater system, and some of that contaminated soil would have been entrained in the stormwater
runoff. During the 2014 investigation of the former stormwater system, there were no observations of a
breech that would have allowed for the contaminated water that passed through the system to
contaminate otherwise unimpacted areas of the Property, and ERM concluded that the system was an
“insignificant historical transport mechanism” for contamination. (GLACIER06561, at GLACIER06655)




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Glacier also asserts that Hanson is liable for impacts at the Property because Hanson allegedly placed
contaminated material along the shoreline during the 1967–1968 shoreline expansion activities. However,
neither Glacier nor Hanson has sufficient evidence to prove that the material along the shoreline was
contaminated or uncontaminated at the time of its placement.

If one assumes that the material was contaminated before it was placed along the shoreline, several
factors must be considered with assigning liability for its placement, including:

    1. Hanson did not cause the contamination to be present in the material that was placed along the
       shoreline. The contamination was caused by the numerous and significant releases of prior
       operators such as Mineralized Cell, the operators of the Whetlerite plant, and Reichhold.

    2. Hanson was unaware of the contamination. There were no environmental investigations of the
       Property performed prior to the shoreline expansion that would have alerted Hanson to the
       contamination, and the types of contaminants that are currently present within the area of
       shoreline expansion may not have exhibited odors or discoloration, such as is often observed in
       petroleum‐contaminated sites. Furthermore, it is not apparent that the construction workers that
       performed the shoreline expansion had any experience working at contaminated sites, or that
       they would have recognized any indications of contamination, if present.

    3. The materials used for the shoreline expansion were placed on and adjacent to similarly impacted
       material, especially in the vicinity of the former washwater impoundment area. (GLACIER15394,
       at GLACIER15433‐39) Considering the extensive groundwater contamination immediately west of
       the shoreline expansion area, if it were to somehow be proven that the material placed along the
       shoreline was not contaminated at the time of its placement, the material would have become
       contaminated by the groundwater contamination that flowed through it.

    4. Contaminated material is not alleged to have been imported to the Property by Hanson, so the
       volume and mass of contamination at the Property did not increase as a result of the shoreline
       expansion, except to the extent that clean material that may have been placed by Hanson would
       now be contaminated by the flow of contaminated groundwater through it.

    5. If the material along the shoreline was contaminated at the time it was placed, the method and
       cost of remediation would not be significantly increased. Soil located to the west of the area of
       shoreline expansion, which was in place before the shoreline expansion activities occurred, is
       contaminated with many of the same COPCs that were detected in soil collected from within the
       area of expansion. (GLACIER15394, at GLACIER15433‐39) If, hypothetically, the shoreline
       expansion had not been performed at all and the current shoreline was situated where the 1963
       shoreline is depicted in the ERM RI, there would still be impacts requiring remediation located
       along that shoreline. Therefore, any remedial approach would still have to account for the
       proximity of those impacts to the surface water of the LDW.

In light of the fact that (1) the volume, mass, and magnitude of the contamination at the Property have
not increased as a result of any of Hanson’s activities, including the shoreline expansion activities that at
worst moved the contamination from one location to another, and (2) the remedial approach, which has
not yet been established despite the nearly 30 years that Glacier has owned the Property, (GLACIER06561,
at GLACIER06579‐80) would have required the same level of shoreline permitting and protection
measures regardless of whether the shoreline was in its current or previous configuration, the most
appropriate method of estimating the impact that the shoreline expansion has had on the cost of the

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remedial investigation work performed to date is to calculate what percentage of the remedial
investigation costs are attributable to the shoreline expansion area. Because the level of detail provided
in the invoices and other documentation provided by Glacier does not allow for such a determination,
instead, the square footage of the shoreline expansion area was compared to the total area of impacts at
the Property, which indicates that the area of impacts at the Property was increased by approximately 2.8
percent.

However, Hanson does not warrant a 2.8 percent assignment of liability of the total costs incurred to date
for several reasons:

      1. Remedial investigation costs to date include those associated with interim actions that were
         performed outside the area of shoreline expansion. (GLACIER06561, at GLACIER06608) The cost
         of those interim actions should not be included in the total against which Hanson’s assigned
         percentage is calculated.

      2. Increases in costs associated with investigating the upland shoreline expansion area were offset
         by the decreases in costs associated with no longer having to investigate that area as part of the
         sediment investigation.

      3. As previously stated, Hanson did not cause the contamination to exist, so any increase in remedial
         investigation costs should be shared with those that did.

7.8       GLACIER
Glacier purchased the Property in 1991, more than 10 years after the passage of CERCLA at a time when
performing due diligence of properties, especially large industrial one, had become commonplace.
(GLACIER06561, at GLACIER06579‐80) As such, they should have been aware that the Property they were
purchasing was contaminated, since that discovery had been made in 1985, 6 years before their purchase.
By purchasing the Property, they also acquired the liabilities associated with that purchase.

Despite the nearly 30 years that have passed since Glacier acquired the Property, the report documenting
their RI and FS efforts remains in draft form, with the feasibility study component of that report having
been submitted for regulatory review less than one month ago. (GLACIER06561, at GLACIER06579‐80) In
the time that they have owned the Property, contaminated groundwater has migrated, expanding the
footprint of contamination, including into the water of the LDW. Although Glacier’s operation of the
cement terminal, like Hanson’s, has not resulted in the contribution of any significant impacts to the
Property, their failure to complete an RI within a reasonable time frame warrants them an assignment of
a small percentage of the liability.




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     May 2020


     Expert Report
     Evaluation of Liability for Past Investigation and
     Remediation Costs at the Glacier Northwest Property




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                                          Prepared at the request of legal counsel for
                                          mediation and in anticipation of litigation




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                                                     Evaluation of Liability for Past
                                                     Investigation and Remediation
                                                     Costs
                                                     Glacier Northwest Property

                                                     May 2020




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Erin O’Connell                                       Prepared at the request of legal counsel
Staff Scientist                                      for mediation and in anticipation of
                                                     litigation

                                                     This expert report was prepared by a team
                                                     under the direction of the senior technical
                                                     expert designated above. Only that
                                                     individual is designated for addressing
                                                     questions of any kind related to the
                                                     opinions expressed herein.




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Abstract

Veris Law Group PLLC and Hillis Clark Martin & Peterson P.S. (counsel), on behalf of Glacier Northwest,
Inc. (Glacier Northwest), retained TIG Environmental (TIG) to evaluate how to fairly distribute the costs of
past investigations and remediations performed at the property located at 5900 West Marginal Way in
Seattle, Washington (Property). Glacier Northwest is the current owner and operator of the Property. Kaiser
Cement and Gypsum Corporation and Kaiser Cement Corporation, two corporate predecessors to Hanson
Permanente Cement, Inc. (Hanson), formerly owned and operated the Property. In 2017, Glacier Northwest
filed a proof of claim against Hanson seeking to recover costs incurred by Glacier Northwest and Reichhold
Chemicals, Inc. (Reichhold), a former operator of the Property, to investigate and remediate the Property.
To conduct this evaluation, TIG reviewed information provided by counsel to answer the following questions:
•   Which parties and their operations are responsible for the contamination at the Property?

•   What are the contamination sources with respect to area, environmental media type, and/or
    contaminant?
•   Can the completed investigations and remediations can be linked to an operational area, environmental
    media type, and/or contaminant?
•   Can the cost of the completed investigations and remediations be distributed between the historical
    owners and operators of the Property? If so, how?

•   Were the completed investigation and remediations performed in compliance with the Model Toxics
    Control Act (MTCA) and the National Oil and Hazardous Substances Pollution Contingency Plan, also
    known as National Contingency Plan (NCP), as well as the requirements of the Agreed Order (AO)
    between Glacier Northwest, Reichhold, and the Washington State Department of Ecology (Ecology)?
TIG evaluated the Remedial Investigation/Feasibility Study prepared in 2020 by ERM to determine the
contaminants associated with the succession of operators at the Property. The Property has been
continuously operated for industrial purposes since 1936. These operations include wood treatment,
manufacturing and testing of activated charcoal and whetlerite, manufacturing of chemicals such as resins,
glues, formaldehyde, pentachlorophenol (PCP), and cement storage and distribution. The Property has
been operated as a cement storage and distribution terminal since 1969. Contaminants of concern (COCs)
identified by ERM present in soil, groundwater, and stormwater at the Property include arsenic, copper, zinc,
PCP, polychlorinated biphenyls (PCBs), carcinogenic polyaromatic hydrocarbons (cPAHs), dioxins and
furans, total petroleum hydrocarbons (TPH), and tributyltin (TBT).
Multiple investigations and remediations have occurred at the Property since 1985, including a series of
investigations and remediations performed as independent actions through 2007. Since 2009, investigations
have been performed under the AO. TIG evaluated a set of consultant, regulatory agency, and attorney
invoices pertaining to these past investigations and remediations to determine total costs incurred. The total
costs of completed investigations and remediations amounts to $8,604,890.98. These costs have been
incurred or paid by Glacier Northwest or Reichhold. In 2014, Reichhold commenced a Chapter 11




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bankruptcy case. In that case, Glacier Northwest filed a contribution and cost-recovery claim similar to the
claim made in Hanson’s bankruptcy. In settlement of Glacier Northwest’s claim in the Reichhold bankruptcy,
Reichhold assigned to Glacier Northwest the right to recover from third parties the costs that Reichhold
incurred to investigate and remediate the Property. Glacier Northwest’s claim in the Hanson bankruptcy
includes the costs that Glacier Northwest has incurred directly as well as the costs incurred by Reichhold.
The invoices provided insufficient detail to attribute the cost of each completed investigation or remediation
to a specific operator or contaminant, or the work reflected in the invoices pertained to multiple sources of
contamination, not discrete sources of contamination. As a result, a simple assignment of cost per
investigation or remediation to a specific operational area, environmental media type, and/or COC was not
feasible. Therefore, TIG developed an algorithm to allocate the costs of the completed investigations and
remediations amongst all former owners and operators of the Property. TIG then re-assigned to Glacier
Northwest, Reichhold, and Hanson the costs initially allocated to other owners and operators.
TIG’s algorithm assigned a weight to each COC-based on frequency of detection above screening levels in
environmental media at the upland portion of the Property and a weight to each former and current owner
and operator of the Property based on duration and size of operational area. Using these two factors, TIG
assigned percentages of the total cost to each owner or operator depending on which COC each owner and
operator is associated with. Once the shares of the total cost were allocated amongst all current and former
owners and operators of the Property, TIG added an exacerbation factor to Hanson’s share otherwise
attributable to the owners and operators that predated Hanson to account for the fact that Hanson knowingly
dispersed existing contamination on the Property by redevelopment activities. TIG then redistributed those
costs between Glacier Northwest, Reichhold, and Hanson. This resulted in a total cost share for Glacier
Northwest of 3.52 percent, a total cost share for Reichhold of 58.94 percent, and a total cost share for
Hanson of 37.54 percent. Applying these percentages to the costs of the completed investigations and
remediations, Glacier Northwest would be assigned $302,771.79 of the costs, Reichhold would be assigned
$5,071,521.86 of the costs, and Hanson would be assigned $3,230,597.33 of the costs.




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1. Introduction

Veris Law Group PLLC and Hillis Clark Martin & Peterson P.S. (counsel), on behalf of Glacier Northwest,
Inc. (Glacier Northwest), retained TIG Environmental (TIG) 1 to evaluate how to fairly distribute the costs of
investigations and remediations performed at the property located at 5900 West Marginal Way in Seattle,
Washington (Property). The Property abuts the western shoreline of the Lower Duwamish Waterway (LDW)
Superfund Site (Figure 1). Glacier Northwest is the current owner and operator of the Property. Kaiser
Cement and Gypsum Corporation and Kaiser Cement Corporation, two corporate predecessors to Hanson
Permanente Cement, Inc. (Hanson), formerly owned and operated the Property.

TIG was directed to exclude from its evaluation the potential contribution of contamination from the Property
to adjacent sediments in the LDW Superfund Site, and the estimated cost of future remedial actions at the
Property.




2. Background

The Property encompasses 13.7 acres of uplands and 4.2 acres of aquatic/submerged land that forms an
embayment with the LDW (Figure 1). The LDW borders the Property to the east. The Property is bordered
to the north by property operated by Alaska Marine Lines, Inc. (AML) and owned by Duwamish Shipyard,
Inc., to the west by West Marginal Way, and to the south by the Port of Seattle (Port)-owned Terminal 115
(T-115) (Figure 3). Since acquiring the Property in 1991, Glacier Northwest has operated a cement
distribution and storage terminal at the Property.
In 1995, Glacier Northwest and Reichhold Chemicals, Inc. (Reichhold), which operated a chemical
manufacturing plant at the Property from 1946 to 1961, entered a settlement agreement pursuant to which
they agreed to share in the costs of investigating and cleaning up the contamination at the Property (Glacier
Northwest, Inc. v Kaiser Gypsum Company, Inc., et al. 2020, 4–5). In 2009, the Washington State
Department of Ecology (Ecology) entered into an Agreed Order (AO) 2 with Glacier Northwest and Reichhold
as potentially liable persons (PLPs) to investigate contamination at the Property (Ecology 2009). In 2014,
Reichhold declared bankruptcy and rejected the 1995 settlement agreement. In settlement of the claim
Glacier Northwest filed against Reichhold in the bankruptcy, Reichhold assigned to Glacier Northwest the
right to recover Reichhold’s investigation and remediation costs from third parties (Glacier Northwest, Inc. v
Kaiser Gypsum Company, Inc., et al. 2020, 5; Glacier Northwest 2015). After Reichhold’s bankruptcy,
Glacier Northwest was left alone to comply with the AO.
In 2016, Hanson commenced a Chapter 11 bankruptcy case. In 2017, Glacier Northwest filed a proof of
claim in the bankruptcy case seeking recovery of the costs incurred by Glacier Northwest and Reichhold in


1   TIG Environmental is a member of The Intelligence Group, LLC.
2   Ecology Agreed Order No. DE 6000 in the Matter of Remedial Action by: Glacier Northwest, Inc. and Reichhold, Inc.




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response to the contamination at the Property (Glacier Northwest, Inc. v Kaiser Gypsum Company, Inc., et
al. 2020, 4).
To conduct this evaluation, TIG reviewed information provided by counsel to answer the following questions:
•   Which parties and their operations are responsible for the contamination at the Property?
•   What are the contamination sources with respect to area, environmental media type, and/or
    contaminant?
•   Can the completed investigations and remediations be linked to an operational area, environmental
    media type, and/or contaminant?

•   Can the cost of the completed investigations and remediations be distributed between the historical
    owners and operators of the Property? If so, how?
•   Were the completed investigation and remediations performed in compliance with the Model Toxics
    Control Act (MTCA) and the National Oil and Hazardous Substances Pollution Contingency Plan, also
    known as National Contingency Plan (NCP), as well as the requirements of the AO between Glacier
    Northwest, Reichhold, and Ecology?
TIG solely relied on the documents provided for review by counsel (Appendix B). Data and information
obtained from the reports is considered true and accurate. TIG deviated from the provided data only if its
professional experience, subject matter knowledge, and/or professional judgement suggested otherwise.




3. Methodology

TIG applied the methodology described below when reviewing and evaluating the provided data to provide a
fair and accurate cost allocation (Figure 2). To understand the operational history, current conditions,
completed investigations and remediations, and the nature and extent of contamination, TIG reviewed the
2020 Remedial Investigation Report (RI) prepared by Environmental Resource Management, Inc. (ERM) for
Glacier Northwest (ERM 2020a) and its appendices, historical aerial photographs for the Property and
vicinity, the AO, the 2012 RI/FS Work Plan and its 2013 Addendum, prepared by ERM for Glacier
Northwest. 3 Through a review of historical plans, TIG divided the Property into generalized operational
areas and identified localized areas of contamination with source areas. TIG used these operational areas
to quantify the distribution of contaminants resulting from Property modifications and redevelopment. In
addition, TIG evaluated whether Property redevelopment affected past investigation or remediation costs.

To evaluate the costs incurred by Glacier Northwest and Reichhold for investigations and remediation of
contamination at the Property, TIG reviewed 536 invoices and calculated the total cost for past investigation



3 TIG also reviewed the Draft Feasibility Study (FS) Report by ERM (ERM 2020b); however, the findings of the FS did

not alter TIG’s evaluation and opinions.




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and remediation activities. Total past cost 4 was based on consultant, attorney, and regulatory agency
invoices that TIG confirmed against investigations and remedial action activities discussed in 2020 Draft RI
report.
TIG reviewed chemistry data and historical operations to assess whether the distribution of contaminants
could be linked to an operational area associated with a known historical operator. Overlapping operational
areas, contaminants associated with more than one party, distribution of waste by several parties in areas
beyond operational areas, and redevelopment activities that moved contaminants from source areas did not
allow TIG to assign contamination to one or other historical source. In addition, the reviewed invoices
provided limited detail for cost distribution purposes. A simple distribution of cost based on the origin of the
contaminants was not appropriate given the available data. All remaining costs were included in calculations
of an algorithm with several standard metrics for estimating liability shares in environmental cost recovery
and/or allocations.
The algorithm apportions the past investigation and remediation costs among all current and former owners
and operators of the Property according to a defined set of metrics. These metrics include scores for the
origin of contaminants of concern (COCs), duration of operations, operational area on the Property, and an
exacerbation factor applicable to parties that performed redevelopment and moved contaminants from
source areas to other areas of the Property. The algorithm calculated a share of the total past cost for each
party based on the input metrics. Once the shares of the total cost were allocated amongst all current and
former owners and operators of the Property, TIG redistributed those costs between Glacier Northwest,
Reichhold, and Hanson.
TIG also evaluated whether the investigations and remediations performed to date were performed in
compliance with MTCA, the AO, and the NCP.




4. Property History

This section summarizes the operations conducted by each owner and/or operator of the Property that
resulted in contamination of environmental media or movement of previously contaminated media.




4The total past investigation and remediation cost does not include sediment investigations related to the LDW
Superfund Site, consultant fees related to the LDW Superfund Site, or attorneys’ fees related to the LDW Superfund
Site. The total past investigation and remediation cost includes Ecology fees, consultant fees incurred by Glacier
Northwest and Reichhold, as well as attorneys’ fees incurred by Glacier Northwest and Reichhold.




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4.1     Historical Owners

Ownership history for the Property is known from approximately 1918, as detailed below (Figure 4) (ERM
2020a, 20–22):
•     At least 1911 to 1973: The Port 5 owned the embayment of the Property. Prior to 1922, the Port filled
      the upland portion of the Property with dredge material from the LDW, and the U.S. Army Corps of
      Engineers constructed a wooden bulkhead (ERM 2020a, 20).

•     1918 to 1924: Puget Sound Bridge & Dredging Company owned a portion of the Property (ERM 2020a,
      21).
•     1924 to 1927: Individuals and the General Investment Company owned a portion of the Property; its
      operations are unknown.
•     1927 to 1943: King County owned a portion of the Property (ERM 2020a, 21).
•     1943: Carlisle Lumber Company (Carlisle) owned a portion of the Property for approximately 120 days.
•     1943 to 1964: The U.S. government owned the upland portion of the Property.
•     1964 to 1969: The Port owned the entirety of the Property, including the embayment (ERM 2020a, 21).
•     1969 to 1987: Hanson owned the entirety of the Property, including the embayment (ERM 2020a, 21).

•     1987 to 1991: Lone Star Industries, Inc. and Lone Star Northwest GP owned the entirety of the
      Property, including the embayment (ERM 2020a, 22).
•     1991 to Present: Glacier Northwest has owned the entirety of the Property, including the embayment
      (ERM 2020a, 22).


4.2     Historical Operators and Operations

This section describes the activities conducted at the Property by the main historical operators, including
Mineralized-Cell Wood Preserving Co. (Mineralized-Cell), Carlisle, Crown Zellerbach Co. (Crown), the U.S.
Army, Reichhold, Hanson, and Glacier Northwest. This section assesses the relationship between each
COC identified by ERM in the 2020 RI that requires cleanup at the Property and the operators or operations
associated with these COCs.

4.2.1 Mineralized-Cell Wood Preserving Co.
From approximately 1936 to 1939, Mineralized-Cell operated a wood preservation and treatment facility on
the southern portion of the Property (Figure 3) (ERM 2020a, 23). The wood preservation and treatment
facility included two structures in the center of its operational area: a building for storage of chemicals used

5 In the 2020 RI, ERM states that the Port owned the site embayment; however, based on publicly available information,

the Commercial Waterway District (CWD) was the predecessor of the Port and owned submerged lands within the LDW
until at least 1957 (Commercial Waterway District No. 1 of King County v The State of Washington 1957).




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during the wood preservation process and a building that was most likely a boiler house. Mineralized-Cell
operated a dock along the property shoreline to the LDW for receiving log shipments (ERM 2020a, 23).
Mineralized-Cell unloaded the logs from the dock and placed them in a line perpendicular to the southern
boundary of the Property for treatment (ERM 2020a, 23). After unloading, Mineralized-Cell pressure-treated
logs by applying a solution containing arsenic, copper sulfate, zinc sulfate, and at least eight other unknown
chemicals to either end of the log until the solution dripped from the log’s exposed ends (ERM 2020a, 23).
Treatment chemicals were stored in tanks that were washed out daily, according to a 1945 pollution control
report indicating that any residual chemicals within these tanks were washed onto the ground surface (ERM
2020a, 23). After treatment, treated logs were shipped by either truck or from the dock on the LDW.

Legacy Contaminants Associated with Wood Preservation and Treatment Operations
Mineralized-Cell’s wood treatment and preserving operations were associated with arsenic, copper, and zinc
(ERM 2020a, 63–64, 91).The wood treatment performed on the Property’s unpaved ground surface was a
likely source of contaminated soil and groundwater in the wood preservation and treatment areas of the
Property (ERM 2020b, 91). Elevated concentrations of arsenic, copper, and zinc are present in soil and
groundwater within and near Mineralized-Cell’s former operational area. According to ERM, some of the
detections of arsenic along the riverbank are likely a result of staging of treated wood near the former dock
to prepare for shipment of logs from the dock on the LDW (ERM 2020b, 91). TIG agrees with this
conclusion.
Unlined drainage ditches were reportedly present during Mineralized-Cell’s operational period, according to
ERM (ERM 2020a, 20). ERM was unable to confirm whether Mineralized-Cell used these ditches to
transport wastewater and stormwater from process areas into the embayment (ERM 2020c, 20, 23–24).
Mineralized-Cell treated logs by applying a solution containing arsenic, copper, and zinc to either ends of a
freshly cut log, allowing the treatment chemical to drip onto the pervious ground surface below the log (ERM
2020a, 23). This process allowed the treatment chemicals containing COCs to contaminate the underlying
soils and their distribution by sheet flow or unchanneled stormwater throughout the southern half of the
Property, beyond the operational footprint of Mineralized-Cell (ERM 2020a, 23–24).
The highest concentrations of arsenic and copper in saturated soil, unsaturated soil, shallow groundwater,
and deep groundwater are present in the location of the former wood treatment facility (ERM 2020c, 37–39,
47–50). Although areas with the highest concentrations of arsenic, copper, and zinc are located in this
portion of the Property, arsenic and copper were generally detected across the Property in all environmental
media types at concentrations above applicable screening level values, including in riverbank soil (ERM
2020c, 37–39, 47–50). Zinc is also present throughout the Property in soils and in groundwater in a few
isolated areas throughout the Property (ERM 2020a, 64).
The wide distribution of arsenic and copper throughout the Property indicates that the current extent of
contamination cannot be solely associated with Mineralized-Cell historical operations (ERM 2020c, 37–39,
47–50). Other potential sources of arsenic and copper are discussed in the following sections. According to
ERM, the distribution throughout the Property beyond source areas was likely caused by redevelopment
activities that moved contaminants in soil from their source area to other areas of the Property.




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4.2.2 Carlisle Lumber Company, Crown Zellerbach, and U.S. Army
Between 1940 and 1943, pursuant to an educational contract awarded by the U.S. Chemical Warfare
Service (CWS), 6 Carlisle constructed a charcoal and whetlerite 7 manufacturing plant on the northern half of
the Property, parallel with the northern boundary of the Property (Figure 3) (ERM 2020a, 24). The
manufacturing plant consisted of at least nine buildings, including a main manufacturing plant and ancillary
support structures (such as chemical and other storage areas, laboratories, underground storage tanks
[USTs], and a rail spur). According to ERM, an unlined drainage ditch present along the southern Property
boundary was likely used for stormwater and wastewater conveyance (ERM 2020c, 11, 24). In 1943, the
U.S. Army purchased the production plant from Carlisle and contracted Crown to continue production of
activated charcoal and whetlerite (ERM 2020a, 24). During the plant’s operational period from 1941–1944,
Carlisle and Crown produced a cumulative total of 5.2 million pounds (lbs) of activated charcoal and 2.6
million lbs of whetlerite (ERM 2020a, 24). For the purposes of this report, Carlisle. Crown, and the U.S.
Army are considered one operator because they all operated the same charcoal and whetlerite
manufacturing and testing facility.

In addition to manufacturing, the U.S. Army operated a testing facility for the finished product at the
Property, using chemicals such as arsine, chloropicrin, cyanogen chloride, and phosgene. 8 The U.S. Army
either dumped or incinerated spent carbon remaining from the testing process on the Property, though the
specific location where incineration and/or dumping of spent testing materials occurred is unknown (ERM
2020a, 24). These operations ceased in 1944.

Legacy Contaminants Associated with Manufacturing and Testing of Activated Charcoal
and Whetlerite
Operations of the charcoal and whetlerite manufacturing and testing facility are associated with copper,
arsenic, zinc, dioxins/furans, carcinogenic polycyclic aromatic hydrocarbons (cPAHs), 9 and diesel-range and
motor oil-range total petroleum hydrocarbon (TPH) (ERM 2020a, 93). Carlisle, Crown, and the U.S. Army
stored the copper ammoniate, which was used during the manufacturing process, in a 750-gallon tank that
was cleaned out monthly. The resulting waste from cleaning this tank were initially dumped into the
embayment and, during later operations, onto an adjacent field (ERM 2020a, 24, 92). Since the finished
charcoal and whetlerite was intended for use in gas masks, testing was performed by exposure to various
chemicals, including arsine, chloropicrin, cyanogen chloride, phosgene, arsenous acid, magnesium arsenite,

6CWS is a branch of the U.S. Army formed in 1918 to consolidate research and development of chemical weapons
(Brophy, Miles, and Cochrane 1959, 34). CWS awarded educational contracts as a part of its Educational Order
Program, which, beginning in 1938, distributed funding to manufacturers to produce items that the government deemed
essential for warfare, including gas masks (Brophy, Miles, and Cochrane 1959, 242).
7  Whetlerite is activated carbon impregnated with copper, hexavalent chromium, and silver. It was historically used for air
filtration inside of gas masks (Blacet and Grabenstetter 1943, 1–2).
8 Arsine, chloropicrin, cyanogen chloride, and phosgene are compounds used in chemical weapons that were part of the

U.S. Military inventory of weapons during World Wars I and II (Coleman 2005, 11, 17–19).
9 ERM identified individual cPAHs as primary contaminants in soil, however these individual cPAHs were co-located with

the soil samples exceeding the toxicity equivalent quotient (TEQ) of total cPAHs. Therefore, the magnitude and extent of
individual cPAHs can be represented by the total cPAHs.




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magnesium arsenide, an unspecified zinc metal analyte reagent, and zinc metal (ERM 2020a, 93). Once
testing was completed, the spent carbon and whetlerite was either incinerated on the Property or dumped
onto the ground surface, allowing the chemicals to remain in soils and eventually migrate to groundwater
(ERM 2020a, 93).
The chemicals described above are a source of copper, arsenic, and zinc, which are present in soil and
groundwater within the Carlisle/Crown/U.S. Army operational area (ERM 2020c, 63–64). Disposing of waste
resulting from manufacturing and testing operations onto the ground surface likely contributed to
contamination, and operators may have dumped the waste on areas of the Property outside of the
operational area (ERM 2020a, 93).
According to ERM, dioxins/furans were likely inadvertently produced during the production of activated
charcoal and whetlerite, specifically when logs of compressed wood and sawdust were charred (ERM
2020a, 92). The manufacturing process entailed heat treatment, up to 1,800ºF, of organic materials
impregnated with compounds such as chlorine and copper, which could result in the formation of
dioxins/furans (ERM 2020c, 92; Kobylecki et al. 2001). Concentrations of dioxins/furans were observed
within the Carlisle/Crown/U.S. Army operational area as well as the Reichhold operational area (discussed
further in section 4.2.3); however, these compounds were also detected outside of the former operational
areas of both operators, including along the riverbank (ERM 2020c, 68). These detections beyond the
operational areas may be due to the operator’s dumping practices or the redevelopment activities of Hanson
in the 1960s, which moved soil from the operational areas (discussed further in Section 4.2.4). In addition,
waste carried within the unlined drainage ditch may have allowed contaminants to infiltrate soils and
groundwater. ERM was unable to confirm whether Carlisle, Crown, and the U.S. Army used this ditch for
stormwater management.
TPH and cPAHs were detected in soil and groundwater within the Carlisle/Crown/U.S. Army operational
area. These contaminants are associated with ancillary charcoal and whetlerite manufacturing and testing
operations through the reported use of petroleum oils and lubricants on support equipment. Typical
housekeeping practices during the period of operations would likely have resulted in disposal of these
materials on the Property (ERM 2020a, 95).

4.2.3 Reichhold
From 1946 to 1961, the U.S. Army leased a portion of the Property to Reichhold for manufacturing resins,
glues, formaldehyde, pentachlorophenol (PCP), and sodium pentachlorophenate (Figure 3) (ERM 2020a,
25). Upon commencement of operations, Reichhold expanded the existing structures, which were situated
in the northern portion of the Property, parallel to the northern Property boundary, further to the south by
adding sewer and transportation systems, two tank farms, and two additional plants for production of PCP,
sodium pentachlorophenate, and formaldehyde (ERM 2020a, 25–26). Property features during Reichhold’s
operational period also included a reactor building, drum storage areas, dry chemical storage, ammonia
storage shed, a boiler, and transformers. Reichhold produced PCP between 1953 and 1956. Reichhold also
sold hydrochloric acid, a by-product of PCP manufacture, as a commercial product (ERM 2020a, 25–26).




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Two tank farms contained methanol, formaldehyde, phenol, urea, 10 chlorine, sodium hydroxide, and
hydrochloric acid (ERM 2020a, 25).
In 1955, Reichhold constructed a washwater impoundment on the eastern central portion of the property
adjacent to the riverbank. This impoundment let waste and washwater from the resin and formaldehyde
manufacturing processes infiltrate into the soil, until the impoundment was closed in 1960 (ERM 2020a, 25–
26). Surface ditches, one present since 1936 along the southern boundary of the Property, two additional
ditches in the southern portion of the Property and one in the northern portion near the PCP pilot plant were
present since at least 1951 (ERM 2020a, 26). The ditches conveyed water from the process areas to the
washwater impoundment and/or the LDW (ERM 2020a, 26). A property inventory dated 1963 lists the
presence of two transformers and two barrels of transformer oil (ERM 2020a, 26). Transformers were
present between 1940 and 1960 and were used by Reichhold and in the charcoal and whetlerite production
plant (ERM 2020a, 26, 96). Evidence of a transformer bank is also documented in a marketing sales
pamphlet developed for the sale of the property in 1961. Based on the date of operation, ERM notes that the
transformers and transformer oil are a likely source of polychlorinated biphenyls (PCBs) (ERM 2020a, 26,
96).
Reichhold ceased all chemical manufacturing operations at the Property by 1961.

Legacy Contaminants Associated with Manufacturing of Resins, Glues, Formaldehyde,
PCP, and Sodium Pentachlorophenate
Reichhold’s chemical manufacturing operations are associated with PCP, 11 dioxins/furans, cPAHs, and
diesel-range and motor oil-range TPH (ERM 2020a, 94). Releases of PCP to environmental media likely
occurred during the manufacturing process, as spills or releases via process water, wastewater, and
washwater that was discharged to ditches, the washwater impoundment, and the embayment (ERM 2020a,
94).
Reichhold’s PCP manufacturing was the only source of PCP at the Property. PCP was detected in all
sampled environmental media, including saturated and unsaturated soils, shallow and deep groundwater,
and stormwater solids (ERM 2020a, 66). Concentrations of PCP were observed in the central, eastern, and
northern portions of the Property, within the former Reichhold operational area. The highest PCP
concentrations were observed within the former washwater impoundment, adjacent to the central part of the
riverbank (ERM 2020a, 66).

Dioxins/furans are an impurity associated with the manufacture of PCP (EPA 2006, 458–459).
Dioxins/furans were detected near the PCP production plant at concentrations above screening levels (ERM
2020a, 94). Discharged process wastewater likely contained dioxins/furans, as evidenced by dioxin/furan
concentrations within the former washwater impoundment (ERM 2020a, 68–69). Dioxins/furans were also


10 Urea is the diamide of carbonic acid and is also called carbamide. Urea is used as a fertilizer and feed supplement

and as a starting material for the manufacture of plastics and drugs (Encyclopaedia Britannica 2020, 1).
11Additional SVOCs, including 2,4,6-trichlorophenol, 2,4-dichlorophenol, and phenol were identified by ERM as
contaminants at the Property, however the detections of these additional SVOCs were co-located with detections of
PCP. Therefore, PCP is considered representative of all SVOCs.




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detected along the riverbank and in the central and northeast parts of the Property, within both the
Reichhold and U.S. Army operational areas, connecting both operations to these dioxins/furans (ERM
2020a, 68–69). The highest dioxin/furan concentrations were observed along the riverbank and within
Reichhold’s operational area, including the washwater impoundment, PCP production plant, and the
historical tank farms (ERM 2020a, 68–69). However, dioxins/furans were not exclusively detected within the
footprint of Reichhold’s operations. The distribution in other portions of the Property is likely due to the
transportation of stormwater and wastewater containing dioxins/ furans in the unlined ditches across the
southern portion of the Property (ERM 2020a, 20), and to the redevelopment activities of Hanson in the
1960s, which moved soil from the operational area (discussed further in Section 4.2.4).
TPH and cPAHs were detected in soil and groundwater in the Reichhold operational area. These
contaminants were associated with ancillary operations, including the use of petroleum oils and lubricants
on equipment conducted by Reichhold to support the manufacturing facility. Typical housekeeping practices
during the period of operations would have likely resulted in disposal of these materials on the Property
(ERM 2020a, 95).

4.2.4 Hanson Permanente Cement, Inc.
The U.S. Army sold the Property to the Port in 1964, and the Port subsequently leased the property to
Hanson on the condition that Hanson develop the property (ERM 2020a, 26). Once redevelopment was
completed in 1969, Hanson operated a cement terminal at the Property, storing and shipping cement.
Hanson did not manufacture cement at the Property (Figure 3) (ERM 2020a, 27). Activities conducted by
lessees during Hanson’s ownership include asphalt and concrete crushing and storage of cement
containers, related equipment, and cargo (ERM 2020a, 21). ERM does not provide detail about the specific
cargo or type of container.
In 1969, the Port sold the Property to Hanson under a real estate contract, and Hanson continued its
operation of the cement terminal (ERM 2020a, 27). Hanson continued storing and shipping cement until
selling the Property to Lone Star Industries, Inc. in 1987 (ERM 2020a, 28).

Legacy Contaminants Associated with Storing and Shipping Cement
Contribution to environmental media contamination from Hanson’s operation are presumed to be limited to
cPAHs and TPH. Hanson operated and likely performed maintenance on vehicles, trucks, and equipment,
which may have resulted in releases of TPH and cPAHs to environmental media via spills and leaks.

Hanson Activities that Disturbed or Exacerbated Legacy Contamination
Hanson redeveloped the Property to construct a cement terminal. This required extensive grading,
excavating, and relocating of soils that contained contaminants from prior operations at the Property. From
1965 to 1969, Hanson demolished the Carlisle/Crown/U.S. Army and Reichhold facilities and regraded the
underlying soils in the footprints of these facilities; however, the total amount of soil removed and/or
redistributed during the removal of the facilities, including building foundations, is unknown (ERM 2020a,
95). Hanson placed substantial amounts of demolition debris, primarily broken concrete, as fill for the
riverbank. Following the demolition, Hanson excavated foundations for its cement terminal, ancillary support




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buildings, and stormwater system, which were primarily located within the former Carlisle/Crown/U.S. Army
and Reichhold operational areas (ERM 2020a, 26–27, 95–96; ERM 2020c, 82). To construct the foundation
for its cement silos, Hanson removed an estimated 2,000 cubic yards of material from the shallow and
dredge fill soil layers. In addition, Hanson removed up to 2 ft of shallow fill soil to construct ancillary support
buildings (ERM 2020a, 95–96; ERM 2020c, 82). Hanson also filled in the historical drainage ditches that ran
along either end of the log storage and treatment area used by Mineralized-Cell. In addition, Hanson
excavated of the unlined ditches within the northern portion of the property used by the previous operators
for stormwater and wastewater conveyance.
Based on the distribution of contaminated soil across the Property beyond the operational source areas, soil
containing contaminants associated with the Carlisle/Crown/U.S. Army and Reichhold’s operations (arsenic,
copper, zinc, PCP, dioxins/furans, TPH, and cPAHs) were distributed across the Property during Hanson’s
regrading activities in the former building locations.
According to ERM, Hanson filled in the historical drainage ditches that ran along either end of the log
storage and treatment area used by Mineralized-Cell (ERM 2020c, 82). A review of historical aerial
photographs indicates that Hanson placed substantial material along the riverbank, thereby expanding the
upland portion of the Property further east into the LDW (ERM 2020a, 23, 95–96). Soils may have also been
moved from near the former transformers to the riverbank, as soils collected near the original location of the
former transformers during the 2020 RI investigation did not contain concentrations of PCBs above
screening levels, while riverbank soils did (ERM 2020a, 95–96). ERM concluded that soils with high
concentrations of PCBs were moved from their initial location and placed along the riverbank (ERM 2020a;
ERM 2020c, 82). In 1975, Hanson constructed a stormwater system in the southern property portion. The
system connected five catch basins to a 15-inch diameter concrete pipe that discharged to a 48-inch
diameter outfall pipe, owned and operated by Seattle Public Utilities. The outfall discharges to the LDW
within the adjoining property to the south, Port of Seattle’s Terminal 115 (T-115) (ERM 2020a, 20). The
stormwater system was filled with concrete and abandoned prior to Glacier Northwest’s acquisition of the
property in 1991 (ERM 2020a, 20).
Soils along the riverbank contain arsenic, copper, zinc, PCBs, PCP, and dioxins/furans at concentrations
above screening levels (ERM 2020a, 62–64, 66–69, 95–96). ERM concluded that the presence of these
contaminants in these soils is likely a result of Hanson’s redistribution of soils during its redevelopment
activities (ERM 2020a, 95–96).

4.2.5 Ash Grove Cement Company
Lone Star Industries, Inc. owned the property for a short time in 1987 before conveying it to Lone Star
Northwest GP. Ash Grove Cement Company (Ash Grove) leased the Property between 1987 and 1991 and
continued to operate the Property as a cement terminal. The only change Ash Grove made to cement
terminal equipment at the Property was the replacement of the ship unloader and conveyance system (ERM
2020a, 28). The cooling system was also overhauled. Lone Star Northwest GP owned the Property until
1991, when it was sold to Glacier Northwest in two separate conveyances in 1991 (ERM 2020a, 28).




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Legacy Contaminants Associated with Storing and Shipping Cement
Contribution to environmental media contamination from Ash Grove’s operation are presumed to be limited
to cPAHs and TPH. Ash Grove operated and likely performed maintenance on vehicles, trucks, and
equipment, which may have resulted in releases of TPH and cPAHs to environmental media via spills and
leaks.

4.2.6 Glacier Northwest
Glacier Northwest acquired the Property in 1991 and has operated the cement storage and distribution
terminal originally built by Hanson since that time (Figure 3). The northern portion of the Property is used for
shipping and receiving and storing dry cement and small volumes of coal fly ash 12 and slag cement 13. Up to
780,000 tons of cement are delivered to the Property via ship annually (ERM 2020a, 18). Glacier Northwest
uses the southern portion of the Property for vehicle and equipment storage, warehousing, and
maintenance. Ancillary operations conducted by lessees (Figure 4) at the Property include crane equipment
storage, storage and repair of shipping containers, trailers, chassis, power equipment, equipment storage
and maintenance, and wood pallet construction (ERM 2020a, 22).

Contaminants Associated with Current Operations
Diesel-range and motor oil-range TPH and cPAHs are the contaminants that may be associated with
Glacier Northwest’s operations at the Property. Glacier Northwest operates and performs light maintenance
on vehicles and equipment, which may result in spills and releases of these contaminants to environmental
media; however, there have been no reported petroleum releases to the Property since 1991 (ERM 2020a,
99).

4.2.7 Off-Property Sources
The Property is bordered to the north by the Duwamish Shipyard, Inc. property and to the south by the T-
115 property. Both properties are cleanup sites. Zinc and tributyltin (TBT) were detected along the
boundaries of the Property with these adjoining properties.
Zinc was also detected off the Property to the north and south on the Duwamish Shipyard, Inc. and T-115
properties, respectively. Although there are known sources of zinc on the Property, ERM cannot confirm the
proportion of zinc present on the Property that is attributable to operators of the adjoining properties (ERM
2020a, 64). TBT was detected above screening levels in saturated soils located in the northeast corner of
the Property. There are no known historical or current sources of TBT on the Property. Thus, ERM attributed
the TBT present in this area to Duwamish Shipyard, Inc.’s operations (ERM 2020a, 90).



12Coal fly ash is a by-product of coal-fired power plants and is commonly recycled for use in cement and concrete
products (DOT 2016).
13Slag Cement is cement produced using recycled blast furnace slag and is typically used in ready-made concrete,
precast concrete, masonry, soil cement, and high temperature resistant building products (Slag Cement Association
2020).




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4.2.8 Historical Operations Summary
Based on the review of the provided documents (Appendix A), historical operations can be summarized as
follows:
•   The Property has been in continuous industrial use since 1936 (Figure 4).
•   The following three operators contributed the majority of contamination of environmental media at the
    Property:
    o   Mineralized-Cell, with wood preservation and treatment
    o   Carlisle, Crown, and the U.S. Army, with charcoal and whetlerite manufacturing and testing

    o   Reichhold, with chemical manufacturing
•   The cement storage and distribution operations of Hanson, Ash Grove, and Glacier Northwest
    contributed a de minimis share of contamination to the Property as compared to the three primary
    operators.
•   The main contaminants detected in environmental media and determined by the 2020 RI exceeding
    applicable screening levels that will require remediation are arsenic, copper, dioxins/ furans, PCP,
    diesel-range and motor-oil-range TPH, cPAHs, and zinc.
•   The presence of contaminants outside the original operational areas indicate that Hanson’s
    redevelopment activities moved the contaminants from their source areas to other areas of the Property.
    For example:
    o   Arsenic and Copper
        •   The highest concentrations of arsenic, copper, and zinc were observed beneath the former
            operational area of Mineralized-Cell.
        •   Arsenic, copper, and zinc can also be associated with the operations conducted by Carlisle,
            Crown, and the U.S. Army.
        •   Arsenic and copper are distributed throughout the Property in both soil and groundwater
            beyond the operational areas of Mineralized-Cell and Carlisle/Crown/U.S. Army.
    o   Dioxins/furans and PCP
        •   Dioxins/furans were associated with both the operations of Carlisle/Crown/U.S. Army and
            Reichhold, with the highest concentrations detected below the operational areas associated
            with these operators.
        •   PCP is associated with Reichhold’s former operations, and the highest concentrations of PCP
            were detected in the footprint of the former Reichhold manufacturing area.
        •   Dioxins/furans and PCPs were also observed in lower concentrations in areas where there is
            no associated source.




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      o    PCBs, TPH, and cPAHs
           •   According to ERM, PCBs were initially deposited in the soils in the vicinity of the former
               transformers. But PCB detections are primarily located in riverbank soils and not in the vicinity
               of the former transformers; therefore, ERM determines that PCBs were redistributed to
               riverbank soils during Hanson’s redevelopment activities (ERM 2020a, 99).
           •   Both TPH and cPAHs were detected across the Property in all environmental media types and
               were associated with all former operators, including, to some lesser degree, the former and
               current cement terminal operations.

•     Overlapping operational areas, contaminants associated with more than one party, distribution of waste
      by several parties in areas beyond operational areas, and redevelopment activities that moved
      contaminants from source areas all complicate assigning contamination to a specific historical source.
For this reason, TIG created an algorithm that weighs factors to determine responsibility for specific
contaminants and the cost associated with their past investigation and remediation (Figure 5). TIG’s
algorithm apportions the past investigation cost according to a set of metrics that will include scores for
contaminants of concern, duration of operations, operational areas on the Property, and an exacerbation
factor that applies to parties that performed redevelopment and moved contaminants from source areas to
other areas on the Property.


4.3       Previous Investigation and Remediation Activities

Glacier Northwest and Reichhold completed multiple investigations and remediations at the Property as
independent remedial actions before they entered the AO with Ecology. Since 2009, Ecology has been
overseeing the remedial activities under the AO, which consist of investigations to further characterize
contamination at the Property, to determine the nature and extent of the contamination present at the
Property, and to evaluate potential cleanup actions. The following sections summarize the investigations
and remediations completed at the Property by Glacier Northwest and Reichhold.

4.3.1 RETEC RI (1996)
In 1996, RETEC completed a RI. For the RI, RETEC sampled soil from 14 test pits (TP-1 through TP-14),
25 borings (GP-1 through GP-25) and seven monitoring wells (MW-1S, MW-1D, MW-3S, MW-3D, MW-5S,
MW-6S, and WM-7S). The soil samples were analyzed for PCP, chlorinated phenols, TPH, arsenic, silver,
and formaldehyde (ERM 2020a, 45). The suite of analytes suggests that this investigation assessed
contamination associated with the historical activities of Reichhold and Carlisle/Crown/U.S. Army.

4.3.2 Fluor Daniel GTI Pre-Remedial Action Characterization (1998)
Between November 1997 and October 1998, Fluor Daniel GTI installed monitoring wells (MW-8S through
MW-14S and MW-16S through MW-21S) and collected soil samples. The collected samples were analyzed
for arsenic and PCP. Monitoring wells MW-8S and MW-9S were installed at the former Reichhold PCP plant
to conduct pilot remediation studies (ERM 2020a, 45).




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4.3.3 Fluor Daniel GTI Treatability Studies for PCP and Arsenic in Groundwater
      (1998)
In 1998, Fluor Daniel GTI conducted treatability and pilot studies to determine the feasibility and
effectiveness of using various methods to treat arsenic and PCP in groundwater. The two remedial actions
ultimately implemented were hydrogen peroxide fixation for arsenic and ozone sparging for PCP (ERM
2020a, 45–46).

4.3.4 IT Corporation Hydrogen Peroxide Fixation, Arsenic in Groundwater
      Remediation (2000)
In 2000, IT Corporation installed a hydrogen peroxide gallery in the south-central area of the Property,
intending to remediate arsenic contamination in groundwater. This system enabled contractors to regularly
inject hydrogen peroxide into the subsurface to geochemically fix the arsenic to the surrounding
environmental media, preventing further groundwater contamination (ERM 2020a, 50).

4.3.5 Ozone Sparging System to Remediate PCP in Groundwater (2000)
In 2000, a total of 50 sparge wells and a soil vapor extraction system were installed on the Property as a
part of a plan to remediate PCP contamination in groundwater using ozone sparging. The system was
operated until 2005, when post-treatment monitoring began (ERM 2020a, 50).

4.3.6 Shaw Arsenic Investigations (2003)
In July 2003, Shaw Environmental and Infrastructure, Inc. (Shaw) installed six groundwater monitoring wells
(MW-22S through MW-27S) and collected soil samples. The soil samples were analyzed for arsenic, and
the monitoring wells were installed to delineate arsenic contamination in shallow soil (ERM 2020a, 45).
Shaw continued to conduct periodic groundwater sampling and remediation performance testing for PCP
between 2004 and 2007.

4.3.7 Shaw Groundwater Sampling for PCP (2004-2007)
Shaw performed periodic groundwater sampling for PCP between 2004 and 2007 to assess the
effectiveness of the PCP groundwater remediation system (ERM 2020a, 46).

4.3.8 ERM Upland and Riverbank Soil and Groundwater Investigations (2009–
      2019)
Between 2009 and 2014, ERM evaluated the contamination present in soil and groundwater on the upland
and riverbank portions of the Property. ERM conducted an additional investigation in 2019 to address the
existing data gaps. These investigations were completed in accordance with the AO between Ecology and
Glacier Northwest and Reichhold. Samples were analyzed for one or more of the following: metals, SVOCs,




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PCBs, dioxins and furans, TPH, and VOCs (ERM 2012, 60–65). The investigations and associated
sampling are described below:
•   Upland soil sampling: ERM drilled a total of 49 soil borings into the shallow fill, dredge fill, and aquitard
    soil layers present throughout the upland portion of the Property. Several soil samples were collected
    from each boring.
•   Riverbank soil sampling: In January 2014, ERM drilled seven borings at locations throughout the
    riverbank. Five of the seven borings were advanced to the silt aquitard interface soil layer, and the
    remaining two contacted impervious surfaces or armoring prior to the interface.
•   Ground-penetrating radar survey: ERM hired a subcontractor, GeoPotential, to conduct a ground-
    penetrating radar survey of the Property, to search for a historical drainage ditch and to complete a
    secondary check for buried utilities.

•   Monitoring well installation and groundwater sampling: In 2009, ERM installed 18 new monitoring
    wells (MW-28S through MW-45D). Ten of the wells were drilled into the shallow aquifer, and the
    remaining eight were drilled into the deep aquifer, which lies below the silt aquitard soil layer. Both soil
    and groundwater samples were collected during well installation activities, and ERM continued to
    sample groundwater through 2015.
•   Stormwater sampling: In 2012 and 2013, ERM conducted four stormwater sampling events and
    collected one stormwater sample from the same location during all four events. In 2012, ERM collected
    samples of the sediments and solids that accumulated within the stormwater conveyance system. Four
    total samples were collected from three locations within the system.
•   Historical stormwater system pipe investigation: During a 2014 subsurface investigation, ERM
    discovered an abandoned historical stormwater pipe. After excavating the pipe, ERM sampled the
    solids within the system. ERM estimated that the pipe was constructed in 1975 and abandoned prior to
    1991 (ERM 2020a, 53–54, 56, 76). ERM collected two samples from within the historical system.
•   ERM sediment investigation: Between 2012 and 2014 ERM collected 20 surface sediment samples
    and 17 sediment cores from within the embayment and the berthing area.

•   Data gaps investigation: In 2019, ERM conducted an investigation to fill data gaps that remained
    following all previous investigations, specifically to characterize arsenic, dioxin/furan, and PCB
    contamination in soils. A total of eight borings were advanced to the depth of the silt aquitard soil layer
    and were analyzed for arsenic, dioxins/furans, and total PCBs.




5. Compliance with MTCA, the AO and NCP

The remedial actions performed at the Property since 2009 were performed under the oversight and review
of Ecology and the AO and are compliant with the AO and the MTCA (Chapter 70.105D RCW) and the
MTCA Cleanup Regulation (Chapter 173-340 Washington Administrative Code (WAC)).




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The remedial actions performed at the Property prior to 2009 were performed voluntarily and without direct
Ecology oversight at the time. The available information indicates the actions were performed to determine
the nature and extent of contamination at the Property, to address and remediate groundwater
contamination at the Property, and to reduce the impacts to human health and the environment. In addition,
the data from the pre-2009 activities were summarized and incorporated into the ERM RI, which was
reviewed and approved by Ecology. For these reasons, it is TIG’s opinion that the pre-2009 remedial actions
are compliant with MTCA, including the requirements for remedial investigations under WAC 173-340-350
and the requirements for interim actions under WAC 173-340-430.
The pre-2009 investigations and remedial actions performed by Glacier Northwest and Reichhold, when
evaluated as a whole, are the substantial equivalent of comparable remedial actions conducted or
supervised by Ecology. Previous work included essential procedures required per WAC 173-340-300 Site
Discovery and Reporting, WAC 173-340-515 Independent Remedial Actions, and the main elements of a
formal RI conducted or supervised by Ecology per WAC 173-340-350. Pre-2009 investigations and interim
actions included appropriate scoping, multiple rounds of data collection to characterize the nature and
extent of contamination, and considered and evaluated existing data to assess environmental media at the
property per WAC 173-340-350 (7). Groundwater remediation activities comply with WAC 173-340-430 (4),
which states that interim action may occur anytime during the cleanup process of a site. The remedial
activities also comply generally with the purpose, requirements, and cleanup action relationship of interim
actions (WAC 173-340-430, (1) through (3)).
It is TIG’s opinion that the remedial actions performed by Glacier Northwest and Reichhold were also
performed in general compliance with the NCP. The NCP was developed in 1968 in response to an oil
tanker spill. The NCP was broadened in 1972, due to the passing of the Clean Water Act, to include a
framework for responding to hazardous substance releases. Following CERCLA in 1980, the NCP was
further broadened to cover releases at hazardous waste sites. Compliance with MTCA, although
established post CERLA in 1989, equates compliance with the NCP.
TIG has reviewed the costs incurred by Glacier Northwest and Reichhold to perform the remedial actions at
the Property. The costs consist of consulting charges, attorneys’ fees, and Ecology oversight costs relating
to the completed remedial actions.
TIG reviewed 536 invoices issued by consultants, law firms, and Ecology and compared them against the
remedial actions described in the 2020 RI. Under MTCA, attorneys’ fees can constitute remedial action
costs, when the services of the attorney relate to an action conducted consistent with MTCA to identify,
eliminate, or minimize any threat or potential posed by hazardous substances to human health or the
environment, including any investigative and monitoring activities and any health assessment or health
effects studies (RCW 70.105D.080 WAC 173-340-220).

Based on review of the provided invoices, it is TIG’s opinion that the total cost of $8,604,890.98 is
recoverable under MTCA. These include consultant, law firm, and Ecology invoices. 14


14Invoices that appeared unrelated to the upland cleanup at the Property were excluded. Attorney invoices were
evaluated for association between legal cost and investigations at the Property.




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6. Allocation of Glacier Northwest and Reichhold Costs

The provided invoices contain sufficient information to identify the costs of the remedial actions completed
by Glacier Northwest and Reichhold and to identify the general tasks conducted by each consultant, law
firm, or Ecology, but insufficient detail to attribute the cost of each completed remedial action to a specific
operator or contaminant. Therefore, it was not feasible to allocate the costs of the completed remedial
actions to specific operational areas, environmental media types, and/or COCs. TIG therefore created an
algorithm to allocate the costs of the completed remedial actions using a set of metrics commonly used in
allocation proceedings.
The algorithm apportions the costs of the completed remedial actions according to a set of metrics that
include scores for COCs determined by the 2020 RI to require further investigation or cleanup, the duration
of operations of each operator since 1936, the operational areas of these operators on the Property, the
associated duration of ownership of parties that owned a portion or the entirety of the Property (Tables 1
through 4). After assigning a percentage of the cost of the completed remedial actions (a Liability Share) to
each individual owner or operator (Table 5), an exacerbation factor was applied to parties that exacerbated
existing contamination in the course of redeveloping the Property
As a final step, the Liability Shares allocated to parties other than Glacier Northwest, Reichhold, and
Hanson are reallocated to the three parties in proportion to their Liability Shares (Figure 5) (Glacier
Northwest, Inc. v Kaiser Gypsum Company, Inc., et al. 2020).


6.1    Costs Incurred at the Property

Based upon review of all provided invoices, the total costs incurred by Glacier Northwest and Reichhold to
investigate and remediate the Property equals $8,604,890.98. TIG determined that most of the costs were
incurred after the AO became effective in 2009.

 Consultant/Agency                  Time Period of Investigations                                   Total Cost

 ERM                                June 2009–April 2020                                         $4,854,108.50
 RETEC                              January 1996–October 1996                                      $102,918.15
 IT Corp                            October 1998– December 2000                                    $368,108.15
 Shaw                               July 2008–November 2008                                        $203,072.19
 Fluor Daniel-GTI                   September 1997–October 1998                                     $70,725.04
 Ecology                            October 2009–March 2019                                        $723,849.23
 CH2MHill                           December 2007–November 2014                                    $542,680.93
 Anchor QEA                         March 2015–March 2020                                          $138,600.14
 Preston Gates Ellis                January 1991–November 1993                                      $24,331.66




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    Consultant/Agency               Time Period of Investigations                                  Total Cost

    Perkins Coie                    November 2003–February 2010                                  $301,524.55
    Ater Wynne                      October 2008–October 2014                                    $976,060.16
    Veris Law Group                 August 2012–March 2020                                       $298,912.28
                                                              Total Cost                       $8,604,890.98


6.2      Allocation of Costs

TIG allocated a Liability Share to all current and previous owners and operators of the Property using an
algorithm that weights the contaminants associated with each operator, the duration of each party’s
ownership and/or operations, and the size of the operational area associated with each owner and operator,
and the extent to which a party contributed new contamination or exacerbated existing contamination at the
Property. TIG also allocated a Liability Share using the same algorithm to operators of adjoining property,
whose operations have been determined by ERM to be a source of contamination at the Property.

6.2.1 Step 1: Derive the Relative Weight of Property COCs
The first step of the algorithm is to assign a percentage of contamination at the property attributable to each
COC.
TIG used the work conducted by ERM as representative of all remedial actions conducted at the Property,
given that the work performed under the AO represents approximately 80 percent of the total cost incurred
by Glacier Northwest and Reichhold, was performed over the longest time period, and information provided
about investigations prior to ERM’s work is limited. Throughout its 10 years of investigating the Property,
ERM collected over 6,000 samples of environmental media and analyzed them for six contaminant groups
(metals, SVOCs, VOCs, PCBs, TPH, dioxins and furans). ERM compared the analytical results to screening
levels that apply to upland sites that are located within the Source Control Area of the LDW Superfund Site
per Ecology’s Lower Duwamish Water Preliminary Cleanup Level Workbook (Ecology 2019). Based on this
comparison of analytical results and screening levels, ERM used the following criteria to determine which
contaminants present at the Property represent a COC:
•     The contaminant was detected in all environmental media types or
•     The contaminant was detected in at least two environmental media types above the screening levels
      and
•     The contaminant concentration exceeded the screening level in more than 10 percent of the samples
      analyzed and
•     The contaminant concentration exceeded the screening level by at least twice the screening level.

Using these criteria, ERM determined the following contaminants to be COCs at the Property: arsenic,
copper, zinc, PCP, PCBs, dioxins and furans, TPH, TBT, and total cPAHs. ERM provided the total number




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of samples collected in soil and groundwater 15 for each COC and their “percent exceedance” 16 based on
how often a given contaminant exceeded its screening criteria. TIG multiplied the total number of samples
ERM collected and analyzed for a COC by this percent exceedance. 17 TIG then calculated the proportion of
the total contamination attributable to a specific COC by taking the ratio of the number of samples that
exceeded for each COC to the total number of samples that exceeded screening levels. The following
example illustrates the series of steps followed to calculate this proportion using the arsenic data:
a) Total number of arsenic samples collected in soil and groundwater at the Property: 621 samples
b) Average frequency of arsenic exceeding screening levels in soil and groundwater at the Property: 63.73
   percent (i.e., the percent exceedance)
c) 63.73 percent of 621 samples is 396 samples, which is the number of samples that exceeded the
   arsenic screening level
d) Complete the previous two steps for all COCs to obtain a Property-wide total number of samples
   exceeding their respective screening levels: 1,094 samples
e) 396 divided by 1,094 is 36.19%, which means arsenic accounts for 36.19% of all samples that exceed
   screening levels
In other words, 36.19 percent of the Property-wide investigation and remediation costs are effectively
attributable to arsenic contamination present in soil and groundwater at the Property. The results for Step 1
are presented in Table 1.

6.2.2 Step 2: Derive the Relative Contributions of Each Property COC by Each
      Operator
The second step of the algorithm is to assign a percentage of responsibility to each operator for
contamination present at the property. In order to calculate the relative contributions of COCs by each
operator, TIG assigned the COCs to the six major operators of the Property (Mineralized-Cell,
Carlisle/Crown/U.S Army, Reichhold, Hanson, Ash Grove, and Glacier Northwest), and to the two major
operators of adjoining properties, based on ERM’s assessment in the 2020 RI.
TIG assigned responsibility for Property COCs to each operator group based on the historical ownership
and operational information provided by ERM. ERM determined the association between former and current
operators and Property COCs in the 2020 RI report (ERM 2020a, 20–30, 90–102) (Table 2).




15   Sediment samples were not included in this calculation.
16 Typically, cost allocation models use enrichment factors rather than exceedance frequencies. TIG did not use
enrichment factors because the use of enrichment factors would have skewed the percent allocations to each COC
disproportionally to PCP and PCBs, that is more than 99 percent, due to the low screening levels for these compounds.
17   An average frequency was calculated from the frequency of exceedance of each environmental media type.




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To assign a share for each COC to an operator, TIG calculated a time-weighted area by multiplying the
years of operation of each operator by the square footage of the operational area. These steps are shown in
the following example using the calculations for Mineralized-Cell:
a) Mineralized-Cell operated for four years on 371,252 square feet of the Property.
b) 371,252 square feet multiplied by 4 gives the time weighted area of 1,485,008 for Mineralized-Cell.
c) This number is representative of both the physical size of Mineralized-Cell’s operations, as well as the
   time over which their operations were conducted.
TIG then used this time weighted area to divide the cost of a specific COC to each operator. This was done
by dividing the individual time weighted areas for each operator by the total time weighted area among all
operators that are associated with that COC. For Mineralized-Cell and arsenic this means:
•    Mineralized-Cell’s time weighted area is 1,485,008
•    Mineralized-Cell and the U.S. Army are the two operators associated with arsenic contamination at the
     Property
•    The sum of Mineralized-Cell’s and Carlisle/Crown/U.S. Army’s time weighted areas is 2,031,256
•    Mineralized-Cell’s proportion of this total is 73%, which was calculated by dividing 1,485,008 by
     2,031,256.
Therefore, Mineralized-Cell would be responsible for 73 percent of the costs associated with arsenic
contamination at the Property, and Carlisle/Crown/U.S. Army would be responsible for the remaining 27
percent.
TIG assumed that 2 percent of contamination is attributable to the two off-Property operators 18: Duwamish
Shipyard, Inc. (former adjoining operator to the north) and the Port of Seattle (current adjoining operator of
T-115 to the south). TIG assigned 2 percent each of the total time weighted area of all operators to the off-
property operators. This means that for all contaminants associated with the two off-Property operators,
each off-Property operator would receive a share of the COCs for which they are associated with as if they
had occupied 2 percent of the total time weighted area of the Property. Duwamish Shipyard, Inc. is also the
only known source of TBT contamination at the Property, therefore it was assigned 100 percent of the
responsibility associated with this COC.
The proportion of contributions based on the time-weighted areas are summarized in Table 2.

6.2.3 Step 3: Multiply the Results of Steps 1 and 2 to Derive the Percent of the
      Costs Attributable to Each Operational Period for each COC:
The third step of the algorithm assigns a share of incurred costs to each operational period. To do this, TIG
multiplied the results derived in step 1 (the relative weight of each COC) with step 2 (the percentage of an

18TIG assigned 2 percent of the contribution of off-property operators, based on information provided in the 2020 RI.
Because the off-property operators cannot be assigned a time weighted area, this percentage was determined based on
TIG’s professional judgement and the available information in the 2020 RI.




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individual COC for which an operator is responsible) to derive a total percentage of the costs attributable to
an operational period, on a COC by COC basis. An example using the Mineralized-Cell operational period is
included below.
a) We determined in Step 1 that 36.19 percent of the contamination present at the Property at
   concentrations above screening levels is arsenic, therefore 36.19 percent of the costs incurred by
   Glacier Northwest and Reichhold are attributable to arsenic (see section 6.2.1).
b) We determined in Step 2 that Mineralized-Cell is responsible for contributing 73 percent of that arsenic,
   and therefore is responsible for paying 73 percent of the arsenic associated costs (see section 6.2.2).
c) Multiplying these percentages is 26.46 percent, which is the percentage of Glacier Northwest’s and
   Reichhold’s total costs attributable to arsenic contamination that occurred during the Mineralized-Cell
   operational period.

As a result, Mineralized-Cell is assigned a 26.46 percent share of the total investigation costs due to its
arsenic contributions alone. Additional percentages were also assigned using this same methodology for all
other COCs attributable to the Mineralized-Cell operational period. The sum of these percentages, 43.43
percent, is the total share assigned to Mineralized-Cell operational period.
The results of Step 3 are summarized in Table 3. Next, TIG added a cost for share for owners within a given
operational period.

6.2.4 Step 4: Assign Responsibility to Property Owners during Operating Periods
Step 4 of the algorithm intends to assign a share of the costs associated with an operational period to both
the operators and the owners of the Property in each operational period. To do this, TIG assumed that the
owners bear some responsibility for what the operators released during their tenure at the Property but less
so than the operator. TIG assumed that owners had 10 times less impact than operators. Or phrased
differently, the operators caused ten times the contamination that the owners did. Once this factor was
assigned, the proportion of each owner and operator was calculated. The following is an example
calculation using the Mineralized-Cell operational period, and the owners and operators associated with it.
•   During Mineralized-Cell’s four years of operations, King County owned the Property
•   King County is assigned a weight of 1 as the Property owner and Mineralized-Cell is assigned a weight
    of 10 as the Property operator. Adding these two weights is a total weight of 11 for the Mineralized-Cell
    operational period.
•   To obtain King County’s cost proportion for the Mineralized-Cell operational period, the ratio of its weight
    of 1 to the total weight of 11 was taken, which is 9%.
•   Mineralized-Cell ’s proportion is 91%, the ratio of 9 to 11.

In other words, Mineralized-Cell would pay 91 percent of any costs associated with their operations, and
King County would pay for the remaining 9 percent.
This same sequence of calculations was performed for all operational periods. TIG applied a weight of 1 to
all owners within each operational period, and a weight of 10 to all operators, and used these proportions to



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obtain a proportion of costs associated to each owner and operator. The results of Step 4 are shown in
Table 4

6.2.5 Step 5: Assign a Liability Share to Each Owner and Operator
In order to assign a Liability Share to each owner and operator, TIG multiplied the proportion of costs
attributable to an operational period, calculated in Step 3 (Table 3) by the proportion of the operational
period costs attributable to each owner and operator associated with that operational period, calculated in
Step 4 (Table 4) above. An example using the percentages calculated in Step 3 and Step 4 for Mineralized-
Cell is included below.
•   The Mineralized-Cell operational period was assigned 43.43 percent of the total cost in Step 3 (Table 3),
    and Mineralized-Cell as an operator was assigned 91 percent of those costs in step 4 (Table 4).
•   Multiplying these percentages is 39.48 percent. This means that 39.48 percent of the total cost is
    attributable to Mineralized-Cell’s operations, and therefore, Mineralized-Cell as an operator would pay
    39.48 percent of the total past cost.
•   King County, as an owner during this operational period, was assigned a 9 percent share in Step 4
    (Table 4) of the 43.43 percent share assigned to the Mineralized-Cell operational period in Step 3
    (Table 3).
•   Multiplying these percentages is 3.90 percent. This means that 3.90 percent of the total cost is
    attributable to King County’s ownership of the Property during Mineralized-Cell’s operations, and
    therefore King County as an owner would pay 3.90 percent of the total cost. King County also received
    an additional share for its ownership during the U.S. Army operational period.

The percent shares for each owner and operator party is summarized in Table 5.



6.2.6 Step 6: Account for Exacerbation of Existing Contamination During
      Redevelopment Activities and Reallocation of Costs between the Remaining
      Liable Parties
Step 6 of the algorithm is to assign responsibility for contamination exacerbated by redevelopment of the
Property. According to ERM, Hanson redeveloped the Property between 1965 and 1969, and in doing so
dispersed existing contamination to portions of the Property where no known sources existed and placed
contaminated soil along the riverbank.
In the absence of a quantifiable amount of soil that was moved, or costs that could be associated with
investigations that solely investigated the redistribution of soils, TIG determined that it is reasonable to
reassign to Hanson 15 percent of the liability otherwise attributable to the owners and operators that
predated Hanson, because Hanson’s activities dispersed their contamination to areas it was not before. A
reassignment to Hanson of 15 percent would represent a more than de minimis contribution by Hanson to
the contamination at the Property, which is supported by the technical data, while maintaining primary
responsibility for the contamination with the original polluters.




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Thus, TIG proposes the following:
•   The exacerbation factor for Hanson is calculated by redistributing to Hanson 15 percent of the Liability
    Shares assigned in Step 5 to parties that owned or operated the Property before Hanson commenced
    the redevelopment activities. The redistribution results in adjusted Liability Shares to Hanson and the
    owners and operators that pre-dated Hanson, as follows:
•   The Liability Shares assigned in Step 5 to the owners and operators that pre-dated Hanson is 90.84
    percent.
•   15 percent of 90.84 percent is 13.63 percent

•   Adding 13.63 percent to Hanson’s initial Liability Share of 1.26 percent results in an adjusted Liability
    Share for Hanson of 14.88 percent.
•   The Liability Shares of the owners and operators that pre-dated Hanson, including Reichhold, are
    adjusted downward as reflected on the table below.

                                          Liability Share after      Liability Share After
                   Party                          Step 5             Reallocation of 15%

                   Mineralized Cell              39.48%                     33.56%

                   Reichhold                     27.49%                     23.36%

                   US Army                       15.50%                     13.17%

                   King County                    4.72%                      4.01%

                   U.S. Government                3.52%                      2.99%

                   Carlisle                       0.13%                      0.11%

If all parties were still in existence and participating in Hanson’s bankruptcy, this step would represent step
in the allocation and would result in distribution of the past remedial action cost of $8,604,890.98 incurred by
Reichhold and Glacier Northwest to each owner and operator. However, only Glacier Northwest, Reichhold
(via Glacier), and Hanson are participants in Hanson’s bankruptcy, and the costs of the non-participants
need to be fairly allocated between them. Therefore, the “non-participating” parties shares must be
distributed between Glacier Northwest, Reichhold, and Hanson, as provided in Step 7 (see below).

6.2.7 Step 7: Reallocate Liability Shares between Participating Parties
Step 7 involves the redistribution of the Liability Shares assigned to all parties other than Glacier Northwest,
Reichhold, and Hanson under Steps 5 and 6. The collective Liability Shares of these non-participants equals
60.36 percent. These Liability Shares are redistributed between Reichhold, Glacier Northwest, and Hanson,
proportionally to the Liability Shares assigned to these three parties under Steps 5 and 6. This redistribution
results in a final Liability Share of 58.94 percent to Reichhold, 3.52 percent to Glacier Northwest, and 37.54
percent to Hanson.




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The outcome is summarized in the table below and in Table 6.

                                               Increase or         New Liability         Final
                             Liability         Decrease to         Share After       Allocation to
                            Share after       Liability Share     Exacerbation6       Remaining
    Party                     Step 5           after Step 6           9.86              Parties        Total Cost

    Reichhold                 27.49 %             -4.12%             23.36 %            58.94%       $5,071,521.86

    Glacier Northwest          1.39 %               0%                1.39 %            3.52%         $302,771.79

    Hanson                     1.26 %            +13.63%              14.88%            37.54%       $3,230,597.33

    Total Non-
                              69.86 %             - 9.50%             60.36%              --                --
    Participant Share




7. Summary and Conclusions

To conduct this evaluation, TIG reviewed existing reports and data provided by counsel to answer the
following questions:

•     Which parties and their operations are responsible for the contamination at the Property?
•     What are the contamination sources with respect to area, environmental media type, and/or
      contaminant?
•     Can the completed investigations and remediations be linked to an operational area, environmental
      media type, and/or contaminant?
•     Can the cost of the completed investigations and remediations be distributed between the historical
      owners and operators of the Property? If so, how?
•     Were the completed investigation and remediations performed in compliance with the MTCA and NCP,
      as well as per the requirements of the AO between Glacier Northwest, Reichhold, and Ecology?

Based on the documentation reviewed, TIG concludes the following:
•     The following three parties contributed the majority of contamination of environmental media at the
      Property:
      o     Mineralized-Cell, with wood preservation and treatment
      o     Carlisle, Crown, the U.S. Army, with charcoal and whetlerite manufacturing and testing
      o     Reichhold with chemical manufacturing
•     Hanson, Ash Grove, and Glacier Northwest’s cement storage and distribution operations contributions
      to contamination at the Property is small compared to the three other parties.




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TIG reviewed chemistry data and historical operations to assess whether the distribution of contaminants
could be linked to an operational area associated with a known historical operator. TIG determined a total
past investigation and remediation cost of $8,604,890.98 based on counsel-provided consultant, attorney,
and regulatory agency invoices.
Overlapping operational areas, contaminants associated with more than one party, distribution of waste by
several parties in areas beyond operational areas, and redevelopment activities that moved contaminants
from source areas did not allow TIG to assign contamination to one or other historical source. Invoices
provided by counsel provided limited detail for cost distribution purposes. As a result, all remaining costs
were apportioned with an algorithm that uses standard metrics for estimating liability shares in
environmental cost recovery and/or allocations.
TIG’s algorithm distributed the total cost between the operators and owners as a percentage of total cost
based on the following metrics:
•   Exceedance frequencies of each COC based on the number of samples collected during the RI
•   Time weighted areas based on the duration of operations and operational area
•   Proportion of COC share based on the time weighted area for each operator associated with a COC
    and the total timeweighted area scores
•   Percentage of total cost per COC for each operational period and a total percentage per operator for all
    applicable COCs
•   Scores for operators and owners based on the duration of operations and ownership
After determining the final shares for each owner and operator, Glacier Northwest’s allocation of total cost
was 1.39 percent, Reichhold’s allocation was 27.49 percent, and Hanson’s allocation was 1.26 percent. The
remaining shares were assigned to non-participating parties.
Given that Hanson was responsible for moving contaminated soil from source areas to other areas of the
Property, TIG shifted 15 percent of the Liability Shares assigned to parties predating Hanson’s
redevelopment to Hanson’s original Liability Share share of 1.26 percent, resulting in an adjusted Liability
Share of 37.54 percent for Hanson.

Because only Glacier Northwest, Reichhold, and Hanson are participating in the bankruptcy, the Liability
Shares assigned to all non-participants was distributed between Glacier Northwest, Reichhold and Hanson.
This leaves 3.52 percent or $302,771.79 of the total past investigation cost to Glacier Northwest, 58.94
percent, or $ $5,071,521.86 of the total past investigation cost to Reichhold, and 37.54 percent, or
$3,230,597.33 of the total past investigation cost to Hanson.




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     Tables




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                                                 Total Samples
                                                    Across
    Contaminant                                  Environmental              Average1 Exceedance Frequency                    Assumed Number of              COC
    Class                Contaminant                 Media                  Across Environmental Media (%)2                 Samples Above Criteria          Share

    Metals               Arsenic                        621                                   63.73                                        396              36.19%

    Metals               Copper                         401                                   47.93                                        192              17.58%

    Metals               Zinc                           395                                   15.16                                        60               5.48%

    Metals               TBT                            395                                   15.16                                        60               5.48%

    SVOCs3               PCP                            544                                   36.27                                        197              18.04%

    Total PAHs4          Total PAHs                      93                                   25.50                                        24               2.17%

    Total PCBs5          Total PCBs                      86                                   37.03                                        32               2.91%

    Total PCDD/Fs6       Total PCDD/Fs                  163                                   71.83                                        117              10.71%

    TPH7                 Total TPH                       74                                   21.44                                        16               1.45%

                                                                                                                  Total                1,094



1
    An average frequency was calculated from the frequency of exceedance of each media type.
2
  Typically, cost allocation models use enrichment factors rather than exceedance frequencies. TIG did not use enrichment factors because the use of enrichment
factors would have skewed the percent allocations to each COC disproportionally to PCP and PCBs, that is more than 99 percent, due to the low screening levels for
these compounds.
3
 Additional SVOCs, including 2,4,6-trichlorophenol; 2,4-dichlorophenol; and phenol were identified by ERM as contaminants at the Property; however, the detections
of these additional SVOCs were co-located with detections of PCP. Therefore, PCP is considered representative of all SVOCs and TIG used PCP as an indicator
compound in its analysis.
4
  ERM identified individual cPAHs as primary contaminants in environmental media; however, these individual cPAHs were co-located with the soil samples exceeding
the TEQ of total cPAHs. Therefore, the magnitude and extent of individual cPAHs can be represented by the total cPAHs. TIG used the average count of samples
across media of all PAH compounds and the average detection above screening criteria among PAH compounds for its analysis.
5
    ERM refers to this value as Total PCB Aroclors in its 2020 Remedial Investigation (RI) report, and TIG used this value as presented.




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6
    TIG used the TEQ for PCDD/Fs as it was presented by ERM in its 2020 RI report.
7
    TIG used TPH-diesel range as an indicator value for all Site TPH.



Acronyms and Abbreviations
COC: contaminant of concern
cPAH: carcinogenic polycyclic aromatic hydrocarbon
ERM: Environmental Resource Management, Inc.
PAH: polycyclic aromatic hydrocarbon
PCB: polychlorinated biphenyl
PCDD/Fs: polychlorinated dibenzo-p-dioxins and dibenzofurans
PCP: pentachlorophenol
SVOC: semi-volatile organic carbon
TBT: tributyltin
TEQ: toxicity equivalent quotient
TIG: TIG Environmental
TPH: total petroleum hydrocarbons




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                                                                                                                                                        Proportion of COC Share

                                                                   Duration                       Time-Weighted Area                                                          Total      Total
 Operational Period       Associated COCs                           (years)     Size (sq. ft.)          Score          Arsenic    Copper     Zinc       TBT        PCP        PAHs       PCBs       PCDD/Fs       TPH

 Onsite Sources

 Mineralized-Cell         Arsenic, copper, zinc, total PAHs,           4          371,252              1,485,008        0.73       0.73      0.73        --         --            0.03    --           --          0.03
 Wood Preserving          and TPH
 Co.

 U.S. Army                Arsenic, copper, zinc, total PAHs,           4          136,562              546,248          0.27       0.27      0.27        --         --            0.01   0.07         0.09         0.01
                          total PCBs, PCDD/Fs, and TPH

 Reichhold                PCP, total PAHs, total PCBs,                20          268,431              5,368,620         --         --        --         --         1             0.12   0.70         0.91         0.12
 Chemicals, Inc..         PCDD/Fs, and TPH

 Hanson Permanente        Total PAHs and TPH                          27          598,556             16,161,012         --         --        --         --         --            0.36    --           --          0.36
 Cement, Inc.

 Ash Grove Cement         Total PAHs and TPH                           4          598,556              2,394,224         --         --        --         --         --            0.05    --           --          0.05
 Company

 Glacier Northwest,       Total PAHs and TPH                          29          598,556             17,358,124         --         --        --         --         --            0.39    --           --          0.39
 Inc.

                                                               Subtotal - On-property Sources         43,313,236         1          1         1          0          1             0.96   0.77           1         0.96

 Neighboring Site Sources

 Duwamish Shipyard,       TBT, total PAHs, total PCBs, and                    None                     866,265           --         --        --         1          --            0.02   0.11          --         0.02
 Inc.                     TPH

 Port of Seattle          Total PAHs, total PCBs, and TPH                     None                     866,265           --         --        --         --         --            0.02   0.11          --         0.02
 Terminal - 115

                                                     Subtotal - Neighboring Property Sources         1,732,529.44        --         --        --         --         --            0.04   0.22          --         0.04

                                                                                  Grand Total         45,045,765         1          1         1          1          1              1      1             1           1

Acronyms and Abbreviations
COC: contaminant of concern
Mineralized-Cell:
PAH: polycyclic aromatic hydrocarbon
PCB: polychlorinated biphenyl
PCDD/Fs: polychlorinated dibenzo-p-dioxins and dibenzofurans
PCP: pentachlorophenol
TBT: tributyltin
TPH: total petroleum hydrocarbons




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                                                               Percentage of Total Cost

                                                                                  Total   Total    Total             Percentage of
 Period                      Arsenic     Copper        Zinc    TBT      PCP       PAHs    PCBs    PCDD/Fs   TPH       Total Cost

 Mineralized- Cell Wood       26.46%      12.85%      4.00%     --        --      0.07%    --       --      0.05%       43.43%
 Preserving Co.

 U.S. Army                    9.73%       4.73%       1.47%     --        --      0.03%   0.21%    0.99%    0.02%       17.17%

 Reichhold Chemicals,            --          --          --     --     18.04%     0.26%   2.04%    9.72%    0.17%       30.23%
 Inc.

 Hanson Permanente               --          --          --     --        --      0.78%    --       --      0.52%        1.30%
 Cement, Inc.

 Ash Grove Cement                --          --          --     --        --      0.12%    --       --      0.08%        0.19%
 Company

 Glacier Northwest, Inc.         --          --          --     --        --      0.84%    --       --      0.56%        1.39%

 Duwamish Shipyard,              --          --          --    5.48%      --      0.04%   0.33%     --      0.03%        5.88%
 Inc.

 Port of Seattle -               --          --          --     --        --      0.04%   0.33%     --      0.03%        0.40%
 Terminal 115


Acronyms and Abbreviations
PAH: polycyclic aromatic hydrocarbon
PCB: polychlorinated biphenyl
PCDD/Fs: polychlorinated dibenzo-p-dioxins and dibenzofurans
PCP: pentachlorophenol
TBT: tributyltin
TEQ: toxicity equivalent quotient
TPH: total petroleum hydrocarbons




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                                                                                                                                                  Portion of Responsibility for Each Operational Period

                                                    Duration of                               Mineralized-Cell                                                 Hanson            Ash Grove
    Operational                                    Involvement                                    Wood                                   Reichhold           Permanente           Cement             Glacier         Duwamish           Port of Seattle
    Period                Party                       (years)          Role                   Preserving Co.                U.S. Army   Chemicals Co.        Cement, Inc.        Company          Northwest, Inc.   Shipyard, Inc.      Terminal 115

    Mineralized-Cell      King County                     4            Owner                        0.091                      --            --                    --                 --                   --             --                   --
    Wood Preserving
                          Mineralized Cell                4            Operator                     0.909                      --            --                    --                 --                   --             --                   --
    Co.
                          Wood Preserving
                          Co.

    U.S. Army             U.S. Army1                      4            Operator                        --                     0.902          --                    --                 --                   --             --                   --

                          King County                     2            Owner                           --                     0.045          --                    --                 --                   --             --                   --

                          Carlisle Lumber               0.33           Owner                           --                     0.007          --                    --                 --                   --             --                   --
                          Co.

                          U.S. Government                 2            Owner                           --                     0.045          --                    --                 --                   --             --                   --

    Reichhold             Reichhold                      20            Operator                        --                      --           0.909                  --                 --                   --             --                   --
    Chemicals, Inc.
                          U.S. Government                20            Owner                           --                      --           0.091                  --                 --                   --             --                   --

    Hanson                Hanson                         27            Operator                        --                      --            --                  0.968                --                   --             --                   --
    Permanente            Permanente, Inc.
    Cement, Inc.
                          Port of Seattle                 9            Owner                           --                      --            --                  0.032                --                   --             --                   --

    Ash Grove             Ash Grove                       4            Owner                           --                      --            --                    --               0.909                  --             --                   --
    Cement                Cement Company
    Company
                          Lone Star                       4            Operator                        --                      --            --                    --               0.091                  --             --                   --
                          Industries/Lone
                          Star Northwest

    Glacier               Glacier                        29            Operator                        --                      --            --                    --                 --                  1.000           --                   --
    Northwest, Inc.       Northwest, Inc.

    Duwamish              Duwamish                        --           Operator                        --                      --            --                    --                 --                   --           1.000                  --
    Shipyard, Inc.        Shipyard, Inc.

    Port of Seattle -     Port of Seattle                 --           Owner                           --                      --            --                    --                 --                   --             --                 1.000
    Terminal 115

                                                                       Total                        1.000                     1.000         1.000                1.000              1.000                 1.000         1.000                1.000



1
    For the purposes of this report, the U.S Army, Carlisle Lumber Co. and Crown Zellerbach were considered one operator.




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                                                                                                     Responsibility for Total Allocation to Each Owner and Operator

                                Mineralized-Cell                                                                                                                                                                                  Liability Share for
                                Wood Preserving                                           Reichhold             Hanson Permanente     Ash Grove Cement      Glacier Northwest,       Duwamish Shipyard,   Port of Seattle          All Operational
    Party                             Co.                       U.S. Army               Chemicals, Inc.            Cement, Inc.           Company                   Inc.                   Inc.           Terminal 115                 Periods

    Mineralized-Cell                  39.48%                         --                         --                          --                --                       --                    --                 --                     39.48%
    Wood Preserving Co.

    Reichhold Chemicals,                  --                         --                     27.49%                          --                --                       --                    --                 --                     27.49%
    Inc.

    U.S. Army1                            --                     15.50%                         --                          --                --                       --                    --                 --                     15.50%

    Duwamish Shipyard,                    --                         --                         --                          --                --                       --                  5.88%                --                      5.88%
    Inc.

    King County                        3.95%                      0.77%                         --                          --                --                       --                    --                 --                      4.72%

    U.S. Government                       --                      0.77%                      2.75%                          --                --                       --                    --                 --                      3.52%

    Glacier Northwest,                    --                         --                         --                          --                --                      1.39%                  --                 --                      1.39%
    Inc.

    Hanson Permanente                     --                         --                         --                         1.26%              --                       --                    --                 --                      1.26%
    Cement, Inc.

    Port of Seattle                       --                         --                         --                         0.04%              --                       --                    --               0.40%                     0.44%

    Ash Grove Cement                      --                         --                         --                          --              0.17%                      --                    --                 --                      0.17%
    Company

    Carlisle Lumber                       --                      0.13%                         --                          --                --                       --                    --                 --                      0.13%
    Company

    Lone Star                             --                         --                         --                          --              0.02%                      --                    --                 --                      0.02%
    Industries/Lone Star
    Northwest

    Total                             43.43%                     17.17%                     30.23%                         1.30%            0.19%                     1.39%                5.88%              0.40%                    100.00%



1
    For the purposes of this report, the U.S Army, Carlisle Lumber Co. and Crown Zellerbach were considered one operator




                                                                                                                                                                                                                            Exhibit 3 - Page 39 of 149
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                                                                                                                                                                 DRAFT
                                         Table 6: Account for Exacerbation of Existing Contamination
                                           and Reallocate Costs between Remaining Liable Parties
                              Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                     Reallocation of                               Final Shares to
                                                                     15% of Orphan         Adjusted Shares             Glacier
                                                                        Shares              Including 15%            Northwest,
                                               Liability Share         Predating           Reallocation for        Reichhold, and
    Party                                       from Step 5             Hanson                All Parties             Hanson                Total Cost

    Mineralized Cell Wood Treatment
    Company                                        39.48%                 -5.92%                33.56%

    Reichhold Chemicals, Inc.                      27.49%                 -4.12%                23.36%                 58.94%             $5,071,521.86

    U.S. Army                                      15.50%                 -2.32%                13.17%

    King County                                     4.72%                 -0.71%                 4.01%

    U.S. Government                                 3.52%                 -0.53%                 2.99%

    Carlisle Lumber Company                         0.13%                 -0.02%                 0.11%

    Duwamish Shipyard, Inc.                         5.88%                    --                  5.88%

    Port of Seattle Terminal 115                    0.44%                    --                  0.44%

    Ash Grove Cement, Inc.                          0.17%                    --                  0.17%

    Lone Star Industries/Lone Star                                           --
    Northwest                                       0.02%                                        0.02%

    Glacier Northwest, Inc.                         1.39%                    --                  1.39%                  3.52%              $302,771.79

    Hanson Permanente Cement, Inc.                  1.26%                +13.63%                14.88%                 37.54%             $3,230,597.33

    Total from Parties Predating
    Hanson 1                                       90.84%



1   The shaded parties predate Hanson. Offsite parties were not included in the reallocation of orphan shares predating Hanson.


                                                                                                                                                   Privileged and Confidential
Last revised: May 19, 2020                                                  Table 6 – Page 1                                      TablePrepared
                                                                                                                                       6 – Pageat1the request of legal counsel for
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     Figures




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Data Location: Syracuse Created By: K.ives Modified By: kives
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                                                                                      q
 Legend:
          Current property boundary                                                                 Figure 1: Property Location
          Lower Duwamish Waterway Superfund Study Area

                                                                                            Evaluation of Liability for Investigation and
                                                                                          Remediation Costs at Glacier Northwest Property
                           0                  2,000                  4,000
                                                                                                        Glacier Northwest, Inc.
                                                                           Feet
                                          Graphic Scale
 Notes:
 1. 2018 aerial and topographic basemap provided by ESRI imagery services
    (accessed May 2020).                                                                             Exhibit 3 - Page 42 of 149
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                                                                REVIEW DOCUMENTS                 REVIEW                   SYNTHESIZE                         DEVELOP                              ATTRIBUTE                          EVALUATE
                                                                  AND REPORTS                   INVOICES                     DATA                           ALGORITHM                               COST                             LIABILITY




                                                                   Review 2020 Remedial     Review Reichhold              Evaluate property                 Develop algorithm                   Attribute a cost                   Evaluate liability of
                                                                   Investigation (RI),      Chemicals, Inc. and           conditions with respect           that apportions cost                share to all parties               Hanson Permanente
                                                                   aerial photographs,      Glacier Northwest, Inc.       to contaminants,                  share to a set of                   based on algorithm                 Cement, Inc. and
                                                                   agreed order (AO), and   consultant invoices           historical operational            metrics                                                                Glacier Northwest, Inc.
                                                                   RI Work Plan             documenting past cost         areas, history of
                                                                                            associated with property      investigations, duration
                                                                                            investigation and             of operations, and
                                                                                            remediation activities        redevelopment
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                                                                                                                                                                                                                                     Figure 2: Methodology Flow Chart

                                                                                                                                                                                                                               Evaluation of Liability for Investigations and
                                                                                                                                                                                                                             Remediation Costs at Glacier Northwest Property

                                                                                                                                                                                                                                            Glacier Northwest, Inc.




                                                                                                                                                                                                                                          Exhibit 3 - Page 43 of 149
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                                                                                                                                                                                                                                                                                                                              q
                                                                                                                                                                        Declaration Page 104 of 235                                                              Legend:
                                                                                                                                                                                                                                                                        Former Carlisle Lumber Company/Crown
                                                                                                                                                                                                                                                                        Zellerbach Co./U.S. Army operational area
                                                                                                                                                                                                                                                                        Former Mineralized Cell Wood Preserving
                                                                                                                                                                                                                                                                        Company operational area
                                                                                                                                                                                                                                                                        Former Reichhold Chemical operational area
                                                                                                                                 Alaska Marine
                                                                                                                                                                                                                                                                        Former Hanson Permanente Cement, Inc.
                                                                                                                                  Lines (AML)
                                                                                                                                                                                                                                                                        operational area
                                                                                                                                                                                                                                                                        Portion of former Reichhold Chemical and
                                                                                                                                                                                                                                                                        former Carlisle Lumber Company/Crown
                                                                                                                                                                                                                                                                        Zellerbach Co./U.S. Army operational areas
                                                                                                                                                                       Duwamish
                                                                                                                                                                                                                                                                        beyond the property boundary
                                                                                                                                                                     Shipyards, Inc.
                                                                                                                                                                                                                                                                        Glacier Northwest, Inc. current operational area
                                                                                                                                                                                                                                                                        Property boundary
                                                                                                                                                                                                                                                                        Parcel boundary




                                                                                                                                                                                                                                                                 Notes:

                                                                                                                                                                                                                                                                 1. 2018 aerial and topographic basemap provided by ESRI
                                                                                                                                                                                                                                                                    imagery services (accessed May 2020).

                                                                                                                                                                                                                                                                 2. King County parcel boundaries obtained from King County
                                                                                                                                                                                                                                                                    GIS Data Hub (last updated April 2020).

                                                                                                                                                                                                                                                                           0                 150                  300
                                                                                                             West Ma




                                                                                                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                                                                                        Graphic Scale
                                                                                                                    rginal W
                                                                                                                            ay




                                                                                                                                                                                                 Embayment
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                                                                                                                                                                                                                                                                           Figure 3: Historical Operational Areas
                                                                                                                                                                      Port Terminal 115

                                                                                                                                                                                                                                                                    Evaluation of Liability for Investigation and
                                                                                                                                                                                                                                                                  Remediation Costs at Glacier Northwest Property

                                                                                                                                                                                                                                                                                       Glacier Northwest, Inc.




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                                                                               Unknown–1918:                               1925–unknown: General                      1943–1964:                  1964–1973:           1973–1987:                      1987–1991: LoneStar
                                                                                  King County                                Investment Company                     U.S. Government              Port of Seattle    Hanson Permanente                  Industries/Lone Star NW
                                                                                                                                                                                                                       Cement, Inc.
                                                            Owner               1918–1924: Puget Sound                      1924–1925:                       1943: Carlisle
                                                                                 Bridge and Dredging Co.                                                                                                                                                              1991–present:
                                                                                                                            Jane J. Geary                    Lumber Company                                                                                          Glacier Northwest
                                                                                     1918: E.L. and Hazel
                                                                                      Skeel/ W.T. Wardell                      1927–1943: King County

                                                                                                   1913–1922: U.S.        1936–1939:                             1946–1961: Reichhold                         1964–1987:                               1987–1991: Ash Grove Cement
                                                                                                     Army Corps of    Mineralized Cell                            Chemical Company                   Hanson Permanente Cement, Inc.
                                                                                                       Engineers   Wood Treatment Co.
                                                                                                                                                                                                         1986–1987: Universal Land                     1987–1991: Mobile
                                                                                Unknown until prior to 1922:                                                  1940–1944:                                                                               Crane Company
                                                                                                                                                              U.S. Army                           Construction Co. (southern portion)
                                                                                      Port of Seattle
                                                                                                                                                                                                                1986–1988: Stinson
                                                                                                                            1940–1943: Carlisle               1943–1944:                               Container Transport Systems
                                                                                                                              Lumber Company                  Crown Zellerbach
                                                                                                                                                                                                                                            1987–unknown: French Forest
                                                                                                                                                                                                                                              Products and Arlie French
                                                            Operator                                                                                                                                 1990–1991: Coastal Trailer Repars, Inc.                 1991–present: Glacier Northwest
                                                                                                                                                                                                                             1992–1993: General                    1993–1998: Gene
                                                                                                                                                                                                                                Construction Co.                   Summy Lumber Co
                                                                                                                                                                                                                              1993–1997: Interstate                       1998–2003:
                                                                                                                                                                                                                                Heavy Hauling, Inc                        Albrecht Birkenbuel
                                                                                                                                                                                                                                               2006–2014: CDI Corporation
                                                                                                                                                                                                                                        2005–2008: Obayashi Corporation
                                                                                                                                                                                                                                                        2012–2015: Gresham Transfer

                                                                                                      1913–1922:          1936–1939:                             1946–1961: Chemical                        1969–1987: Cement storage         1987–unknown: Wood pallet
                                                                                                    Wooden bulkhead    Wood treatment                            manufacturing (resins,                           and distribution                   construction
Date modified: 5/19/2020 Modified by: jfredenburg




                                                                                                      construction                                               glues, formaldehyde)
                                                                                                                       1940–1941: Construction                                                               1986–1987: Asphalt and                   1990–1991: Storage and repair of shipping
                                                                              Unknown until prior to 1922: Filling    of charcoal and whetlerite                                         1953–1956: PCP            concrete crushing                  containers, trailers, chassis, and power equipment
                                                                               using dredged material from LDW             manufacturing facility                                        manufacturing        1986–1988: Container,                  1991–present: Cement storage and distribution
                                                                                                                      1940–1944: Charcoal and                                                           equipment, and cargo storage
                                                                                                                                                                              1964–1969: Site                                                           1            1993–1998: Wood
                                                                                                                        whetlerite manufacturing                          re-development and                       1987–1991: Cement                    9            product storage
                                                                                                                                     and testing               construction of cement storage                   storage and distribution
                                                                                                                                                                      and distribution terminal                                                                     1993–1997:
                                                            Operation                                                                                                                                                1987–1991: Crane                               Equipment storage
                                                                                                                                                                                                                     equipment storage
                                                                                                                                                                                                                                                                             1998–2003:
                                                                                                                                                                                                                                                                             Equipment storage

                                                                                                                                                                                                                                           2005–2008: Equipment storage
                                                                                                                                                                                                                                           2006–2014: Cement truck parking
                                                                                                                                                                                                                                                      2012–2015: Cement truck parking
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                                                                       1900                                                                         1940                                                                    1980                                                                           2020

                                                                                                                                                                                                                                                                   Figure 4: Timeline of Owners,
                                                                                                                                                                                                                                                                    Operators, and Operations

                                                                                                                                                                                                                                                           Evaluation of Liability for Investigation and
                                                                                                                                                                                                                                                         Remediation Costs at Glacier Northwest Property

                                                                                                                                                                                                                                                                          Glacier Northwest, Inc.




                                                                                                                                                                                                                                                                      Exhibit 3 - Page 45 of 149
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                                                                                                                                                                                                 Share of Total Past
                                                                                                                                        Total Past                                               Investigation Cost
                                                                                                                                  Investigation Costs by                                           by Owner and
                                                                                                                                    Operational Period2                                              Operator3
                                                                       COC by Share of                                             Mineralized Cell                                              Mineralized Cell
                                                                          Total Past                                              Wood Preserving Co.                                           Wood Preserving Co.
                                                                     Investigation Costs1




                                                             Arsenic
                                                                                                                                                                                                        Reichhold
                                                                                                                                           Reichhold                                                                                                                                                              Shares Assigned to
                                                                                                                                                                                                                                                                                                                  Glacier, Reichhold,
                                                                                                                                                                                                                                                                                                                     and Hanson
                                                                Copper
                                                                                                                                                                                                        U.S. Army4                                                                                                $3,230,597.33
                                                                                                                                                                                                                                                                                                              3.52%
                                                                                                                                                                                                                                                       Total Estimated                                  $302,771.79
                                                                                                                                           U.S. Army                                                                                                         Cost
                                                                    PCP                                                                                                                               Duwamish                                                                                                                    37.54%
                                                                                                                                                                                                     Shipyard, Inc.                                      $8,604,890.98                   Exacerbation
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                                                                                                                                                                                                                                                                                            Factor
                                                                                                                                                                                                                                                                                                                          58.94%
                                                                                                                                                                                                       King County
                                                                  Total                                                                  Duwamish
                                                               PCDD/Fs                                                                  Shipyard, Inc.
                                                                                                                                                                                                   U.S. Government
                                                                                                                                                                                                                                                                                                           $5,071,521.86

                                                                          Zinc                                                                                                                    Glacier Northwest
                                                                                                                                     Glacier Northwest
                                                                                                                                                                                               Hanson Permanente                                                                                           Hanson Permanente
                                                                          TBT                                                                                                                                                                                                                              Glacier Northwest
                                                                                                                                   Hanson Permanente                                                  Port of Seattle
                                                                                                                                                                                                                                                                                                           Reichhold
                                                                Total PCB                                                                                                                           Ash Grove
                                                                                                                                                                                                  Cement Company
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                                                                 Total PAH                                                              Port of Seattle
                                                                                                                                                                                                 Carlisle Lumber Co.

                                                                          TPH                                                                                                                         Lone Star
                                                                                                                                       Ash Grove                                                   Industries/Lone
                                                                                                                                     Cement Company                                                    Star NW

                                                                                                                                                                                                                                                                                                 Figure 5: Cost Algorithm Conceptual Model
                                                             Footnotes:
                                                             1. The weighting of COCs is summarized in the main text section 6.2.1 and Table       3. The share of total past investigation costs assigned to each owner and operator                                                           Evaluation of Liability for Investigation and
                                                                1. The COC weight was assigned by dividing the number of samples that                 are summarized in the main text section 6.2.5 and Table 5. The share of total past                                                      Remediation Costs at Glacier Northwest Property
                                                                exceeded the screening level for a specific COC by the total number of                costs assigned to each owner and operator was assigned by giving the operator
                                                                samples that exceeded screening levels for all COCs.                                  ten times the responsibility for costs as the owner.
                                                             2. The total past investigation cost by operational period is summarized in main      4. For the purposes of this report, the U.S Army, Carlisle Lumber Co. and Crown
                                                                                                                                                                                                                                                                                                              Glacier Northwest, Inc.
                                                                text 6.2.4 and Table 3. The shares of the total past cost were assigned to each       Zellerbach were considered one operator.
                                                                operational period by dividing the time weighted average of each operational
                                                                period by the total time weighted averages of all operational periods associated
                                                                with a given COC.
                                                                                                                                                                                                                                                                                                           Exhibit 3 - Page 46 of 149
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     Appendix A
     Compilation of Documents Reviewed by TIG

     This appendix is provided separately




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     Appendix B
     Summary of Costs




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                                     Table B1: Summary of Costs
                                Evaluation of Liability for Past Investigation and
                              Remediation Costs at the Glacier Northwest Property

  Total Cost                       Years of Services                              Costs per invoices
  ERM                              June 2009–April 2020                                       $4,854,108.50
  RETEC                            January 1996–October 1996                                    $102,918.15
  IT Corp                          October 1998– December 2000                                  $368,108.15
  Shaw                             July 2008–November 2008                                      $203,072.19
  Fluor Daniel-GTI                 September 1997–October 1998                                   $70,725.04
  Ecology                          October 2009–March 2019                                      $723,849.23
  CH2MHill                         December 2007–November 2014                                  $542,680.93
  Anchor QEA                       March 2015–March 2020                                        $138,600.14
  Preston Gates Ellis              January 1991–November 1993                                    $24,331.66
  Perkins Coie                     November 2003–February 2010                                  $301,524.55
  Ater Wynne                       October 2008–October 2014                                    $976,060.16
  Veris Law Group                  August 2012–March 2020                                       $298,912.28
                                                                      Total costs             $8,604,890.98




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                                                                                                                                                                                       DRAFT
                                                                     Table B2: ERM Invoice Summary
                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



              Invoice Invoice        Issuing
              No.     Date           Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
              32624 5/7/2020         ERM     Glacier               4/1/20–4/30/20               $93,114.20           RI

              32260     4/6/2020     ERM     Glacier            2/29/2020–3/31/2020              $3,040.50           Project Management
                                                                                                  $395.50            Regulatory Negotiations and Meetings
                                                                                                  $616.00            Treatability Testing and Analyses
                                                                                                  $102.00            Treatability Testing Results
                                                                                                 $52,506.25          Draft Feasibility Study
                                                                                                 $56,660.25
              32112     3/16/2020    ERM     Glacier             7/2/2019–2/28/2020             $11,444.50           Project Management
                                                                                                $12,032.00           Regulatory Negotiations and Meetings
                                                                                                $19,349.80           Treatability Testing and Analyses
                                                                                                 $1,648.50           Treatability Testing Results
                                                                                                $11,055.50           Preparation of Cleanup Level Memorandum
                                                                                                $44,426.50           Remedial Investigation Report Revision
                                                                                                $41,908.00           Draft Feasibility Study
                                                                                                $141,864.80

              31784     2/17/2020    ERM     Glacier            11/25/2019–1/25/2019             $7,962.50           Regulatory Negotiations and Meetings

                                                                                                   $449.40           Lab Archive Samples Storage Fees
                                                                                                 $13,642.96          Treatability Testing and Analyses
                                                                                                 $16,043.50          Remedial Investigation Report Revision
                                                                                                 $41,345.75          Draft Feasibility Study
                                                                                                 $79,444.11
              31282     12/20/2019 ERM       Glacier            9/29/2019–11/22/2019             $1,607.50           Project Management
                                                                                                   $554.00           Regulatory Negotiations and Meetings
                                                                                                   $308.00           Adjacent Site Document Reviews
                                                                                                   $898.80           Lab Archive Samples Storage Fees
                                                                                                  -$464.38           Treatability Testing and Analyses
                                                                                                   $485.50           Treatability Testing Results
                                                                                                 $21,551.75          Remedial Investigation Report Revision
                                                                                                 $21,099.00          Draft Feasibility Study
                                                                                                 $46,040.17
              30904     11/11/2019 ERM       Glacier            7/27/2019–9/28/2019               $8,077.00          Project Management
                                                                                                  $7,378.50          Regulatory Negotiations and Meetings
                                                                                                   $396.00           Adjacent Site Document Reviews
                                                                                                  $2,763.57          Treatability Testing and Analyses
                                                                                                  $4,002.00          Data Gaps Investigation




                                                                                                                                                                  Privileged and Confidential
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                                                                    Table B2: ERM Invoice Summary
                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



              Invoice Invoice       Issuing
              No.     Date          Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                                $5,234.00           Remedial Technologies and Remedial
                                                                                                                    Alternatives Tables
                                                                                                $49,168.28          Remedial Investigation Report Revision
                                                                                               $29,556.65           Draft Feasibility Study
                                                                                               $106,576.00
              30420     9/27/2019   ERM     Glacier            5/25/2019–7/26/2019              $3,970.50           Project Management
                                                                                                $3,462.00           Regulatory Negotiations and Meetings
                                                                                               $10,997.98           Treatability Testing and Analyses
                                                                                               $26,991.10           Data Gaps Investigation
                                                                                                $9,561.50           Remedial Technologies and Remedial
                                                                                                                    Alternatives Tables
                                                                                                $7,645.00           Remedial Investigation Report Revision
                                                                                                $4,063.00           Draft Feasibility Study
                                                                                                $66,691.08
              30032     8/13/2019   ERM     Glacier            5/25/2019–7/26/2019               $6,276.50          Project Management
                                                                                                 $3,888.00          Regulatory Negotiations and Meetings
                                                                                                  $346.00           Adjacent Site Document Reviews
                                                                                                  $449.40           Lab Archive Samples Storage Fees
                                                                                                 $9,949.88          Treatability Testing and Analyses
                                                                                                $20,863.02          Data Gaps Investigation
                                                                                                $12,729.00          Preparation of Cleanup Level Memorandum
                                                                                                $4,796.50           Remedial Technologies and Remedial
                                                                                                                    Alternatives Tables
                                                                                                $15,226.50          Remedial Investigation Report Revision
                                                                                                $20,417.50          Draft Feasibility Study
                                                                                                $94,942.30




                                                                                                                                                                 Privileged and Confidential
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                                                                                                                                                                                      DRAFT
                                                                    Table B2: ERM Invoice Summary
                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



              Invoice Invoice       Issuing
              No.     Date          Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
              29513 7/1/2019        ERM     Glacier            4/28/2019–5/24/2019              $3,557.94           Project Management
                                                                                                 $343.50            Regulatory Negotiations and Meetings
                                                                                                 $143.00            Adjacent Site Document Reviews
                                                                                                $1,142.76           Lab Archive Samples Storage Fees
                                                                                               $23,080.89           Treatability Study Sample Collection
                                                                                               $32,797.81           Data Gaps Investigation
                                                                                                 $132.00            Preparation of Cleanup Level Memorandum
                                                                                                $6,244.50           Remedial Investigation Report Revision
                                                                                               $12,690.50           Draft Feasibility Study
                                                                                               $80,132.90
              28997     5/10/2019   ERM     Glacier            2/24/2019–4/27/2019              $3,772.00           Project Management
                                                                                                 $858.00            Regulatory Negotiations and Meetings
                                                                                                 $743.50            Adjacent Site Document Reviews
                                                                                                 $844.50            Treatability Study Sample Collection
                                                                                                $5,647.50           Data Gaps Investigation
                                                                                                 $364.00            Preparation of Cleanup Level Memorandum
                                                                                               $19,262.00           Remedial Investigation Report Revision
                                                                                                 $426.00            Draft Feasibility Study
                                                                                               $31,917.50
              28296     3/11/2019   ERM     Glacier             1/5/2019–2/23/2019              $1,433.50           Project Management
                                                                                                 $765.50            Regulatory Negotiations and Meetings
                                                                                                $1,122.32           Laboratory Archive Sample Storage Fees
                                                                                                $1,777.50           Preparation of Cleanup Level Memorandum
                                                                                                $4,814.50           Remedial Investigation Report Revision
                                                                                                $9,913.32
              27803     1/30/2019   ERM     Glacier            10/28/2018–1/4/2019              $3,247.50           Project Management
                                                                                                 $580.50            Regulatory Negotiations and Meetings
                                                                                                 $545.00            Adjacent Site Document Reviews
                                                                                                $1,029.82           Laboratory Archive Sample Storage Fees
                                                                                                $5,402.82
              27009     11/14/2018 ERM      Glacier            9/30/2018–10/27/2018              $277.50            Regulatory Negotiations and Meetings
                                                                                                $4,686.00           Draft and Final Treatability SWP
                                                                                                $4,963.50




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              Invoice Invoice  Issuing
              No.     Date     Party   Recipient                 Date of Services           Invoice Amount $        Description of Services invoiced
              26678 10/18/2019 ERM     Glacier                  9/8/2018–9/29/2018              $1,958.50           Project Management
                                                                                                 $673.00            Regulatory Negotiations and Meetings
                                                                                                $2,280.00           Draft and Final Treatability SWP
                                                                                                $4,911.50
              25760     8/8/2018     ERM    Glacier            5/27/2018–7/28/2018              $4,190.44           Project Management
                                                                                                $2,203.00           Regulatory Negotiations and Meetings
                                                                                                 $550.00            Adjacent Sites Document Reviews
                                                                                                 $937.32            Laboratory Archive Sample Storage
                                                                                               $11,075.50           Data Gaps Investigation Work Plan
                                                                                               $18,956.26
              25079     6/12/2018    ERM    Glacier             4/1/2018–5/26/2018               $658.75            Project Management
                                                                                                 $858.00            Regulatory Negotiations and Meetings
                                                                                                 $937.32            Laboratory Archive Sample Storage
                                                                                                $2,454.07
              24198     4/6/2018     ERM    Glacier            2/25/2018–3/31/2018              $1,024.00           Project Management
                                                                                                $5,899.00           Regulatory Negotiations and Meetings
                                                                                                 $347.50            Groundwater Level Measurements
                                                                                                $1,485.00           Adjacent Site Document Reviews
                                                                                                  $92.50            Laboratory Archive Sample Storage
                                                                                               $16,879.00           Ecology Comments on the Draft RI Report
                                                                                               $25,727.00
              24112     3/26/2018    ERM    Glacier            11/26/2017–2/24/2018             $2,976.00           Project Management
                                                                                                $4,115.00           Regulatory Negotiations and Meetings
                                                                                                $4,264.01           Groundwater Level Measurements
                                                                                                $6,990.00           Adjacent Site Document Reviews
                                                                                                $2,545.80           Laboratory Archive Sample Storage
                                                                                               $19,251.00           Ecology Comments on the Draft RI Report
                                                                                               $40,141.81
              22758     12/8/2017    ERM    Glacier            10/1/2017–11/2/2017               $319.00            Project Management
                                                                                                 $488.00            Regulatory Negotiations and Meetings
                                                                                                 $175.00            Groundwater Level Measurements
                                                                                                 $370.00            Adjacent Site Document Reviews
                                                                                                $1,405.98           Laboratory Archive Sample Storage
                                                                                                $2,757.98




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              Invoice Invoice  Issuing
              No.     Date     Party   Recipient                Date of Services           Invoice Amount $        Description of Services invoiced
              22171 10/20/2017 ERM     Glacier                8/27/2017–9/30/2017               $319.00            Project Management
                                                                                                $185.00            Regulatory Negotiations and Meetings
                                                                                               $1,957.00           Groundwater Level Measurements
                                                                                               $2,461.00
              21733     9/15/2017   ERM    Glacier             7/2/2017–8/26/2017               $411.50            Project Management
                                                                                                $462.50            Regulatory Negotiations and Meetings
                                                                                               $3,010.00           Groundwater Level Measurements
                                                                                                $282.00            Adjacent Site Document Reviews
                                                                                               $1,405.98           Laboratory Archive Sample Storage
                                                                                               $5,571.98
              21031     8/19/2017   ERM    Glacier             4/30/2017–7/1/2017              $1,480.44           Project Management
                                                                                                $488.00            Regulatory Negotiations and Meetings
                                                                                                $370.00            Adjacent Site Document Reviews
                                                                                               $2,338.44
              20191     5/16/2017   ERM    Glacier             1/1/2017–4/29/2017              $1,295.00           Project Management
                                                                                               $3,374.00           Regulatory Negotiations and Meetings
                                                                                               $6,431.84           Quarterly Groundwater Level Measurements
                                                                                                $411.50            Adjacent Site Document Reviews
                                                                                               $2,811.96           Laboratory Archive Sample Storage
                                                                                              $14,324.30
              106071 1/23/2017      ERM    Glacier           10/30/2016–12/31/2016             $2,150.50           Project Management
                                                                                               $3,231.00           Regulatory Negotiations and Meetings
                                                                                               $1,748.25           Quarterly Groundwater Level Measurements
                                                                                                $370.00            Adjacent Site Document Reviews
                                                                                               $7,499.75
              104000 11/7/2016      ERM    Glacier            10/2/2016–10/29/2016              $370.00            Project Management
                                                                                                $277.50            Regulatory Negotiations and Meetings
                                                                                                $288.00            Quarterly Groundwater Level Measurements
                                                                                               $1,405.98           Laboratory Archive Sample Storage
                                                                                               $2,341.48
              103509 10/31/2016 ERM        Glacier            8/28/2016–10/1/2016               $976.00            Project Management
                                                                                                $277.50            Regulatory Negotiations and Meetings
                                                                                               $1,253.50




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              Invoice Invoice        Issuing
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              101573 8/12/2016       ERM     Glacier            5/29/2016–7/30/2016               $555.00            Project Management
                                                                                                  $555.00            Regulatory Negotiations and Meetings
                                                                                                 $3,411.02           Quarterly Groundwater Level Measurements
                                                                                                  $370.00            Adjacent Sites Document Reviews
                                                                                                 $1,405.98           Laboratory Archive Sample Storage
                                                                                                 $6,297.00
              102476 9/13/2016       ERM     Glacier            7/31/2016–8/27/2016               $555.00            Project Management
                                                                                                  $185.00            Regulatory Negotiations and Meetings
                                                                                                  $978.50            Quarterly Groundwater Level Measurements
                                                                                                 $1,718.50
              99388     6/6/2016     ERM     Glacier            4/29/2016–5/28/2016               $922.50            Project Management
                                                                                                  $277.50            Regulatory Negotiations and Meetings
                                                                                                  $837.50            Quarterly Groundwater Level Measurements
                                                                                                 $2,037.50
              98662     11/7/2016    ERM     Glacier            2/29/2016–4/30/2016              $1,464.00           Project Management
                                                                                                 $1,674.50           Regulatory Negotiations and Meetings
                                                                                                 $3,321.00           Quarterly Groundwater Level Measurements
                                                                                                 $1,405.98           Laboratory Archive Sample Storage
                                                                                                 $7,865.48
              44936B 10/7/2011       ERM     75% Reichhold      8/28/2011–10/1/2011             $22,197.08           Project Management and Regulatory
                                              25% Glacier                                                            Communications
                                                                                                  $1,374.00          Adjacent Sites Document Reviews
                                                                                                 $21,522.00          Finalize RI/FS Work Plan
                                                                                                   $741.12           Spring 2011 Groundwater Sampling
                                                                                                 $45,834.20
              45930B 11/14/2011 ERM          75% Reichhold      10/2/2011–10/29/2011              $7,954.60          Project Management and Regulatory
                                              25% Glacier                                                            Communications
                                                                                                  $551.00            Quarterly Groundwater Level Measurements
                                                                                                   -$9.00            Adjacent Sites Document Reviews
                                                                                                 $11,271.00          Finalize RI/FS Work Plan
                                                                                                 $6,943.30           Monitoring Well Installation, Development and
                                                                                                                     Survey
                                                                                                 $1,809.00           Fall 2011 Groundwater Sampling
                                                                                                 $28,519.90




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              Invoice Invoice   Issuing
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              47104B 12/15/2011 ERM     75% Reichhold       10/2/2011–10/29/2011            $22,836.56           Project Management and Regulatory
                                         25% Glacier                                                             Communications
                                                                                              $429.00            Quarterly Groundwater Level Measurements
                                                                                             $60,469.09          Monitoring Well Installation, Development and
                                                                                                                 Survey
                                                                                                  --             Finalize RI/FS Work Plan
                                                                                             $12,015.75          Fall 2011 Groundwater Sampling
                                                                                             $1,764.00           Storm Water Abandonment Plan
                                                                                             $97,514.40
              48190B 1/27/2012    ERM    75% Reichhold       12/2/2011–1/6/2012               $7,307.55          Project Management and Regulatory
                                          25% Glacier                                                            Communications
                                                                                              $385.55            Quarterly Groundwater Level Measurements
                                                                                              $840.00            Adjacent Site Document Reviews
                                                                                             $30,863.25          Monitoring Well Installation, Development and
                                                                                                                 Survey
                                                                                            $62,826.30           Fall 2011 Groundwater Sampling
                                                                                            $102,222.65
              40342B 4/20/2011    ERM    75% Reichhold       1/29/2011–4/1/2011             $25,772.46           Project Management and Regulatory
                                          25% Glacier                                                            Communications
                                                                                             $2,273.50           Quarterly Groundwater Level Measurements
                                                                                             $8,784.50           Adjacent Site Document Reviews
                                                                                             $1,002.50           Spring 2011 Groundwater Sampling
                                                                                             $37,832.96
              40666B 5/9/2011     ERM    75% Reichhold       4/2/2011–4/30/2011              $9,664.24           Project Management and Regulatory
                                          25% Glacier                                                            Communications
                                                                                             $1,304.50           Quarterly Groundwater Level Measurements
                                                                                              $210.00            Adjacent Site Document Reviews
                                                                                             $15,496.08          Spring 2011 Groundwater Sampling
                                                                                             $26,674.82
              41671B 6/10/2011    ERM    75% Reichhold       5/1/2011–5/28/2011              $10,479.50          Project Management and Regulatory
                                          25% Glacier                                                            Communications
                                                                                              $972.00            Quarterly Groundwater Level Measurements
                                                                                             $2,016.00           Adjacent Site Document Reviews
                                                                                             $5,445.02           Spring 2011 Groundwater Sampling
                                                                                             $18,912.52




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              Invoice Invoice     Issuing
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              42583B 7/14/2011    ERM     75% Reichhold       5/29/2011–7/2/2011             $10,372.29           Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                                $81.00            Quarterly Groundwater Level Measurements
                                                                                               $882.00            Adjacent Site Document Reviews
                                                                                              $26,636.26          Spring 2011 Groundwater Sampling
                                                                                              $37,971.55
              43588B 8/12/2011    ERM     75% Reichhold       7/3/2011–7/31/2011              $7,437.00           Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                              $1,156.00           Quarterly Groundwater Level Measurements
                                                                                              $6,090.00           Finalize RI/FS Work Plan
                                                                                              $3,520.67           Spring 2011 Groundwater Sampling
                                                                                              $18,203.67
              44345B 9/9/2011     ERM     75% Reichhold      7/31/2011–8/27/2011              $10,584.00          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                              $1,303.50           Quarterly Groundwater Level Measurements
                                                                                              $4,377.00           Finalize RI/FS Work Plan
                                                                                              $5,699.02           Spring 2011 Groundwater Sampling
                                                                                              $21,963.52
              30972B 3/8/2010     ERM     75% Reichhold      1/24/2010–2/20/2010              $14,435.95          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                              $2,381.70           Quarterly Groundwater Level Measurements
                                                                                              $2,284.00           Adjacent Site Document Reviews
                                                                                              $19,101.65
              31815B 4/14/2010    ERM     75% Reichhold      2/21/2010–3/31/2010              $15,486.00          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $291.00            Quarterly Groundwater Level Measurements
                                                                                               $292.50            Adjacent Site Document Reviews
                                                                                               $806.50            RI/FS WP/SAP Outline
                                                                                              $16,876.00
              32277B 5/7/2010     ERM     75% Reichhold       4/1/2010–4/24/2010              $3,145.87           Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $592.00            Quarterly Groundwater Level Measurements
                                                                                              $2,861.00           RI/FS WP/SAP Outline
                                                                                              $7,018.13           Spring 2010 Groundwater Sampling
                                                                                              $13,617.00
              32775B 6/4/2010     ERM     75% Reichhold      4/25/2010–5/22/2010              $4,807.50           Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $1,650.50          Quarterly Groundwater Level Measurements
                                                                                                $585.00           Adjacent Site Document Reviews



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              Invoice Invoice     Issuing
              No.     Date        Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                             $40,866.66           Spring 2010 Groundwater Sampling
                                                                                             $47,909.66
              33321B 7/13/2010    ERM     75% Reichhold      5/23/2010–6/26/2010              $5,704.50           Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $145.50            Quarterly Groundwater Level Measurements
                                                                                              $1,072.50           Adjacent Site Document Reviews
                                                                                              $13,065.52          Spring 2010 Groundwater Sampling
                                                                                              $19,988.02
              34127B 8/19/2010    ERM     75% Reichhold      6/27/2010–7/24/2010              $16,858.00          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $195.00            RI/FS WP/SAP Outline
                                                                                              $2,193.00           Spring 2010 Groundwater Sampling
                                                                                              $19,246.00
              34687B 9/20/2010    ERM     75% Reichhold      7/28/2010–8/21/2010              $12,768.78          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                               $984.50            Quarterly Groundwater Level Measurements
                                                                                               $975.00            Adjacent Sites Document Reviews
                                                                                              $1,011.00           RI/FS WP/SAP Outline
                                                                                              $2,838.00           Spring 2010 Groundwater Sampling
                                                                                              $18,577.28
              35392B 10/22/2010 ERM       75% Reichhold      8/22/2010–9/25/2010              $17,116.00          Project Management and Regulatory
                                           25% Glacier                                                            Communications
                                                                                                $776.00           Quarterly Groundwater Level Measurements
                                                                                               $3,510.00          Adjacent Sites Document Reviews
                                                                                               $7,763.50          RI/FS WP/SAP Outline
                                                                                                $797.46           Fall 2010 Groundwater Sampling
                                                                                               $6,305.00          Draft RI/FS Work Plan and Project Plans
                                                                                              $36,430.52




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              Invoice Invoice   Issuing
              No.     Date      Party   Recipient                 Date of Services          Invoice Amount $        Description of Services invoiced
              36023B 11/18/2010 ERM     75% Reichhold          9/26/2010–10/23/2010            $14,262.70           Project Management and Regulatory
                                         25% Glacier                                                                Communications
                                                                                                 $115.00            Quarterly Groundwater Level Measurements
                                                                                                $1,710.00           Adjacent Sites Document Reviews
                                                                                                $5,626.19           Fall 2010 Groundwater Sampling
                                                                                                $28,307.00          Draft RI/FS Work Plan and Project Plans
                                                                                                $50,020.89
              36332B 12/8/2010       ERM    75% Reichhold 10/24/2010–11/20/2010                 $18,444.06          Project Management and Regulatory
                                             25% Glacier                                                            Communications
                                                                                                  $964.00           Quarterly Groundwater Level Measurements
                                                                                                $2,500.00           Adjacent Sites Document Reviews
                                                                                                $14,412.31          Fall 2010 Groundwater Sampling
                                                                                                $13,948.50          Draft RI/FS Work Plan and Project Plans
                                                                                                $50,268.87
              37231B 1/21/2011       ERM    75% Reichhold 11/21/2010–12/25/2010                  $7,099.55          Project Management and Regulatory
                                             25% Glacier                                                            Communications
                                                                                                 $543.00            Quarterly Groundwater Level Measurements
                                                                                                $1,800.00           Adjacent Sites Document Reviews
                                                                                                $30,623.95          Fall 2010 Groundwater Sampling
                                                                                                $40,066.50
              38502B 2/16/2011       ERM    75% Reichhold      12/26/2010–1/28/2011             $11,022.50          Project Management and Regulatory
                                             25% Glacier                                                            Communications
                                                                                                $2,255.98           Quarterly Groundwater Level Measurements
                                                                                                $13,278.48
              27751B     7/10/2009    ERM   75% Reichhold       5/24/209–6/27/2009              $2,851.07           Pre-Sampling/Field Activities
                                             25% Glacier
                                                                                                 $2,955.00          Agreed Order Negotiations
                                                                                                 $3,245.81          Assessment of Site Development/History
                                                                                                 $2,461.00          Groundwater Sampling and Analysis
                                                                                                 $5,905.00          Supplemental Data Gaps Report
                                                                                                 $6,517.50          GIS Database Development
                                                                                                $16,577.87          Project Management and Regulatory
                                                                                                                    Communications




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              Invoice Invoice           Issuing
              No.     Date              Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                                    $1,592.00           Quarterly Groundwater Measurements
                                                                                                     $378.00            Storm Sewer System Location
                                                                                                   $42,483.25
              28263B     8/12/2009       ERM    75% Reichhold      6/28/2009–7/25/2009               $195.00            Agreed Order Negotiations
                                                 25% Glacier
                                                                                                     $2,782.50          Assessment of Site Development/History
                                                                                                     $3,447.50          Groundwater Sampling and Analysis
                                                                                                     $6,088.00          Supplemental Data Gaps Report
                                                                                                      $387.00           GIS Database Development
                                                                                                     $9,585.07          Project Management and Regulatory
                                                                                                                        Communications
                                                                                                     $465.50            Storm Sewer System Location
                                                                                                    $22,950.57
              28642B         9/4/2009    ERM    75% Reichhold      7/26/2009–8/22/2009              $1,080.00           Agreed Order Negotiations
                                                 25% Glacier
                                                                                                     $7,906.50          Assessment of Site Development/History
                                                                                                     $3,420.04          Groundwater Sampling and Analysis
                                                                                                    $12,788.50          Supplemental Data Gaps Report
                                                                                                     $3,800.50          GIS Database Development
                                                                                                    $15,052.15          Project Management and Regulatory
                                                                                                                        Communications
                                                                                                     $4,855.47          Storm Sewer System Location
                                                                                                    $48,903.16
              29120B     10/9/2009       ERM    75% Reichhold      8/23/2009–9/26/2009                $43.80            Pre-Sampling Field Activities
                                                 25% Glacier
                                                                                                     $8,899.48          Assessment of Site Development/History
                                                                                                    $22,509.00          Supplemental Data Gaps Report
                                                                                                     $2,185.00          GIS Database Development
                                                                                                    $20,530.69          Project Management and Regulatory
                                                                                                                        Communications
                                                                                                      $867.45           Storm Sewer System Location
                                                                                                     $2,180.00          Adjacent Sites Document Reviews
                                                                                                    $57,215.42




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              Invoice Invoice  Issuing
              No.     Date     Party   Recipient                    Date of Services          Invoice Amount $        Description of Services invoiced
              29491B 11/9/2009   ERM 75% Reichhold               9/27/2009–10/24/2009              $797.43            Pre-Sampling Field Activities
                                        25% Glacier
                                                                                                  $15,120.50          Supplemental Data Gaps Report
                                                                                                  $11,117.59          Project Management and Regulatory
                                                                                                                      Communications
                                                                                                   $1,828.38          Quarterly Groundwater Level Measurements
                                                                                                  $10,919.08          Storm Sewer System Location
                                                                                                   $2,766.50          Adjacent Sites Document Reviews
                                                                                                  $42,549.48
              29854B     12/8/2009      ERM   75% Reichhold 10/25/2009–11/21/2009                 $9,296.68           Supplemental Data Gaps Report
                                               25% Glacier
                                                                                                  $17,987.50          Project Management and Regulatory
                                                                                                                      Communications
                                                                                                    $966.49           Quarterly Groundwater Level Measurements
                                                                                                   $1,030.00          Storm Sewer System Location
                                                                                                   $1,802.00          Adjacent Sites Document Reviews
                                                                                                  $31,082.67
              30060B 12/30/2009         ERM   75% Reichhold 11/22/2009–12/26/2009                   $187.65           Pre-Sampling Field Activities
                                               25% Glacier
                                                                                                   $7,563.00          Project Management and Regulatory
                                                                                                                      Communications
                                                                                                    $417.50           Quarterly Groundwater Level Measurements
                                                                                                     $86.00           Storm Sewer System Location
                                                                                                    $272.00           Adjacent Sites Document Reviews
                                                                                                   $8,526.15
              30750B         2/9/2010   ERM   75% Reichhold      12/27/2009–1/23/2010              $4,711.71          Project Management and Regulatory
                                               25% Glacier                                                            Communications
                                                                                                    $262.00           Quarterly Groundwater Level Measurements
                                                                                                   $3,389.59          Adjacent Sites Document Reviews
                                                                                                   $8,363.30
              54386-B 10-Aug-12         ERM     CalPortland            7/28/2012                   $4,450.00          Project Management
                                                 Company
                                                                                                  $11,439.50          Regulatory Negotiations and Meetings
                                                                                                  $1,884.00           Quarterly Groundwater Level Measurements




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              Invoice Invoice        Issuing
              No.     Date           Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                                  $440.00            Adjacent Sites Document Reviews
                                                                                                 $3,501.09           2011 Sampling Wrap-up
                                                                                                $11,988.11           Spring 2012 GW Sampling/IDW Disposal
                                                                                                $22,100.25           Sediment Sampling
                                                                                                $55,802.95
              57010B     12-Nov-12    ERM      CalPortland          9–30–2012 to                 $4,195.00           Project Management
                                                Company             10–27–2012
                                                                                                  $6,495.00          Regulatory Negotiations and Meetings


                                                                                                  $440.00            Adjacent Sites Document Reviews
                                                                                                 $2,491.00           Spring 2012 GW Sampling/IDW Disposal
                                                                                                $19,702.50           Sediment Sampling
                                                                                                $120,435.30          Boring, Monitoring Well Installation and River
                                                                                                                     Bank Soil Sampling
                                                                                                 $14,778.55          Storm water and Storm water Solids Sampling

                                                                                                $168,537.35

              57694-B 10-Dec-12       ERM      CalPortland      28 October through 24             $6,999.28          Project Management
                                                Company            November 2012
                                                                                                  $5,460.00          Regulatory Negotiations and Meetings

                                                                                                  $2,493.66          Quarterly Groundwater Level Measurements

                                                                                                   $440.00           Adjacent Sites Document Reviews

                                                                                                  $2,759.00          Spring 2012 GW Sampling/IDW Disposal

                                                                                                  $9,767.00          Sediment Sampling

                                                                                                  $7,504.79          Boring, Monitoring Well Installation and River
                                                                                                                     Bank Soil Sampling

                                                                                                 $10,403.23          Storm water and Storm water Solids Sampling




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              Invoice Invoice       Issuing
              No.     Date          Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                               $45,826.96

              58752-B 10-Jan-13      ERM      CalPortland        25 November 2012                $6,770.00          Project Management
                                               Company         through 31 December
                                                                                                 $4,296.85          Regulatory Negotiations and Meetings

                                                                                                  $390.00           Adjacent Sites Document Reviews

                                                                                                 $6,271.00          Spring 2012 GW Sampling/IDW Disposal

                                                                                                $24,232.45          Sediment Sampling
                                                                                                $27,067.40          Boring, Monitoring Well Installation and River
                                                                                                                    Bank Soil Sampling
                                                                                                $8,284.88           Storm water and Storm water Solids Sampling
                                                                                                $77,312.58
              59801-B 11-Feb-13      ERM      CalPortland    01 January 2013 through            $3,460.00           Project Management
                                               Company           26 January 2013
                                                                                                $10,275.00          Regulatory Negotiations and Meetings
                                                                                                $1,816.14           Quarterly Groundwater Level Measurements
                                                                                                 $220.00            Adjacent Sites Document Reviews
                                                                                                $10,669.50          RI Sed Data Summary and Archive Analysis

                                                                                                $18,101.00          RI Soil Sampling Wrap-up
                                                                                                $8,199.84           Storm Water Sampling

                                                                                                $52,741.48

              60802-B    3-Mar-13    ERM      CalPortland      27 January through 23             $3,840.00          Project Management
                                               Company             February 2013
                                                                                                $10,065.00          Regulatory Negotiations and Meetings
                                                                                                 $252.00            Quarterly Groundwater Level Measurements
                                                                                                 $880.00            Adjacent Sites Document Reviews
                                                                                                $20,433.50          RI Sed Data Summary and Archive Analysis
                                                                                                $10,871.50          RI Soil Sampling Wrap-up
                                                                                                $6,597.00           Storm Water Sampling
                                                                                                $52,939.00




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              Invoice Invoice   Issuing
              No.     Date      Party   Recipient               Date of Services           Invoice Amount $        Description of Services invoiced
              61697-B 12-Apr-13   ERM     CalPortland           24 February 2013               $6,255.00           Project Management
                                           Company           through 31 March 2013

                                                                                               $33,218.56          Regulatory Negotiations and Meetings
                                                                                               $1,863.50           Quarterly Groundwater Level Measurements
                                                                                                $630.00            Adjacent Sites Document Reviews
                                                                                               $7,943.00           RI Sed Data Summary and Archive Analysis
                                                                                               $15,807.86          RI Soil Sampling Wrap-up
                                                                                               $11,578.63          Storm Water Sampling
                                                                                               $77,296.55
              62783-B 15-May-13      ERM     CalPortland     01 April through 27 April         $5,510.00           Project Management
                                              Company                   2013
                                                                                               $47,123.92          Regulatory Negotiations and Meetings
                                                                                                $444.00            Quarterly Groundwater Level Measurements
                                                                                                $440.00            Adjacent Sites Document Reviews
                                                                                               $3,587.00           RI Sed Data Summary and Archive Analysis
                                                                                               $3,242.00           RI Soil Sampling Wrap-up
                                                                                               $10,788.11          Storm Water Sampling
                                                                                               $71,135.03
              63910-B 20-Jun-13      ERM     CalPortland     28 April through 25 May           $6,547.00           Project Management
                                              Company                  2013
                                                                                               $12,925.00          Regulatory Negotiations and Meetings
                                                                                               $6,507.84           Quarterly Groundwater Level Measurements
                                                                                               $2,748.00           Adjacent Sites Document Reviews
                                                                                               $9,986.16           RI Sed Data Summary and Archive Analysis
                                                                                               $3,014.50           RI Soil Sampling Wrap-up
                                                                                               $9,251.98           Storm Water Sampling
                                                                                               $1,448.50           Remedial Investigation Reporting
                                                                                               $52,428.98
              64867-B    23-Jul-13   ERM     CalPortland     26 May through 29 June            $5,016.25           Project Management
                                              Company                 2013
                                                                                               $15,682.50          Regulatory Negotiations and Meetings
                                                                                                 $88.50            Quarterly Groundwater Level Measurements
                                                                                               $11,059.72          Adjacent Sites Document Reviews
                                                                                               $1,919.91           RI Sed Data Summary and Archive Analysis
                                                                                               $5,012.58           RI Soil Sampling Wrap-up
                                                                                               $1,840.50           Remedial Investigation Reporting
                                                                                               $40,619.96




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              Invoice Invoice  Issuing
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              65902-B 21-Aug-13 ERM      CalPortland        30 June through 27 July           $5,429.00           Project Management
                                          Company                    2013
                                                                                              $25,266.57          Regulatory Negotiations and Meetings
                                                                                               $528.00            Quarterly Groundwater Level Measurements
                                                                                              $6,914.50           Adjacent Sites Document Reviews
                                                                                              $2,256.50           RI Sed Data Summary and Archive Analysis
                                                                                              $2,049.00           RI Soil Sampling Wrap-up
                                                                                               $704.99            Storm Water Sampling
                                                                                              $4,500.50           Work Plan Addendum
                                                                                              $7,614.43           Tidal Study
                                                                                              $55,263.49
              69675-B    9-Dec-13   ERM     CalPortland      27 October through 23            $3,860.00           Project Management
                                             Company            November 2013
                                                                                              $4,216.00           Regulatory Negotiations and Meetings
                                                                                              $2,289.00           Quarterly Groundwater Level Measurements
                                                                                               $799.17            Adjacent Sites Document Reviews
                                                                                              $44,040.28          Uplands Shallow Soil Sampling
                                                                                              $55,204.45
              70646-B 13-Jan-14     ERM     CalPortland    24 November through 31             $2,092.50           Project Management
                                             Company           December 2013
                                                                                              $5,562.00           Regulatory Negotiations and Meetings
                                                                                                $87.00            Quarterly Groundwater Level Measurements
                                                                                              $1,336.64           Adjacent Sites Document Reviews
                                                                                              $42,852.28          Uplands Shallow Soil Sampling
                                                                                              $51,930.42
              72434-B 10-Mar-14     ERM     CalPortland      26 January through 22            $4,258.00           Project Management
                                             Company             February 2014
                                                                                              $10,380.50          Regulatory Negotiations and Meetings
                                                                                              $3,263.94           Quarterly Groundwater Level Measurements
                                                                                               $650.00            Adjacent Sites Document Reviews
                                                                                              $2,049.00           Historical Stormwater Pipe Abandonment Plan

                                                                                              $67,923.26          Uplands Soil Sampling and Monitoring Well
                                                                                                                  Installations
                                                                                               $3,838.90          March 2014 Groundwater Sampling

                                                                                                $591.00           Remedial Investigation Data Reporting




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              Invoice Invoice       Issuing
              No.     Date          Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                               $92,954.60


              74536-B    8-May-14    ERM      CalPortland     01 April through 26 April          $5,710.50          Project Management
                                               Company                   2014
                                                                                                 $2,196.50          Regulatory Negotiations and Meetings


                                                                                                  $736.00           Quarterly Groundwater Level Measurements


                                                                                                 $2,868.00          Adjacent Sites Document Reviews


                                                                                                $78,004.60          Uplands Soil Sampling and Monitoring Well
                                                                                                                    Installations
                                                                                                $28,044.80          March 2014 Groundwater Sampling


                                                                                                 $9,615.50          Remedial Investigation Data Reporting


                                                                                               $127,175.90


              80017-B 31-Oct-14      ERM      CalPortland      29 August through 30              $8,041.00          Project Management
                                               Company           September 2014
                                                                                                 $9,856.72          Regulatory Negotiations and Meetings


                                                                                                 $4,076.37          Adjacent Sites Document Reviews


                                                                                                $24,452.00          Remedial Investigation Data Reporting


                                                                                                 $323.50            Monitoring Well Development
                                                                                                $16,119.68          Historical Stormwater Pipe Abandonment




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              Invoice Invoice        Issuing
              No.     Date           Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                                $51,584.39           August 2014 Groundwater Sampling



                                                                                                $114,453.66



              81029      2-Dec-14     ERM      CalPortland      01 October through 22            $10,823.50          Project Management
                                                Company            November 2014
                                                                                                 $6,093.56           Regulatory Negotiations and Meetings
                                                                                                  $606.00            Quarterly Groundwater Level Measurements
                                                                                                  $976.00            Adjacent Sites Document Reviews
                                                                                                 $1,819.00           Remedial Investigation Data Reporting
                                                                                                 $3,569.00           Historical Stormwater Pipe Abandonment
                                                                                                 $9,569.50           August 2014 Groundwater Sampling
                                                                                                 $33,456.56
              82591      15-Jan-15    ERM      CalPortland       23 November 2014                $6,130.25           Project Management
                                                Company       through 02 January 2015
                                                                                                  $3,167.39          Regulatory Negotiations and Meetings
                                                                                                  $4,562.00          Quarterly Groundwater Level Measurements
                                                                                                  $1,027.00          Adjacent Sites Document Reviews
                                                                                                  $8,621.16          Remedial Investigation Data Reporting
                                                                                                   $153.00           Monitoring Well Development
                                                                                                   $798.50           Historical Stormwater Pipe Abandonment


                                                                                                  $6,981.75          August 2014 Groundwater Sampling

                                                                                                 $6,976.00           3-Dimensional Model
                                                                                                 $38,417.05
              88532      14-Jul-15    ERM      CalPortland      May 30 through July 4,           $3,904.00           Project Management
                                                Company                 2015
                                                                                                 $8,543.18           Regulatory Negotiations and Meetings
                                                                                                 $1,192.00           Quarterly Groundwater Level Measurements
                                                                                                 $6,881.33           March 2015 Groundwater Sampling
                                                                                                 $20,520.51




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              Invoice Invoice   Issuing
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              90007    20-Aug-15 ERM                                                              $6,962.39           THIS INVOICE WAS VOIDED BY ERM AFTER
                                                                                                                      WE PAID IT AND THEY APPLIED A CREDIT TO
                                                                                                                      THEIR NOVEMBER INVOICE NO. 92433



              90629      9-Sep-15       ERM     CalPortland      July 5 through August             $4,672.00          Project Management
                                                 Company                29, 2015
                                                                                                   $1,556.50          Regulatory Negotiations and Meetings
                                                                                                   $4,862.75          Quarterly Groundwater Level Measurements
                                                                                                    $370.00           Adjacent Sites Document Reviews
                                                                                                   $1,963.45          Laboratory Archive Samples Storage Fees

                                                                                                   $2,445.44          March 2015 Groundwater Sampling

                                                                                                   $5,239.67          August/September 2015 Groundwater Sampling

                                                                                                  $21,109.81
              91462          8-Oct-15   ERM     CalPortland        August 30 through              $2,759.00           Project Management
                                                 Company            October 3, 2015
                                                                                                    $858.00           Regulatory Negotiations and Meetings
                                                                                                    $824.00           Quarterly Groundwater Level Measurements
                                                                                                   $1,306.25          Adjacent Sites Document Reviews
                                                                                                    $296.50           March 2015 Groundwater Sampling

                                                                                                  $62,304.72          August/September 2015 Groundwater Sampling


                                                                                                  $68,348.47


              92433      5-Nov-15       ERM     CalPortland        August 30 through               $2,137.00          Project Management
                                                 Company            October 3, 2015
                                                                                                   $1,649.00          Regulatory Negotiations and Meetings




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              Invoice Invoice        Issuing
              No.     Date           Party   Recipient            Date of Services           Invoice Amount $        Description of Services invoiced
                                                                                                  $185.00            Quarterly Groundwater Level Measurements
                                                                                                 $3,066.50           Adjacent Sites Document Reviews
                                                                                                 $1,877.85           Laboratory Archive Samples Storage Fees

                                                                                                 $23,864.38          August/September 2015 Groundwater Sampling

                                                                                                 $32,779.73
              93416      4-Dec-15     ERM      CalPortland       November 1 through              $3,129.00           Project Management
                                                Company          November 28, 2015
                                                                                                   $673.00           Regulatory Negotiations and Meetings
                                                                                                  $3,129.29          Quarterly Groundwater Level Measurements
                                                                                                  $1,541.00          Adjacent Sites Document Reviews
                                                                                                  $3,361.88          August/September 2015 Groundwater Sampling

                                                                                                 $11,834.17
              94319      12-Jan-16    ERM      CalPortland        November 29, 2015              $4,264.50           Project Management
                                                Company        through January 1, 2016

                                                                                                   $555.00           Regulatory Negotiations and Meetings
                                                                                                   $370.00           Quarterly Groundwater Level Measurements
                                                                                                  $1,037.50          Adjacent Sites Document Reviews
                                                                                                  $2,954.64          August/September 2015 Groundwater Sampling

                                                                                                  $9,181.64
              95582      12-Feb-16    ERM      CalPortland        January 2 through               $2,677.75          Project Management
                                                Company           January 30, 2016
                                                                                                   $488.00           Regulatory Negotiations and Meetings
                                                                                                  $1,032.50          Quarterly Groundwater Level Measurements
                                                                                                  $2,264.50          Adjacent Sites Document Reviews
                                                                                                  $6,462.75
              96517      10-Mar-16    ERM      CalPortland       January 31 through                $488.00           Project Management
                                                Company          February 27, 2016
                                                                                                   $185.00           Regulatory Negotiations and Meetings
                                                                                                   $74.50            Quarterly Groundwater Level Measurements
                                                                                                  $1,760.15          Laboratory Archive Samples Storage Fees

                                                                                                  $2,507.65




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              Invoice Invoice    Issuing
              No.     Date       Party   Recipient                   Date of Services         Invoice Amount $        Description of Services invoiced
              24390     9-Dec-08   ERM    Reichold, Inc.              For Professional           $17,229.60           Well Repair
                                                                Services rendered from
                                                                     October 26, 2008
                                                                 through November 22,
                                                                           2008
              25404-B 10-Feb-09         ERM    Reichold, Inc.       29 September 2008             $52,982.68          Well Repair and Development
                                                                  through 31 December
                                                                           2008
              26019-B 23-Mar-09         ERM    Reichold, Inc.   1 January 2009 through            $56,624.05          Pre-Sampling Field Activities, Agreed Order/SOW
                                                                     21 February 2009                                 Negotiations, Assessment of Site Development,
                                                                                                                      Supplemental GW Sampling, Regulatory
                                                                                                                      Negotiations and PM
              26338-B 14-Apr-09         ERM    Reichold, Inc.    22 February through 1            $68,574.41          Pre-Sampling/Field Activities, Agreed Order
                                                                      April 2009                                      Negotiations, Assessment of Site
                                                                                                                      Development/History, Groundwater Sampling and
                                                                                                                      Analysis Plans/Pre-AO Sampling Strategy, Project
                                                                                                                      Management and Regulatory Communications


              26833-B    8-May-09       ERM    Reichold, Inc.   2 April through 25 April          $32,829.97          Pre-Sampling/Field Activities, Agreed Order
                                                                          2009                                        Negotiations, Assessment of Site
                                                                                                                      Development/History, Groundwater Sampling,
                                                                                                                      Supplemental Data Gaps Report, GIS Database
                                                                                                                      Development Project Management and
                                                                                                                      Regulatory Communications

              27361-B        5-Jun-09   ERM    Reichold, Inc.   26 April through 23 May           $67,184.09          Pre-Sampling/Field Activities, Agreed Order
                                                                          2009                                        Negotiations, Assessment of Site
                                                                                                                      Development/History, Groundwater Sampling,
                                                                                                                      Supplemental Data Gaps Report, GIS Database
                                                                                                                      Development Project Management and
                                                                                                                      Regulatory Communications
              49226-A 17-Feb-12         ERM    Reichold, Inc.       1/7/12 – 1/28/12              $40,284.96          R-G Site Remediation

              50067-A    9-Mar-12       ERM    Reichold, Inc.       1/29/12–2/25/12               $32,285.57          R-G Site Remediation

              51136-A 10-Apr-12         ERM    Reichold, Inc.       2/26/12–3/31/20               $33,096.13          R-G Site Remediation




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              52717-A 10-Jun-12   ERM    Reichold, Inc.          4/1/12–5/26/12                 $126,514.00        R-G Site Remediation

              55185-A 14-Sep-12      ERM    Reichold, Inc.       7/29/12–8/31/12                $115,471.59        R-G Site Remediation

              55825-A 10-Oct-12      ERM    Reichold, Inc.       9/1/12–9/29/12                 $131,994.37        R-G Site Remediation

              68038-A 24-Oct-13      ERM    Reichold, Inc.       8/25/12–9/28/13                 $74,253.20        R-G Site Remediation

              68661-A    8-Nov-13    ERM    Reichold, Inc.      9/29/13–10/26/13                 $86,346.28        107Ee05 R G 2013 Site Remediation

              71356-A    5-Feb-14    ERM    Reichold, Inc.       1/1/14–1/25/14                  $55,948.54        107Ee05 R G 2014 Site Remediation

              76331B     10-Jul-14   ERM    Reichold, Inc.       5/25/14–6/28/14                 $53,754.98        107Ee05 R G 2014 Site Remediation
              73331-A    4-Apr-14    ERM    Reichold, Inc.       2/23/14–3/31/14                $120,675.27        107Ee05 R G 2014 Site Remediation

              77683-A 14-Aug-14      ERM    Reichold, Inc.       7/29/14–7/26/14                 $63,901.54        107Ee05 R G 2014 Site Remediation

              78647-A 12-Sep-14      ERM    Reichold, Inc.       through 8/29/14                $126,610.97        107Ee05 R G 2014 Site Remediation

                                                                                                 $51,879.04
              107 invoices
                                                                     total cost                $4,854,108.50




                                                                                                                                                                Privileged and Confidential
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                                                                                                                                                    mediation         71 of 149
                                                                                                                                                              and in anticipation of litigation
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                                                                             Table B3: RETEC Invoice Summary
                                                 Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                          Site Location/Geographical
                             Invoice     Issuing                                                                      Description of Services             Reference where services
              Invoice No.      Date       Party Recipient     Date of Services                 Invoice Amount $       invoiced                            were performed
              12950297       1/5/1996     Retec Reichhold 75% December 1995 (net                   $2,249.13          Project management                  no reference to specific site area
                                                 Lonestar 25% 30 days)
                                                                                                     $36.58           Conceptual Workplan
                                                                                                   $1,644.08          RI/FS workplan
                                                                                                   $14,794.24         Field sampling
                                                                                                   $18,724.03
              19600328       2/2/1996    Retec     Reichhold 75% January 1996 (net 30               $909.60           Project management                  no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                    $875.00           Conceptual Workplan
                                                                                                   $1,805.32          RI/FS workplan
                                                                                                   $6,053.05          Field sampling
                                                                                                   $5,392.40          RI Report
                                                                                                    $176.00           Preliminary Feasibility Report
                                                                                                   $15,211.37
              29600117       2/29/1996   Retec     Reichhold 75% February 1996 (net                $1,217.48          Project management                  no reference to specific site area
                                                   Lonestar 25% 30 days)
                                                                                                    $250.00           Conceptual Workplan
                                                                                                    $529.10           RI/FS workplan
                                                                                                   $3,503.98          Field sampling
                                                                                                   $2,588.42          RI Report
                                                                                                    $341.00           Preliminary Feasibility Report
                                                                                                   $8,429.98
              39600206       4/4/1996    Retec     Reichhold 75% March 1996 (net 30                $2,125.32          Project management                  no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                    $529.10           RI/FS workplan
                                                                                                    $725.74           Field sampling                      *Sum of task total does not
                                                                                                                                                          equal sum given on invoice
                                                                                                                                                          $6979.17 vs $5920.97
                                                                                                   $2,155.00          RI Report
                                                                                                   $1,444.00          Preliminary Feasibility Report
                                                                                                   $5,920.97
              49600337       5/3/1996    Retec     Reichhold 75% April 1996 (net 30                 $383.50           Project management                  no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                     $40.00           RI/FS workplan
                                                                                                     $31.00           Field sampling
                                                                                                   $11,342.27         Phase II Field Sampling
                                                                                                   $3,082.30          RI Report
                                                                                                   $3,573.80          Preliminary Feasibility Report
                                                                                                   $18,452.87




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                                                                             Table B3: RETEC Invoice Summary
                                                 Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                          Site Location/Geographical
                              Invoice    Issuing                                                                      Description of Services             Reference where services
              Invoice No.       Date      Party Recipient     Date of Services                   Invoice Amount $     invoiced                            were performed
              59600250       5/31/1996    Retec Reichhold 75% May 1996 (net 30                        $208.50         Project management                  no reference to specific site area
                                                 Lonestar 25% days)
                                                                                                       $352.10        RI/FS workplan
                                                                                                       $165.00        Field sampling
                                                                                                      $5,771.61       Phase II Field Sampling
                                                                                                      $9,697.00       RI Report
                                                                                                      $2,946.80       Preliminary Feasibility Report
                                                                 Client logged
                                                                 incorrect amount;
                                                                 TIG correct                         $19,141.01
              69600377       7/3/1996    Retec     Reichhold 75% June 1996 (net 30                     $20.80         Project management                  no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                       $15.66         Field sampling
                                                                                                        $4.13         Phase II Field Sampling
                                                                                                       $838.65        RI Report
                                                                                                       $186.00        Preliminary Feasibility Report
                                                                                                      $1,065.24
              79600098       8/1/1996    Retec     Reichhold 75% July 1996 (net 30                     $30.00         Field sampling                      no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                      $1,108.60       RI Report
                                                                                                      $2,328.00       Preliminary Feasibility Report
                                                                                                       $80.00         Final Feasibility Report
                                                                 Client logged
                                                                 incorrect amount;
                                                                 TIG correct                          $3,546.60
              89600238       8/29/1996   Retec     Reichhold 75% August 1996 (net 30                   $62.00         Project management                  no reference to specific site area
                                                   Lonestar 25% days)
                                                                                                       $42.50         Field sampling
                                                                                                      $2,403.00       RI Report
                                                                                                      $1,724.00       Preliminary Feasibility Report
                                                                                                      $3,102.20       Final Feasibility Report
                                                                     amount off with client           $7,333.70
                                                                     with 1 cent (client
                                                                     shows 7,333.71)

              99300375       10/1/1996   Retec     Reichhold 75% September 1996 (net                   $34.58         Project management                  no reference to specific site area
                                                   Lonestar 25% 30 days)
                                                                                                     $2,517.02        RI Report
                                                                                                      $45.00          Preliminary Feasibility Report
                                                                                                     $2,495.78        Final Feasibility Report
                                                                                                     $5,092.38
                                                                     Total                          $102,918.15




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                                                         Table B4: IT Corp Invoice Summary
                              Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


     Invoice                     Issuing
       No.       Invoice Date     Party     Recipient                   Date of Services        Invoice Amount $     Description of Services invoiced
                   12/5/2000     IT Corp    Lone Star                 6/24/2000–11/3/2000           $6,654.25        Hydrogen peroxide injections,
                                                                                                                     groundwater sampling
     396620      12/23/1998       IT Corp   Lone Star 25%,             through 12/10/1998          $63,854.10
                                            Reichhold 75%
     186848       4/12/1999       IT Corp   Lone Star 25%,              through 3/26/1999          $58,999.42        Hydrogen peroxide injections,
                                            Reichhold 75%                                                            groundwater sampling
     221553       8/27/1999       IT Corp   Lone Star 25%,              through 8/13/1999          $48,245.25        Hydrogen peroxide injections,
                                            Reichhold 75%                                                            groundwater sampling; ozone
                                                                                                                     generator inspection, shoreline permit
                                                                                                                     issue
     247679       11/23/1999      IT Corp   Lone Star 25%,             through 11/12/1999          $88,281.76        Ozone sparging equipment
                                            Reichhold 75%                                                            fabrication; GW level monotiring;
                                                                                                                     shoreline permit
     308993       6/29/2000       IT Corp   Lone Star 25%,              through 6/2/2000           $82,110.62        ozone sparging installation and
                                            Reichhold 75%                                                            startup; 2nd round of hydrogen
                                                                                                                     peroxide injections; GW sampling
     351666       11/3/2000       IT Corp   Reichhold                   through 11/3/2000          $19,962.75        Subcontractors
    7 invoices                                                                                     $368,108.15




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                                                                                                                             Exhibit
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                                                            Table B5: Shaw Invoice Summary
                               Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                            Issuing                           Date of Services                            Description of Services
        Invoice No.      Invoice Date        Party      Recipient                                  Invoice Amount $       invoiced
        340628-R8-         9/18/2008         Shaw       Reichhold 75%         through 8/1/2008        $73,241.71          Reichhold Inc.
           00501                                        Glacier 25%
          340628             9/19/2008        Shaw      Reichhold 75%             5/1/2008–            $40,577.46         Not indicated (covers some of
                                                        Glacier 25%                8/1/2008                               the period of 340630)
           345818            10/24/2008       Shaw      Reichhold 75%             9/1/2008–            $14,866.74         Project management, Draft
                                                        Glacier 25%               9/26/2008                               SOW
           314534            7/15/2008        Shaw      Reichhold 75%           Jan 2008–Apr             $662.55          Reporting (Review and catalog
                                                        Glacier 25%                  2008                                 all significant project
                                                                                                                          documentation from Fluor
                                                                                                                          Daniel/GTE IT and Shaw;
                                                                                                                          Evaluate technical data.
                                                                                                                          Prepare Remedial Activities
                                                                                                                          Summary Report )
                                                                                                        $396.03           Project Management
                                                                                                       $72,074.31         Reporting & Tech. Over
                                                                                                       $73,132.89
           399568            11/26/2008       Shaw      Reichhold 75%             10/1/2008            $1,253.39          Secured fencing contractor and
                                                        Glacier 25%                                                       review FOIA submittals
         5 invoices                                                                                    $203,072.19




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                                                    Table B6: Fluor Daniel-GTI Invoice Summary
                              Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                              Site Location/
                                                                                                                              Geographical
                                                                                                                              Reference where
               Invoice                                      Date of                Invoice      Description of Services services were                     COC
  Invoice No.    Date      Issuing Party      Recipient     Services              Amount $      invoiced                      performed                   investigated
    347238    11/12/1997 Fluor Daniel-GTI     75% Reichhold Billing through       $17,621.22    work performed in             no reference to
                                              25% Lone Star 10/3/1997.                          support of the pilot testing. specific site area
                                                            Work                                The work performed
                                                            performed in                        includes those related to
                                                            September                           three tasks of the work
                                                                                                scope
    376626       6/15/1998 Fluor Daniel-GTI   75% Reichhold work performed        $4,686.01     work performed in support no reference to                 arsenic
                                              25% Lone Star in March and                        of the arsenic pilot testing. specific site area
                                                            April Billing                       The work performed
                                                            through                             includes those related to
                                                            6/4/1998                            two tasks of the work
                                                                                                scope
    349810      11/13/1997 Fluor Daniel-GTI   75% Reichhold work performed         $695.14      work performed in support no reference to
                                              25% Lone Star in October                          of the pilot testing. The     specific site area
                                                            Billing through                     work performed includes
                                                            10/31/1997                          those related to three
                                                                                                tasks of the work scope

    389064       10/7/1998 Fluor Daniel-GTI   75% Reichhold Billing through       $15,495.75    work relating to project     no reference to
                                              25% Lone Star 10/01/1998                          management and the           specific site area
                                                                                                completion of the Lone
                                                                                                Star site Remedial Action
                                                                                                Plan
    340880       9/17/1997 Fluor Daniel-GTI   75% Reichhold work performed        $18,970.94    work performed in support    no reference to
                                              25% Lone Star in July and                         of the pilot testing. The    specific site area
                                                            August Billing                      work performed includes
                                                            through                             those related to two tasks
                                                            8/1/1997                            of the work scope




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                                                    Table B6: Fluor Daniel-GTI Invoice Summary
                              Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                          Site Location/
                                                                                                                          Geographical
                                                                                                                          Reference where
                  Invoice                                   Date of                Invoice      Description of Services services were                    COC
  Invoice No.       Date     Issuing Party    Recipient     Services              Amount $      invoiced                  performed                      investigated
    363481       3/12/1998 Fluor Daniel-GTI   75% Reichhold work performed        $11,551.98    work performed in support no reference to                arsenic
                                              25% Lone Star in october 1997                     of the pilot testing. Al  specific site area
                                                            and march                           testing at site complete
                                                            1998 Billing
                                                            through
                                                            3/5/1998

    376624       6/15/1998 Fluor Daniel-GTI   75% Reichhold Billing through       $1,704.00     Worst case scenario for    no reference to
                                              25% Lone Star 6/4/1998                            cleanup                    specific site area
   7 invoices                                               total cost            $70,725.04




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                                                                                                                   Table B7: Ecology Invoice Summary
                                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                                                                                                                                              Site Location/Geographical
                  Invoice                                                    Date of                                                                          Reference where services           Site operator linked to       COC        Site operator linked to          % of total
    Invoice No.     Date           Issuing Party Recipient                  Services        Invoice Amount $      Description of Services invoiced            were performed                         Site Location*        investigated            COC                       cost
  1T000423-01-AA 10/30/2009        Department of Glacier (is not prorated   3/1/1991–          $142,212.08        Literature review, SOW, PM, document        no reference to specific site area
                                      Ecology    between liable parties.)   6/30/2009                             review, draft Administrative order,
                                                                                                                  meetings
  1T000423-02-AB 12/15/2009        Department of Glacier (is not prorated   7/1/2009–            $5,692.54        Environmental Engineer labor                no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2009

  1T000423-03-AA        4/1/2010   Department of Glacier (is not prorated   12/1/2009–            $215.62         Site visit-trenching for 15 inch pipe       no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2009

  1T000423-04-AA       6/10/2010   Department of Glacier (is not prorated   1/1/2010–           $27,574.60        Data gaps report, internal coordination,    no reference to specific site area      $27,574.60
                                     Ecology     between liable parties.)   3/31/2010                             research, communications with site
                                                                                                                  manager
  1T000423-05-AA       9/10/2010   Department of Glacier (is not prorated   4/1/2010–           $26,127.17        Data gaps report, internal coordination,    no reference to specific site area      $26,127.17
                                     Ecology     between liable parties.)   6/30/2010                             research, communications with site
                                                                                                                  manager
  1T000423-06-AA 12/10/2010        Department of Glacier (is not prorated   7/1/2010–            $9,947.08        Data gaps report, internal coordination,    no reference to specific site area       $9,947.08
                                     Ecology     between liable parties.)   9/30/2010                             research, communications with site
                                                                                                                  manager, Agreed Order, site visit for
                                                                                                                  review of current conditions
  1T000423-07-AA       3/10/2011   Department of Glacier (is not prorated   10/1/2010–           $2,176.93        Review draft outlines for RI/FS and SAP,    no reference to specific site area       $2,176.93
                                     Ecology     between liable parties.)   12/31/2010                            records management, research,
                                                                                                                  communications with site manager
  1T000423-08-AA        6/1/2011   Department of Glacier (is not prorated   1/1/2011–            $3,713.15        Review historic information of Cell         Cell Mineralization                      $3,713.15
                                     Ecology     between liable parties.)   3/31/2011                             Mineralization, review RI and sampling
                                                                                                                  plan, research, communications with site
                                                                                                                  manager
  1T000423-09-AA        9/1/2011   Department of Glacier (is not prorated   4/1/2011–           $15,532.37        Review RI/FS work plan, GIS data            no reference to specific site area      $15,532.37
                                     Ecology     between liable parties.)   6/30/2011                             management and mapping

  1T000423-10-AA 12/10/2011        Department of Glacier (is not prorated   7/1/2011–           $10,606.65        Review and edit Sampling and Analysis       no reference to specific site area      $10,606.65
                                     Ecology     between liable parties.)   9/30/2011                             Plan

  1T000423-11-AA        3/1/2012   Department of Glacier (is not prorated   10/1/2011–          $12,463.18        internal and external communication,        no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2011                            Glacier well installation review reports

  1T000423-12-AA        6/1/2012   Department of Glacier (is not prorated   1/1/2012–           $11,298.01        Review soil sampling proposal, work plan    no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2012                             review, review fall sampling results,
                                                                                                                  external communications,
  1T000423-13-AA        9/1/2012   Department of Glacier (is not prorated   4/1/2012–           $13,056.89        Comment letter, internal and external       no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2012                             communication, Approval letter, review
                                                                                                                  final work plan, observe sediment
                                                                                                                  sampling
  1T000423-14-AA 12/10/2010        Department of Glacier (is not prorated   7/1/2012–           $24,141.05        Ecology comments, internal and external     no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2012                             meetings/communication, review dispute
                                                                                                                  resolution
  1T000423-15-AA        3/1/2013   Department of Glacier (is not prorated   10/1/2012–          $45,101.07        Internal and external meetings, review      no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2012                            dispute resolution, finalize SOPs,
                                                                                                                  response letter and cost estimate
  1T000423-16-AA        6/1/2013   Department of Glacier (is not prorated   1/1/2013–           $39,035.73        review dispute resolutions documents,       no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2013                             internal and external meetings, develop
                                                                                                                  figures



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                                                                                                                                                                                                                                                                                    DRAFT
                                                                                                                   Table B7: Ecology Invoice Summary
                                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                                                                                                                                               Site Location/Geographical
                        Invoice                                              Date of                                                                           Reference where services           Site operator linked to       COC        Site operator linked to          % of total
    Invoice No.           Date     Issuing Party Recipient                  Services        Invoice Amount $      Description of Services invoiced             were performed                         Site Location*        investigated            COC                       cost
  1T000423-17-AA        9/1/2013   Department of Glacier (is not prorated   4/1/2013–          $65,748.44         prepare WP/SAP/QAPP, update aerial           no reference to specific site area
                                      Ecology    between liable parties.)   6/30/2013                             maps, groundwater and soil maps,
                                                                                                                  despute resolution support, research
                                                                                                                  Geotech/Silo construction
  1T000423-18-AA 12/10/2013        Department of Glacier (is not prorated   7/1/2013–           $60,820.33        dispute resolution support, review work      no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2013                             plan, update maps, internal and external
                                                                                                                  meetings
  1T000423-19-AA       3/15/2014   Department of Glacier (is not prorated   10/1/2013–          $43,351.62        dispute resolution support,internal and      no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2013                            external meetings, observe onsite field
                                                                                                                  work, update maps, prepare figures
  1T000423-20-AA        6/1/2014   Department of Glacier (is not prorated   1/1/2014–           $32,002.93        field observations for soil boring, sampling no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2014                             and well installation, review os results,
                                                                                                                  internal and external communication

  1T000423-21-AA        9/1/2014   Department of Glacier (is not prorated   4/1/2014–           $23,067.88        review of soil data, project management,     no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2014                             internal and external
                                                                                                                  communication/meetings, review
                                                                                                                  groundwater data
  1T000423-22-AA 12/15/2014        Department of Glacier (is not prorated   7/1/2014–           $26,066.44
                                     Ecology     between liable parties.)    9/30/14

  1T000423-23-AA        3/5/2015   Department of Glacier (is not prorated   10/1/2014–           $4,655.25        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2014

  1T000423-24-AA        6/1/2015   Department of Glacier (is not prorated   1/1/2015–            $5,041.32        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2015

  1T000423-25-AA        9/1/2015   Department of Glacier (is not prorated   4/1/2015–           $17,120.52        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2015

  1T000423-27-AA       3/10/2016   Department of Glacier (is not prorated   10/1/2015–           $1,476.45        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2015

  1T000423-29-AA        9/1/2016   Department of Glacier (is not prorated   4/1/2016–             $65.14          Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2016

  1T000423-30-AA 12/15/2016        Department of Glacier (is not prorated   6/1/2016–            $1,145.27        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2016

  1T000423-31-AA       3/10/2017   Department of Glacier (is not prorated   10/1/2016–           $4,803.40        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2016

  1T000423-32-AA       7/10/2017   Department of Glacier (is not prorated   1/1/2017–            $7,668.62        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2017

  1T000423-33-AA        9/1/2017   Department of Glacier (is not prorated   4/1/2017–            $9,810.56        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2017

  1T000423-34-AA 12/15/2017        Department of Glacier (is not prorated   7/1/2017–            $4,406.81        Glacier NW Remedial Investigation            no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2017




                                                                                                                                                                                                                                                               Privileged and Confidential
Last revised: May 19, 2020                                                                                                         Table B7 - Page 2                                                                                            Prepared at the request of legal counsel for
                                                                                                                                                                                                                                               Exhibit  3 - and
                                                                                                                                                                                                                                                   mediation  Page     79 of 149
                                                                                                                                                                                                                                                                  in anticipation of litigation
                                                                                  Case 16-31602               Doc 2296-1 Filed 06/22/20 Entered 06/22/20 20:54:50                            Desc
                                                                                                                     Declaration Page 140 of 235
                                                                                                                                                                                                                                                                                    DRAFT
                                                                                                                    Table B7: Ecology Invoice Summary
                                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                                                                                                                                               Site Location/Geographical
                        Invoice                                               Date of                                                                          Reference where services           Site operator linked to       COC        Site operator linked to          % of total
    Invoice No.           Date     Issuing Party Recipient                   Services        Invoice Amount $      Description of Services invoiced            were performed                         Site Location*        investigated            COC                       cost
  1T000423-35-AA       3/20/2018   Department of Glacier (is not prorated   10/1/2017–          $11,014.98         Glacier NW Remedial Investigation           no reference to specific site area
                                      Ecology    between liable parties.)   12/31/2017

  1T000423-36-AA        6/8/2018   Department of Glacier (is not prorated   1/1/2018–             $2,587.92        Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2018

  1T000423-37-AA        9/1/2018   Department of Glacier (is not prorated   4/1/2018–             $6,504.45        Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2018

  1T000423-39-AA        3/1/2019   Department of Glacier (is not prorated   10/1/2018–             $836.58         Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2018

  1T000423-40-AA        6/1/2019   Department of Glacier (is not prorated   1/1/2019–              $441.66         Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   3/31/2019

  1T000423-41-AA        9/1/2019   Department of Glacier (is not prorated   4/1/2019–              $147.22         Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   6/30/2019

  1T000423-42-AA       12/1/2019   Department of Glacier (is not prorated   7/1/2019–             $3,479.09        Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   9/30/2019

  1T000423-43-AA        3/1/2020   Department of Glacier (is not prorated   10/1/2019–            $2,692.23        Glacier NW Remedial Investigation           no reference to specific site area
                                     Ecology     between liable parties.)   12/31/2019


                                                                            total cost          $723,849.23




                                                                                                                                                                                                                                                               Privileged and Confidential
Last revised: May 19, 2020                                                                                                         Table B7 - Page 3                                                                                            Prepared at the request of legal counsel for
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                                                                                               Table B8: CH2M Hill Invoice Summary
                                                                     Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                           Cost not related to
                                                                                                                                                                                      Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party     Recipient         Date of Services          Invoice Amount $ Description of Services invoiced                                    where services were performed              cleanup
      3632263        12/21/2007      CH2MHill      Reichhold, Inc.   1/22/2007–12/21/2007            $2,369.52    For Engineering Services initiated on January 22, 2007              D1 Tacoma Site                            $2,369.52
                                                                                                                  through December 21, 2007, including site support

      3645098         3/28/2008      CH2MHill      Reichhold, Inc.          2/29/2008                 $7,046.87       For engineering services through February 29, 2008, in        Seattle Terminal, no specific location
                                                                                                                      connection with Seattle Terminal Site Closure, including site referenced
                                                                                                                      visits, meetings and phone conversations, and file and
                                                                                                                      regulatory reviews, and technical memorandums and report
                                                                                                                      preparation

      3648267         4/22/2008      CH2MHill      Reichhold, Inc.          3/28/2008                 $2,507.23       For engineering services through March 28, 2008, in             Seattle Terminal, no specific location
                                                                                                                      connection with Seattle Terminal Site Closure, including site   referenced
                                                                                                                      visits, meetings and phone conversations, and file and
                                                                                                                      regulatory reviews, and technical memorandums and report
                                                                                                                      preparation
      3650749         5/12/2008      CH2MHill      Reichhold, Inc.          4/25/2008                 $3,215.20       For engineering services through April 25, 2008, in             Seattle Terminal, no specific location
                                                                                                                      connection with Seattle Terminal Site Closure, including file   referenced
                                                                                                                      and regulatory reviews, and technical memorandums and
                                                                                                                      report preparation
      3657426         6/30/2008      CH2MHill      Reichhold, Inc.          5/30/2008                 $3,482.03       For engineering services through May 30, 2008, in               Seattle Terminal, no specific location
                                                                                                                      connection with Seattle Terminal Site Closure, including file   referenced
                                                                                                                      and regulatory reviews, and technical memorandums and
                                                                                                                      report preparation
      3657814          7/3/2008      CH2MHill      Reichhold, Inc.    5/31/2008–6/27/2008             $7,016.93       For engineering services from May 31, 2008 through June         Seattle Terminal, no specific location
                                                                                                                      27, 2008 in connection with Seattle Terminal Site Closure,      referenced
                                                                                                                      including file and regulatory reviews, technical
                                                                                                                      memorandums and report preparation, and review of site
                                                                                                                      soil and groundwater remediation status
      3663930         7/25/2008      CH2MHill      Reichhold, Inc.    6/28/2008–7/25/2008            $10,538.04       For engineering services from June 28, 2008 through July        Seattle Terminal, no specific location
                                                                                                                      25, 2008 in connection with Seattle Terminal Site Closure,      referenced
                                                                                                                      including site visits, meetings and phone conversations, file
                                                                                                                      and regulatory reviews, technical memorandums and report
                                                                                                                      preparation, and review of site soil and groudnwater
                                                                                                                      remediation status
      3668175         9/22/2008      CH2MHill      Reichhold, Inc.    7/26/2008–8/29/2008             $4,305.88       For engineering services from July 26, 2008 through August      Seattle Terminal, no specific location
                                                                                                                      29, 2008 in connection with Seattle Terminal Site Closure,      referenced
                                                                                                                      including site visits, meetings and phone conversations, file
                                                                                                                      and regulatory reviews, technical memorandums and report
                                                                                                                      preparation, and review of site soil and groudnwater
                                                                                                                      remediation status
      3670098         10/7/2008      CH2MHill      Reichhold, Inc.    8/30/2008–9/26/2008             $5,214.74       For engineering services from August 30, 2008 through           Seattle Terminal, no specific location
                                                                                                                      September 26, 2008 in connection with Seattle Terminal          referenced
                                                                                                                      Site Closure, including site visits, meetings and phone
                                                                                                                      conversations, and file and regulatory reviews, and
                                                                                                                      technical memorandums and report preparation




                                                                                                                                                                                                                                      Privileged and Confidential
Last revised: May 19, 2020                                                                                     Table B8 - Page 1                                                                                        Prepared at the request of legal counsel for
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                                                                                               Table B8: CH2M Hill Invoice Summary
                                                                     Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                  Cost not related to
                                                                                                                                                                             Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party     Recipient         Date of Services          Invoice Amount $ Description of Services invoiced                           where services were performed              cleanup
      3674503        11/10/2008      CH2MHill      Reichhold, Inc.   9/27/2008–10/31/2008            $7,615.42    For engineering services from September 27, 2008 through Seattle Terminal, no specific location
                                                                                                                  October 31, 2008 in connection with Seattle Terminal Site referenced
                                                                                                                  Closure, including site visits, meetings and phone
                                                                                                                  conversations, file and regulatory reviews, technical
                                                                                                                  memorandums and report preparation, and review of site
                                                                                                                  soil and groudnwater remediation status
      3677960         12/2/2008      CH2MHill      Reichhold, Inc.   11/1/2008–11/28/2008            $7,037.32    For engineering services from November 1, 2008 through Seattle Terminal, no specific location
                                                                                                                  November 28, 2008 in connection with Seattle Terminal Site referenced
                                                                                                                  Closure, including site visits, meetings and phone
                                                                                                                  conversations, and review of site soil and groundwater
                                                                                                                  remediation status
      3683099         1/12/2009      CH2MHill      Reichhold, Inc.   11/29/2008–12/26/2008           $3,891.27    For engineering services from November 29, 2008 through Seattle Terminal, no specific location
                                                                                                                  December 26, 2008 in connection with Seattle Terminal Site referenced
                                                                                                                  Closure, including site visits, meetings and phone
                                                                                                                  conversations, and review of site soil and groundwater
                                                                                                                  remediation status
      3689430         2/26/2009      CH2MHill      Reichhold, Inc.   12/27/2008–1/30/2009            $1,004.90    For engineering services from December 27, 2008 through Seattle Terminal, no specific location       $1,004.90
                                                                                                                  January 30, 2009, including Seattle CERCLA Section         referenced
                                                                                                                  104(e) Process/Duwamish Waterway Assistance

      3689482         2/26/2009      CH2MHill      Reichhold, Inc.   12/27/2008–1/30/2009             $6,737.98       For engineering services from December 27, 2008 through Seattle Terminal, no specific location
                                                                                                                      January 30, 2009, including document review, site visits, referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3691874         3/17/2009      CH2MHill      Reichhold, Inc.    1/31/2009–2/27/2009             $6,954.97       For engineering services from January 31, 2009 through       Seattle Terminal, no specific location
                                                                                                                      February 27, 2009, including document review, site visits,   referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3691880         3/17/2009      CH2MHill      Reichhold, Inc.    1/31/2009–2/27/2009             $2,962.48       For engineering services from January 31, 2009 through       Seattle Terminal, no specific location                $2,962.48
                                                                                                                      February 27, 2009, including Seattle CERCLA Section          referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance
      3694825          4/9/2009      CH2MHill      Reichhold, Inc.    2/28/2009–3/27/2009             $9,066.03       For engineering services from February 28, 2009 through      Seattle Terminal, no specific location
                                                                                                                      March 27, 2009, including document review, site visits,      referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3694838          4/9/2009      CH2MHill      Reichhold, Inc.    2/28/2009–3/27/2009             $1,561.12       For engineering services from February 28, 2009 through      Seattle Terminal, no specific location
                                                                                                                      March 27, 2009, including Seattle CERCLA Section 104(e)      referenced
                                                                                                                      Process/Duwamish Waterway Assistance
      3699621          5/1/2009      CH2MHill      Reichhold, Inc.    3/28/2009–4/24/2009             $6,352.81       For engineering services from March 28, 2009 through April Seattle Terminal, no specific location
                                                                                                                      24, 2009, including document review, site visits, agency and referenced
                                                                                                                      team meetings, memo and report preparation

      3706292         6/25/2009      CH2MHill      Reichhold, Inc.    4/25/2009–5/29/2009             $4,863.18       For engineering services from April 25, 2009 through May Seattle Terminal, no specific location
                                                                                                                      29, 2009, including document review, site visits, agency and referenced
                                                                                                                      team meetings, memo and report preparation




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                                                                                               Table B8: CH2M Hill Invoice Summary
                                                                     Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                    Cost not related to
                                                                                                                                                                               Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party     Recipient          Date of Services         Invoice Amount $ Description of Services invoiced                             where services were performed              cleanup
      3710556         7/28/2009      CH2MHill      Reichhold, Inc.    5/30/2009–6/26/2009            $4,141.56    For engineering services from May 30, 2009 through June Seattle Terminal, no specific location
                                                                                                                  26, 2009, including document review, site visits, agency and referenced
                                                                                                                  team meetings, memo and report preparation
      3715184         8/28/2009      CH2MHill      Reichhold, Inc.    4/25/2009–7/31/2009             $3,860.65       For engineering services from April 25, 2009 through July    Seattle Terminal, no specific location                $3,860.65
                                                                                                                      31, 2009, including Seattle CERCLA Section 104(e)            referenced
                                                                                                                      Process/Duwamish Waterway Assistance

      3715312         8/28/2009      CH2MHill      Reichhold, Inc.    6/27/2009–7/31/2009             $3,511.72       For engineering services from June 27, 2009 through July Seattle Terminal, no specific location
                                                                                                                      31, 2009, including document review, site visits, agency and referenced
                                                                                                                      team meetings, memo and report preparation
      3723409         10/29/2009     CH2MHill      Reichhold, Inc.     8/1/2009–9/25/2009             $4,904.25       For engineering services from August 1, 2009 through        Seattle Terminal, no specific location
                                                                                                                      September 25, 2009, including document review, site visits, referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3723475         10/29/2009     CH2MHill      Reichhold, Inc.     8/1/2009–9/25/2009             $1,935.40       For engineering services from August 1, 2009 through         Seattle Terminal, no specific location                $1,935.40
                                                                                                                      September 25, 2009, including Seattle CERCLA Section         referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance

      3726488         10/30/2009     CH2MHill      Reichhold, Inc.   9/26/2009–10/30/2009             $9,875.06       For engineering services from September 26, 2009 through     Seattle Terminal, no specific location
                                                                                                                      October 30, 2009, including document review, site visits,    referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3731061         12/22/2009     CH2MHill      Reichhold, Inc.   10/31/2009–11/27/2009            $1,452.65       For engineering services from October 31, 2009 through       Seattle Terminal, no specific location
                                                                                                                      November 27, 2009, including document review, site visits,   referenced
                                                                                                                      agency and team meetings, memo and report preparation
      3731081         12/22/2009     CH2MHill      Reichhold, Inc.   9/26/2009–11/27/2009             $2,224.30       For engineering services from September 26, 2009 through Seattle Terminal, no specific location                    $2,224.30
                                                                                                                      November 27, 2009, including Seattle CERCLA Section      referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance
      3732325          1/7/2010      CH2MHill      Reichhold, Inc.   11/28/2009–12/31/2009            $3,472.23       For engineering services from November 28, 2009 through Seattle Terminal, no specific location                     $3,472.23
                                                                                                                      December 31, 2009, including Seattle CERCLA Section     referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance
      3739568          3/4/2010      CH2MHill      Reichhold, Inc.     1/1/2010–1/29/2010             $2,835.74       For engineering services from January 1, 2010 through        Seattle Terminal, no specific location
                                                                                                                      January 29, 2010 including development of tech.              referenced
                                                                                                                      approaches, review of site soil and groundwater
                                                                                                                      remediation status and technologies
      3740278         3/11/2010      CH2MHill      Reichhold, Inc.     1/1/2010–1/29/2010             $1,095.99       For engineering services from January 1, 2010 through        Seattle Terminal, no specific location                $1,095.99
                                                                                                                      January 29, 2010, including Seattle CERCLA Section           referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance
      3746551         4/29/2010      CH2MHill      Reichhold, Inc.    1/30/2010–3/26/2010             $2,895.92       For engineering services from January 30, 2010 through       Seattle Terminal, no specific location                $2,895.92
                                                                                                                      March 26, 2010, including Seattle CERCLA Section 104(e)      referenced
                                                                                                                      Process/Duwamish Waterway Assistance
      3746567         4/29/2010      CH2MHill      Reichhold, Inc.    1/30/2010–3/26/2010             $6,970.94       For engineering services from January 30, 2010 through     Seattle Terminal, no specific location
                                                                                                                      March 26, 2010 including development of tech. approaches, referenced
                                                                                                                      review of site soil and groundwater remediation status and
                                                                                                                      technologies



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                                                                                               Table B8: CH2M Hill Invoice Summary
                                                                     Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                    Cost not related to
                                                                                                                                                                             Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party     Recipient          Date of Services         Invoice Amount $ Description of Services invoiced                           where services were performed               cleanup
      3753348         6/24/2010      CH2MHill      Reichhold, Inc.    3/27/2010–5/28/2010            $7,209.68    For engineering services from March 27, 2010 through May Seattle Terminal, no specific location
                                                                                                                  28, 2010 including development of tech. approaches,        referenced
                                                                                                                  review of site soil and groundwater remediation status and
                                                                                                                  technologies
      3756217         7/16/2010      CH2MHill      Reichhold, Inc.    5/29/2010–6/25/2010            $2,679.22    For engineering services from May 29, 2010 through June Seattle Terminal, no specific location
                                                                                                                  25, 2010 including development of tech. approaches,        referenced
                                                                                                                  review of site soil and groundwater remediation status and
                                                                                                                  technologies
      3756266         7/16/2010      CH2MHill      Reichhold, Inc.    3/27/2010–6/25/2010            $2,469.08    For engineering services from March 27, 2010 through       Seattle Terminal, no specific location     $2,469.08
                                                                                                                  June 25, 2010, including Seattle CERCLA Section 104(e)     referenced
                                                                                                                  Process/Duwamish Waterway Assistance
      3760946         8/23/2010      CH2MHill      Reichhold, Inc.    6/26/2010–7/30/2010             $9,279.44       For engineering services from June 26, 2010 through July     Seattle Terminal, no specific location
                                                                                                                      30, 2010 including development of tech. approaches,          referenced
                                                                                                                      review of site soil and groundwater remediation status and
                                                                                                                      technologies
      3763489         9/14/2010      CH2MHill      Reichhold, Inc.    7/31/2010–9/30/2010            $17,237.41       For engineering services from July 31, 2010 through          Seattle Terminal, no specific location
                                                                                                                      September 30, 2010 including development of tech.            referenced
                                                                                                                      approaches, review of site soil and groundwater
                                                                                                                      remediation status and technologies
      3771201         11/15/2010     CH2MHill      Reichhold, Inc.    6/26/2010–9/24/2010             $1,631.90       For engineering services from June 26, 2010 through          Seattle Terminal, no specific location                $1,631.90
                                                                                                                      September 24, 2010, including Seattle CERCLA Section         referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance

      3777752          1/4/2011      CH2MHill      Reichhold, Inc.   10/1/2010–10/29/2010             $7,046.02       For engineering services from October 1, 2010 through        Seattle Terminal, no specific location
                                                                                                                      October 29, 2010 including development of tech.              referenced
                                                                                                                      approaches, review of site soil and groundwater
                                                                                                                      remediation status and technologies
      3780294         1/24/2011      CH2MHill      Reichhold, Inc.   10/30/2010–12/31/2010            $7,113.40       For engineering services from October 30, 2010 through       Seattle Terminal, no specific location
                                                                                                                      December 31, 2010 including development of tech.             referenced
                                                                                                                      approaches, review of site soil and groundwater
                                                                                                                      remediation status and technologies
      3780311         1/24/2011      CH2MHill      Reichhold, Inc.   9/25/2010–12/31/2010            $12,543.92       For engineering services from September 25, 2010 through     Seattle Terminal, no specific location               $12,543.92
                                                                                                                      December 31, 2010, including Seattle CERCLA Section          referenced
                                                                                                                      104(e) Process/Duwamish Waterway Assistance

   38111004576        5/26/2011      CH2MHill      Reichhold Inc       1/1/2011–4/29/2011            $17,682.93       For engineering services from January 2011 through April no reference to specific site area
                                                                                                                      29 2011 in connection with the Seattle Terminal Site
                                                                                                                      Closure: Development of Tech Approaches, Review of Site
                                                                                                                      Soil and Groundwater Remediation Status and
                                                                                                                      Technologies/project manager/technologist/ H&S
                                                                                                                      manager/engineer and expenses(H&S, mileage)




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                                                                                             Table B8: CH2M Hill Invoice Summary
                                                                   Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                      Cost not related to
                                                                                                                                                                                 Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party    Recipient         Date of Services         Invoice Amount $ Description of Services invoiced                                 where services were performed              cleanup
   38111004571        5/26/2011      CH2MHill      Reichhold Inc     1/1/2011–4/29/2011           $12,369.02    For engineering services from January 1, 2011 through            no reference to specific site area       $12,369.02
                                                                                                                April 29 2011: Seattle CERCLA Section 104e
                                                                                                                Process/Duwamish Waterway Assistance professional
                                                                                                                services/Project manager/technologist/survey engineer/
                                                                                                                contracts manager and expenses (USACE electronic file
                                                                                                                review)
   38111006435        7/12/2011      CH2MHill      Reichhold Inc    4/30/2011–5/27/2011            $3,412.74    For engineering services from April 30 2011 through May no reference to specific site area
                                                                                                                27 2011 in connection with the Seattle Terminal Site
                                                                                                                Closure: Development of Tech Approaches, Review of Site
                                                                                                                Soil and Groundwater Remediation Status and
                                                                                                                Technologies/project manager and expenses(H&S)
   38111008623        8/25/2011      CH2MHill      Reichhold Inc    5/28/2011–7/29/2011             $9,445.16       For engineering services from May 28 2011 through July 29 no reference to specific site area
                                                                                                                    2011 in connection with the Seattle Terminal Site Closure:
                                                                                                                    Development of Tech Approaches, Review of Site Soil and
                                                                                                                    Groundwater Remediation Status and Technologies/project
                                                                                                                    manager/technologist/engineer and expenses(H&S)

   38111008599        8/25/2011      CH2MHill      Reichhold Inc    4/30/2011–7/29/2011             $1,890.19       For engineering services from April 30 2011 through July 29 no reference to specific site area                       $1,890.19
                                                                                                                    2011: Seattle CERCLA Section 104e Process/Duwamish
                                                                                                                    Waterway Assistance professional services/Project
                                                                                                                    manager/hydrogeologist

   38111010485        9/30/2011      CH2MHill      Reichhold Inc    7/30/2011–8/26/2011            $10,056.55       For engineering services from July 30 2011 through August no reference to specific site area
                                                                                                                    26 2011 in connection with the Seattle Terminal Site
                                                                                                                    Closure: Development of Tech Approaches, Review of Site
                                                                                                                    Soil and Groundwater Remediation Status and
                                                                                                                    Technologies/project manager/technologist

    3111011264        10/19/2011     CH2MHill      Reichhold Inc    8/27/2011–9/30/2011            $10,912.65       For engineering services from August 27 2011 through      no reference to specific site area
                                                                                                                    September 30 2011 in connection with the Seattle Terminal
                                                                                                                    Site Closure: Development of Tech Approaches, Review of
                                                                                                                    Site Soil and Groundwater Remediation Status and
                                                                                                                    Technologies/project manager /technologist
    3111013533        11/23/2011     CH2MHill      Reichhold Inc   10/1/2011–10/28/2011             $4,214.03       For engineering services from October 1 2011 through    no reference to specific site area
                                                                                                                    October 28 2011 in connection with the Seattle Terminal
                                                                                                                    Site Closure: Development of Tech Approaches, Review of
                                                                                                                    Site Soil and Groundwater Remediation Status and
                                                                                                                    Technologies/project manager
    3111013471        11/23/2011     CH2MHill      Reichhold Inc   7/30/2011–10/28/2011             $1,056.45       For engineering services from July 30 2011 through      no reference to specific site area                           $1,056.45
                                                                                                                    October 28 2011: Seattle CERCLA Section 104e
                                                                                                                    Process/Duwamish Waterway Assistance professional
                                                                                                                    services/Project manager




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Last revised: May 19, 2020                                                                                   Table B8 - Page 5                                                                                       Prepared at the request of legal counsel for
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                                                                                             Table B8: CH2M Hill Invoice Summary
                                                                   Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                       Cost not related to
                                                                                                                                                                                  Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party    Recipient        Date of Services          Invoice Amount $ Description of Services invoiced                                  where services were performed              cleanup
    3111014697       12/15/2011      CH2MHill      Reichhold Inc   10/29/2011–12/9/2011           $23,852.81    For engineering services from October 29 2011 through             no reference to specific site area
                                                                                                                December 9 2011 and additional time estimated for the
                                                                                                                remainder of the month in connection with the Seattle
                                                                                                                Terminal Site Closure: Development of Tech Approaches
                                                                                                                Review of Site Soil and Groundwater Remediation Status
                                                                                                                and Technologies Professional
                                                                                                                Services/technologist/project manager/ engineer and
                                                                                                                expenses (H&S)
    3111014684        12/15/2011     CH2MHill      Reichhold Inc   10/29/2011–12/9/2011             $558.04     For engineering services from October 29 2011 through             no reference to specific site area                         $558.04
                                                                                                                December 9, 2011: Seattle CERCLA Section 104e
                                                                                                                Process/Duwamish Waterway Assistance professional
                                                                                                                services/Project manager and expenses(mileage)

   38112006343        4/12/2012      CH2MHill      Reichhold Inc   12/10/2012–3/30/2012             $1,094.13        For engineering services from December 10 2011 through       no reference to specific site area
                                                                                                                     March 30 2012: Seattle CERCLA Section 104e
                                                                                                                     Process/Duwamish Waterway Assistance professional
                                                                                                                     services/Project manager/scientist
   38112007410        4/26/2012      CH2MHill      Reichhold Inc   12/10/2012–3/30/2012            $11,726.10        For engineering services from December 10 2011 through       no reference to specific site area
                                                                                                                     March 30 2012 in connection with the Seattle Terminal Site
                                                                                                                     Closure: Development of Tech Approaches, Review of Site
                                                                                                                     Soil and Groundwater Remediation Status and
                                                                                                                     Technologies/ project manager/engineer and expenses
                                                                                                                     (H&S mileage)
   38112010606         6/8/2012      CH2MHill      Reichhold Inc    3/31/2012–4/27/2012            $15,841.01        For engineering services from March 31 2012 through April    no reference to specific site area
                                                                                                                     27 2012 in connection with the Seattle Terminal Site
                                                                                                                     Closure: Development of Tech Approaches, Review of Site
                                                                                                                     Soil and Groundwater Remediation Status and
                                                                                                                     Technologies/ project manager/technologist/engineer and
                                                                                                                     expenses (H&S, mileage)
   38112012329        6/29/2012      CH2MHill      Reichhold Inc    4/28/2012–5/25/2012            $16,087.12        For engineering services from April 28 2012 through May      no reference to specific site area
                                                                                                                     25 2012 in connection with the Seattle Terminal Site
                                                                                                                     Closure: Development of Tech Approaches, Review of Site
                                                                                                                     Soil and Groundwater Remediation Status and
                                                                                                                     Technologies/ project manager/technologist/engineer and
                                                                                                                     expenses (H&S, mileage)
   38112013828        7/23/2012      CH2MHill      Reichhold Inc    5/26/2012–6/29/2012             $5,048.56        For engineering services from May 26 2012 through June       no reference to specific site area
                                                                                                                     29 2012 in connection with the Seattle Terminal Site
                                                                                                                     Closure: Development of Tech Approaches, Review of Site
                                                                                                                     Soil and Groundwater Remediation Status and
                                                                                                                     Technologies/ project manager/technologist and expenses
                                                                                                                     (H&S, fleet vehicles)
   38112013822        7/23/2012      CH2MHill      Reichhold Inc    4/31/2012–6/29/2012             $671.68          For engineering services from March 31 2012 through June     no reference to specific site area                         $671.68
                                                                                                                     29 2012: Seattle CERCLA Section 104e Process/Duwamish
                                                                                                                     Waterway Assistance professional services/Project
                                                                                                                     management




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                                                                                             Table B8: CH2M Hill Invoice Summary
                                                                   Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                     Cost not related to
                                                                                                                                                                                Site Location/Geographical Reference Glacier NW Uplands
    Invoice No.     Invoice Date   Issuing Party    Recipient         Date of Services         Invoice Amount $ Description of Services invoiced                                where services were performed              cleanup
   38112016808        8/27/2012      CH2MHill      Reichhold Inc    6/30/2012–8/27/2012             $757.69     For engineering services from June 30 2012 through July         no reference to specific site area         $757.69
                                                                                                                27 2012: Seattle CERCLA Section 104e Process/Duwamish
                                                                                                                Waterway Assistance professional services/Project
                                                                                                                management
   38112016805        8/27/2012      CH2MHill      Reichhold Inc    6/30/2012–8/27/2012            $7,037.66    For engineering services from June 30 2012 through July         no reference to specific site area
                                                                                                                27 2012 in connection with the Seattle Terminal Site
                                                                                                                Closure: Development of Tech Approaches, Review of Site
                                                                                                                Soil and Groundwater Remediation Status and
                                                                                                                Technologies/ project manager/technologist and expenses
                                                                                                                (H&S, fleet vehicles)
   38112019456        9/27/2012      CH2MHill      Reichhold Inc    7/28/2012–8/31/2012            $4,354.81    For engineering services from July 28 2012 through August       no reference to specific site area
                                                                                                                31 2012 in connection with the Seattle Terminal Site
                                                                                                                Closure: Development of Tech Approaches, Review of Site
                                                                                                                Soil and Groundwater Remediation Status and
                                                                                                                Technologies/ project manager/technologist and expenses
                                                                                                                (H&S)
   38112024989        11/30/2012     CH2MHill      Reichhold Inc    9/1/2012–10/26/2012           $22,995.47    For engineering services from September 1, 2012 through         no reference to specific site area
                                                                                                                October 26 2012 in connection with the Seattle Terminal
                                                                                                                Site Closure: Development of Tech Approaches, Review of
                                                                                                                Site Soil and Groundwater Remediation Status and
                                                                                                                Technologies/ project manager/technologist and expenses
                                                                                                                (H&S)
   38113000529         1/9/2013      CH2MHill      Reichhold Inc   7/28/2012–12/31/2012           $13,351.48    For engineering services from July 28 2012 through              no reference to specific site area                      $13,351.48
                                                                                                                December 31 2012: Seattle CERCLA Section 104e
                                                                                                                Process/Duwamish Waterway Assistance professional
                                                                                                                services/Project management/technologist
   38113000524         1/9/2013      CH2MHill      Reichhold Inc   10/27/2012–12/31/2013          $12,646.61    For engineering services from October 27 2012 through           no reference to specific site area
                                                                                                                December 31 2012 in connection with the Seattle Terminal
                                                                                                                Site Closure: Development of Tech Approaches, Review of
                                                                                                                Site Soil and Groundwater Remediation Status and
                                                                                                                Technologies/technologist/project manager
   381130120998       4/26/2013      CH2MHill      Reichhold Inc    2/23/2013 –4/29/2013            $4,943.78       Contacted DNREC–SIRS regarding Final Response Letter Reichhold Cheswold Delaware Site/                                4,943.78
                                                                                                                    and 10–Year                                                 Marsh Area RA, not our site
                                                                                                                    Remedy Evaluation Report on Reicitholds behalf through
                                                                                                                    phone calls and e–mails
                                                                                                                    Project management activities involved project coordination
                                                                                                                    financial tracking and invoicing

   38113011006        4/26/2013      CH2MHill      Reichhold Inc          3/1/2013                 $25,155.08       For engineering services through March 29 2013:             no reference to specific site area
                                                                                                                    Duwamish assistance professional services/Project
                                                                                                                    management and Reichhold closure professional
                                                                                                                    services/project management/ technologist professional
  38113014305B        5/31/2013      CH2MHill      Reichhold Inc          4/1/2013                 $18,110.92       For engineering services through April 26 2013: Reichhold   no reference to specific site area
                                                                                                                    closure professional services/ project management,
                                                                                                                    technologist professional, Geotechnical Engineer




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                                                                                             Table B8: CH2M Hill Invoice Summary
                                                                   Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                      Cost not related to
                                                                                                                                                                                 Site Location/Geographical Reference Glacier NW Uplands
   Invoice No. Invoice Date        Issuing Party    Recipient         Date of Services         Invoice Amount $ Description of Services invoiced                                 where services were performed              cleanup
  38113014305A 5/31/2013             CH2MHill      Reichhold Inc          4/1/2013                  $424.48     For engineering services through April 26 2013:Duwamish          no reference to specific site area
                                                                                                                assistance professional services/Project management

  38113017103B        6/27/2013      CH2MHill      Reichhold Inc    4/27/2013–5/31/2013            $10,271.83        For engineering services through May 31 2013: Reichhold     no reference to specific site area
                                                                                                                     Closure Professional Services/ project management,
                                                                                                                     technologist professional, hydrogeologist
  38113017103A        6/27/2013      CH2MHill      Reichhold Inc    4/27/2013–5/31/2013             $3,364.93        For engineering services through May 31 2013: Duwamish      no reference to specific site area
                                                                                                                     assistance professional services/Project management

  38113019032B        7/18/2013      CH2MHill      Reichhold Inc          6/1/2013                  $6,036.02        For engineering services through June 28 2013: Reichhold no reference to specific site area
                                                                                                                     Closure Professional Services/project management/
                                                                                                                     technologist professional
  38113019032A        7/18/2013      CH2MHill      Reichhold Inc          6/1/2013                  $2,657.73        For engineering services through June 28 2013: Duwamish no reference to specific site area
                                                                                                                     assistance professional services/Project management

  38113028227A        10/8/2013      CH2MHill      Reichhold Inc     9/6/2013–9/28/2013             $1,076.86        For engineering services through September 27 2013:         no reference to specific site area
                                                                                                                     Duwamish assistance professional services/Project
                                                                                                                     management/technologist professional and
                                                                                                                     expenses(postage, freight, delivery)
  38113028227B        10/18/2013     CH2MHill      Reichhold Inc     9/6/2013–9/28/2013             $8,945.76        For engineering services through September 27 2013:         no reference to specific site area
                                                                                                                     Reichhold Closure
                                                                                                                     Professional Services/project management/ technologist
                                                                                                                     professional
  38113030662B        11/11/2013     CH2MHill      Reichhold Inc   9/28/2013–10/25/2013             $6,615.92        For engineering services through October 25 2013:           no reference to specific site area
                                                                                                                     Reichhold Closure Professional Services/project
                                                                                                                     management/technologist professional
  38113030662A        11/11/2013     CH2MHill      Reichhold Inc   9/28/2013–10/25/2013             $246.90          For engineering services through October 25 2013:           no reference to specific site area
                                                                                                                     Duwamish assistance professional services/Project
                                                                                                                     management
  38113035427B        12/27/2013     CH2MHill      Reichhold Inc   10/26/2013–11/29/2013            $3,111.81        For engineering services through November 29 2013:          no reference to specific site area
                                                                                                                     Reichhold Closure Professional Services/ project
                                                                                                                     management, technologist professional, and expenses
                                                                                                                     (outside services–Critigen)
  38113035427A        12/27/2013     CH2MHill      Reichhold Inc   10/26/2013–11/29/2013            $836.00          For engineering services through November 29 2013:          no reference to specific site area
                                                                                                                     Duwamish assistance professional services/Project
                                                                                                                     management
   38114000531         1/7/2014      CH2MHill      Reichhold Inc   11/30/2013–12/27/2013            $5,890.84        For engineering services through December 27 2013:          no reference to specific site area
                                                                                                                     Reichhold closure professional services/project
                                                                                                                     management
  38114008741B        3/28/2014      CH2MHill      Reichhold Inc          2/1/2014                 $23,240.17        For engineering services through February 28 2014:          no reference to specific site area
                                                                                                                     Reichhold Closure Professional Services/ project
                                                                                                                     management, technologist professional, Environmental
                                                                                                                     Engineer and expenses (mileage, lodging, meals)
  38114011705B        4/25/2014      CH2MHill      Reichhold Inc          3/1/2014                 $12,525.56        For engineering services through March 28 2014: Reichhold   no reference to specific site area
                                                                                                                     Closure Professional Services/ project management,
                                                                                                                     technologist professional, Environmental Engineer




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                                                                                                 Table B8: CH2M Hill Invoice Summary
                                                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                          Cost not related to
                                                                                                                                                                                     Site Location/Geographical Reference Glacier NW Uplands
   Invoice No. Invoice Date       Issuing Party    Recipient              Date of Services          Invoice Amount $ Description of Services invoiced                                where services were performed              cleanup
  38114011705A 4/25/2014            CH2MHill      Reichhold Inc               3/1/2014                   $520.82     For engineering services through March 28 2014:                 no reference to specific site area
                                                                                                                     Duwamish Assistance
                                                                                                                     Professional Services/Project management
  38114013843B        5/19/2014     CH2MHill      Reichhold Inc         3/29/2014–4/25/2014             $5,014.33    For engineering services through April 25 2014:                 no reference to specific site area
                                                                                                                     Reichhold Closure Professional Services/ project
                                                                                                                     management, technologist professional, hydrogeologist
  38114013843A        5/19/2014     CH2MHill      Reichhold Inc         3/29/2014–4/25/2014              $858.20     For engineering services through April 25 2014:                 no reference to specific site area
                                                                                                                     Duwamish Assistance Professional Services/Project
                                                                                                                     management
  38114017822B        6/26/2014     CH2MHill      Reichhold Inc         4/26/2014 – 5/30/2014           $4,357.54    For engineering services through May 30 2014: Reichold          no reference to specific site area
                                                                                                                     Closure Professional services/Project management,
                                                                                                                     technologist professional
  38114017822A        6/26/2014     CH2MHill      Reichhold Inc         4/26/2014 – 5/30/2014            $214.55     For engineering services through May 30 2014: Duwamish          no reference to specific site area
                                                                                                                     assistance professional services/Project management

  38114020295A        7/18/2014     CH2MHill      Reichhold Inc         5/31/2014–6/27/2014             $3,218.25        For engineering services through June 27 2014: Duwamish no reference to specific site area
                                                                                                                         assistance professional services/Project management

  38114020195B        7/18/2014     CH2MHill      Reichhold Inc         5/31/2014–6/27/2014             $4,821.83        For engineering services through June 27 2014: Reichold     no reference to specific site area
                                                                                                                         Closure Professional services/Project management,
                                                                                                                         hydrogeologist, technologist professional
    381002119A        8/26/2014     CH2MHill      Reichhold, Inc.             7/25/2014                 $939.97          For engineering services through July 25, 2014, including   Seattle Terminal, no specific location
                                                                                                                         Duwamish Assistance                                         referenced
    381002119B        8/26/2014     CH2MHill      Reichhold, Inc.             7/25/2014                 $2,534.69        For engineering services through July 25, 2014, including   Seattle Terminal, no specific location
                                                                                                                         Reichhold Closure                                           referenced
    381003887A        9/15/2014     CH2MHill      Reichhold, Inc.             9/5/2014                  $5,378.17        For engineering services through September 5, 2014 and      Seattle Terminal, no specific location
                                                                                                                         estimated services through 9/30/14, including Duwamish      referenced
                                                                                                                         Assistance
    381003887B        9/15/2014     CH2MHill      Reichhold, Inc.             9/5/2014                 $18,201.88        For engineering services through September 5, 2014 and      Seattle Terminal, no specific location
                                                                                                                         estimated services through 9/30/14, including Reichhold     referenced
                                                                                                                         Closure
   381006135B-        10/3/2014     CH2MHill      Reichhold Inc         10/1/2014–10/31/2014            $6,062.19        For engineering services from 10/01/2014 through            no reference to specific site area
     Revised                                                                                                             10/31/14: Reichhold Closure Professional services/Project
                                                                                                                         management, technologist professional

    381006135A        12/5/2014     CH2MHill      Reichhold, Inc.            11/28/2014                 $3,088.67        For engineering services through November 28, 2014,         Seattle Terminal, no specific location
                                                                                                                         including Duwamish Assistance                               referenced
  38114008741A        3/28/2014     CH2MHill      Reichhold Inc               2/14/2014                 $886.58          For engineering services through February 28 2014:          no reference to specific site area
                                                                                                                         Duwamish Assistance Professional Services/Project
                                                                                                                         management
                                                                                total                 $616,745.55                                                                    total not upland related costs                           $74,064.62
                                                                    minus non–uplands related cos     $542,680.93




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                                                                                               Table B9: Anchor QEA Invoice Summary
                                                                      Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                         Site Location/Geographical     Site Location/Geographical
                              Issuing                                                                                                                                   Reference where services were   Reference where services were
   Invoice No. Invoice Date    Party    Recipient          Date of Services    Invoice Amount $ Description of Services invoiced                                                 performed              performed
      34496      7/17/2013  Anchor QEA Cal Portland       6/1/2013–6/30/2013       $5,590.00    Professional Services: Review EPA's proposed cleanup plan                  5900 West Marginal Way       Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?




       34942        8/23/2013   Anchor QEA Cal Portland   7/1/2013–7/31/2013       $1,994.00        Professional Services: Review EPA's proposed cleanup plan                  5901 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?




       41615        3/20/2015   Anchor QEA Cal Portland   2/1/2015–2/28/2015        $460.00         Professional Services: Review EPA's proposed cleanup plan                  5901 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?



       41821         4/9/2015   Anchor QEA Cal Portland   3/1/2015–3/31/2015       $8,440.00        Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Review of Glacier– Reichhold site draft remedial investigation
                                                                                                    report
                                                                                                    Participation in client calls and meetings
       42584        6/30/2015   Anchor QEA Cal Portland   5/1/2015–5/31/2015       $2,098.52        Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Review of draft remedial investigation report for the 5900 West
                                                                                                    Marginal Way MTCA Site
                                                                                                    Participation in client calls and meetings.
     42993–A        7/13/2015   Anchor QEA Cal Portland   6/1/2015–6/30/2015        $943.50         Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Review of draft remedial investigation report for the 5900 West
                                                                                                    Marginal Way MTCA Site
                                                                                                    Participation in client calls and meetings.
       43415        8/12/2015   Anchor QEA Cal Portland   7/1/2015–7/31/2015        $253.50         Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Technical assistance scoping the 5900 West Marginal Way Site
                                                                                                    Feasibility Study with ERM
                                                                                                    Participation in client calls and meetings.
       43806        9/11/2015   Anchor QEA Cal Portland   8/1/2015–8/31/2015       $1,518.50        Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Technical assistance scoping the 5900 West Marginal Way Site
                                                                                                    Feasibility Study with ERM
                                                                                                    Participation in client calls and meetings.




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                                                                                               Table B9: Anchor QEA Invoice Summary
                                                                      Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                         Site Location/Geographical     Site Location/Geographical
                              Issuing                                                                                                                                   Reference where services were   Reference where services were
   Invoice No. Invoice Date    Party    Recipient          Date of Services    Invoice Amount $ Description of Services invoiced                                                 performed              performed
      44216      10/9/2015  Anchor QEA Cal Portland       9/1/2015–9/30/2015        $713.50     Professional Services: Review EPA's proposed cleanup plan                  5975 West Marginal Way       Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Technical assistance scoping the 5900 West Marginal Way Site
                                                                                                    Feasibility Study with ERM
                                                                                                    Participation in client calls and meetings.
       44561       11/10/2015   Anchor QEA Cal Portland 10/1/2015–10/31/2015        $483.50         Professional Services: Review EPA's proposed cleanup plan                  5900 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Technical assistance scoping the 5900 West Marginal Way Site
                                                                                                    Feasibility Study with ERM
                                                                                                    Participation in client calls and meetings.
       45519        1/14/2016   Anchor QEA Cal Portland 12/1/2015–12/31/2015        $713.50         Professional Services: Review EPA's proposed cleanup plan                  5900 West Marginal Way   Related to LDW Superfund Site
                                                                                                                                                                                                        allocation?
                                                                                                    Participation in client calls and meetings.
       57077        4/24/2018   Anchor QEA Cal Portland   3/1/2018–3/31/2018       $1,971.00        Preparation for participation in meeting with Ecology                      5900 West Marginal Way
                                                                                                    Review of Ecology comments and assistance with comment
                                                                                                    responses on the Draft Remedial Investigation Report

       59026        9/19/2018   Anchor QEA Cal Portland   8/1/2018–8/31/2018       $7,737.75        Development of preliminary integrated cleanup/restoration                  5900 West Marginal Way
                                                                                                    strategies
                                                                                                    Treatability study planning
       59567       10/16/2018   Anchor QEA Cal Portland   9/1/2018–9/30/2018       $11,116.50       Further development of integrated cleanup/restoration strategies           5900 West Marginal Way

                                                                                                    Development of treatability study work plans
       59932       11/15/2018   Anchor QEA Cal Portland 10/1/2018–10/31/2018       $4,643.25        Further development of integrated cleanup/restoration strategies           5900 West Marginal Way

                                                                                                    Further development of treatability study work plans
       62947        6/18/2019   Anchor QEA Cal Portland   5/1/2019–5/31/2019       $27,946.06       Sediment sampling for treatability study                                   5900 West Marginal Way
                                                                                                    Initiation of treatability study
       63389        7/16/2019   Anchor QEA Cal Portland   6/1/2019–6/30/2019       $10,932.93       Continuation of treatability study                                         5900 West Marginal Way

       63908        8/20/2019   Anchor QEA Cal Portland   7/1/2019–7/31/2019       $7,742.25        Review of draft cleanup level memo and participation in                    5900 West Marginal Way
                                                                                                    client/consultant meeting
                                                                                                    Continuation of treatability study
       64080        9/10/2019   Anchor QEA Cal Portland   8/1/2019–8/31/2019        $883.00         Participation in client/consultant/Ecology meeting                         5900 West Marginal Way

       64580       10/10/2019   Anchor QEA Cal Portland   9/1/2019–9/30/2019       $1,611.50        Review of preliminary feasibility study alternatives                       5900 West Marginal Way
                                                                                                    Participation in client/consultant meetings and calls
       65122       11/14/2019   Anchor QEA Cal Portland 10/1/2019–10/31/2019       $6,427.50        Development of preliminary feasibility study alternatives                  5900 West Marginal Way
                                                                                                    Preparation for and participation in Ecology meeting
                                                                                                    Participation in client/consultant meetings and calls




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                                                                                                 Table B9: Anchor QEA Invoice Summary
                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                           Site Location/Geographical     Site Location/Geographical
                             Issuing                                                                                                                                      Reference where services were   Reference where services were
   Invoice No. Invoice Date   Party    Recipient     Date of Services            Invoice Amount $ Description of Services invoiced                                                 performed              performed
      65674     12/18/2019 Anchor QEA Cal Portland 11/1/2019–11/30/2019              $1,351.50    Review of draft remedial investigation report sections                     5900 West Marginal Way
                                                                                                  Development of preliminary feasibility study alternatives
                                                                                                  Participation in client/consultant meetings and calls
       66138        1/20/2020   Anchor QEA Cal Portland 12/1/2019–12/31/2019         $8,601.75    Review of draft remedial investigation report sections                         5900 West Marginal Way

                                                                                                      Review of preliminary feasibility study alternatives
                                                                                                      Completion of treatability study
                                                                                                      Participation in client/consultant meetings and calls
       66508        2/17/2020   Anchor QEA Cal Portland   1/1/2020–1/31/2020         $2,483.50        Review of draft remedial investigation report sections                     5900 West Marginal Way
                                                                                                      Review of preliminary feasibility study alternatives
                                                                                                      Participation in client/consultant meetings and calls
       67028        3/17/2020   Anchor QEA Cal Portland   2/1/2020–2/29/2020         $2,943.00        Review of draft remedial investigation report sections                     5900 West Marginal Way
                                                                                                      Review of preliminary feasibility study alternatives
                                                                                                      Participation in client/consultant meetings and calls
       67416         4/9/2020   Anchor QEA Cal Portland     3/1–3/31/2020            $19,000.13       Glacier Northwest Site                                                     5900 West Marginal Way

    26 invoices                                                total cost           $138,600.14




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                                                                                          Table B10: Preston Gates Ellis Invoice Summary
                                                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                   Site Location/Geographical
                                                                                                                                                                                                                  Reference where services were
  Invoice No.         Invoice Date     Issuing Party       Recipient          Date of Services        Invoice Amount $ Description of Services invoiced                                                                     performed
177539-00-20474         1/16/1991    Preston Gates Ellis   Lone Star         Billing period ending        $2,470.08    Meeting preparation, review of parametrix report, draft FOIA request, public records              W. Mariginal Way
                                                                                   12/31/1990                          request, review of Phase II site assessment
183900-00-20474         3/12/1991    Preston Gates Ellis   Lone Star         Billing period ending        $2,487.45    Review archived records at WDOE, office conference                                                  W. Mariginal Way
                                                                                    2/28/1991
  187074-87001          4/18/1991    Preston Gates Ellis   Lone Star         Billing period ending         $1,687.35        Analysis and review of Shannon & Wilson scope                                                  W. Mariginal Way
                                                                                    3/31/1991                               of work for West Marginal Way cleanup; further
                                                                                                                            communications with Keith McGoffin's office.
                                                                                                                            Telephone conference with Ed Owens
                                                                                                                            Advice and analysis of Ecology's proposed
                                                                                                                            approach to site investigation and cleanup.


190366-00-20474         5/10/1991    Preston Gates Ellis   Lone Star         Billing period ending         $2,463.70        Review Shannan & Wilson's Scope of Work for                                                    W. Mariginal Way
                                                                                   4/30/1991                                West Marginal Way investigation.
                                                                                                                            Preparation of contract with Shannon &Wilson and scope of work for cleanup
                                                                                                                            investigation
                                                                                                                            Coordinating study with Ecology.
                                                                                                                            Analysis of DOE proposed approach regarding West Marginal Way
                                                                                                                            Consulting & Preparation of contract with Shannon & Wilson

193867-00-20474         6/14/1991    Preston Gates Ellis   Lone Star         Billing period ending          $357.80         Analysis of Parametiix report and preparation of advice                                        W. Mariginal Way
                                                                                   5/31/1991
      205044            9/13/1991    Preston Gates Ellis   Lone Star         Billing period ending          $168.30         Telephone conference with Ed Owens                                                             W. Mariginal Way
                                                                                   8/31/1991
  267266-87001          2/12/1993    Preston Gates Ellis   Lone Star         Billing period ending         $1,449.43        Telephone conference with Ed Owens                                                             W. Mariginal Way
                                                                                   2/12/1993                                Review letter from Dept. of Army responding to West Marginal Way.
267266-00-20474         2/12/1993    Preston Gates Ellis   Lone Star         Billing period ending         $1,315.32        Prepare notice of liability letter for W. Marginal Way to include the Army & MRI.              W. Mariginal Way
                                                                                   1/31/1993                                Corporate headquarters research, for S. Carter .
                                                                                                                            Final preparation of correspondence to PRPs regarding participation in, or lawsuits
                                                                                                                            for costs of cleanup at W Mariginal Way--Kaiser,
                                                                                                                            Reichhold, U.S. Army, and Ifetals Recycling.

270877-00-20474         3/18/1993    Preston Gates Ellis   Lone Star         Billing period ending          $253.80         Preparation of correspondence to Kaiser and Reichhold.                                         W. Mariginal Way
                                                                                   2/28/1993                                Review of Scope of Work for remedial investigation and feasibility study for West
                                                                                                                            Marginal Way property;
                                                                                                                            Review of correspondence from Proler regarding property.

275198-00-20474         4/15/1993    Preston Gates Ellis   Lone Star         Billing period ending          $774.10         Discussion with W. Chapman re contract and scope of work for W. Marginal Way                   W. Mariginal Way
                                                                                   3/31/1993                                facility.
                                                                                                                            Review Shannon & Wilson Work Plan;
                                                                                                                            Prepare schedule for RI/FS which includes administrative process and technical
278552-00-20474         5/18/1993    Preston Gates Ellis   Lone Star         Billing period ending          $643.70         Preparation of schedule for investigation and cleanup;                                         W. Mariginal Way
                                                                                   4/30/1993                                Prepare' schedules for remedial action to enclose in letter to Reichhold.
                                                                                                                            Prepare letter explaining schedules and strategy for involving Reichhold.




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                                                                                          Table B10: Preston Gates Ellis Invoice Summary
                                                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                    Site Location/Geographical
                                                                                                                                                                                                                   Reference where services were
  Invoice No.         Invoice Date     Issuing Party       Recipient          Date of Services        Invoice Amount $ Description of Services invoiced                                                                      performed
282467-00-20474         6/14/1993    Preston Gates Ellis   Lone Star         Billing period ending         $312.00     Review letter from Beazer requesting information;                                                  W. Mariginal Way
                                                                                   5/31/1993                           Collect requested information for transmittal.
                                                                                                                       Analysis of correspondence from Beazer and coordination with Shawn Carter
                                                                                                                       Providing documentation and response to Beazer.
                                                                                                                       Prepare response to Brazer (Kaiser) regarding liability at facility;
                                                                                                                       Telephone conference with E. Owens

285983-00-20474         7/16/1993    Preston Gates Ellis   Lone Star         Billing period ending         $2,353.15        Research Reichhold Chemical for information necessary for complaint;                            W. Mariginal Way
                                                                                   6/30/1993                                Prepare CBRCLA and KrCA complaint for contribution.
                                                                                                                            Telephone conference with Kaiser'S in-house attorney regarding Beazer allocation;
                                                                                                                            Preparation of correspondence to Beazer.
                                                                                                                            Finalze and transmit Reichhold complaint.

   289472-00-           8/17/1993    Preston Gates Ellis   Lone Star         Billing period ending          $400.64         Review of Reichhold correspondence answer and initiation of response.                           W. Mariginal Way
     20474,                                                                        7/31/1993                                Review letter from Reichhold; collect materials for trasmission;
                                                                                                                            Draft letter to Reichhold'
                                                                                                                            Transmitting Parametrix report.

293048-00-20474         9/15/1993    Preston Gates Ellis   Lone Star         Billing period ending         $3,709.23        Strategy for preparation for, and negotiations                                                  W. Mariginal Way
                                                                                   8/31/1993                                with, Reichhold.
                                                                                                                            Preparation of agenda and approach to meeting
                                                                                                                            with Reichhold; premeeting with Shannon &
                                                                                                                            Wilson and Ed Owens
                                                                                                                            Follow up on Reichhold lead re review of library
                                                                                                                            GAO materials regarding early 1980s report
                                                                                                                            concerning Seattle area air pollution; review
                                                                                                                            available online databases

310117-00-20474        10/15/1993    Preston Gates Ellis   Lone Star         Billing period ending         $1,086.43        Research and prepare answers to Reichhold' s counterclaims.                                     W. Mariginal Way
                                                                                   1/31/1994                                Prepare affirmative defense; telephone conference with E. Owens regarding file and
                                                                                                                            serve
                                                                                                                            counterclaim answer and affirmative defenses;
                                                                                                                            Begin preparation of answers to interrogatories.
                                                                                                                            Telephone conference with S. Hoard re PNOCO used oil and request by transporter
                                                                                                                            to use Lone Stare ID number for waste generated from tank cleaning.
                                                                                                                            Prepare responses to interrogatories.
                                                                                                                            Review and edit answers and objections to interrogatories; conference with S. Carter
                                                                                                                            regarding same,
                                                                                                                            Telephone conference with Reichhold's counsel regarding service of Lone Star's
                                                                                                                            answer to counterclaim.




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                                                                       Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property


                                                                                                                                                                                                                  Site Location/Geographical
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  Invoice No.         Invoice Date     Issuing Party       Recipient          Date of Services         Invoice Amount $ Description of Services invoiced                                                                   performed
299937-00-20474        11/11/1993    Preston Gates Ellis   Lone Star         Billing period ending          $833.78     Prepare cover letter transmitting complaint to Reichhold                                        W. Mariginal Way
                                                                                   10/31/1993                           Prepare letter to Reichhold offering to negotiate and enclosing complaint;
                                                                                                                        Conference with S. Carter regarding same.
                                                                                                                        Further preparation of letter transmitting
                                                                                                                        claim to Reichhold;
                                                                                                                        Discussion with J. Bjorkman and W. Chapman
                                                                                                                        Preparation of correspondence to Reichhold in anticipation of litigation.

303288-00-20474        12/15/1993    Preston Gates Ellis   Lone Star         Billing period ending         $1,565.40        Edit and finalize complaint; meeting with s. Carter and W. Chapman                            W. Mariginal Way
                                                                                   11/30/1993                               Finalize complaint, prepare civil cover sheet and summary and prepare for service;
                                                                                                                            conference with S. Carter
                                                                                                                            Discuss litigation strategy with J. Bjorkman and W. Chapman.
                                                                                                                            Telephone conference with M. Schneider regarding complaint
                                                                                                                            Joint status order review and preparation of correspondence to Ed Owens.

                                                                                   total cost             $24,331.66




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                                                                                          Table B11: Perkins Coie Group Invoice Summary
                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                Issuing                      Date of                                                                                                                                 Site Location/Geographical Reference
  Invoice No.     Invoice Date   Party         Recipient    Services    Invoice Amount $      Description of Services invoiced                                                                          where services were performed
    2557929        12/23/2003 Perkins Coie     Reichhold     through         $452.30          Review Shaw report on recent sampling compare to sampling and prior correspondence review Fluor                 Seattle Site Cleanup
                                                           11/30/2003                         contract
    2590771         2/24/2004   Perkins Coie   Reichhold    through          $2,590.00        Telephone conference with Oldham Schmithorst Jeroue                                                            Seattle Site Cleanup
                                                           1/31/2004                          email to lssacson
                                                                                              Leave message for Compeau on meetings email to Oidham Schmithorst Jeroue on status assess next steps

                                                                                              Prepare for meeting with Shaw review key correspondence
                                                                                              Telephone conferences with Compeau and lsaacson prepare
                                                                                              for meeting with Shaw
                                                                                              Meet with Jeroue Glacier and Shaw prepare for same
    2605342         3/25/2004   Perkins Coie   Reichhold    through          $5,593.14        Review Shaw proposal telephone conference with lsaacson                                                        Seattle Site Cleanup
                                                           2/29/2004                          prepare draft email to Compeau forward same to Jeroue for review
                                                                                              Review Shaw contract identify Shaw obligations
                                                                                              Review Shaw proposal and past Shaw correspondence telephone 'conference with Oldham Schmithorst
                                                                                              Jeroue regarding response
                                                                                              Review email from Compeau review Shaw proposal compare to
                                                                                              requirements of Shaw contract analysis of same
                                                                                              Review correspondence conferences regardIng contract issues
                                                                                               Analysis of contractual obligations
                                                                                              Review contract issues and language analyze open legal issues
                                                                                              Telephone conference regarding cleanup issues
                                                                                              Analysis of contractual obligations telephone conference with
                                                                                              lsaacson regarding same
                                                                                              Research and analysis on enforcement of Shaw contract telephone
                                                                                              conference with Reichhold regarding same
    2626572         4/30/2004   Perkins Coie   Reichhold    through          $1,615.90        Review Shaw letter on arsenic issues, prepare for Shaw meeting                                                 Seattle Site Cleanup
                                                           3/31/2004                          Meet with Reichhold and Shaw
                                                                                              Telephone conference on Shaw issues
    2641945         5/27/2004   Perkins Coie   Reichhold    through          $2,766.38        Review Shaw report on arsenic, analyze Shaw contract and prior                                                 Seattle Site Cleanup
                                                           4/30/2004                          scope of work determine Reichhold remedies against Shaw
                                                                                              Prepare letter to Compeau Shaw Environmental forward same to
                                                                                              Oldham Schmlthorst Jeroue review email from Compeau
                                                                                              on ozone treatment emails with Jeroue on same
                                                                                              Review correspondence to and from Shaw on ozone treatment
                                                                                              system prepare letter to Shaw demanding resumption of treatment
                                                                                              review contract with Shaw
                                                                                              Review letter from Compeau forward to Reichhold review Shaw
                                                                                              contract determine options
                                                                                              Attempt to reach lsaacson review correspondence with Shaw on
                                                                                              ozone treatment determine next steps
                                                                                              Review correspondence on ozone treatment issues follow up on
                                                                                              same




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                                                                                          Table B11: Perkins Coie Group Invoice Summary
                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                 Issuing                    Date of                                                                                                                                   Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party        Recipient   Services     Invoice Amount $      Description of Services invoiced                                                                           where services were performed
    2663943         6/23/2004  Perkins Coie    Reichhold    through          $385.00          Review Shaw materials on ozone treatment and related issues                                                      Seattle Site Cleanup
                                                           5/31/2004                          Review correspondence to and from Shaw on ozone treatment
    2689197         7/30/2004   Perkins Coie   Reichhold    through           $420.00         Telephone conference discussing Shaw issues                                                                     Seattle Site Cleanup
                                                           6/30/2004                          Review Shaw conceptual site model for arsenic
    2707468         8/26/2004   Perkins Coie   Reichhold     through          $315.00         Review recent correspondence on air compressor, review Shaw arsenic conceptual site model, telephone            Seattle Site Cleanup
                                                            7/31/2004                         conference about possible characterization work
    2945782        11/23/2004   Perkins Coie   Reichhold     through          $175.00         Telephone conference with Isaacson regarding seep sampling and other potential investigations                   Seattle Site Cleanup
                                                           10/31/2004                         Review correspondence with Shaw on ozone treatment and prospective
                                                                                              sampling strategy on same
    3005454         2/24/2005   Perkins Coie   Reichhold    through           $324.00         Review CH2MHill proposed arsenic study plan propos revisions to same                                            Seattle Site Cleanup
                                                           1/31/2005
    3030760         3/24/2005   Perkins Coie   Reichhold    through           $216.00         Review correspondence with Compeau regarding operation of                                                        seattle Site Cleanup
                                                           2/28/2005                          treatment system review contract with Shaws predecessors to
                                                                                              determine Shaw obligations
    3088405         6/28/2005   Perkins Coie   Reichhold    through           $396.00         Review email correspondence with Shaw on groundwater sampling                                                   Seattle Site Cleanup
                                                           5/31/2005                          compare to prior Shaw communications on steps to obtain NFA
                                                                                              Review CH2MHiII proposal for arsenic investigation and NFA review correspondence with Shaw telephone
                                                                                              conference
    3101085         7/27/2005   Perkins Coie   Reichhold    through           $324.00         Review CH2MHiII scope of work to obtain No Further Action letter                                                Seattle Site Cleanup
                                                           6/30/2005
    3242902         3/28/2006   Perkins Coie   Reichhold    through           $75.00          Review Annual Dangerous Waste Report prepare letter to lsaacson                                                 Seattle Site Cleanup
                                                            2/28/06                           regarding same
    3379219        10/31/2006   Perkins Coie   Reichhold    through           $337.50         Review CH2MH1II proposed work plan, telephone conference                                                        Seattle Site Cleanup
                                                            9/30/06
    3519934         6/29/2007   Perkins Coie   Reichhold    through           $395.00         Telephone conference with Isaacson counsel for Lone Star                                                        Seattle Site Cleanup
                                                            5/31/07                           regarding remedial and development issues
                                                                                              Email from Isaacson telephone conference with Oldham emails
                                                                                              to lsaacson review agreement with Glacier
    3568885         8/28/2007   Perkins Coie   Reichhold    through          $6,890.00        Prepare for and participate in call with Glacier                                                                Seattle Site Cleanup
                                                            7/31/07                           Research process and requirements for No Further Action letter
                                                                                              Review analytical data direct analysis of options to obtain No Further Action Letter
                                                                                              Research regarding opinion letters from Department of Ecology
                                                                                              Review contract with Fluor telephone conference with Oldham
                                                                                              regarding arsenic and penta issues emails
                                                                                              Research opinion letters from Department of Ecology regarding
                                                                                              cleanup of soil and groundwater
                                                                                              Research opinion letters from Department of Ecology regarding
                                                                                              cleanup of soil and groundwater
                                                                                              Analyze contract with Shaw telephone conference with counsel for Glacier
                                                                                              Research Department of Ecology opinion letters for soil and
                                                                                              groundwater contamination prepare memorandum regarding same
                                                                                              review background documents reports and correspondence regarding Shaw Environmental cleanup actions

                                                                                              Review Fluor contract analysis of contract rights strategy and conference on No Further Action Letter



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                                                                                           Table B11: Perkins Coie Group Invoice Summary
                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                   Issuing                   Date of                                                                                                                                Site Location/Geographical Reference
  Invoice No.     Invoice Date      Party       Recipient   Services     Invoice Amount $      Description of Services invoiced                                                                        where services were performed
                                                                                               Review reports and correspondence regarding Shaw Environmental cleanup actions
                                                                                               Develop No Further Action letter approach
                                                                                               Analyze Shaw contractual obligations review timeline of remediation
                                                                                               Review documents and correspondence regarding Shaws performance
                                                                                               Email correspondence with Bjorkman regarding chronology of events and documentation in Shaw matter

                                                                                               Review Shaw contract and correspondence edit timeline of events to compel Shaw performance
                                                                                               Review historical materials direct preparation of site chronology
    3588912         9/27/2007    Perkins Coie   Reichhold    through          $3,732.00        Review email and article from lsaacson direct analysis of same                                               Seattle Site Cleanup
                                                             8/31/07                           -Review reports forwarded by Glacier
                                                                                               analysis of evidence on issues affecting further site clean up
                                                                                               Review deposition transcripts regarding potential disposal activities
                                                                                               -Review SAIC report strategy on potential response telephone
                                                                                               conference with Glacier
                                                                                               -Review deposition transcripts regarding potential disposal activities
                                                                                               -Review deposition transcripts for regarding potential evidence of
                                                                                               disposal activities
                                                                                               -Research and review Ecology documents regarding dredging
                                                                                               conducted by Glacier
                                                                                               Review report regarding Glacier Bay Source Control Area and background documents
                                                                                               Telephone conference with lsaacson email to Oldham direct
    3599332        10/27/2007    Perkins Coie   Reichhold    through          $2,528.00        -Telephone conference with lsaacson counsel for Glacier                                                      Seattle Site Cleanup
                                                             9/30/07                           -Review Settlement Agreement review Warner deposition
                                                                                               -Telephone conference with Kossik regarding work to address
                                                                                               arsenic contamination
                                                                                               -Research on prior depositions of Glacier experts
                                                                                               -Develop strategy to comply with Glacier settlement agreement direct
                                                                                               analysis of historical materials relevant to site contamination
                                                                                               -Research on prior depositions
                                                                                               -Review Farlow deposition review Ecology documents regarding
                                                                                               dredging conducted by Glacier NW
                                                                                               -Telephone conference with counsel for Glacier review complaint
                                                                                               against Duwamish Shipyard and assess impact on Reichhold
                                                                                               -Telephone conference with Bjorkman regarding Settlement Agreement and CERCLA section 104e order
                                                                                               send Settlement
                                                                                               Agreement and attachments to Bjorkman
    3617732        11/30/2007    Perkins Coie   Reichhold    through           $830.50         -Review deposition transcript of Shields                                                                     Seattle Site Cleanup
                                                            10/31/2007                         -Review deposition transcript of Shields
                                                                                               -Review Settlement Agreement for confidentiality provisions
                                                                                               -Telephone conference with Bjorkman counsel for Glacier review Glacier settlement agreement
                                                                                               -Analyze Glacier settlement agreement
    3635393        12/28/2007    Perkins Coie   Reichhold    through          $1,030.73        -Emails with Bjorkman review Lone Star settlement agreement                                                  Seattle Site Cleanup
                                                            11/30/2007                         -Review Pentachiorophenol and arsenic data strategy on next steps
                                                                                               -Review pentachlorophenol and arsenic data telephone conference with Oldham and Kossik



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                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                 Issuing                     Date of                                                                                                                                         Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party        Recipient    Services    Invoice Amount $      Description of Services invoiced                                                                                  where services were performed
    3654832         1/29/2008  Perkins Coie    Reichhold     through        $1,318.00         -Review letter and documents from glacier strategy on response                                                          Seattle Site Cleanup
                                                           12/31/2007                         -Review Glaciers Section 104e response for confidential information
                                                                                              analyze same and send email to Schneider
                                                                                              -Review CH2MHiII Scope of Work email to Oldham regarding same
    3671662         2/28/2008   Perkins Coie   Reichhold    through          $3,595.00        -Telephone conference with Bjorkman review SAIC report                                                                 Seattle Site Cleanup
                                                           1/31/2008                          -Review site data telephone conference with Oldham and Kossik
                                                                                              -Review deposition transcripts for historical operations information in
                                                                                              preparation for site visit with EPA
                                                                                              -Review Shaw correspondence outline presentation to Ecology
                                                                                              -Telephone conference with Ortiz Washington Department of Ecology regarding uplands cleanup review site
                                                                                              documents
                                                                                              -Telephone conference with Oldham and Shaw email with Glacier
                                                                                              '-Review lease document between U.S and Reichhold
                                                                                              -Telephone conference with Bjorkman regarding lease documents
                                                                                              -Review Shaw investigation and remedial documents
                                                                                              -Emails with Ecologys Ortiz prepare for meeting with Glacier and
                                                                                              Shaw
                                                                                              -Research 1946 lease
    3692544         3/28/2008   Perkins Coie   Reichhold    through         $23,271.50        -Prepare for participate in and follow up on conference with Shaw Environmental and Glacier Northwest                  Seattle Site Cleanup
                                                            2/29/08                           regarding remediation and Ecology site visit
                                                                                              -Prepare for and meet with Glacier and Shaw
                                                                                              -Review remediation documents in preparation for site visit with Ecology
                                                                                              -Review historical documents folder
                                                                                              -Review information from Glacier review Shaw materials direct review of deposition transcripts
                                                                                              -Research 1946 lease review Lonestar documents
                                                                                              -Review historical documents
                                                                                              -Emails with Glacier telephone conference with Oldham review RI documents
                                                                                              -Review Lonestar documents
                                                                                              '-Review and summarize remediation documents in preparation for disclosure to Ecology
                                                                                              -Review survey and sampling report of seeps
                                                                                              -Emails with Ecology Oldham and Shaw direct preparation of materials for upcoming meeting
                                                                                              -Review Lonestar documents
                                                                                              -Review Remedial Investigation report
                                                                                              -Review Lonestar documents
                                                                                              -Prepare for participate in and follow up on telephone conference regarding site visit review correspondence
                                                                                              from Shaw and documents to be provided to Ecology
                                                                                              -Review historical documents preparation
                                                                                              -Review materials from Shaw telephone conference with Oldham telephone conference with Oldham Shaw
                                                                                              and Glacier leave voicemail with Ecology
                                                                                              -Review Lonestar documents prepare timeline
                                                                                              -Review Lonestar documents prepare timeline
                                                                                              -Review site materials on pentachlorophenol
                                                                                              0.90 Review site documents prepare for site visit




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                                                                                    Table B11: Perkins Coie Group Invoice Summary
                                                                  Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                 Issuing                Date of                                                                                                                                       Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party    Recipient   Services   Invoice Amount $      Description of Services invoiced                                                                                 where services were performed
                                                                                        -Review Lonestar documents review technical reports                                                                    Seattle Site Cleanup
                                                                                        -Prepare for attend and follow-up on site visit at Glacier facility
                                                                                        -Prepare for participate in and follow up on site visit telephone
                                                                                        conference with Oldham review arsenic information
                                                                                        -Review Lonestar documents compile correspondence
                                                                                        -Review Shaw documents
                                                                                        -Review Lonestar documents
                                                                                        -Emails with Shaw and Glacier on site issues outline presentation to Ecology
                                                                                        -Review arsenic data telephone conference with Oldham and
                                                                                        Kossik
                                                                                        -Review Shaw correspondence and reports research RETEC reports
                                                                                        -Review arsenic evaluation prepare timeline of site ownership and
                                                                                        arsenic contamination review previous remedial action reports and memoranda regarding site contamination
                                                                                        review Shaw and Ecology reports regarding same prepare chronology regarding same review Retec
                                                                                        remedial investigation report
                                                                                        -Review Shàw correspondence and reports
                                                                                        -Review stormwater study review Retec remedial investigation report
                                                                                        prepare chronology review Alston and Farlow depositions review the WA Dioxin Source Assessment report
                                                                                        review prior Shaw Lone Star and Reichhold correspondence
                                                                                        -Review historical site data outline next steps
                                                                                        -Research Fluor GTI documents review National Archives indices for
                                                                                        historic site information review Shaw correspondence
                                                                                        -Prepare chronology regarding site contamination events review
                                                                                        Compher Finch Guyot Herman Means Molvik
                                                                                        Navarre and Shields depositions review prior Shaw Lone Star
                                                                                        and Reichhold correspondence review Lower Duwamish Waterway Group seep survey data report review
                                                                                        DOE Source Control Action Plan for Glacier Bay
                                                                                        -Research 1946 lease
                                                                                        -Review Shaw contract telephone conference with Oldham regarding
                                                                                        next steps with Shaw
                                                                                        -Review National Archives indices for historic site information coordinate site visits review Glaciers 104e
                                                                                        response documents compile document date ranges




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                                                                                        Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                   Date of                                                                                                                                      Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services    Invoice Amount $      Description of Services invoiced                                                                               where services were performed
    3715195         4/28/2008  Perkins Coie   Reichhold    through       $14,224.19         -Review correspondence regarding upcoming Seattle site meeting                                                       Seattle Site Cleanup
                                                          3/31/2008                         review PLP letter regarding the Seattle Site telephone call with
                                                                                            Schneider Bjorkman and Tesch regarding agenda for meeting
                                                                                            conference with Schneider regarding Shaw chronology
                                                                                            -Telephone conferences with Oldham Bjorkman Tesch review Ecology PCP letter
                                                                                            -Correspondence with Kossik regarding arsenic contamination prepare for and attend site meeting with Shaw
                                                                                            Glacier and Reichhold review 1999 EPA Site Investigation Report and seep data review PLP letter
                                                                                            -Preparations for meeting with Shaw
                                                                                            -Research and review site investigation and dioxin issues
                                                                                            -Research and review site investigation and dioxin issues
                                                                                            -Review Bjorkman correspondence regarding Ecology communications and case schedule correspondence
                                                                                            with
                                                                                            Schneider Oldham and Kossik regarding PLP response letter
                                                                                            -Review Dalton deposition conference with Schneider regarding PLP response site history and the Seattle
                                                                                            Site meeting review correspondence with Tesch regarding PLP response
                                                                                            -Telephone conference with Kossik emails with Shaw and Glacier
                                                                                            review PLP letter and attachments strategy on response outline next
                                                                                            steps
                                                                                            -Research and review previous site investigations and dioxin issues
                                                                                            -Review ReTec Preliminary FS and previous PLP notice prepare for
                                                                                            and participate in telephone conference with Reichhold Shaw Glacier
                                                                                            and CH2MHiII analyze GTI contracts and correspondence with
                                                                                            Reichhold for arsenic clauses and contamination assumptions
                                                                                            -Telephone conference with Shaw and Glacier telephone conference
                                                                                            with Martin and counsel for Shaw review contract terms
                                                                                            -Reviewing Retec Preliminary Feasibility Study
                                                                                            -Telephone conference with Oldham and Kossik prepare letter to
                                                                                            Shaw outline letters to Ecology direct preparation of letters
                                                                                            -Review Retec Preliminary Feasibility Study review Dalton deposition review Oldham and Tesch
                                                                                            correspondence regarding Shaw remediation work review the 1990 Parametrix Site Assessment review
                                                                                            Patmont and Hime expert reports draft PLP waiver letter
                                                                                            -Review historic documents compile reports for attorney review




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                                 Issuing                   Date of                                                                                                                                    Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                                              where services were performed
    3736660         5/30/2008  Perkins Coie   Reichhold    through       $7,626.50         -Review Lone Star documents                                                                                         Seattle Site Cleanup
                                                           4/30/08                         -Assemble Rl/FS for Ecology correspondence with Schneider and
                                                                                           Bjorkman regarding same update case file
                                                                                           -Draft and send letter to Ecology enclosing Rl/FS telephone conference with Bjorkman regarding same
                                                                                           -Review and organize Lonestar documents and site reports
                                                                                           -Review and organize Lonestar documents and site reports update
                                                                                           files
                                                                                           -Telephone conference with Tesch regarding draft site report
                                                                                           preparation and deadlines report to Schneider regarding same
                                                                                           -Telephone conference with Tesch regarding report deadline
                                                                                           -Telephone conferences with Tesch regarding Ecology report and
                                                                                           remaining remediation objectives prepare summary of Shaws
                                                                                           position review Shaw correspondence regarding report summary
                                                                                           -Review Shaw outline of report strategy and conference regarding
                                                                                           same
                                                                                           -Review prior reports review Shaw draft report assess next steps
                                                                                           -Analyze and edit updated remedial activities summary report and
                                                                                           attached data and figures correspondence with Tesch regarding
                                                                                           report contents compare prior case correspondence and documents
                                                                                           with remedial activities report prepare comments and analysis of
                                                                                           remedial activities report
                                                                                           -Review updated figures released by Shaw
                                                                                           -Review Shaw report propose revisions to same telephone conference with Oldham
                                                                                           -Review updated site figures and remediation analysis report prepare for and attend telephone conference
                                                                                           with Kossik regarding
                                                                                           comments and issues with remediation analysis report
                                                                                           correspondence with Tesch regarding report comments and
                                                                                           upcoming deadlines analyze case pleadings from 1994-95 and
                                                                                           historical records from 1945-1960
                                                                                           -Review Shaw report propose revisions to same telephone conference with Kossik Analyze Lone Star case
                                                                                           pleadings and plant records from 1945-60
                                                                                           Analyze CH2M Hill and Glacier Northwest comments on the remedial activities report review remedial




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                                 Issuing                   Date of                                                                                                            Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                      where services were performed
    3755177         10/1/2008  Perkins Coie   Reichhold    through       $1,809.00         -Telephone conference and correspondence with Tesch regarding                               Seattle Site Cleanup
                                                           8/31/08                         final remedial activities summary report update case file
                                                                                           -Correspondence with Shaw Glacier Reichhold and CH2MHiII
                                                                                           regarding report delivery to Ecology review CD of appendices
                                                                                           -Correspondence with Ortiz regarding Remedial Activities Summary
                                                                                           Report and Ecology meeting
                                                                                           -Emails to Ortiz and team
                                                                                           -Review Ecology initiative on Duwamish telephone conference with
                                                                                           Tesch emails with team and Glacier to set up meeting with Ecology
                                                                                           -Emails with Ecology Shaw and Glacier prepare for Ecology meeting
                                                                                           -Emails with Ecology Shaw and Glacier telephone conference with
                                                                                           Glacier
                                                                                           -Review Shaw report telephone conference with Tesch
                                                                                           -Telephone conferences with Oldham and Tesch on contract
                                                                                           issues review Shaw report
                                                                                           -Voice mail with Ortiz review shaw report




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                                 Issuing                   Date of                                                                                                                                       Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                                                 where services were performed
    3777329         7/31/2008  Perkins Coie   Reichhold    through      $26,164.71         -Voice mail from Bjorkman review Shaw report telephone                                                                 Seattle Site Cleanup
                                                           6/30/08                         conference with Oldham
                                                                                           -Review Reichhold-Lone Star settlement agreement corporate purchase agreement GTI correspondence
                                                                                           and preliminary feasibility study for impacted soil excavation authorizations
                                                                                           -Analysis of Glacier obligation under settlement agreement
                                                                                           -Research Washington and federal case law regarding excavation cost allocations for non-contaminated soil
                                                                                           -Analyze CERCLA case law regarding cost recovery actions for prepatory excavation work review case file
                                                                                           for site reports and correspondence to send to Ecology telephone conference with Bjorkman and Schneider
                                                                                           regarding Ecology meetings review
                                                                                           Glaciers 104e productions to Ecology
                                                                                           -Telephone conference with Ortiz prepare draft agenda direct review of historical documents telephone
                                                                                           conference with Bjorkman email to Kossik
                                                                                           -Review and analyze historical site remediation reports correspondence and presentations prepare collection
                                                                                           of reports and correspondence for Ecology correspondence with Bjorkman and
                                                                                           Schneider regarding independent remedial action certification analyze
                                                                                           depositions and prior site reports regarding pentachlorophenol
                                                                                           presence in site lagoons and settling ponds
                                                                                           Assemble documents for Ecology
                                                                                           -Prepare and review document production to Ecology prepare table of
                                                                                           contents for document production telephone conferences and meeting
                                                                                           with production group regarding production
                                                                                           -Review Warner deposition Reichhold Seattle Pollution Report and
                                                                                           historical Seattle Pollution Commission correspondence regarding
                                                                                           penta impoundment prepare collection of reports and correspondence
                                                                                           for Ecology correspondence with Bjorkman and Schneider
                                                                                           regarding same meetings and correspondence with production team
                                                                                           regarding same telephone conference and correspondence with
                                                                                           Ortiz regarding Ecology meeting agenda and document production prepare for and attend meeting with
                                                                                           Schneider Kossik Tesch
                                                                                           Bjorkman and Oldham regarding Ecology presentation research
                                                                                           CERCLA case law regarding excavation costs
                                                                                           06/09/08 Schneider 2.30 Meet with Oldham Kossik Shaw and Glacier prepare for same




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                                 Issuing                   Date of                                                                                                                                 Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services    Invoice Amount $      Description of Services invoiced                                                                          where services were performed
    3816901         9/30/2008  Perkins Coie   Reichhold   8/31/2008       $7,837.97         -Review and analyze proposed contract finalize memorandum and                                                   Seattle Site Cleanup
                                                                                            corn ments
                                                                                            -Analyze Shaws proposed master services agreement meeting and correspondence with Dial and Schneider
                                                                                            regarding overhauling
                                                                                            same review Dials memorandum and mark-up regarding master
                                                                                            services agreement changes
                                                                                            -Conference regarding comments to proposed contract
                                                                                            -Strategy and conference on Shaw contract issues
                                                                                            -Analyze Reichhold standard service agreement
                                                                                            -Email correspondence review Reichhold form contract analyze
                                                                                            issues
                                                                                            -Telephone conference and correspondence with Tesch regarding
                                                                                            draft sampling plan and Fridays conference call
                                                                                            -Telephone conference with Schneider Oldham Tesch
                                                                                            Coppel and Patmont regarding sampling analysis plan proposed
                                                                                            work schedule and site issues telephone conferences with
                                                                                            Bjorkman and Tesch regarding equipment and gravel barriers
                                                                                            issues review Glacier/Reichhold Settlement Agreement regarding
                                                                                            Glaciers assistance obligations
                                                                                            -Participate in team call address Shaw contract issues
                                                                                            -Telephone conference with Tesch regarding Glacier site and well
                                                                                            sampling events
                                                                                            -Telephone conference with Kossik Oldham Tesch Coppel
                                                                                            Bjorkman and Patmont regarding sampling analysis plan agreed
                                                                                            order updates and monitoring well status conference on contract
                                                                                            review Shaws well status summary and updated sampling analysis
                                                                                            plan
                                                                                            -Telephone conference with Oldham regarding Shaw contract issues
                                                                                            conference regarding same
                                                                                            -Correspondence with Bjorkman and Schneider regarding
                                                                                            Glaciers concerns with Shaws proposed contract review same
                                                                                            -Telephone conference with Tesch Coppel Bjorkman and




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                                 Issuing                    Date of                                                                                                                                 Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient    Services    Invoice Amount $      Description of Services invoiced                                                                          where services were performed
    3838509         12/2/2008  Perkins Coie   Reichhold     through       $26,811.00         -Review and analyze proposed contract finalize memorandum and                                                   Seattle Site Cleanup
                                                          10/31/2008                         corn ments
                                                                                             -Analyze Shaws proposed master services agreement meeting and correspondence with Dial and Schneider
                                                                                             regarding overhauling
                                                                                             same review Dials memorandum and mark-up regarding master
                                                                                             services agreement changes
                                                                                             -Conference regarding comments to proposed contract
                                                                                             -Strategy and conference on Shaw contract issues
                                                                                             -Analyze Reichhold standard service agreement
                                                                                             -Email correspondence review Reichhold form contract analyze
                                                                                             issues
                                                                                             -Telephone conference and correspondence with Tesch regarding
                                                                                             draft sampling plan and Fridays conference call
                                                                                             -Telephone conference with Schneider Oldham Tesch
                                                                                             Coppel and Patmont regarding sampling analysis plan proposed
                                                                                             work schedule and site issues telephone conferences with
                                                                                             Bjorkman and Tesch regarding equipment and gravel barriers
                                                                                             issues review Glacier/Reichhold Settlement Agreement regarding
                                                                                             Glaciers assistance obligations
                                                                                             -Participate in team call address Shaw contract issues
                                                                                             -Telephone conference with Tesch regarding Glacier site and well
                                                                                             sampling events
                                                                                             -Telephone conference with Kossik Oldham Tesch Coppel
                                                                                             Bjorkman and Patmont regarding sampling analysis plan agreed
                                                                                             order updates and monitoring well status conference on contract
                                                                                             review Shaws well status summary and updated sampling analysis
                                                                                             plan
                                                                                             -Telephone conference with Oldham regarding Shaw contract issues
                                                                                             conference regarding same
                                                                                             -Correspondence with Bjorkman and Schneider regarding
                                                                                             Glaciers concerns with Shaws proposed contract review same
                                                                                             -Telephone conference with Tesch Coppel Bjorkman and




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                                Issuing                   Date of                                                                                                                                Site Location/Geographical Reference
  Invoice No.     Invoice Date   Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                                          where services were performed
    3862257        12/31/2008 Perkins Coie   Reichhold    through      $29,194.50         -Review and analyze proposed contract finalize memorandum and
                                                         11/30/08                         corn ments
                                                                                          -Analyze Shaws proposed master services agreement meeting and correspondence with Dial and Schneider
                                                                                          regarding overhauling
                                                                                          same review Dials memorandum and mark-up regarding master
                                                                                          services agreement changes
                                                                                          -Conference regarding comments to proposed contract
                                                                                          -Strategy and conference on Shaw contract issues
                                                                                          -Analyze Reichhold standard service agreement
                                                                                          -Email correspondence review Reichhold form contract analyze
                                                                                          issues
                                                                                          -Telephone conference and correspondence with Tesch regarding
                                                                                          draft sampling plan and Fridays conference call
                                                                                          -Telephone conference with Schneider Oldham Tesch
                                                                                          Coppel and Patmont regarding sampling analysis plan proposed
                                                                                          work schedule and site issues telephone conferences with
                                                                                          Bjorkman and Tesch regarding equipment and gravel barriers
                                                                                          issues review Glacier/Reichhold Settlement Agreement regarding
                                                                                          Glaciers assistance obligations
                                                                                          -Participate in team call address Shaw contract issues
                                                                                          -Telephone conference with Tesch regarding Glacier site and well
                                                                                          sampling events
                                                                                          -Telephone conference with Kossik Oldham Tesch Coppel
                                                                                          Bjorkman and Patmont regarding sampling analysis plan agreed
                                                                                          order updates and monitoring well status conference on contract
                                                                                          review Shaws well status summary and updated sampling analysis
                                                                                          plan
                                                                                          -Telephone conference with Oldham regarding Shaw contract issues
                                                                                          conference regarding same
                                                                                          -Correspondence with Bjorkman and Schneider regarding
                                                                                          Glaciers concerns with Shaws proposed contract review same
                                                                                          -Telephone conference with Tesch Coppel Bjorkman and




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  Invoice No.     Invoice Date   Party       Recipient    Services    Invoice Amount $      Description of Services invoiced                                                                          where services were performed
    3879415        12/26/2008 Perkins Coie   Reichhold     through       $20,128.01         -Review and analyze proposed contract finalize memorandum and                                                   Seattle Site Cleanup
                                                         11/30/2008                         corn ments
                                                                                            -Analyze Shaws proposed master services agreement meeting and correspondence with Dial and Schneider
                                                                                            regarding overhauling
                                                                                            same review Dials memorandum and mark-up regarding master
                                                                                            services agreement changes
                                                                                            -Conference regarding comments to proposed contract
                                                                                            -Strategy and conference on Shaw contract issues
                                                                                            -Analyze Reichhold standard service agreement
                                                                                            -Email correspondence review Reichhold form contract analyze
                                                                                            issues
                                                                                            -Telephone conference and correspondence with Tesch regarding
                                                                                            draft sampling plan and Fridays conference call
                                                                                            -Telephone conference with Schneider Oldham Tesch
                                                                                            Coppel and Patmont regarding sampling analysis plan proposed
                                                                                            work schedule and site issues telephone conferences with
                                                                                            Bjorkman and Tesch regarding equipment and gravel barriers
                                                                                            issues review Glacier/Reichhold Settlement Agreement regarding
                                                                                            Glaciers assistance obligations
                                                                                            -Participate in team call address Shaw contract issues
                                                                                            -Telephone conference with Tesch regarding Glacier site and well
                                                                                            sampling events
                                                                                            -Telephone conference with Kossik Oldham Tesch Coppel
                                                                                            Bjorkman and Patmont regarding sampling analysis plan agreed
                                                                                            order updates and monitoring well status conference on contract
                                                                                            review Shaws well status summary and updated sampling analysis
                                                                                            plan
                                                                                            -Telephone conference with Oldham regarding Shaw contract issues
                                                                                            conference regarding same
                                                                                            -Correspondence with Bjorkman and Schneider regarding
                                                                                            Glaciers concerns with Shaws proposed contract review same
                                                                                            -Telephone conference with Tesch Coppel Bjorkman and




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    3898586         1/26/2009  Perkins Coie   Reichhold    through      $11,715.00         Correspondence with Oldham Lilley and Tesch regarding Port                                  Seattle Site Cleanup
                                                           2/28/09                         of Seattle site investigation license telephone conference with
                                                                                           Ridgley regarding same correspondence with Tesch and Oldham
                                                                                           regarding PLP issues correspondence with Bjorkman and Tesch
                                                                                           regarding Carlisle Lumber and other PLP identifications
                                                                                           -Correspondence with Tesch and Bjorkman regarding NCP
                                                                                           compliance and CERCLA issues meeting with Bjorkman Tesch
                                                                                           Kossik and Ipsen regarding PRP litigation strategies case
                                                                                           overview and timeline collecting historical data analyzing site aerials
                                                                                           and next steps research and review PRP data regarding Carlisle
                                                                                           Lumber Crown Zellerbach and Duwamish Shipyards
                                                                                           Review draft access agreement propose revisions to same
                                                                                           Review Lower Duwamish Waterway list of 104e recipients briefly
                                                                                           research corporate histories for arsenic production
                                                                                           Tesch and Kossik regarding PLP strategies next steps Port
                                                                                           access agreement sampling analysis plan and updated work release
                                                                                           telephone conference with Oldham regarding same and Duwamish
                                                                                           Shipyards issues review ERM strategic risk mitigation plan
                                                                                           correspondence with Kossik and Oldham regarding Asarco fallout
                                                                                           on Glacier Bay and Lower Duwamish Waterway correspondence with
                                                                                           Bjorkman regarding Port issues review ERM revised work release
                                                                                           analyze Johnson response to proposed agreed order revisions
                                                                                           correspondence with Oldham Lilley Tesch




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                                                                                         Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                    Date of                                                                                                                                       Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party        Recipient   Services    Invoice Amount $      Description of Services invoiced                                                                                where services were performed
    3917261         5/5/2009   Perkins Coie    Reichhold    through       $26,616.39         Correspondence with Tesch and Ipsen regarding SAP and corporate purchase agreement language                           Seattle Site Cleanup
                                                            3/31/09                          Research and review state and federal case law regarding claims for negligence private and public nuisance
                                                                                             trespass and strict liability
                                                                                             arising from prior owners disposal of hazardous waste prepare outline
                                                                                             regarding same
                                                                                             Research site ownership issues related to Hanson and Kaiser
                                                                                             Telephone conference with Oldham regarding Agreed Order
                                                                                             revision contribution strategies and draft sampling and analysis plan
                                                                                             review 1993 and 1994 historical correspondence files for Reichhold
                                                                                             and Lone Star PRP notices
                                                                                             Analyze potential contribution rights telephone conference with
                                                                                             Bjorkman regarding potential contribution review Scope of Work
                                                                                             -Review 1995-1998 historical correspondence files for Reichhold PRP
                                                                                             notices and former PRPs employee interviews correspondence with
                                                                                             Schneider regarding same analyze McMillan Associates interview
                                                                                             notes from former Kaiser and Lone Star employees regarding slurry
                                                                                             pond contamination telephone conference with Oldham Lilley
                                                                                             Bjorkman Kossik Tesch and Schneider regarding draft
                                                                                             sampling and analysis plan ecology updates drum and dioxin
                                                                                             sampling and PRP investigations telephone conferences with
                                                                                             Oldham and Kossik regarding PRP investigations
                                                                                             -Telephone conference with Oldham CH2MHiII ERM Exstrom
                                                                                             Glacier on Agreed Order Scope of Work and PLP issues
                                                                                             -Research PLP letters from early 1990s
                                                                                             -Review Ecology files for past PLP notices
                                                                                             -Telephone conference with Guastaferro regarding PLP and
                                                                                             independent remedial action notice letters review ERM updated draft
                                                                                             sampling and analysis plan and project call summary analyze EPA site history timeline and Port of Seattle
                                                                                             Terminal 115 PLP
    3938957         3/27/2009   Perkins Coie   Reichhold    through        $13,944.67        Attorney Services                                                                                                    Seattle Site Cleanup
                                                            2/28/09
    3957387         5/5/2009    Perkins Coie   Reichhold    through        $12,320.29        Attorney Services                                                                                                    Seattle Site Cleanup
                                                           3/31/2009




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                                                                                       Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                   Date of                                                                                                                               Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                                         where services were performed
    3975840         6/4/2009   Perkins Coie   Reichhold    through      $24,456.60         Analyze deposition testimony of Tea Repman Pauly                                                               Seattle Site Cleanup
                                                           4/30/09                         Patricelli Partitt Owens and Navarre and exhibits thereto
                                                                                           regarding past operators on the property prepare outline regarding
                                                                                           same correspondence with Tesch regarding Ecology public records
                                                                                           requests and conference call agenda
                                                                                           -Review Ecology and ERM correspondence regarding groundwater sampling event and data issues
                                                                                           telephone conference with Oldham Lilley Ipsen Kossik Tesch and Schneider regarding Ecology sampling
                                                                                           clarifications public participation plan drum
                                                                                           requests site history reports public records requests and lab data
                                                                                           review Seattle Public Utilities public records response review EPAs
                                                                                           response to FOIA request for Port of Seattle 104e request
                                                                                           documents correspondence with Kossik Schneider Tesch
                                                                                           and Oldham regarding same correspondence with Johnson
                                                                                           Tesch and Bjorkman regarding Ecology public records requests
                                                                                           -Telephone conference with Oldhman Kossik Exstrom Glacier and Shaw
                                                                                           -Correspondence with Tesch and Kossik regarding Seattle Public
                                                                                           Utilities response to public records request telephone conference with
                                                                                           Tesch regarding same Duwamish Shipyards and Port of Seattle
                                                                                           MTCA documents and summarizing Ecology revisionist tendencies
                                                                                           draft public records requests to Ecology regarding Duwamish
                                                                                           Shipyards and Port of Seattle MTCA documents correspondence with
                                                                                           Oldham Tesch Schneider Kossik and Bjorkman
                                                                                           regarding Ecology Agreed Order response signing decision
                                                                                           reservation of rights language and EPA response to Terminal 115
                                                                                           FOIA request research Lower Duwamish Waterway Group 104e
                                                                                           request issue review ERM report regarding Lower Duwamish
                                                                                           Waterway cleanup conference
                                                                                           -Telephone conferences with Oldham regarding signing agreed
                                                                                           order agreed order terms enforcement order issues and Glaciers
                                                                                           position analyze Ecologys proposed agreed order scope of work and
                                                                                           schedule draft letter to Seattle Public Utilities regarding public records




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                                                                                        Table B11: Perkins Coie Group Invoice Summary
                                                                      Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property



                                 Issuing                   Date of                                                                                                                                      Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services    Invoice Amount $      Description of Services invoiced                                                                               where services were performed
    3997801         6/25/2009  Perkins Coie   Reichhold    through        $9,095.70         -Review Ecology document production correspondence with                                                              Seattle Site Cleanup
                                                          5/31/2009                         Johnson regarding agreed order issue
                                                                                            -Telephone conference and correspondence with Johnson regarding agreed order process and approval
                                                                                            correspondence with Oldham nd telephone conference with Bjorkman regarding agreed order changes
                                                                                            review ERM project call summary
                                                                                            -Analyze and organize Ecology document production prepare same for scanning and production telephone
                                                                                            conferences and correspondence with Oldham and Bjorkman regarding public participation plan site name
                                                                                            and agreed order issues correspondence with Schneider and Oldham regarding agreed order submittal
                                                                                            -Scan and prepare Port of Seattle Terminal 115 and Duwamish Shipyard documents for production
                                                                                            -Consolidate and review Port of Seattle Duwamish Shipyards and MRI document scanning production
                                                                                            correspondence and telephone conference with Lou Maag regarding same telephone conferencewith
                                                                                            Oldham Lilley Bjorkman Kossik Tesch and Ipsen regarding LDW draft FS agreed order submittal site name
                                                                                            change public participation plan SCAP updates and arsenic data telephone conferences with Bjorkman Lilley
                                                                                            and Oldham regarding site name change denial and agreed order issue draft agreed order document
                                                                                            package submittal letter prepare same for delivery to Ecology
                                                                                            -Continue preparation of Port of Seattle Terminal 115 and Duwamish Shipyard documents for production
                                                                                            -Correspondence with Ortiz and Johnson regarding public notice period and Ecology agreed order approval
                                                                                            organize and prepare Duwamish Shipyards Port of Seattle and MRI electronic document collection for
                                                                                            delivery draft letter to Tesch regarding same
                                                                                            -Follow-up on details regarding document production
                                                                                            -Telephone conferences with Oldham and Kossik regarding
                                                                                            mailing lists revised ERM project team project management
                                                                                            expectations and issues and courtesy review of public involvement
                                                                                            document correspondence with Ortiz Bjorkman lpsen
                                                                                            Oldham and Kossik regarding public involvement document edits
                                                                                            analyze and redline public involvement document review ERM and
                                                                                            CH2MHiII edits to public involvement document review Ecology public
                                                                                            notice document
                                                                                            -Telephone conference with lpsen regarding project management
                                                                                            team change and Ecology submittals correspondence with Oldham
                                                                                            Ipsen Kossik and Lilley regarding Ecology public involvement
                                                                                            document issues and redline submittal prepare submittal strategy for




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                                                                                       Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                   Date of                                                                                                            Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                      where services were performed
    4017799         7/30/2009  Perkins Coie   Reichhold    through       $3,827.07         Review Ecology display advertisement regarding Glacier Site                                 seattle Site Cleanup
                                                           6/30/09                         correspondence with Ipsen and Kossik regarding same
                                                                                           -Review ERM conference call agenda and agreed order schedule
                                                                                           -Telephone conference with Oldham Lilley Bjorkman
                                                                                           Kossik Tesch Schneider and Ipsen regarding Ecology
                                                                                           communications Glacier Westside and SCAP amendments upcoming
                                                                                           meetings and public notice issues telephone conference with
                                                                                           Oldham regarding ERM consultant switch and Lower Duwamish
                                                                                           Waterway issues review Glacier Westside document proposed edits
                                                                                           and ERM call summary correspondence with Ipsen regarding
                                                                                           same
                                                                                           -Participate in team call with Oldham Kossik ERM and Glacier
                                                                                           -Review Ecologys site public notice document correspondence with
                                                                                           Ipsen regarding same
                                                                                           -Telephone conference with Oldham Schneider Lilley
                                                                                           Bjorkman Kossik Tesch and Ipsen regarding Glacier
                                                                                           Westside document and Ecology communications review Glacier
                                                                                           Westside document comments prepare source outline for same
                                                                                           review Ecology Data Gaps and SCAP source documents
                                                                                           correspondence with Regan regarding Ecology document
                                                                                           production
                                                                                           -Participate in call with Oldham Kossik ERM and Glacier
                                                                                           -Telephone conference with Oldham regarding Lilley
                                                                                           attomey/technical consultant issue telephone conferences with
                                                                                           Ipsen regarding redline comments to Glacier Westside document draft
                                                                                           letter regarding City of Seattle public records production prepare same
                                                                                           and technical documents for delivery review City of Seattle sampling
                                                                                           hits
                                                                                           -Review ERM submittal of comments to Glacier Westside document
                                                                                           -Analyze and edit final public participation plan review project call
                                                                                           summary
                                                                                           -Review ERM telephone conference agenda Site Register update and




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                                                                                       Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                   Date of                                                                                                            Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party       Recipient   Services   Invoice Amount $      Description of Services invoiced                                                      where services were performed
    4032838         9/3/2009   Perkins Coie   Reichhold    through       $2,698.50         Telephone conference with Oldham Lilley Bjorkman                                            Seattle Site Cleanup
                                                           7/31/09                         Kossik Tesch Schneider and Ipsen regarding EPA
                                                                                           document dioxin/furan sampling issues and public participation plan
                                                                                           errors review ERM site progress report and Ecology Site Register
                                                                                           entry
                                                                                           -Review ERM report telephone conference with Oldham Kossik
                                                                                           ERM and Glacier
                                                                                           -Review ERM draft baseline groundwater sampling sections and outline
                                                                                           of data gaps report telephone conference with Oldham Lilley
                                                                                           Bjorkman Kossik Schneider and Ipsen regarding Ecology
                                                                                           meeting agreed order public review process soil removal interim
                                                                                           action and storm sewer investigation issues review ERM agenda and
                                                                                           call summary
                                                                                           -Review Reichhold 104e production telephone conference with
                                                                                           Oldham Lilley Bjorkman Schneider Kossik Tesch and
                                                                                           Ipsen regarding Ecology meeting outfall issue terminal 115 and
                                                                                           Port of Seattle agreed orders telephone conferences with Ipsen
                                                                                           and Kossik regarding 104e production Warner report and deep
                                                                                           outfall issue
                                                                                           -Telephone conference with Oldham Kossik ERM Glacier on
                                                                                           Agreed Order issues
                                                                                           -Correspondence with Oldham Bjorkman and Lilley regarding
                                                                                           Warner 1958 pollution report review Reichholds 104e response
                                                                                           and supporting documents
                                                                                           -Analyze Duwamish Shipyard agreed order compare Reichhold/Glacier
                                                                                           agreed order requirements
                                                                                           -Review and compare Duwamish Shipyards Work Plan
                                                                                           -Review Duwamish Shipyard Work Plan requirements telephone
                                                                                           conference with Oldham Schneider Bjorkman Kossik
                                                                                           Tesch and Ipsen regarding Duwamish Shipyards documents
                                                                                           Ecology negotiations and dioxin findings
                                                                                           -Participate in call with Oldham Kossik Exstrom ERM and




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                                                                                          Table B11: Perkins Coie Group Invoice Summary
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                                 Issuing                    Date of                                                                                                                                     Site Location/Geographical Reference
  Invoice No.     Invoice Date    Party        Recipient   Services     Invoice Amount $      Description of Services invoiced                                                                             where services were performed
    4080252         12/8/2009  Perkins Coie    Reichhold    through         $2,425.00         Telephone conference with Kossik regarding data gaps report                                                        Seattle Site Cleanup
                                                           10/31/09                           review same
                                                                                              -Telephone conference with Kossik regarding Data Gaps Report Reichhold perspective telephone
                                                                                              conferences with Ipsen regarcing
                                                                                              same and sediment commentary issues analyze Data Gaps Repoift
                                                                                              prepare comments regarding same
                                                                                              Telephone conference with Oldham regarding Data Gaps Report and group conferences analyze Data Gaps
                                                                                              Report and prepare comments regarding same correspondence with Kossik regarding Data Gaps Report
                                                                                              comments and analysis
                                                                                              -Telephoneconferencewith Oldham Lilley Bjorkman
                                                                                              '-Kossik and Tesch regarding data gaps report progress and
                                                                                              comments and sampling issues telephone conference with Ko$ik
                                                                                              regarding executive summary and sediment sampling issues reviefri
                                                                                              ERM conference call agenda analyze updated sediment data
                                                                                              gapsTelephone conference with Oldham Lilley Bjorkman
                                                                                              Kossik and Tesch regarding Data Gaps report issues review
                                                                                              Reichhold comments regarding same
                                                                                              -Review files for Ecology PRP letters correspondence with Tesch
                                                                                              lpsen and Kossik regarding same
                                                                                              -Telephone conference with Oldham Lilley Bjorkman Kossik Tesch and Ipsen regarding Data Gaps Report
                                                                                              executive summary and ecology issues
    4095470        12/29/2010   Perkins Coie   Reichhold    through           $75.00          Review public records request histories correspondence with
                                                            11/30/09                          Kossik regarding public records requests to the US Army
    4130918         2/28/2010   Perkins Coie   Reichhold    through           $978.50         -Telephone conference with Jeroue regarding correspondence with                                                   Seattle Site Cleanup
                                                           2/23/2010                          Field Corporation
                                                                                              -Review file regarding Field Corporation encroachment
                                                                                              -Telephone conference with Oldham complete review of file prepare
                                                                                              documents to be sent to Jeroue
                                                                                              -Email correspondence regarding Fields Corporation
   45 invoices                                             total cost      $301,524.55




    3030735         3/24/2005   Perkins Coie   Reichhold    through          $1,080.00        Telephone conference with CH2MHiII regarding                                                                      Seattle Site Cleanup
                                                           2/28/2005                          financial assurance FS work plan and related issues

                                                                                              Telephone conference with CH2MHiII regarding Ecology issues financial assurance risk-based clean-up
                                                                                              levels and other subjects
                                                                                              Telephone conference with CH2MHiII regarding financial assurance Ecology meeting and other items review
                                                                                              message from EPAs McDonald on EPAs financial assurance concems review regulations develop strategy
                                                                                              to resolve EPA concems telephone conference with Wildman
    2663930         6/23/2004   Perkins Coie   Reichhold    through           $608.00         Email correspondence conference regarding latest guidance on                                                      Seattle Site Cleanup
                                                           5/31/2004                          financial assurance review file




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                                                                                             Table B12: Ater Wynne Invoice Summary
                                                                     Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                Site Location/Geographical    % of total cost not
                               Invoice                                     Date of        Invoice                                                                                Reference where services     related to Glacier
                  Invoice No.    Date    Issuing Party   Recipient        Services       Amount $      Description of Services invoiced                                               were performed          Uplands cleanup
                    1088613   11/11/2008 Ater Wynne      Reichhold      10/17/2008–      $5,413.50     Analysis of 104e client response, analyze FOIA, various                        LDW Superfund               $5,413.50
                                                                         10/31/2008                    correspondence and meetings

                   1089258    12/4/2008    Ater Wynne    Reichhold      11/3/2008–       $2,226.50     Analysis of 104e submittals,legal research regarding CERCLA/RCRA              LDW Superfund                $2,226.50
                                                                        11/21/2008                     liability, various correspondence and meetings
                   1090351    1/22/2009    Ater Wynne    Reichhold       12/5/2008        $219.00      pending NRDA issues at Lower Duwamish, file review, Glacier file              LDW Superfund                 $219.00
                                                                                                       documents, various correspondence and meetings
                   1091290    2/24/2009    Ater Wynne    Reichhold      1/20/2009–        $730.00      evaluation of aerial photographs general information concerning          LDW Superfund, Glacier site
                                                                         1/27/2009                     development of the Glacier Bay site and related issues, various
                                                                                                       correspondence and meetings

                   1091778    3/19/2009    Ater Wynne    Reichhold       2/3/2009–       $4,124.50     review background data and history of Glacier Bay property analyze   LDW Superfund, Glacier site
                                                                          2/4/2009                     documents, Glacier Property, status of Ecology uplands work,
                                                                                                       identified dischargers to Glacier Bay, dioxin and arsenic sampling
                                                                                                       completed by EPA in the Waterway, site visit, various correspondence
                                                                                                       and meetings

                   1092490    4/17/2009    Ater Wynne    Reichhold       3/4/2009–      $11,411.07     analysis of Lower Duwamish Waterway LDW Source Control Action                 LDW Superfund
                                                                         3/20/2009                     Plan for Glacer Bay Source Control Area, Glacier NW property
                                                                                                       discussions (boundary, site survey), meeting with Ecology, various
                                                                                                       correspondence and meetings

                   1093386    5/26/2009    Ater Wynne    Reichhold       4/6/2009–       $4,134.00     Inquiry from client concerning state administrative order, discuss and        LDW Superfund
                                                                         4/30/2009                     develop strategy for work with Ecology and Glacier N.W, review
                                                                                                       reports, various correspondence and meetings
                   1094502    7/15/2009    Ater Wynne    Reichhold       6/2/2009         $438.00      Conduct research concerning scope of potential federal liability              LDW Superfund
                                                                                                       for in–water investigation and
                                                                                                       remediation, receive inquiry from ERM, prepare files, various
                                                                                                       correspondence and meetings
                   1095888    9/15/2009    Ater Wynne    Reichhold      8/19/2009–       $2,208.25     review work history, strategy to gain approval to decommission                LDW Superfund
                                                                         8/21/2009                     historical stormwater system, analyze ERM correspondence, various
                                                                                                       correspondence and meetings
                   1096747    10/16/2009   Ater Wynne    Reichhold      9/14/2009–       $7,127.50     Discuss shipyard work plan, work performed by Anchor, Research                LDW Superfund
                                                                         9/30/2009                     issues related to conflicts in joint
                                                                                                       defense agreement context, review status of data gaps report and
                                                                                                       figures of historical arsenic pentachlorophenol in soil and stormwater
                                                                                                       system at Glacier NW property, various correspondence and meetings

                   1097238    11/10/2009   Ater Wynne    Reichhold      10/8/2009–      $24,339.50     Analyze draft data gaps report, stormwater system investigation               LDW Superfund
                                                                        10/30/2009                     prepared by ERM, analyze hstorical operations by Reichhld, discuss
                                                                                                       scope of her work in uplands including three adjacent properties the
                                                                                                       submission of the Port of Seattles T–1 15 work
                                                                                                       plan, various correspondence and meetings




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                                                                                                Table B12: Ater Wynne Invoice Summary
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                                                                                                                                                                                  Site Location/Geographical   % of total cost not
                                 Invoice                                     Date of        Invoice                                                                                Reference where services    related to Glacier
                  Invoice No.      Date     Issuing Party   Recipient       Services       Amount $       Description of Services invoiced                                              were performed         Uplands cleanup
                    1097866     12/8/2009    Ater Wynne     Reichhold      11/1/2009–      $18,806.50     discuss source control implications for Glaicer/Reichhold site, discuss       LDW Superfund
                                                                           11/23/2009                     data gaps report, groundwater sampling issues, various investigations
                                                                                                          of dredge
                                                                                                          events and placement of materials on Port and Glacier properties,
                                                                                                          review documents from consultants site, various correspondence and
                                                                                                          meetings
                   1098678      1/13/2010    Ater Wynne     Reichhold      12/1/2009–       $7,671.32     Review ERM correspondence with Ecology concerning ERM invoice,                LDW Superfund
                                                                           12/29/2009                     discuss Reichhold proposed changes to draft letter, Ecology recovery
                                                                                                          of costs, discuss Ports likely contribution to contaminants in the Bay,
                                                                                                          discuss groundwater
                                                                                                          contour map and groundwater system at Glacier Reichhold site,
                                                                                                          hallenge to state expenses
                                                                                                          strategy for completing work, various correspondence and meetings

                   1099954      2/10/2010    Ater Wynne     Reichhold       1/4/2010–       $9,332.00     Complete review of Port T–115 data, discuss myriad sources of              LDW Superfund                 $9,332.00
                                                                            1/28/2010                     dioxins and furans in Lower Duwamish Waterway sediments and
                                                                                                          proposals for attempting to identify or eliminate sources of
                                                                                                          same, Conduct legal research concerning privileged communications
                                                                                                          and dispute resolution, various correspondence and meetings

                   1100327      3/23/2010    Ater Wynne     Reichhold       2/2/2010–      $10,619.00     Analyze 1995 Settlement Agreement provision concerning remediation         LDW Superfund
                                                                            2/25/2010                     of property scope of
                                                                                                          work remedial action costs incurred by parties to the agreement effect
                                                                                                          of Ecology issuance of no further action determintion, varoius
                                                                                                          correspondence and meetings, legal research, discuss seep sampling
                                                                                                          ground water sampling core samples and location of seep sampling
                                                                                                          from all sampling events
                   1100845      4/16/2010    Ater Wynne     Reichhold       3/1/2010–      $15,055.50     varoius correspondence and meetings, legal research, discuss ground        LDW Superfund
                                                                            3/25/2010                     water monitoring, discuss strategy to complete Agreed Order work
                                                                                                          under Ecology supervision prior to ROD in LDW Superfund site,
                                                                                                          analyze settlement agreement                                                                             $15,055.50
                   1101385      5/14/2010    Ater Wynne     Reichhold       4/2/2010–       $4,075.00     Update access agreement, discuss SAP/QAPP for groundwater                  LDW Superfund
                                                                            4/29/2010                     monitoring and schedule for field work, various correspondence and
                                                                                                          meetings, analyze each issue related to MTCA
                   1102243      6/15/2010    Ater Wynne     Reichhold       5/4/2010–       $6,929.75     analyze Glacier/Trustees                                                   LDW Superfund
                                                                            5/27/2010                     Consent Decree for the Hylebos Waterway in Commencement Bay,
                                                                                                          discuss lab and field work issues, analyze report from ERM regarding
                                                                                                          groundwater sampling results, discuss natural resources inquiry by
                                                                                                          Glacier discuss modified RI Work Plan outline

                   1102699      7/12/2010    Ater Wynne     Reichhold      6/02/2010–       $3,081.00     discuss possible modeling to evaluate sediment loading at Glacier          LDW Superfund
                                                                            6/30/2010                     Reichhold Site, discuss the new preliminary surface sediment
                                                                                                          dioxin/furan data and ramifications for Glacier/Reichhold site, analyze
                                                                                                          various correspondence



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                                                                                                 Table B12: Ater Wynne Invoice Summary
                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                    Site Location/Geographical   % of total cost not
                                 Invoice                                      Date of        Invoice                                                                                 Reference where services    related to Glacier
                  Invoice No.      Date      Issuing Party   Recipient       Services       Amount $       Description of Services invoiced                                               were performed         Uplands cleanup
                    1103463     8/19/2010     Ater Wynne     Reichhold       7/1/2010–      $10,736.00     Discuss 104e responses, correspondence with ERM and Ecology,                   LDW Superfund              $10,736.00
                                                                             7/28/2010                     review Administrative Order Amendment provisions
                   1103791       9/8/2010     Ater Wynne     Reichhold       8/2/2010–      $11,892.00     Analyze responses to Ecology comments on data gap report, prepare             LDW Superfund
                                                                             8/26/2010                     invoices, various correspondnece and meetings, discuss photographs
                                                                                                           provided by Ecology concerning site development, analyze T–115
                                                                                                           documents, draft LDW SLVs
                   1104579      10/20/2010    Ater Wynne     Reichhold       9/1/2010–      $19,951.94     Various correspondence and meetings, analyze correspondence,                  LDW Superfund
                                                                             9/30/2010                     analyze invoices, report on site visit with
                                                                                                           Ecology Project Manager, discuss groundwater sampling, discuss
                                                                                                           aerial photos of Glacier property, Lone Star litigation, Analyze
                                                                                                           supplemental 104e information request from EPA, analyze depositions


                   1105448      11/21/2010    Ater Wynne     Reichhold      10/1/2010–      $15,084.38     Various correspondence and meetings, analyze various                          LDW Superfund
                                                                            10/28/2010                     correspondence, discuss litigation documents and EPA 104e
                                                                                                           supplemental information request, discuss Glacier agreement that
                                                                                                           arsenic source on Glacier site is fill material, analyze depositions,
                                                                                                           evaluation of litigation files, discuss status of groundwater sampling
                                                                                                           field work underway and schedule for completion discuss RI/FS draft
                                                                                                           work plan review research on and selection of labs

                   1105863      12/16/2010    Ater Wynne     Reichhold      11/3/2010–       $8,993.00     discuss draft work plan comments discuss arsenic sources and                  LDW Superfund               $8,993.00
                                                                            11/29/2010                     potential impacts contaminant pathways arsenic in cement mixtures,
                                                                                                           various correspondence and meetings, analyzing pleadings from Lone
                                                                                                           Star litigation and evaluate potential response to 104e request,

                   1106425      1/20/2011     Ater Wynne     Reichhold      12/1/2010–      $19,669.56     analyzing documents relating to historic fill events continue drafting        LDW Superfund
                                                                            12/30/2010                     narrative response to supplemental 104e request, draft index to
                                                                                                           documents related to LDW superfund, Analyze groundwater lab
                                                                                                           report, discuss nature and basis for historic site reconfigurations of
                                                                                                           Glacier property, various correspondnece and meetings

                   1107109      2/17/2011     Ater Wynne     Reichhold       1/3/2011–      $58,639.19     drafting index to documents for Lower Duwamish Waterway                       LDW Superfund               $58,639.19
                                                                             1/31/2011                     Superfund in preparation for response to FOIA request from EPA,
                                                                                                           review and comment on first draft 104e response, analyze deposition
                                                                                                           transcripts, various correspondence and meetings, file research,
                                                                                                           Review mediation documents from LS Reichhold, legal research,

                   1107689      3/21/2011     Ater Wynne     Reichhold       2/1/2011–      $29,107.27     various correspondence and meetings, Analyze correspondence                   LDW Superfund
                                                                             2/24/2011                     related to Supplemental 104e Response, analyze information
                                                                                                           regarding labs, review deposition transcripts,




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                                                                                                 Table B12: Ater Wynne Invoice Summary
                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                      Site Location/Geographical   % of total cost not
                                 Invoice                                      Date of         Invoice                                                                                  Reference where services    related to Glacier
                  Invoice No.      Date      Issuing Party   Recipient       Services        Amount $      Description of Services invoiced                                                 were performed         Uplands cleanup
                    1108357     4/14/2011     Ater Wynne     Reichhold       3/4/2011–       $8,770.00     Research issues related to fish window for in–water work in                      LDW Superfund
                                                                             3/21/2011                     Duwamish, Analyze and edit draft responseto comments letter,
                                                                                                           discuss history of cement operations at Glacier property, Analyze
                                                                                                           groundwater contour map and report, various correspondence and
                                                                                                           meetings
                   1109571      6/16/2011     Ater Wynne     Reichhold       5/2/2011–      $12,012.50     analysis of revised research summary concerning potential for                   LDW Superfund
                                                                             5/20/2011                     rescission of agreement, analyzing issues related to the operations
                                                                                                           of prior tenant, Analyze correspondence and documents from Puget
                                                                                                           Sound Regional Archive, various correspondence and meetings,


                   1110077      7/11/2011     Ater Wynne     Reichhold       6/1/2011–      $12,259.00     analyze specific sections of Jorgenson Forge source control            LDW Superfund, mineralized
                                                                             6/30/2011                     evaluation in relation to Mineralized Cell Wood Preserving operations,           cell
                                                                                                           analyze ERMs preliminary groundwater sampling data, various
                                                                                                           meetings and correspondence, analyze site history and relevant data
                                                                                                           reports, review invoices,
                   1110833      8/11/2011     Ater Wynne     Reichhold       7/6/2011–      $10,766.00     Analyze access agreement, analyze correspondence from client,                   LDW Superfund
                                                                             7/29/2011                     Glacier, ERM and CH2MHill, prepare budget, various meetings and
                                                                                                           correspondence, Begin analysis of legal arguments concerning the
                                                                                                           limits of the Settlement Agreement between Lone Star/Glacier and
                                                                                                           Reichhold

                   1111263       9/9/2011     Ater Wynne     Reichhold       8/2/2011–      $10,826.00     Analyze file documents, conduct legal research, discuss scope of                LDW Superfund
                                                                             8/28/2011                     sediment sampling and issues with sampling outside of property
                                                                                                           boundaries, analyze various correspondence front client, Glacier and
                                                                                                           ERM, various meetings, discuss Ecologys knowledge of historical
                                                                                                           operations at site
                   1111917      10/10/2011    Ater Wynne     Reichhold       9/1/2011–      $12,834.00     discuss completion of EPA CERCLA investigation, prepare draft                   LDW Superfund
                                                                             9/28/2011                     budget cost, review revised Work Plan and Tables for RIFS, various
                                                                                                           correspondence and meetongs, analyze various correspondence from
                                                                                                           client, Glacier, ERM and Ecology
                   1112522      11/8/2011     Ater Wynne     Reichhold      10/3/2011–      $10,028.00     Receive analyze and respond to proposed edits to letter to Ecology              LDW Superfund
                                                                            10/31/2011                     regarding corrections to record, prepare and deliver revisions to Prolar
                                                                                                           lDW letter, review of groundwater sampling, various correspondence
                                                                                                           and meetings, analyze correspondence from client, Glacier, Ecology
                                                                                                           and ERM
                   1113303      12/9/2011     Ater Wynne     Reichhold      11/2/2011–      $30,141.19     Analyze FOIA and Washington public records, review documents                    LDW Superfund
                                                                            11/30/2011                     produced in 104e request, Complete review of ERM documents,
                                                                                                           review Lone Star protective order, various correspondence and
                                                                                                           meetings
                   1113785      1/10/2012     Ater Wynne     Reichhold      12/7/2011–      $11,086.56     Review draft proposed sampling and analysis proposal from ERM,                  LDW Superfund
                                                                            12/28/2011                     review of proposed modification to work plan, various correspondence
                                                                                                           and meetings




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                                                                        Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                    Site Location/Geographical   % of total cost not
                                 Invoice                                     Date of        Invoice                                                                                  Reference where services    related to Glacier
                  Invoice No.      Date     Issuing Party   Recipient       Services       Amount $       Description of Services invoiced                                                were performed         Uplands cleanup
                    1114681     2/15/2012    Ater Wynne     Reichhold       1/3/2012–      $17,436.43     Receive analyze evaluate and edit updates to CBI letter and finlize             LDW Superfund
                                                                            1/30/2012                     draft declaration, Review chemistry background issues, review of
                                                                                                          groundwater analytical results, Research FOIA responses, various
                                                                                                          correspondence and meetings

                   1115256      3/16/2012    Ater Wynne     Reichhold       2/1/2012–      $22,883.75     Research involuntary acquisition exemption and lessor liability under          LDW Superfund
                                                                            2/29/2012                     the MTCA and CERCLA, legal research, Review soil and groundwater
                                                                                                          analytical results, Analyze file site maps, correspondence with client,
                                                                                                          ERM. Ecology various meetings

                   1115801      4/6/2012     Ater Wynne     Reichhold       3/1/2012–      $15,042.09     Review draft monthly progress report and analytical results, Research          LDW Superfund
                                                                            3/29/2012                     potential liabilIty of local govemment lessor that acquires property
                                                                                                          involuntarily, legal research, RevIew draft proposed memo and
                                                                                                          attachments for groundwater sampling and analysis memorandum,
                                                                                                          various correspondence and meetings

                   1116747      5/6/2012     Ater Wynne     Reichhold       4/4/2012–      $19,734.88     review AO timeline for dispute resolution, review possible interim             LDW Superfund
                                                                            4/27/2012                     remedial action approaches for pentachlorophenol at LDW site,
                                                                                                          discuss litigation and dispute resolution options for site, review of
                                                                                                          MTCA regulations, various meetings and correspondence analysis,
                                                                                                          legal research

                   1117283      6/13/2012    Ater Wynne     Reichhold       5/1/2012–      $21,543.00     review correspondence from DOE, ERM, client, Glacier and Ecology,              LDW Superfund
                                                                            5/31/2012                     various correspondence and meetings, review 104e responses,
                                                                                                          WDFW approval of in water work and review of sampling process,
                                                                                                          Review final revised draft responses to Ecology and work plan text
                                                                                                          and figures, Review revised sediment access agreement

                   1117840      7/10/2012    Ater Wynne     Reichhold       6/6/2012–      $10,706.00     Review and respond to various correspondence with Glacier, ERM,                LDW Superfund
                                                                            6/28/2012                     Ecology and others, various meetings, review groundwater sampling
                                                                                                          results and sediment sampling project, review reasearch on King
                                                                                                          County lease and associated liability, legal research,

                   1118670      7/14/2012    Ater Wynne     Reichhold       7/2/2012–      $28,937.72     review of EPA proposed cleanup for Lockheed site, Receive analyze              LDW Superfund
                                                                            7/31/2012                     and evaluate memoranda and research discussing Mineralized Cell
                                                                                                          Wood Preserving Company and liability issues related to King Countys
                                                                                                          ownership, legal research (CERCLA, Toxics Control Act), prepare
                                                                                                          memorandum reagrding King Countys liability, various
                                                                                                          correspondence and meetings




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                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                    Site Location/Geographical    % of total cost not
                                 Invoice                                      Date of        Invoice                                                                                 Reference where services     related to Glacier
                  Invoice No.      Date      Issuing Party   Recipient       Services       Amount $       Description of Services invoiced                                               were performed          Uplands cleanup
                    1119192     9/11/2012     Ater Wynne     Reichhold        8/1/12–       $17,591.37     legal research, Review draft objection letter to DOE, Investigation into       LDW Superfund
                                                                             8/31/2012                     Mineralized Cells wood preserving operation in 1930s, Analyze
                                                                                                           Settlement Agreement between Reichhold Chemicals and Lone Star
                                                                                                           Northwest, various correspondence and meetings, Review progress
                                                                                                           report to DOE
                   1120029      10/11/2012    Ater Wynne     Reichhold       9/4/2012–      $30,585.06     Review of final work plan, various correspndence and meetings,                 LDW Superfund
                                                                             9/28/2012                     Analyze and evaluate Agreed Order Ecology regulations regarding
                                                                                                           dispute resolution and judicial review issues, legal research, various
                                                                                                           correspondence and meetings,
                   1120573      11/6/2012     Ater Wynne     Reichhold       9/6/2012–      $24,913.25     Review correspondence from ERM and others, various meetings and                LDW Superfund
                                                                            10/31/2012                     correspondence, legal research, Analyze dispute resolution
                                                                                                           documents, Review CERCLA section 104e response, Review draft
                                                                                                           Spring 2012 groundwater sampling results, analysis of settlement
                                                                                                           agreement

                   1121277      12/4/2012     Ater Wynne     Reichhold      11/1/2012–      $17,174.57     strategy for preparing appeal of Ecology decision on dispute resolution        LDW Superfund
                                                                            11/30/2012                     review Agreed Order and MTCA research, legal research, review 2008
                                                                                                           remedial action report to Ecology for preparation of edits to appeal
                                                                                                           notice review sediment discussion in Companies Work Plan and
                                                                                                           Ecology Work Plan, review of final Feasibility Study prepared by PLP
                                                                                                           group for sediment investigation at LDW, various correspondence and
                                                                                                           meetings

                   1122353      1/14/2013     Ater Wynne     Reichhold      12/3/2012–      $15,272.82     review photo evidence of 5900 West Marginal Way SW site from                   LDW Superfund
                                                                            12/28/2012                     ERM, various correspondencen and meetings, Analyze materials
                                                                                                           subject to chain of custody
                                                                                                           procedures
                   1122806      2/11/2013     Ater Wynne     Reichhold       1/2/2013–      $18,683.06     report on findings of photo evidence review, results of FOIA research          LDW Superfund
                                                                             1/30/2013                     on USACE and responses to 104e requests from EPA, Review and
                                                                                                           modify Agreed Order extension request, Review draft monthly
                                                                                                           progress report, review correspondence from client, ERM, CH2M Hill,
                                                                                                           and others, various meetings

                   1123667      3/13/2013     Ater Wynne     Reichhold       2/1/2013–      $21,497.50     Review draft technical issues documents for technical work out of              LDW Superfund
                                                                             2/28/2013                     disputed Work Plan, revise extension letter, review
                                                                                                           of USACE documents obtained from response to 104e request by
                                                                                                           EPA, review Spring 2012 groundwater memorandum and revised list
                                                                                                           of technical objections from ERM, monthly progress report, various
                                                                                                           correspondence and meetings, Review sediment report and data
                                                                                                           compiled by ERM,
                   1134469      4/11/2013     Ater Wynne     Reichhold       3/1/2013–      $35,232.73     present Mineralized Cell evidence to Ecology, Complete review of          LDW Superfund, mineralized
                                                                             3/29/2013                     MICA remedial investigation, Review revised draft presentation from                 cell
                                                                                                           ERM for Ecology meeting, site tax research, revise FOIA request,
                                                                                                           various correspondence and meetings


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                                                                         Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                                     Site Location/Geographical   % of total cost not
                                 Invoice                                      Date of        Invoice                                                                                  Reference where services    related to Glacier
                  Invoice No.      Date      Issuing Party   Recipient       Services       Amount $       Description of Services invoiced                                                were performed         Uplands cleanup
                    1125355     5/13/2013     Ater Wynne     Reichhold       4/1/2013–      $38,317.50     Research testimony highlighted by Ecology regarding the disposal of             LDW Superfund
                                                                             4/29/2013                     alleged chemicals into concrete lined tank and earthen tank analyze
                                                                                                           counsel for Lone Star Northwests mediation memo and reliance on the
                                                                                                           deposition of Reichhold employee, review testimony, review potential
                                                                                                           impacts to Reichhold from EPA proposed plan to cleanup waterway,
                                                                                                           review MTCA process, Review and markup draft Monthly Progress
                                                                                                           Report, legal research, various correspondence and meetings

                   1126351      6/14/2013     Ater Wynne     Reichhold       5/2/2013–      $26,452.95     Research 1995 Settlement Agreement between Lone Star and client,               LDW Superfund
                                                                             5/31/2013                     Review LDWG draft comments to EPA plan, prepare presentation,
                                                                                                           Prepare and deliver revised FOIA request to USACE, varius
                                                                                                           correspondence and meetings

                   1127260      7/18/2013     Ater Wynne     Reichhold       6/2/2013–      $26,934.07     Review Ecology proposal for revised Work Plan, legal research,                 LDW Superfund
                                                                             6/28/2013                     review data gaps and work plan documents, Review revised Monthly
                                                                                                           Report to Ecology with stormwater data, review comments on
                                                                                                           proposed scope for Ecology work plan, analyze
                                                                                                           transmittal letter from LDWG to EPA, various correspondence and
                                                                                                           meetings
                   1128105      8/19/2013     Ater Wynne     Reichhold        7/1/13–       $20,595.00     Review data report from Seattle Public Utilities, review FOIA response,        LDW Superfund
                                                                              7/31/13                      review presentation materials, correspondence with ERM, client,
                                                                                                           Glacier and others, various meetings, review and
                                                                                                           markup of draft addendum to RI WP

                   1128623      9/15/2013     Ater Wynne     Reichhold        8/1/13–       $19,510.70     review of revisions to technical memo from client and CH2M Hill and            LDW Superfund
                                                                              8/30/13                      prepare comments
                                                                                                           and redline edits, review FOIA correspondence and documents from
                                                                                                           USACE, various correspondence and meetings, Review status of
                                                                                                           dioxin research on FTP site
                   1129126      10/4/2013     Ater Wynne     Reichhold        9/4/13–       $21,753.50     Review and markup Ecology Work Plan addendum, Research status                  LDW Superfund
                                                                              9/30/13                      of the FOIA request, Review and respond to correspondence from
                                                                                                           ERM, Correspondence with client and CH2M Hill regarding review of
                                                                                                           dioxin documents, legal research, various meetings

                   1130227      11/14/2013    Ater Wynne     Reichhold      10/1/2013–      $23,017.82     Review and respond to correspondence from ERM, review of Port 115              LDW Superfund
                                                                            10/31/2013                     RIFS Work Plan, legal research, various correspondence and
                                                                                                           meetings

                   1130228      11/14/2013    Ater Wynne     Reichhold      10/24/2013–      $6,867.00     Billed to 054611–0014 LDW Superfund Site                                       LDW Superfund               $6,867.00
                                                                             10/29/2013




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                                                                      Evaluation of Liability for Past Investigation and Remediation Costs at the Glacier Northwest Property




                                                                                                                                                                               Site Location/Geographical   % of total cost not
                               Invoice                                     Date of        Invoice                                                                               Reference where services    related to Glacier
                  Invoice No.    Date    Issuing Party    Recipient       Services       Amount $       Description of Services invoiced                                             were performed         Uplands cleanup
                    1130673   11/10/2013 Ater Wynne       Reichhold      11/1/2013–      $19,705.59     Analyze FOIA documents, Review correspondence from ERM and                   LDW Superfund
                                                                          11/25/13                      others, Analyze Washington Model Toxics Control Act; Billed to
                                                                                                        054611–011 AO
                   1136074      11/10/2013   Ater Wynne   Reichhold      11/20/2013–      $4,607.00     Billed to 054611–0014 LDW Superfund Site                                    LDW Superfund               $4,607.00
                                                                          11/25/2013
                   1131880                   Ater Wynne   Reichhold                      $13,009.53     Billed to 054611–011 AO                                                     LDW   Superfund
                   1131941                   Ater Wynne   Reichhold                       $4,558.50     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $4,558.50
                   1132266                   Ater Wynne   Reichhold                      $29,127.87     Billed to 054611–011 AO                                                     LDW   Superfund
                   1132267                   Ater Wynne   Reichhold                       $1,119.00     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $1,119.00
                   1132919                   Ater Wynne   Reichhold                      $14,180.50     Billed to 054611–011 AO                                                     LDW   Superfund
                   1132920                   Ater Wynne   Reichhold                       $1,158.00     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $1,158.00
                   1133715                   Ater Wynne   Reichhold                      $20,261.00     Billed to 054611–011 AO                                                     LDW   Superfund
                   1133716                   Ater Wynne   Reichhold                       $2,449.00     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $2,449.00
                   1134483                   Ater Wynne   Reichhold                      $15,243.50     Billed to 054611–011 AO                                                     LDW   Superfund
                   1134484                   Ater Wynne   Reichhold                       $8,729.50     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $8,729.50
                   1135319                   Ater Wynne   Reichhold                      $12,599.00     Billed to 054611–011 AO                                                     LDW   Superfund
                   1135320                   Ater Wynne   Reichhold                      $21,283.50     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $21,283.50
                   1135995                   Ater Wynne   Reichhold                       $4,542.50     Billed to 054611–011 AO                                                     LDW   Superfund
                   1135996                   Ater Wynne   Reichhold                      $51,104.65     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $51,104.65
                   1136791                   Ater Wynne   Reichhold                       $9,235.11     Billed to 054611–011 AO                                                     LDW   Superfund
                   1136792      8/13/2014    Ater Wynne   Reichhold       7/7/2014–      $23,400.21     Billed to 054611–0014 LDW    Superfund Site                                 LDW   Superfund             $23,400.21
                                                                          7/30/2014
                   1137592      9/15/2014    Ater Wynne   Reichhold      7/31/2014–       $8,415.50     Billed to 054611–011 AO                                                     LDW Superfund
                                                                          8/29/2014
                   1136793      9/14/2014    Ater Wynne   Reichhold      7/31/2014–      $21,645.00     Billed to 054611–0014 LDW Superfund Site                                    LDW Superfund               $21,645.00
                                                                          8/29/2014
                   1137983      10/3/2014    Ater Wynne   Reichhold       9/3/2014–      $15,800.50     Billed to 054611–011 AO                                                     LDW Superfund
                                                                          9/30/2014
                   1137984      10/3/2014    Ater Wynne   Reichhold       9/2/2014–      $33,232.00     Billed to 054611–0014 LDW Superfund Site                                    LDW Superfund               $33,232.00
                                                                          9/17/2014
                  81 invoices                                                           $1,266,828.21                                                                                                          $290,768.05
                                                                                         $976,060.16




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     Appendix C
     Qualifications of Expert




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Expertise      •   Contaminated sediment investigation and remediation
               •   Environmental chemistry forensic analysis
               •   Technical support for allocation, litigation, and construction claims
               •   Source identification and control
               •   Environmental effects of dredging and capping
               •   Manufactured gas works investigation and remediation
               •   Confined disposal facility siting and design
               •   Design coordination and management
               •   Community outreach and communication
               •   Waterfront property redevelopment


Summary        Mr. Spadaro is a leading expert in urban and industrial waterfront redevelopment, sediment cleanup,
               and environmental effects of dredging. Technically based in environmental chemistry with strong
               proficiency in hydrogeology, geology, regulatory affairs, and remediation technology, Mr. Spadaro has
               over 36 years of experience applying his expertise and management skills to projects where sediment
               quality is a prominent issue. As a senior technical advisor, Mr. Spadaro provides technical support for
               investigation, cleanup, monitoring, litigation, allocation, construction claims, cost-recovery actions and
               other matters related to sediment remediation. In addition, Mr. Spadaro has extensive expertise in the
               siting, design, permitting, and construction of confined disposal facilities and in the fate and transport of
               contaminants in estuarine, riverine, and marine aquatic environments. He is an expert advisor to clients
               for international sediment management and remediation projects in Europe, the Middle East, and Asia.

               Through years of work focused entirely on the remediation of contaminated sediment and land on the
               urban and industrial waterfront, Mr. Spadaro has developed expertise in application of the available
               technologies including dredging, capping, monitored natural attenuation, and source control. The
               successful execution of these highly complex sediment remediation projects demands meticulous
               planning, strong, scientifically sound technical approaches, and credibility with regulatory authorities.
               Mr. Spadaro's international reputation for designing and implementing inventive, appropriate, and cost-
               effective waterfront solutions is anchored in these qualities and in his commitment to seek out and
               respect the unique needs of every project, client, and cultural setting.

Professional   Determination of Natural Resource Damages and Evaluation of Possible Restoration (2020)
Experience     Confidential Client, Klaipeda, Lithuania

               Mr. Spadaro is the commercial representative and client liaison for an investigation of possible natural
               resource damages due to wastewater discharge from an industrial facility. The discharge contributed
               increased concentrations of nutrients to the Curonian Lagoon. The evaluation included comparison of
               ten years of chemistry data for the facility treatment facility and the lagoon as well as evaluation of the
               treatment plant capabilities.




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      Technical Consultant for Environmental Liability Assessment and Cost Allocation (2019–
      Ongoing)
      Confidential Shipyard Site, Whatcom County, Washington
      Mr. Spadaro is the project director and expert witness for a case involving technical expert support for
      environmental liability assessment and cost allocation for the remediation of contamination at a
      shipyard site under an Agreed Order with Washington State Department of Ecology (Ecology). TIG
      Environmental’s client is corporate successor to a former owner and operator of a facility on the site.
      TIG Environmental is producing technical evaluations of historical and current operations on the site
      and developing forensic and statistical analyses to identify contaminants attributable to the different
      types of operations at the site. Based on the results of these technical evaluations and analyses, TIG
      Environmental is developing an allocation strategy and methodology to estimate potential allocable
      shares to each owner and operator associated with the Site. TIG Environmental is assisting client’s
      counsel with developing early cash-out settlement strategies to negotiate with the party performing the
      remediation.
      Forensic Analysis for Environmental Liability Assessment (2019–2020)
      Confidential Client, Confidential Location

      TIG Environmental is providing its expert technical consulting related to determining the origin of
      polychlorinated biphenyls (PCBs) detected in PCBs in cow’s milk. TIG Environmental is performing a
      forensic evaluation to identify potential sources of PCBs in surrounding areas and the pathways for
      those discharges to expose the local cows to PCBs (soil, sediment, feed, grazing, drinking water,
      architectural coatings). To support this effort, TIG Environmental suggested sampling efforts and expert
      evaluation of the resulting data. In addition, TIG Environmental is developing graphics to visualize the
      data and memoranda to summarize the results of the forensic evaluation. Mr. Spadaro is the project
      director and client liaison for the case.

      Expert Consultation for Sediment Remediation Projects in Flanders (2016–2020)
      Flemish Government and AnteaGroup, Antwerp, Belgium
      In Flanders, the management of contaminated upland sites and the management of water are the
      responsibility of two separate governmental authorities. Sediments are a shared responsibility. The
      Public Waste Agency of Flanders (OVAM) is responsible for upland cleanup and soil. Sediments fall
      under the Soil Decree. The Flanders Environment Agency (VMM) is responsible for water
      management. Sediments are considered part of the aquatic system. Historically, each agency has
      adopted a different approach to sediment pollution. Increasing demand for use of the historically
      industrialized waterfront throughout Flanders was looking for a more coordinated approach in which
      investigation of contaminated upland sites would involve a collateral evaluation of the likelihood of
      potential sediment contamination. The Flemish Government requested assistance in harmonizing the
      regulations and addressing several specific sites in Ghent and Antwerp.

      South Park Marina Remedial Action (2017–Ongoing)
      South Park Marina Limited Partnership, Seattle, Washington

      Mr. Spadaro is the project director for a team of scientists and engineers assisting the owner of a
      recreational marina site in the South Park neighborhood of Seattle, Washington. This site is the subject

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      of remedial action under a Washington State Department of Ecology (Ecology) Administered Agreed
      Order. Soil and groundwater at the site are contaminated with polychlorinated biphenyls (PCBs),
      petroleum hydrocarbons, volatile organic compounds, pesticides, and metals requiring cleanup under
      the Washington State Model Toxics Control Act (MTCA). TIG Environmental’s work includes
      investigating of historical sources of contamination both on-site and nearby off-site. As a result, TIG
      Environmental identified and nominated additional potentially liable persons (PLPs) for release(s) of
      hazardous materials affecting the site to Ecology. These PLPs are now involved as participants under
      the Agreed Order. TIG Environmental, on behalf of South Park Marina Limited Partnership, and the
      other PLPs are working in partnership to oversee the completion of the tasks required to be performed
      under the Agreed Order, including a remedial investigation (RI) work plan, RI field activities, a source
      control evaluation, and a RI Report. TIG Environmental completed several source control, RI, feasibility
      study (FS), and preliminary engineering design tasks supportive of efforts under the current Agreed
      Order and/or future formal program designations.

      Evaluation of Underwater Sound from Dredging Vessels (2015)
      Confidential Client, Confidential location

      As a result of the growing interest in the possible impacts of underwater sound, a major dredging
      company commissioned a study of the sound produced by their vessels. The study included
      measurements of underwater sound produced by a hydraulic cutter suction dredge, a backhoe
      excavator dredge, and a rock drilling vessel. Operation-dependent and distance-dependent
      measurements were made and cataloged for future reference.
      Technical Support of Cost Allocation (2014–Ongoing)
      Confidential Client, Seattle, Washington

      TIG Environmental provides expert technical support to a private property owner participating in a
      Superfund site allocation. The Superfund sediment site consists of five miles of an urban and industrial
      estuarine waterway. Working with the property owner’s attorney, TIG Environmental evaluated
      potential sources of polychlorinated biphenyl (PCB) contamination in sediments adjacent to the
      property and developed an allocation strategy based on forensic chemistry and sediment transport
      modeling.

      Mr. Spadaro is currently providing expert analysis, advice, reporting, and testimony related to the site.
      He also supervises a large team of scientists and engineers developing the technical work needed to
      support the client’s position in the case.

      Design for Sediment Removal, Capping, and Natural Attenuation (2015–Ongoing)
      Yosemite Slough Cooperating Parties Group, San Francisco, California

      TIG Environmental and a design team with engineers and scientists from multiple specialist firms are
      conducting pre-remedial design studies for a contaminated intertidal channel in a highly urbanized area
      within San Francisco Bay. EPA had originally proposed a time-critical removal action for removing
      more than 20,000 cubic yards of contaminated sediment, however TIG Environmental helped its client
      achieve agreement with EPA on the application of risk-based multi-technology approach, which will
      result in significant reduction in removal volume and cost.



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      Pre-remedial design studies include specialized evaluations of sedimentation rates, depth of the
      biologically active zone, bulk sediment and pore water chemistry, erosion and particle transport, and
      geotechnical parameters. Overall, the studies will support the design for dredging, capping, and
      monitored natural recovery of the contaminated sediments.

      Mr. Spadaro is the director of the design team of engineers and scientists from multiple specialist firms.
      The design will include multiple proof-of-concept studies and the development of plans and
      specifications for construction.

      Technical Consultation and Allocation/Litigation Support (2012–Ongoing)
      Confidential Client, Seattle, Washington
      TIG Environmental provides litigation support to a Washington State agency participating in a
      Superfund site allocation. The Superfund sediment site consists of five miles of urban and industrial
      estuarine waterway. The key issues revolve around potential stormwater loads from state-maintained
      roads, bridges, and properties. TIG Environmental prepared expert reports that evaluate whether there
      is a potential relationship between the Superfund site sediment contamination and the discharge of
      hazardous substances from the state-owned facilities, potentially resulting in the need for remedial
      action and associated response costs. TIG Environmental is developing an allocation strategy based
      on sampling and statistical analysis of stormwater, historical and scientific research, drainage pathway
      delineation, and sediment transport modeling. TIG Environmental also assists the state agency with the
      development of source control plans in accordance with Ecology’s source control strategy.

      Mr. Spadaro is currently providing expert analysis, advice, reporting, and testimony related to the site.
      He also supervises a large team of scientists and engineers developing the technical work needed to
      support the client’s position in the case.

      Expert Consultation for Sediment and Uplands Cleanup Cost Allocation (2015–Ongoing)
      Confidential Client, Bellingham, Washington
      TIG Environmental provides technical support to a former operator of a rock crushing facility that
      operated on uplands adjacent to an industrial waterway in Bellingham, Washington. The 51-acre site
      has been occupied by numerous industrial operations, including saw and lumber mills, fish processing,
      municipal landfilling, bulk fuel storage, coal storage and shipping, and boat maintenance. Sediments
      within the waterway and soil and groundwater within the uplands require cleanup under MTCA. The
      waterway and uplands are administered as separate cleanup sites by Ecology under Agreed Orders.
      Environmental testing confirmed elevated concentrations of mercury, nickel, phthalates, polycyclic
      aromatic hydrocarbons (PAHs), and dioxin/furans in sediment, and lead, arsenic, mercury, nickel,
      PAHs, and petroleum hydrocarbons in uplands soil. The client’s former rock crushing operation is
      identified as the source of nickel. Improper screening levels for nickel were selected and interpreted as
      enforceable cleanup levels by Ecology during the remedial investigation and feasibility study (RI/FS)
      phase of both sites. TIG Environmental conducted several technical analyses to evaluate the role of
      nickel as a contaminant requiring cleanup in sediments and soil. As a result of TIG Environmental’s
      work, Ecology recognized the improperly selected screening levels and requested that the performing
      party modify the nickel cleanup levels. Less stringent cleanup levels were developed for use during the



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      cleanup action and used as the basis for allocating a lower percentage share of cleanup costs to the
      client.

      Mr. Spadaro is providing technical support for the case regarding the sources of the subject
      contaminants, particularly nickel, and the lack of a causal effect in site bioassay tests.

      Remedial Design and construction, Deep excavation of PCB-contaminated Sediments (2014)
      Jorgensen Forge Corporation and Boeing Airplane Company, Seattle, Washington
      As part of the Record of Decision (ROD) at Lower Duwamish Waterway Superfund site, numerous
      Early Actions were proposed for implementation prior to the development of a larger, more
      comprehensive remedy. Groundwater, soil, and sediment issues were identified at the Jorgensen
      Forge industrial facility. TIG Environmental was hired to assist Jorgensen Forge in the design and
      implementation of a deep excavation to remove high concentrations of PCB contaminated sediments
      along the riverbank. TIG Environmental strategized, designed, and implemented a removal action,
      which included an internally braced sheetpile enclosure needed to excavate the deeply buried
      sediments and yet maintain stability of nearby slopes and structures. The work was accomplished
      under EPA oversight in a short time period. TIG Environmental played a critical role in negotiating with
      the agencies, procuring materials, and pre-qualifying construction contractors as well as monitoring the
      construction on behalf of the owner. Mr. Spadaro was project director for the design and construction.

      Expert Review of Remediation of Wood Waste in Sediment (2013)
      Confidential Client/Location

      Wood waste is an important issue at many sites. Aside from the potential for related chemical
      contamination, the physical effects on benthic community structure can be significant. Remediation is
      not straight forward since these sediments are difficult to dredge or cap due to their very low strength
      and high water content. This work entailed compiling approaches taken at various sites around the
      world and assessing capping and dredging at a site in a fjord setting.

      Expert Review of Deep Water Dredging and Capping Technologies (2013)
      Confidential Client/Location

      Mr. Spadaro assisted a team of experts in review of currently available and possible future
      technologies for dredging and capping in approximately 200 meters of water as part of the
      considerations surrounding the long-term management and eventual decommissioning of offshore oil
      production assets.

      Technical Consultation and Litigation Support (2013–2019)
      Confidential Client, California
      TIG Environmental and a co-consultant provided technical support for investigative identification of
      PRPs associated with an intertidal channel with contaminated sediments. Historical research consisted
      of identification and review of property records and aerial photographs, and several other PRPs were
      identified and successfully brought into the case. In addition, TIG Environmental used multiple lines of
      technical evidence and analysis to underpin a successfully applied cost allocation concept.




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      Mr. Spadaro served as senior technical advisor in negotiations with EPA to improve removal action
      design and address community concerns regarding quality of life issues. He also provided technical
      support for allocation of cleanup costs to multiple parties.

      Technical Consultation and Allocation/Litigation Support (2012–Ongoing)
      Confidential Client, Multnomah County, Oregon

      TIG Environmental provides technical expert support for environmental liability assessment and cost
      allocation for the remediation of sediments in the Portland Harbor Superfund Site, and for the
      associated Natural Resource Damages claims. The harbor has been the site of numerous industrial
      and manufacturing operations for more than a century, including shipbuilding, petroleum storage and
      distribution, metal salvaging, and electrical power generation. Technical support for this project
      includes research, sampling, and forensic analysis to determine the specific contaminants associated
      with activities or facilities. The project also includes evaluating potential historical contaminant sources,
      determining contaminant fate and transport, and chemical fingerprinting PAHs and PCBs.

      Mr. Spadaro is currently providing expert analysis, advice, reporting, and testimony related to the site.
      He also supervises a large team of scientists and engineers developing the technical work needed to
      support the client’s position in the case.

      Rehabilitation of Evaporation Ponds (2012)
      Haifa Chemicals Corporation, LTD, Haifa, Israel

      Mr. Spadaro served as part of an expert team to evaluate alternatives for rehabilitation of four
      evaporation ponds associated with fertilizer manufacturing in the Negev Desert in southern Israel. The
      work involved on-site assessment of conditions, including specialized odor assessment followed by
      development of rehabilitation alternatives. The selected alternative included dredging of two ponds and
      capping of a third with the dredged material. Interactions with the Ministry of Environment were crucial
      in securing permission to accomplish the work.

      Removal Action Studies, Design, and Construction Management, Passaic River Superfund Site
      (2008–2012)
      Confidential Client, Passaic River, Newark, New Jersey

      The Passaic River is one of the most highly contaminated urban and industrial waterways in the world.
      Mr. Spadaro has maintained a long-term strategic consulting role with one of the involved parties. He
      provided technical advice on and oversight of numerous technical studies and conceptual design
      efforts leading ultimately to a plan for sediment removal and off-site disposal. Work included evaluation
      of stormwater and combined sewer overflow inputs, review of EPA and consultant work products, and
      preparation of design documents for Phase I and Phase II non-time-critical removal actions of 200,000
      cubic yards of highly contaminated sediment. Mr. Spadaro served as technical advisor for a multi-
      disciplinary team performing studies of sediment quality, dredging, sediment processing, transport and
      disposal, water quality, hydrodynamics, community health and safety, and confined disposal facility
      siting and design. He provided review and quality assurance for extensive design deliverable
      development as well as support and troubleshooting during the construction phase.



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      Strategic Consultation and Technical Support for Litigation, Passaic River Superfund Site
      (2008–2012)
      Confidential Client, Passaic River, Newark, New Jersey
      Multiple sources of contamination have contaminated the Passaic River, which passes through one of
      the most heavily industrialized regions in the world, over a period of approximately 200 years. Mr.
      Spadaro assisted one of the responsible parties in sediment characterization, source identification and
      sediment geochronology. Work included development of sampling designs for surface water,
      sediments, sewers and storm drains. In close coordination with the client’s legal counsel, Mr. Spadaro
      developed white papers and technical reports to catalog sources and provide advice for allocation and
      cost recovery actions.

      Waterfront Facility Redevelopment Plan (2011–2012)
      Southern Wood Piedmont Corporation, Wilmington, North Carolina

      Southern Wood Piedmont, the former owner of a wood treatment facility on the Cape Fear River, hired
      Mr. Spadaro to assist them, their attorneys, and the North Carolina Port Authority (the current site
      owner) in the development of a comprehensive plan for reuse of the property. The work was performed
      based on remedial action plans developed by others and included evaluation of container, liquid bulk,
      and solid bulk facilities.

      Xiawangang Canal Remedial Action Conceptual Design (2011–2012)
      OTEK Pty. Ltd. Of Australia and the Zhuzhou Municipal Economic Authority Zhuzhou City, Hunan
      Province, China

      The redevelopment and public safety plans of the city included removal of heavy contaminated
      sediments from a 4-kilometer canal in an industrial zone. The work, which was conducted on a highly
      accelerated schedule, included site reconnaissance and preparation of a basis of design report and
      conceptual design for removal and treatment of 30,000 cubic meters of sediment. Mr. Spadaro
      supervised a team of engineers and scientists, working around the clock and in two languages, to
      produce the needed documentation for final designers and contractors locally.

      Department of Sediment Investigation and Remediation Guidance Documents (2011)
      Energy Institute, United Kingdom
      The Energy Institute (a consortium of energy companies) retained Mr. Spadaro and others to develop
      guidance on the rapidly developing regulatory climate related to contaminated sediments in the
      European Union and the United Kingdom. Using existing knowledge, focused research, and interviews,
      the guidance was developed at a practical, working level for technical personnel within the member
      companies.

      Expert Report on Remediation and Cost Effectiveness (2010–2011)
      DLA Piper and BAE Systems, Inc., San Diego, California
      The BAE Systems shipyard in San Diego, California was facing litigation related to proposed sediment
      remediation. Their attorneys retained Mr. Spadaro and other experts to prepare an expert report that
      evaluates the cost effectiveness of the proposed remedy relative to more extensive, but not necessarily


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      more effective, proposals. The expert work included toxicological and economic evaluations (performed
      by others) as well as an overall synthesis that was presented to hearing examiners for the California
      Water Quality Control Board. The examiners found the work definitive and adopted the original
      remediation plan.

      Control of NAPL Seeps, Pine Street Canal Superfund Site (2006–2011)
      Green Mountain Power, Burlington, Vermont
      An existing sand cap that was designed by others to physically isolate chemical contaminants from the
      overlying water failed, and nonaqueous-phase liquid (NAPL) was seeping through the cap and entering
      the water column. Mr. Spadaro was retained to evaluate NAPL controls to eliminate seepage into the
      canal and was readily and economically implemented as partial replacement for the existing sand cap.
      Serving as principal-in-charge for this evaluation, design, and construction effort, with responsibility for
      ensuring that activities were consistent with project goals and that technical work products met quality
      assurance standards. The work included field studies, bench and pilot tests, and, ultimately, design of a
      light-weight reactive core mattress cap using organoclay to sorb NAPL leaking through the original
      sand cap. The new cap was successfully installed in 2010 and 2011.

      Emergency Removal of Contaminated Sediments (2010)
      Confidential Client, Wiesbaden, Germany

      An accidental release of a dense non-aqueous phase liquid heat transfer fluid required the removal of
      free product and contaminated sediments from the River Rhine. The work included expedited site
      testing and field design with contractor assistance for removal and processing of the sediments as well
      as treatment of dewatered fluids. Mr. Spadaro served as senior advisor for an international team of
      scientists, engineers, and contractors. The free product and involved sediments were effectively
      removed and deposited at an offsite disposal facility. Processing included in-barge dewatering with
      geotubes. Complicating factors included the presence of unexploded ordinance in the sediments and
      sensitive nearby structures.

      Design of Engineered Containment Facility for Contaminated Sediments (2004–2011)
      Hamilton Port Authority, Hamilton, Ontario

      The Hamilton Port Authority, Environment Canada, and the Ontario Ministry of the Environment began
      constructing an engineered containment facility in the Randle Reef area of Hamilton Harbour, where
      sediments are contaminated as the result of a coal-tar spill in the 1980s. Mr. Spadaro served as the
      environmental studies task manager and overall technical advisor for this multidisciplinary project.
      Critical factors for design included contaminant transport and fate, short-term and long-term water
      quality, and effluent treatment. The basis of design report and final design are complete and have been
      accepted by the multi-agency consortium sponsoring the project.

      Development of Conceptual Dredged Material Management Plan (2011)
      Louisiana Office of Coastal Protection and Research, Baton Rouge, Louisiana

      The office of Coastal Protection has the responsibility for rehabilitating salt marshes along the coast of
      Louisiana. Mr. Spadaro reviewed existing dredging and restoration activities with respect to cost and



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      technology. Using historical data and interviews with dredging contractors, he provided a
      comprehensive evaluation of past practices and recommendations for future dredging and restoration.

      Peer Review of Proposed Remediation Plans (2009–2010)
      Haifa Chemicals Corporation, LTD, Haifa, Israel
      The Kishon River Authority proposed a removal action based on historical effluent discharges. Mr.
      Spadaro reviewed existing information and proposed alternative remediation plans. He also prepared a
      critical review of site characterization and remedial action plans. Additional work included providing
      strategic advice on sediment remediation plans and cost allocation.

      Sediment and Water Quality Data Review (2011)
      Confidential Client and Offshore Location, Southeast Asia
      Mr. Spadaro was asked to review 10 years of sediment and water quality data related to offshore oil
      and gas production to evaluate possible environmental impacts of production activity. He provided
      recommendations for program improvement and additional field studies.

      Review of Corporate Contaminated Sediment Issues (2008)
      Akzo Nobel, Arnhem, the Netherlands

      Mr. Spadaro provided training to high level corporate environmental staff in a two-day workshop
      dealing exclusively with contaminated sediment management. He reviewed contaminated sediment
      management policies and practices at numerous sites and provided suggestions for technical studies
      and negotiation strategies to improve outcomes.

      Peer Review of Confined Disposal Facility Design and Management (2009)
      U.S. Army Corps of Engineers, New Orleans, Louisiana

      As part of restoration efforts following damage caused by Hurricane Katrina, Mr. Spadaro was retained
      by the U.S, Army Corps of Engineers (USACE) to evaluate the disposal of contaminated dredge
      material from the Industrial Harbor Navigation Canal in a nearby confined disposal facility (CDF). He
      served as overall technical advisor to the project team conducting peer review of CDF design,
      community safety, and long-term maintenance and monitoring. He also assisted USACE in addressing
      community concerns about short- and long-term risks of CDF operation as well as the potential for
      catastrophic failure.

      Evaluation of CDF Feasibility (2009–2010)
      Retia (Arkema), Portland, Oregon

      Mr. Spadaro served as technical advisor to multi-disciplinary team performing engineering evaluation of
      the feasibility of a CDF for dichlorodiphenyltrichloroethane- (DDT-)contaminated sediments. Work
      included negotiation with EPA and conceptual design of sediment removal and a unique cellular
      cofferdam wall confined disposal facility.




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      Sediment Removal Action Evaluation and Design (2007–2009)
      3M Corporation, East Cove, Cottage Grove, Minnesota

      Mr. Spadaro provided strategic advice for negotiation of removal action with Minnesota Pollution
      Control Agency. He evaluated conceptual removal action design and provided technical oversight for a
      proposed design-build approach to remove sediments contaminated with fluorinated compounds in a
      cove adjacent to the Mississippi River.

      Sediment Removal Action (2008)
      3M Corporation, Sayreville, New Jersey

      Mr. Spadaro assisted the client with review of proposed removal action at Horseshoe Road Superfund
      Site on Raritan River. He evaluated capping, removal, and natural recovery.

      Evaluation of Proposed Removal Action (2008)
      Ford Motor Company, River Raisin, Michigan
      Mr. Spadaro evaluated the EPA-proposed removal action for contaminated sediments in this highly
      industrialized river drainage. He advised the client on removal action costs and benefits and evaluated
      the potential for additional PRP involvement. Mr. Spadaro performed limited sampling to refine agency
      proposed removal action design.

      Contaminated Sediment Management and Remedial Design (2005–2009)
      Sediment Investigation and Remediation Strategic Consulting,
      Rada di Augusta, Priolo Site of National Interest
      Confidential Client, Priolo, Sicily, Italy

      Mr. Spadaro defined an overall strategy regarding 9,000,000 cubic yards of contaminated sediments in
      Rada di Augusta, a 25-square-kilometer bay. The initial review of the Italian government’s investigation
      results and cleanup plan revealed extensive enrichment in mercury from a local chloralkali plant and
      petroleum hydrocarbon contamination. The government’s plan called for large-scale dredging and
      construction of a confined disposal facility. Since performing the initial data review, focused sampling
      has been conducted to evaluate conditions in the bay. An engineering evaluation was performed to
      assess remediation alternatives based on a multi-technology approach appropriate to this enormous
      and complex site.

      Contaminated Sediment Management and Remedial Design (2006–2007)
      Confidential Client, Navassa, North Carolina

      Prior investigation results indicated the presence of lead and other metals in the nearshore sediments
      adjacent to this former fertilizer plant on the Cape Fear River. Initially asked to review the existing
      engineering evaluation/cost analysis (EE/CA) as an expert on the remediation of contaminated
      sediments, Mr. Spadaro conducted pre-design sampling of sediment and wetlands soils needed to
      support the design of a remedy.




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      Litigation Support for a Construction Claim (2006–2007)
      Confidential PRP Group Client, Tacoma, Washington

      Mr. Spadaro led a team that provided expert support regarding the validity of a contractor’s claim that
      its own failure to perform construction on schedule resulted from a purportedly inadequate dredging
      design. He was responsible for supervising engineers who reviewed the design, plans, and
      specifications and assisting the client’s attorneys in developing their litigation strategy.

      Litigation Support, Gashouse Cove Marina (2004–2006)
      Pacific Gas and Electric Company (PG&E), San Francisco, California

      Gashouse Cove Marina is located at the site of a former manufactured gas plant (MGP) once operated
      by PG&E. Sediments in the vicinity were contaminated with PAHs from multiple sources, including the
      MGP. Mr. Spadaro worked with PG&E’s legal department to evaluate the City of San Francisco’s
      proposed plan for redevelopment of the marina—the plan calls for dredging, which has the potential to
      expose contaminated sediments—and the City’s claim against PG&E for partial cost of the
      redevelopment. In addition to litigation support, the team conducted source evaluation and engineering
      analysis to help ensure that PG&E’s level of responsibility was accurately assessed.

      Due Diligence Investigation (2006–2007)
      Port of Tacoma, Tacoma, Washington

      Mr. Spadaro served as a consultant to the Port’s environmental, real estate, and legal departments as
      they worked to evaluate the Port’s responsibilities and liabilities should it have decided to purchase a
      large, contaminated property. The effort involved evaluating extensive environmental documentation
      from a 1970s-era cleanup, the site’s 100-year industrial history, its multi-agency regulatory history, and
      large-scale soil, groundwater, and sediment contamination with chlorinated solvents and caustics.

      Litigation Support for Insurance Cost Recovery (2005)
      Nadler Law Group and Confidential Puget Sound Port Authority

      Mr. Spadaro was retained to serve as an expert for a complex insurance cost recovery matter involving
      numerous waterfront properties. The key element of this case involved cost-recovery claims for
      construction of a confined disposal facility to contain contaminated sediments.

      Upland Source Control Investigation and Remediation (2004–2005)
      Port of Portland, Portland, Oregon
      Mr. Spadaro served as the principal in charge on this 5-year contract to evaluate and clean up multiple
      Port terminals and other properties along the Willamette River. The work involved review of historical
      and current site information and ongoing investigation consistent with agreements between the Port
      and the Oregon Department of Environmental Quality.

      EE/CA for Non-Time-Critical Removal Action (2003–2005)
      Port of Portland, Portland, Oregon
      Mr. Spadaro served as the project manager for a 3-year contract to provide technical assistance for the
      removal of contaminated sediments adjacent to Terminal 4 of the Port. Mr. Spadaro’s responsibilities


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      included managing characterization of contaminated Willamette River sediments, preparing an
      engineering evaluation/cost analysis (EE/CA) in accordance with the Administrative Order by Consent
      between the Port and EPA Region 10, and preparing associated work plans and technical reports. He
      coordinated with the Port to integrate data and decision making for Terminal 4 with work at the larger
      Portland Harbor Superfund Site and incorporated developing upland source control strategies now
      under development into removal alternatives for Terminal 4. The EE/CA was reviewed by the EPA and
      accepted without comment.

      Elliott Bay Water Quality Monitoring and Sediment Sampling (2003–2004)
      US Army Corps of Engineers, Seattle, Washington
      The Pacific Sound Resources Superfund Site, located on Elliott Bay, has long been a source of
      hazardous substances associated with former wood-treating operations. Cleanup actions included
      removing about 700 treated wood pilings, dredging 10,000 cubic yards of contaminated nearshore
      sediments, and placing a clean sediment cap over about 58 acres of contaminated sediments. Mr.
      Spadaro supported the construction effort by monitoring water quality during dredging and cap
      placement and by conducting verification sampling to confirm the integrity and thickness of the
      engineered cap. He served as the officer in charge for several work elements, including writing the
      sampling, monitoring, and quality assurance plans, mobilizing in the field to collect water quality and
      vibracore sediment samples, and coordinating laboratory analysis and data validation. Prior to cap
      placement, Mr. Spadaro also coordinated physical and chemical testing of the import material to
      ensure it was suitable for use.

      Sediment Sampling Program at Marine Transfer Stations (2003–2004)
      New York City Department of Sanitation, New York Harbor, New York
      Working on behalf of the prime contractor, Mr. Spadaro executed an initial sediment sampling program
      related to the conversion of eight former marine transfer stations operated in New York Harbor by the
      New York City Department of Sanitation. Conversion of the solid waste facilities involved demolishing
      several structures, removing old piles, repairing bulkheads, and dredging to increase navigational
      depths. Mr. Spadaro served as technical specialist for the sediment sampling program. This was
      designed to provide preliminary sediment and water quality data to aid in determining the engineering
      controls needed to limit contaminant releases to surface water during construction, and identify
      handling, transportation, and disposal options for the dredged sediment.

      Litigation Support for Insurance Cost Recovery (2002)
      Short, Cressman, and Burgess and Confidential Puget Sound Port Authority, Washington
      Mr. Spadaro was retained as an expert to review extensive documentation and current site conditions
      at multiple facilities owned by a mid-sized port authority. The sites included a shipyard, boatyard,
      landfill, and other types of active and unused facilities. Activities included extensive interaction with the
      port’s attorneys, a review of reports, site visits and interviews, preparation of expert opinions, and
      depositions. The port prevailed in its complaint and received a settlement in keeping with its
      expectations.




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      North Channel Confined Disposal Facility (2001–2002)
      Port Authority of Venice, Venice, Italy

      The Port of Venice was contemplating construction of a large confined disposal facility for containment
      of contaminated dredge materials. Mr. Spadaro was retained by the Port as a special consultant to
      address contaminant mobility issues associated with facility construction.

      Sediment Treatment Technology Evaluation (2001)
      State of Washington
      Mr. Spadaro served as project manager and senior scientist to evaluate several contaminated
      sediment treatment technologies for their effectiveness, ability to be implemented, and cost under three
      Washington State Department of Natural Resources-specified scenarios. Two were particular to
      Bellingham Bay, where a multiagency group is working to establish a model process for selecting
      disposal sites; the third was more widely applicable to contaminated sediments from throughout Puget
      Sound. Together, the three scenarios form a natural progression for the development of sediment
      treatment technology in the region.

      Removal Action at the Olympic View Resource Area (2001–2002)
      City of Tacoma, Tacoma, Washington

      The EPA approved a removal action at the Olympic View Resource Area (OVRA) to address
      approximately 2.2 acres of contaminated marine sediments within the 12.4-acre OVRA site. Mr.
      Spadaro helped design the removal action—including the development of design and construction
      documents, design methods, assumptions, and evaluations—and documented quality assurance
      methods in a construction quality assurance plan. In addition, he was involved in the performance of an
      engineering evaluation and cost analysis for the removal action that summarized investigation results
      and evaluated remedial alternatives in accordance with the National Contingency Plan. Following
      public comment and EPA review, a preferred remedial alternative was selected. The design team's
      analysis report presented design criteria and regulatory requirements for the preferred alternative,
      rationales for design decisions, and a detailed construction cost estimate. Mr. Spadaro served as
      senior technical review scientist for the project.

      Metal Bank Superfund Site Remediation (1998–2001)
      PRP Group, Philadelphia, Pennsylvania
      River sediments and upland areas were contaminated with polychlorinated biphenyls from the recycling
      of 1970s-era transformers and transformer oils at this former metals recycling facility located on the
      banks of the Delaware River; the design team was responsible for remediation of the river sediments.
      Mr. Spadaro provided senior technical review during development of the preliminary design submittal to
      EPA Region III.

      Design of Hylebos Waterway, Phase I Dredging, Slip 1 Disposal (1999–2002)
      Port of Tacoma, Tacoma, Washington

      Cleanup of the outer Hylebos Waterway was the third major cleanup in the Commencement Bay
      Nearshore Tideflats since the bay was declared a Superfund site. Mr. Spadaro. served as project

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      manager for all three design projects. In this cleanup, contaminated sediments at the mouth of the
      waterway were dredged and deposited in a confined disposal facility constructed in Slip 1 at the Blair
      Waterway. While serving as project manager, responsibilities included senior technical review and
      oversight of all project elements, including design of both the dredging plan and the containment
      facility.

      Hylebos Waterway, Area 5106 Dredging and Disposal Project (1999–2002)
      Port of Tacoma, Tacoma, Washington

      Mr. Spadaro provided the port with technical oversight as it developed plans for the dredging,
      treatment, and disposal of approximately 50,000 cubic yards of sediments heavily contaminated with
      volatile organic compounds. Plans called for hydraulic dredging followed by thermal treatment of the
      sediments at an upland treatment plant and disposal of the treated sediments in a confined disposal
      facility to be constructed in Slip 1 of the Blair Waterway. Mr. Spadaro was responsible for reviewing all
      technical documents on behalf of the Port, including studies of fate and transport and the engineering
      evaluation/cost analysis.

      Ross Island CAD Cells Assessment (1998–2000)
      Port of Portland, Portland, Oregon
      From 1992 to 1998, sediments dredged by the Port of Portland were disposed of under permit at five
      capped aquatic disposal (CAD) cells in Ross Island Lagoon (Willamette River), where sand and gravel
      mining was ongoing. In 1999, the port asked the design team to initiate a comprehensive site
      investigation to evaluate regulatory and environmental issues associated with use of the CAD cells,
      including such components as contaminant fate and transport, geotechnical stability, and ecological
      and human health risks. Mr. Spadaro served as program manager and provided senior technical
      review for the investigation, which incorporated extensive sampling of soil, sediments, and
      groundwater; a thorough review of the mining and disposal history, including a detailed permit review;
      biological surveys; risk assessments; and an analysis of lagoon bathymetry and groundwater flow and
      gradient. Evaluation of the investigation results will be used by the Oregon Department of
      Environmental Quality to determine whether this type of confined disposal will continue in Oregon. The
      investigation results demonstrated conclusively that capped aquatic disposal can be accomplished in
      an environmentally safe manner and that these CAD cells are functioning as intended to isolate Port
      dredged material from the environment.

      Thea Foss and Wheeler-Osgood Waterways Pre-Remedial Design (1994–2003)
      City of Tacoma, Tacoma, Washington
      Mr. Spadaro served as project manager for the sediment remedial design component of this large-
      scale waterway redevelopment. The 8,000-ft-long waterway receives considerable storm drainage and
      direct discharges from adjacent industries. The variety of inputs, including effects from operation of a
      former manufactured gas plant, had caused several inorganic and organic constituents of interest, such
      as oils, tars, polycyclic aromatic hydrocarbons, phthalates, and PCBs, to develop in the sediments.
      Technical elements of the remedial design included an evaluation of source control measures, a
      natural recovery analysis, an evaluation of potential disposal sites, a hydrographic survey, and the
      development of habitat mitigation plans. The remedial design included natural recovery in the mouth of

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      the waterway, enhanced natural recovery in its middle section, and more active remediation at the
      head of the waterway. Several alternatives were considered for the active remediation, including
      capping the contaminated sediments in place or removing them to a confined aquatic, nearshore, or
      upland disposal site. The pre-remedial design process concluded in 2000, and the remediation plan
      received EPA approval. The remedy incorporated dredging approximately 700,000 cubic yards of
      sediments and capping 36 acres, including thin-layer and thick-layer caps, and an innovative hybrid
      sorbent cap that will combine the traditional function of isolation with a treatment component for oily
      seeps. In addition, Mr. Spadaro managed the design of a confined disposal facility in the adjacent St.
      Paul Waterway, where the dredged sediments will be placed. He also assisted the city in a related
      effort to proportionately allocate cleanup costs among numerous non-city potentially responsible parties
      and to recover the city’s costs from its insurers.

      Contaminant Mobility Investigation and Dredging Feasibility Study (1998–2000)
      Confidential Client, Massachusetts

      Mr. Spadaro served as technical specialist for issues of contaminant mobility and remedial alternatives
      in the evaluation of an historical manufactured gas plant. The site is regulated under the
      Massachusetts state cleanup program. He assisted the owners and prime consultants in their
      assessment of oil-releasing sediments; key to investigation was an evaluation of nonaqueous phase
      transport from upland areas to sediments, from sediments to the water column, and through the water
      column offsite to nearby estuaries. He accomplished this analysis through evaluation of existing data,
      proposing additional data gathering to close gaps, and assisting in the development of a focused
      feasibility study for remedial action at site. Mr. Spadaro evaluated several technologies, including
      dredging to remove oil-containing sediments, capping, natural recovery, and controlling nonaqueous
      phases, both to determine the best available technical approach and to control potential costs.
      Ultimately, he provided the PRP client with the information necessary to negotiate a financial
      settlement, relieving it of future liability for the site.

      Grand Calumet River/Indiana Harbor Ship Canal Remedial Options Assessment (1997–1999)
      PRP Group, East Chicago/Gary/Hammond, Indiana

      On behalf of the PRPs, Mr. Spadaro assessed remedial options for sediments in this system under a
      Natural Resource Damage Assessment action brought by the Natural Resource Trustees, which
      included the EPA, the U.S. Fish and Wildlife Service, and the Indiana Department of Natural
      Resources. He acted as technical specialist for the evaluation of remedial alternatives, and assisted the
      project team by identifying gaps in the existing data set; defining the need for further technical studies;
      interpreting existing chemical and physical testing data; establishing the history of dredging and
      sediment deposition in the waterways; and providing strategic guidance to the PRP group. On the
      basis of this evaluation, the PRPs made a settlement offer to the regulatory agencies on the basis of
      this evaluation.

      Island End River MGP Site Evaluation (1998–2001)
      Eastern Enterprises, Weston, Massachusetts
      Mr. Spadaro was retained by the PRPs to evaluate the feasibility of reconfiguring a CDF proposed to
      contain sediments contaminated with PAHs at this Boston Harbor site of a former manufactured gas

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      plant. In addition, he assessed methods for managing sheen-producing sediments that will remain
      outside the CDF’s boundaries. He provided senior technical review for these evaluations, with
      particular emphasis on oil seepage and innovative approaches to the management of oily sediments.

      Brooklyn Navy Yard Confined Disposal Area Feasibility Study (1998–2000)
      Brooklyn Navy Yard Development Corporation, Brooklyn, New York

      Faced with the necessity of dredging to accommodate ongoing vessel maintenance, Mr. Spadaro
      evaluated the feasibility of constructing a bermed, nearshore CDF at the head of the Wallabout
      Channel to contain up to 450,000 cubic yards of dredged material. In addition, the feasibility study
      examined other disposal alternatives, such as constructing an upland CDF, using the dredged material
      as landfill cover, or removing the material for offsite disposal under a mine reclamation program. In
      support of the feasibility study and other efforts, he provided senior technical review, with particular
      emphasis on the assessment of chemical fate and transport and contaminant mobility. Other elements
      of the project included development of a conceptual design for the CDF and an evaluation of the
      regulatory structure and key permitting requirements.

      Fox River Dredging (1998–2000)
      Fort James Corporation, Green Bay, Wisconsin
      As a result of historical discharges to the river system, bottom sediments in the lower Fox River are
      impacted by PCBs. As one PRP, Fort James Corporation had a keen interest in the selection of
      appropriate, technically sound, and cost-effective remediation and restoration actions. During early
      planning for a possible remedial action, Mr. Spadaro assisted Fort James in assessing issues broadly
      associated with its liability. After a demonstration dredging project undertaken by the state and the Fox
      River Group, a PRP organization, failed to meet expectations and attain cleanup goals, Fort James
      elected to independently redesign and complete the project as a full-scale removal. For that more
      recent work, Mr. Spadaro managed technical oversight of the dredging design. Careful engineering of
      the dredge prism was a key issue; because capacity at the disposal site was limited, cleanup goals had
      to be achieved while limiting the removal to 50,000 cubic yards. Following the removal action,
      verification sampling showed that the design team’s engineering had successfully met both objectives,
      resolving Fort James’ obligations at the site.

      Claremont Channel Deepening (1997–2002)
      Hugo Neu Schnitzer East (HNSE), Jersey City, New Jersey

      This project, a public-private partnership among the State of New Jersey, the City of Jersey City, HNSE
      (a major metal recycling firm), and Liberty National Development Corporation, incorporated several
      phases, all associated with improvements in the Claremont Channel. Key elements of the proposed
      effort included dredging 1.25 million cubic yards of contaminated sediments and beneficially using the
      dredged material to create five acres of intertidal habitat, as well as to cap two former upland industrial
      properties and grade a new golf course. Dredged material employed at the upland sites and in the golf
      course were amended with PROPAT®, a product manufactured by HNSE from auto shredder residue,
      a recycled material. Mr. Spadaro served as technical specialist regarding matters of dredging design,
      CDF design, bench-scale and pilot-scale mixing studies, permitting, and project funding, which will



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      include state bond funds and funds designated for demonstrating the efficacy of new remediation
      technologies.

      Nearshore Confined Disposal Facility (1996–1999)
      River Terminal Development Corporation, New Jersey
      Mr. Spadaro served as technical specialist for permitting and conceptual design of the first nearshore
      confined disposal facility in the New York/New Jersey area proposed for construction specifically to
      contain contaminated sediments. In the early project stages, responsibilities included negotiating with
      the Corps of Engineers and regional regulators (including the New Jersey Department of
      Environmental Protection) to secure the necessary permits. He also led discussions with local
      environmental groups to develop support for the remediation of severely contaminated sediments,
      which would lead to some habitat destruction, as well as to redevelop an important waterfront facility.
      Participation included assessments of contaminant mobility and habitat mitigation requirements.

      Remedial Investigation and Feasibility Study (RI/FS) of Shipyard Sediment Operable Unit (1994–
      2000)
      Lockheed Martin Corporation, Seattle, Washington

      Mr. Spadaro served as project manager for work undertaken on behalf of a PRP. He reviewed the
      EPA's RI/FS study documents, developed supplemental remedial investigation strategies, and
      negotiated the statement of work and Administrative Order on Consent with the EPA. Technical
      aspects of the pre-remedial design studies included surface and subsurface sediment sampling,
      biological evaluations, and natural recovery analysis. Involvement continued through design analysis
      and development of a preliminary remedy design that included limited dredging and capping. The
      design team was successful in demonstrating to the EPA that large-scale active remediation was
      unnecessary, thus reducing the projected costs of remedial action by more than a factor of 10.

      Litigation Support for Blair, Sitcum, and Milwaukee Waterways Cost-Recovery Action (1995–
      1997)
      Attorneys for the Port of Tacoma, Tacoma, Washington

      Mr. Spadaro supported litigation and cost-recovery actions through investigation of the origins of
      sediment contamination in the waterways and adjacent upland properties and development of dredging
      and sediment contamination chronologies. To this end, he implemented a methodology structured to
      capture all available literature and documentation, including Port contract records, Corps of Engineers
      files, previous investigations, aerial photographs, and personal interviews. The historical information
      was then correlated with sediment contamination profiles to provide technical grounds for legal action
      against insurers and other PRPs. The work culminated with testimony as an expert technical witness.

      Sitcum Waterway Remediation (1991–1995)
      Port of Tacoma, Tacoma, Washington
      Mr. Spadaro served as project manager for this complex, long-term remediation, the largest sediment
      remediation ever undertaken by EPA mandate. One purpose of the project was to increase container
      terminal space by filling approximately 70 percent of the Milwaukee Waterway with 1.6 million cubic
      yards of fill sediments taken from the Blair Waterway (where redevelopment plans called for removing

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      sediments to expand Port facilities) and the Sitcum Waterway (where sediment removal was a
      component of the Comprehensive Environmental Response, Compensation, and Liability Act
      [CERCLA] cleanup). The project began with a conceptual design in the early 1980s and progressed to
      encompass sediment quality testing, geotechnical engineering, hydrogeologic evaluations, and pre-
      remedial design and remedial design phases. Conceptualized specialty services executed by the
      design team included elutriate, leaching, and settling tests; natural recovery modeling; and dredge and
      disposal water quality modeling. In addition, Mr. Spadaro managed environmental permitting issues
      and ensured compliance with CERCLA and Clean Water Act mandates.

      Mercury Contamination Source Evaluation Middle Waterway (1990–1993)
      Foss Maritime, Tacoma, Washington
      Mr. Spadaro served as project manager for this investigation of the source of mercury contamination in
      sediments. He conceptualized and oversaw focused sampling of seeps, upland soils, and sediments to
      assess ongoing source control measures. This project required a comprehensive review of historical
      sources of mercury deposits in the waterway, which in turn led to subsequent development of an
      expanded PRP list. Components of the pre-remedial design included natural recovery modeling and an
      assessment of the feasibility of various alternatives for confined disposal.

      Sediment Assessment of Blair Waterway, Slip 2 Nearshore Fill (1987–1990)
      Port of Tacoma, Tacoma, Washington
      This logistically complex project called for expanding the land area of Terminal 3 and constructing
      Terminal 4 at the port by dredging adjacent offshore sediments and using the dredged material to fill
      Slip 2. As project manager, Mr. Spadaro oversaw the collection of sediment samples using hollow-stem
      augers, impact coring, and vibracoring through 40–60 ft of water and to 20–40 ft below the mud line. Th
      team was able to significantly reduce the sampling and analysis requirements through negotiation with
      regulatory agencies. In addition, and of considerable benefit to the client, initial assessment of
      sediment chemistry was so thorough that when the Port altered its original plan, it was not necessary to
      negotiate the chemistry requirements.

      Open-Water Sediment Disposal Permits for Multiple Waterfront Facilities in Puget Sound
      As project manager for Puget Sound Dredge Disposal Analysis (PSDDA) compliance, Mr. Spadaro
      negotiated with regulatory agencies to develop technically sound and cost-effective sampling plans,
      oversaw and managed sampling and chemical analyses, and provided senior review of technical
      studies. This effort successfully obtained PSDDA-related permits:

         Open-Water Disposal Permit for Sitcum Waterway Maintenance Dredging (1987–2000)
         Port of Tacoma, Tacoma, Washington

         Open-Water Disposal Permit for Everett Marina Project (1989)
         Port of Everett, Everett, Washington

         Open-Water Disposal Permit for Hylebos Facility Project (1990)
         Lone Star NW, Washington



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                     Open-Water Disposal Permit for West Blair Terminal Project (1995)
                     Port of Tacoma, Tacoma, Washington

                     Open-Water Disposal Permit for SeaLand Pier Extension Project (1989)
                     Port of Tacoma, Tacoma, Washington

                     Open-Water Disposal Permit for Pier 7D (1988)
                     Port of Tacoma, Tacoma, Washington

                     Open-Water Disposal Permit for Terminal 3 (1987)
                     Port of Tacoma, Tacoma, Washington

                 Queen City Farms Superfund Site Waste Pond Closure (1984–1987)
                 Rabanco Disposal Company, Washington

                 Mr. Spadaro served as the owner’s representative during construction and provided daily field reports
                 and briefings. Activities at this major Superfund site included extensive geologic exploration and
                 mapping in support of remedial design for closure of four industrial waste lagoons. Exploration
                 techniques included hollow-stem auger, air rotary, and impact hammer drilling as well as test pits and
                 trenching. Mapping of subsurface waste deposits and underlying glacially overridden advance,
                 outwash, and till deposits was critical for successful design of waste excavation, groundwater
                 interceptor trench, impermeable cap, and slurry cutoff wall.


Academic         MS in Geochemistry, University of Chicago, 1983
Qualifications   BS in Chemistry, Cook College at Rutgers University, 1981

Professional     •   American Chemical Society
Affiliations     •   Central Dredging Association
                 •   Western Dredging Association
                 •   Society of Environmental Toxicology and Chemistry
                 •   Permanent International Association of Navigational Congresses
                 •   Society of Industrial Archeology




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REBUTTAL EXPERT REPORT PREPARED FOR HANSON
PERMANENTE CEMENT, INC.
IN RESPONSE TO TIG ENVIRONMENTAL'S EXPERT REPORT




Property:                                   Prepared for:
Westside Property                           Mr. Jeff Miller
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Seattle, Washington                         111 Southwest Fifth Avenue, Suite 3400
                                            Portland, Oregon

Report Date:
June 3, 2020

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     SoundEarth Strategies, Inc.                                                                                                                   June 3, 2020
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                                       ACRONYMS AND ABBREVIATIONS

AO                     Agreed Order

ARMY                   U.S. Army

CERCLA                 Comprehensive Environmental Response, Compensation, and Liability Act

Carlisle               Carlisle Lumber Company

COPC                   contaminant of potential concern

Crown Zellerbach Crown Zellerbach Corporation

D/Fs                   dioxins/furans

Ecology                Washington State Department of Ecology

ERM                    ERM‐West Inc.

ERM RI                 DRAFT Remedial Investigation/Feasibility Study Report—Volume 1, dated January 24,
                       2020, prepared by ERM‐West, Inc.

Glacier                Glacier Northwest, Inc.

Hanson                 Hanson Permanente Cement, Inc.

Mineralized Cell       Mineralized Cell Wood Preserving Company

MTCA                   Washington State Model Toxics Control Act

PCP                    pentachlorophenol

the Property           the uplands portion of the Westside Property located at 5900 West Marginal Way
                       Southwest in Seattle, Washington; King County Parcel Number 192404‐9029

PRP                    potentially responsible party

Reichhold              Reichhold Chemicals, Inc.

RI/FS                  Remedial Investigation/Feasibility Study

T115                   Terminal 115

TIG                    TIG Environmental

U.S.                   United States




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                                                               Hanson Rebuttal Report to Expert Report

1.0       INTRODUCTION

I am pleased to provide you with this rebuttal report in response to the expert report prepared by Mr.
Philip A. Spadaro of TIG Environmental (TIG), which was submitted as part of the ongoing proof of claim
by Glacier Northwest, Inc. (Glacier) against Hanson Permanente Cement, Inc. (Hanson; formerly known as
Kaiser Cement Corporation). In its expert report (the TIG expert report), TIG assigned liability to the
current and former owners and operators of the Westside Property, located at 5900 West Marginal Way
Southwest (the Property; Figure 1), for costs related to contamination that is present at upland portions
of the Property as the result of the historical operations on and in the vicinity of the Property.

2.0       SUMMARY OF THE TIG ALGORITHM

TIG acknowledged in its expert report that the available information does not allow for a clear
determination of liability for the distribution of impacts or for the investigation or remediation costs
incurred to date (TIG 2020, 5). As such, TIG created a 7‐step algorithm to assign liability. Those steps
include the following:
         Step 1. Derive the relative weight of Property contaminants of potential concern (COPCs).
         Step 2. Derive the relative contributions of each Property COPCs by each operator.
         Step 3. Multiply the results of Steps 1 and 2 to derive the percent of the costs attributable to each
          operational period for each COPC.
         Step 4. Assign responsibility to Property owners during operating periods.
         Step 5. Assign a liability share to each owner and operator.
         Step 6. Account for exacerbation of existing contamination during redevelopment activities and
          reallocation of costs between the remaining liable parties.
         Step 7. Reallocate liability shares between participating parties.

Steps 1 through 5 of the TIG algorithm relied upon empirical metrics such as the number of samples
containing elevated concentrations of various COPCs and the years of operation or ownership by the
various parties. Although I observed that some of these data used in TIG's algorithm is empirically
incorrect (e.g., Hanson's years of operation were reported at 27 rather than 23 [1965–1987] and
Reichhold’s years of operations were reported as 20 rather than 16 [1946–1961]), most of those data
errors do not appear to materially change the outcome of TIG's Steps 1 through 5 (TIG 2020, Table 2).
However, other metrics used in Steps 1 through 5 of the TIG algorithm, including the distribution of liability
between an owner and operator, the size of each party’s operational areas, and the assignment of liability
to off‐Property parties that may have contributed contamination to the Property, were subjectively
determined by TIG.

Based on Steps 1 through 5 of its algorithm, TIG concluded that the largest share of liability should be
assigned to Mineralized Cell Wood Preserving Company (Mineralized Cell; 39.48 percent), followed by
Reichhold Chemicals, Inc. (Reichhold; 27.49 percent) and the U.S. Army (Army; 15.50 percent). The
remaining parties were each assigned liabilities of no more than 6 percent. In the TIG algorithm, Hanson’s
cement terminal operations at the Property between 1965 and 1987 were assigned a 1.26 percent
assignment of liability; a comparable assignment of 1.39 percent was made to Glacier, which is


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understandable, given the similar nature and duration of Hanson’s and Glacier’s operations (TIG 2020,
Table 5).

However, in Step 6 of its algorithm, TIG abandoned any semblance of objectivity and assigned Hanson a
15 percent “exacerbation factor,” which had the effect of transferring some of the liability shares from
parties that owned or operated at the Property prior to 1965 to Hanson. TIG attempted to justify this
transfer of liability by claiming that Hanson had “knowingly” exacerbated the investigation and
remediation of the Property during the redevelopment of the Property by placing contaminated material
at locations where it did not previously exist, including along the shoreline of the Property. The only
justification provided by TIG for assigning Hanson a 15 percent exacerbation factor was that 15 percent
constituted more than a de minimis amount and was less than the amount that would result in Hanson
being assigned a greater share of liability than the parties that originally generated the contamination (TIG
2020, 24). These are purely arbitrary criteria. While I agree with TIG’s conclusion that Hanson doesn’t
warrant an assignment of liability that exceeds the amount assigned to the generators of the
contamination, I do not agree that Hanson’s alleged actions were a “knowing” exacerbation or that those
alleged actions warrant Hanson being assigned more than a very minor share of liability. Nor do I agree
that Hanson alone should be assigned an exacerbation "penalty" when the evidence demonstrates that
other Property owners engaged in similar movement of materials during their redevelopment activities.

In this rebuttal report, I will address the shortcomings of the TIG algorithm and provide alternative
assignments of liability that utilize the shares assigned in Steps 1 through 5 of the TIG algorithm, along
with exacerbation factors that are more empirically and equitably assigned to each of the parties that
performed redevelopment activities at the Property, but remain consistent with the methodology used in
Step 6 of the TIG algorithm.

I do not further redistribute the assignments of liability from those parties not involved in the ongoing
bankruptcy proceedings, as TIG did in Step 7 of its algorithm, because I see no technical or equitable
reason to reassign shares of other parties to Hanson in the absence of any evidence that those other
parties are "orphans" as defined in U.S. Environmental Protection Agency’s June 3, 1996, Interim Guidance
on Orphan Share Compensation, which states that orphan shares are those shares that are ordinarily
reallocated to other viable potentially responsible parties because the identified orphan is "(1) potentially
liable; (2) insolvent or defunct; and (3) unaffiliated with any party potentially liable for response costs at
the site” (https://www.epa.gov/sites/production/files/2013‐10/documents/orphan‐share‐rpt.pdf). I also
do not calculate the dollar value of the parties’ liability, as it appears to me that many of the costs included
in Glacier’s proof of claim are not recoverable under the Washington State Model Toxics Control Act
(MTCA).

3.0      SUMMARY OF REDEVELOPMENT ACTIVITIES

In addition to its assignment of a purely arbitrary 15 percent exacerbation factor exclusively to Hanson,
TIG shows that its algorithm was designed to maximize Hanson’s share by completely disregarding the
fact that the same redevelopment activities for which it assigned Hanson a 15 percent exacerbation factor
were also performed by other parties, including by Carlisle Lumber Company (Carlisle) during the
construction of the charcoal and Whetlerite manufacturing plant; by Reichhold during its construction and
demolition of numerous structures and other improvements associated with the chemical manufacturing
plant; and by the Port of Seattle during the construction of Terminal 115 (T115) on the south‐adjoining
property in approximately 1970.

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Although there is no direct evidence proving the materials that may have been redistributed across the
Property during these redevelopment activities were contaminated, or that the parties responsible for
the activities were aware of the contamination that may have been present in the materials, there is also
no reason to exclude these activities from consideration when determining whether to apply an
exacerbation factor to the parties that performed the actions, as TIG has done for all parties but Hanson.
TIG described most of these parties’ activities in its expert report, but conveniently ignored the potentially
exacerbating effect of the actions taken by the other owners and operators of the Property when it
reassigned liability shares in Step 6 of its algorithm, choosing instead to focus exclusively on actions
performed during Hanson’s period of operations.

The following sections describe the redevelopment activities performed at the Property and illustrate how
those activities could potentially have exacerbated the impacts at the Property by redistributing
contamination from one location to another. In an effort to calculate empirical and more equitable
exacerbation factors for those parties, I estimated the square footages of the redevelopment activities
performed by parties at the Property, which are provided in Tables 1 through 4 and are also presented on
Figures 2 through 5.

3.1      CARLISLE
As noted in the DRAFT Remedial Investigation/Feasibility Study Report—Volume 1, dated January 24,
2020, prepared by ERM‐West, Inc. (ERM; ERM RI), Carlisle began construction of a charcoal and Whetlerite
manufacturing plant on the Property in 1940 or 1941 and completed construction in 1942 (GLACIER06561,
at GLACIER06582). The plant, which was operated by Carlisle, the Army, and Crown Zellerbach
Corporation (Crown Zellerbach) between 1942 and 1944, included numerous structures located on the
northern portion of the Property, and also extended to the central portion of the Property, as depicted
on Figure 2. Figure 3 of TIG’s expert report (TIG 2020, Figure 3; Appendix A) shows that much of the plant’s
operational area, as defined by TIG following its review of historical plans (TIG 2020, 4), overlapped with
the operational areas of Mineralized Cell. Redevelopment activities performed by Carlisle within these
overlapping areas would have encountered impacts from Mineralized Cell, and those impacts may also
have been encountered by Carlisle at locations outside the TIG‐defined boundaries of Mineralized Cell’s
operations.

TIG asserts that Hanson excavated an estimated 2,000 cubic yards of soil during the construction of the
cement terminal’s silos and that Hanson removed as much as 2 feet of soil during the construction of
ancillary support buildings (TIG 2020, 12). However, TIG did not similarly assert that Carlisle excavated any
material in the course of its construction activities, nor did TIG account for the disturbance to soil that
would have occurred during the construction of a septic tank, the installation of an underground storage
tank, or the construction of drainage ditches that were utilized by the plant. The features involved in
Carlisle’s redevelopment activities, which covered a combined area of 70,381 square feet, are described
in Table 1 and are depicted on Figure 2.

It is unknown where the soil and other materials that Carlisle disturbed during construction of the charcoal
and Whetlerite plant were placed, but if it is TIG’s assumption that the materials excavated during
Hanson’s period of operations were dispersed throughout the Property, the same assumption may also
be made regarding Carlisle’s redevelopment activities. If TIG’s algorithm is to be relied upon in assigning
liability and if that algorithm assigns liability to Hanson based on a subjective construction activity
exacerbation factor, the TIG algorithm must be modified to include a construction activity exacerbation
factor for Carlisle. That exacerbation factor would transfer a portion of the liability assigned to Mineralized

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Cell and King County (as the owner of the Property during Mineralized Cell’s operations) in Step 6 of TIG’s
algorithm to Carlisle. None of the Army’s liability would be transferred to Carlisle, as the Army’s operations
at the Property did not begin until after Carlisle’s redevelopment activities were completed.

TIG’s assignment of a relatively low share of liability to the group of owners and operators of the
Whetlerite plant is largely the result of the fact that TIG inappropriately confined the operational area of
the charcoal and Whetlerite manufacturing plant to just 136,562 square feet, which included only that
area of the Property in which the plant’s structures were located (TIG 2020, Table 2 and Figure 3). The
ERM RI, however, specifically discusses that the southern portion of the Property during Whetlerite
operations included drainage ditches used by the plant and that the southern portion of the Property was
used by the operators of the plant as a “dumping grounds,” but despite this, TIG does not include the
southern portions of the Property in the plant’s operational footprint (GLACIER06561, at GLACIER06582).

By contrast, TIG assigned Mineralized Cell an operational area of 371,252 square feet, nearly three times
the operational area of the Whetlerite plant (TIG 2020, Figure 3). This assignment was made by TIG despite
the fact that the structures and wood treatment area used by Mineralized Cell were limited to a
significantly smaller portion of the Property. It is unclear why TIG, despite the empirical evidence to the
contrary, elected to define Mineralized Cell’s operational area to include portions of the Property where
no structures associated with its operations were located but limited the operational area of the
Whetlerite plant to the immediate vicinity of its structures. Although Mineralized Cell appears to have
transported treated logs along access roads and undoubtedly contributed significantly to the
contamination throughout much of the Property, its storage and application of chemicals appears to have
been limited to the southern portion of the Property and Mineralized Cell is not known to have used the
northern portion of the Property for the intentional disposal of waste, such as the operators of the
Whetlerite plant are indicated to have done on the southern portion of the Property in the ERM RI
(GLACIER06561, at GLACIER06649‐51). Had the Whetlerite plant’s operational footprint been expanded
to include the “dumping grounds” on the southern portion of the Property, TIG’s 17.17 percent
assignment of liability to the group that owned and operated the Whetlerite plant (Army, King County,
Carlisle, and U.S. Government; TIG 2020, Table 5) would be increased in nearly direct proportion to its
increased area of operations. As the only other party responsible for the release of arsenic, copper, and
zinc, Mineralized Cell’s 39.48 percent liability share assigned to it in Step 5 of the TIG algorithm would
have been decreased by an approximately equivalent amount, i.e., reduced by nearly 12 percent (TIG
2020, Table 10). This demonstrates how TIG incorporated their subjective determination of operational
areas to arrive at the inequitable assignments of liability listed in Step 5 of its expert report.

3.2      REICHHOLD
Following the termination of the collective operations of the charcoal and Whetlerite plant by Carlisle, the
Army, and Crown Zellerbach in 1944, which resulted in widespread contamination of the Property
(GLACIER06561, at GLACIER06650‐51), Reichhold leased the Property from the U.S Government between
1946 and 1961 for use as a chemical manufacturing plant (GLACIER06561, at GLACIER06583). The plant
produced and disposed of vast quantities of chemicals at the Property, including pentachlorophenol (PCP),
sodium pentachlorophenate, hydrochloric acid, and formaldehyde; dioxins/furans (D/Fs) were also
generated during the PCP manufacturing process (GLACIER06561, at GLACIER06583‐84). Reichhold’s
operations were largely performed within the footprint of the previously existing charcoal and Whetlerite
plant, but Reichhold also constructed several new features that extended its operations to the central and
southern portions of the Property where Mineralized Cell formerly operated, including PCP production
plants and two tank farms (Figure 3), as well as drainage ditches throughout the Property and a washwater

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impoundment area on the eastern portion of the Property, adjacent to the shoreline. It is not apparent
whether the construction of the buildings required the excavation of soil, but there is no reason to believe
that the depths of excavation required for Reichhold’s construction activities were any shallower than
those attributed by TIG to Hanson for its construction of ancillary support buildings; significant excavation
of soil would have been necessary for the drainage ditches and impoundment area that Reichhold
installed.

During its period of operations, Reichhold also removed several structures that it had previously installed,
including the tank farms and PCP production plant. The removal of these structures would have generated
construction debris and may have required the excavation of foundations; the material generated by
Reichhold’s removal of structures and associated foundations was likely disposed of at unknown locations
on the Property by Reichhold, just as TIG assumed was done by Hanson during the removal of the charcoal
and Whetlerite plant.

Further, the drainage ditches and washwater impoundment area that Reichhold closed would have
required the placement of fill material, some or all of which may have originated from contaminated areas
of the Property. Because no information exists regarding the source or chemical composition of the
material that Reichhold used as backfill in the ditches or washwater impoundment area, I assume that the
backfill material originated from another location on the Property and was contaminated at the time of
placement, just as TIG assumed about the material that it alleged to have been placed by Hanson.
Therefore, the square footages of drainage ditches and impoundment area that were both constructed
and backfilled by Reichhold are accounted for twice on Table 2.

Features used in Reichhold’s operations were situated throughout the Property, including the drainage
ditch that ran in an east–west direction along the Property’s southern boundary (GLACIER15394, at
GLACIER15404; see Appendix B). Historical aerial photos taken during Reichhold’s tenure also show areas
of disturbed soil on the northwestern portion of the Property and stockpiled material along the Property’s
southeastern shoreline1 (GNW_00045811, at GNW_00045914; see Appendix B). Despite this, TIG did not
include these portions of the Property in its definition of Reichhold’s operational areas, which they limited
to an area of only 268,431 square feet. TIG does not provide justification for their decision to exclude
portions of the Property from Reichhold’s area of operations, but doing so resulted in a reduction in
Reichhold’s assignment of liability.

The combined footprint of the features created or removed during Reichhold’s period of operations is
approximately 110,399 square feet (Table 2, Figure 3). If TIG’s algorithm is to be relied upon in assigning
liability and if that algorithm assigns liability to Hanson based on a subjective exacerbation factor, the TIG
algorithm must be modified to include an exacerbation factor for Reichhold. That exacerbation factor
would transfer a portion of the liability assigned to the pre‐1946 owners and operators in Step 6 of TIG’s
algorithm to Reichhold.




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  As part of the research conducted to prepare this rebuttal report, it was determined from further review of aerial
images that the shoreline expansion of the southeastern portion of the Property occurred prior to Hanson’s
tenure, but did not necessarily occur between 1961 and 1963, as had been reported in Section 4.1 of my expert
report. This error does not affect my conclusions presented in this rebuttal report.

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3.3      HANSON
Hanson leased the Property from the Port of Seattle in 1965, several years after Reichhold vacated the
Property (KC2005739; see Appendix C). As a requirement of its lease, Hanson removed the structures that
remained from Reichhold’s period of operations and constructed most components of the existing cement
terminal, which was completed by 1969. Hanson purchased the Property from the Port of Seattle in 1973
and operated the cement terminal until selling the Property to Lone Star Industries in 1987
(GLACIER06561, at GLACIER06579‐80). Hanson’s operation of the cement terminal is not considered to be
a significant source of impacts to the Property, as demonstrated by the fact that TIG only assigned Hanson
a liability share of 1.26 percent in Step 5 of its algorithm. Not surprisingly, TIG included the entire 598,556
square feet of the uplands portion of the Property in its calculation of Hanson’s liability, which would
maximize the allocation to Hanson, despite the fact that the footprint of Hanson’s cement terminal
operations was limited to the northern portion of the Property.

In its report, TIG discussed at length the redevelopment activities performed during Hanson’s period of
operations, speculating and asserting assumptions about the anticipated depth and volume of excavations
performed in the course the demolition and construction of various buildings and other features. The
areas that may have been disturbed during these activities, which are estimated to cover a total of 98,292
square feet, include the removal of several structures that remained from Reichhold’s former chemical
manufacturing plant, construction of the cement silos and other cement terminal buildings, excavation of
the stormwater swale on the northern portion of the Property, and the construction of a stormwater
system on the southern portion of the Property. Notably, much of the redevelopment conducted during
Hanson’s period of operations occurred in the northern portion of the Property, in areas where the soil
had already been disturbed and excavated in the course of the prior redevelopment activities by Carlisle
and Reichhold. It is not possible to determine the amount of excavation or relocation of soil that occurred
prior to 1965, but the footprints of all of the pre‐1965 buildings that were removed during redevelopment
of the Property during Hanson's tenure are assumed to have undergone some level of excavation during
construction by Carlisle or Reichhold. A summary of the redevelopment activities performed during
Hanson’s period of tenure and the associated square footages of the features involved in the
redevelopment activities is provided in Table 3 and depicted on Figure 4.

According to the ERM RI, Hanson expanded the shoreline of the Property by placing “bank fill” at locations
“east of the wooden bulkhead/original shoreline.” ERM defined this “bank fill” as having “originated from
construction activities related to property redevelopment” during Hanson’s period of operations
(GLACIER06561, at GLACIER06591). Materials other than those generated during Hanson’s
redevelopment activities were not identified as having been included in the “bank fill.” Because the
exacerbation factor that TIG assigned to Hanson was intended to account for the redistribution of
contaminated material from one location of the Property to another, I assume that the square footage of
the shoreline expansion area has already been accounted for in the estimates of the other features that
were demolished or constructed during Hanson’s period of operations and therefore should not be
counted again in the calculation of an appropriate exacerbation factor for Hanson. The exacerbation factor
assigned to Hanson would transfer a portion of the liability assigned to the pre‐1965 owners and operators
in Step 6 of TIG’s algorithm to Hanson.

3.4      PORT OF SEATTLE
The south‐adjoining property is occupied by the Port of Seattle’s T115, most of which was created in the
late 1960s and early 1970s by the placement of fill material. By 1970, T115 had been extended as much
as 55 feet onto the easternmost portion of the Property, forming the southern shoreline of Glacier Bay
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(GNW_00045881, at GNW_00045937; Appendix D). As depicted in Table 4 and on Figure 5, approximately
21,321 square feet of the T115 expansion area is situated within the boundaries of the Property. According
to the expert report prepared by Geosyntec on behalf of Glacier (Geosyntec 2017, 42‐43), the chemical
compositions of soil samples collected from the eastern shoreline of the Property are similar to those of
a sample collected from boring TB‐07, which was advanced on the portion of the Property that was
created during the expansion of T115. Based on these similarities, Glacier’s expert concluded that “the
material placed in these areas by [Hanson] and the Port [of Seattle] is attributable to the same source.” If
this assertion by Glacier’s expert report is accurate, then the Port of Seattle would have taken
contaminated material from one area of the Property and redistributed it to another area on the Property,
which is the basis upon which TIG’s assignment of an exacerbation factor to Hanson was made.

There is no evidence that Hanson was involved in the transporting or placing of fill material as part of the
T115 expansion activities. Therefore, if TIG’s algorithm is to be relied upon in assigning liability and if that
algorithm assigns liability to Hanson based on a subjective exacerbation factor, the TIG algorithm must be
modified to include an exacerbation factor for the Port of Seattle. That exacerbation factor would transfer
a portion of the liability assigned to the pre‐1970 owners and operators in Step 6 of TIG’s algorithm to the
Port of Seattle.

4.0      ADJUSTED ASSIGNMENTS OF LIABILITY USING TIG’S ALGORITHM

TIG correctly concluded that the available information does not allow for a determination to be made
regarding the extent to which the redevelopment activities performed at the Property exacerbated
conditions or contributed to past investigation and remediation costs based on the distribution of impacts
or through a review of past costs. In the absence of empirical data that would allow for such a
determination, TIG arbitrarily assigned a 15 percent exacerbation factor to Hanson for the redevelopment
activities performed during Hanson’s period of operations. This resulted in a transfer of liability from the
pre‐1965 operators to Hanson in the TIG algorithm. In my opinion, this estimate significantly overstates
the exacerbating effect that the redevelopment activities performed during Hanson’s period of operations
had on the distribution of impacts, and likely exceeds the collective exacerbating effect of all parties that
performed redevelopment activities.

The operational histories described above demonstrate that several of the parties that operated on the
Property removed and constructed buildings and other features in areas of the Property where
contamination was likely present from previous releases. However, TIG’s expert report ignored the
exacerbating effect that the redevelopment activities of Carlisle, Reichhold, and the Port of Seattle may
have had on the distribution of impacts, choosing only to focus on the effect of the redevelopment
activities performed during Hanson’s tenure. No explanation for this decision was provided by TIG in its
expert report. Clearly, if an exacerbation factor is to be assigned to one party for its redevelopment
activities, commensurate exacerbation factors should be assigned to all parties that engaged in similar
redevelopment activities, not solely to the party against which a proof of claim is being made.

Based on the distribution of impacts at the Property and the general correlation between the distribution
of COPCs and the operational areas of those parties that released them, I conclude that if any exacerbation
factor is to be used, then an exacerbation factor of less than 10 percent more accurately represents the
impact that the collective redevelopment activities had on the distribution of impacts at the Property.

Regardless of the extent to which contamination has been exacerbated by the redevelopment of the
Property, it is inequitable for TIG to assign an exacerbation factor to only Hanson when it is apparent that
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other parties performed similar redevelopment activities in contaminated areas of the Property. It is also
unreasonable for TIG to have excluded portions of the Property from the square footages of pre‐1965
operators, as it is clear that each party utilized most, if not all, of the Property (minus the 15,743 square
feet of land that was created during the 1967–1968 shoreline expansion). In addition, I observed that TIG
incorrectly listed the operational duration of Reichhold and Hanson in their algorithm. To resolve the
inequities in liability assignment that are included in the TIG algorithm, I recreated the algorithm and
performed the following adjustments:
        The operational square footages for Mineralized Cell, the Army, and Reichhold listed in Table 2 of
         the TIG expert report were each adjusted to 582,813 square feet (Table 2), which more accurately
         represents their operational footprints based on my review of historical aerial photographs and
         documents.
        The time‐weighted area scoring in Table 2, of the TIG expert report inaccurately listed the
         operational durations of Reichhold and Hanson as 20 years and 27 years, respectively. I adjusted
         these figures to 16 years and 23 years, respectively.
        To correct the exclusion of several redevelopment activities in Step 6 of the TIG algorithm, I
         conducted a review of historical aerial photographs and documents to develop an estimated total
         square footage that was included in the demolition and/or construction activities carried out at
         the Property by Carlisle, Reichhold, Hanson, and the Port of Seattle. These calculated areas are
         presented in Tables 1 through 4 and depicted in Figures 2 through 5, respectively. Based on the
         total area of redevelopment activities performed at the Property, each party’s relative percentage
         of redevelopment area at the Property was calculated. These percentages were then multiplied
         by several subjectively determined collective exacerbation factors (15 percent, 10 percent, and 5
         percent) to determine each party’s individual exacerbation factor under the three scenarios
         (Table 5).

These adjustments were then applied to the recreated TIG model (Tables 6 through 10) in the following
steps:
        Step 1. The adjusted operational square footages and operational durations were applied when
         calculating new time‐weighted area scores for parties in Table 7, which is analogous to Table 2 of
         the TIG algorithm.
        Step 2. The proportion of COPC shares calculated in Table 7 utilizing the new time‐weighted area
         scores were then carried forward in subsequent calculations made in Tables 8 through 10 using
         the original methodology described in the TIG algorithm. The end result of this process was the
         generation of adjusted liability shares for each of the parties in Table 10, which is analogous to
         Table 5 of the TIG Report.
        Step 3. In this step the parties’ individual exacerbation factors calculated in Table 5 were applied
         sequentially based upon chronologic order of operations starting with Carlisle, and followed by
         Reichhold, Hanson, and the Port of Seattle. This step utilizes the same methodology employed in
         Step 6 of TIG’s algorithm used to transfer assignments of liability from prior operators and owners
         to the exacerbating party, to arrive at the adjusted assignments of liability for each party. The
         notable exception between TIG’s methodology and mine is that I effectively repeated Step 6 of
         TIG’s algorithm four times in a row instead of once to arrive at a final adjustment of liability for
         each party.



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This process was carried out for three different scenarios representing assumed 15 percent, 10 percent,
and 5 percent collective exacerbation share redistributions (Tables 11 through 13, respectively.) The table
below reflects the final adjusted distribution of liability shares for each of the parties assigned liability in
TIG’s expert report, which were calculated using the methodology described above.




                                                                      Adjusted        Adjusted        Adjusted
                                       Liability      Adjusted       Share Using     Share Using     Share Using
                                      Share from      Liability         15%             10%              5%
                                       Step 5 of     Share from       Collective      Collective      Collective
                                          TIG       Step 5 of TIG   Exacerbation    Exacerbation    Exacerbation
                Party                 Algorithm      Algorithm         Factor          Factor          Factor
 Mineralized Cell Wood Treatment
 Company                               39.48%          27.08%          23.23%          24.74%          25.75%
 King County                           4.72%           4.12%           3.53%           3.72%           3.92%
 U.S. Army                             15.50%          28.21%          25.07%          26.10%          27.14%
 Carlisle Lumber Company               0.13%           0.23%           1.18%           0.89%           0.58%
 Reichhold Chemicals, Inc.             27.49%          27.70%          29.15%          28.71%          28.22%
 U.S. Government                       3.52%           4.18%           3.93%           4.01%           4.10%
 Hanson Permanente Cement, Inc.        1.26%           0.99%           5.42%           3.96%           2.48%
 Port of Seattle Terminal T115         0.44%           0.29%           1.27%           0.94%           0.61%
 Glacier Northwest, Inc.               1.39%           1.29%           1.29%           1.29%           1.29%
 Duwamish Shipyard, Inc.               5.88%           5.74%           5.74%           5.74%           5.74%
 Ash Grove Cement, Inc.                0.17%           0.16%           0.16%           0.16%           0.16%
 Lone Star Industries/Lone Star
 Northwest                              0.02%          0.02%           0.02%           0.02%           0.02%
                             TOTAL     100.00%        100.00%         100.00%         100.00%         100.00%


Although the application of a 2.48 percent adjusted individual share of liability assigned to Hanson most
closely replicates the 1.5 percent liability share that I assigned to Hanson in my expert report, the
individual liability shares calculated in each of the three (15 percent, 10 percent and 5 percent) collective
exacerbation columns fail to accurately represent what I consider to be an equitable distribution of liability
because TIG's algorithm omits any consideration of certain key allocation factors.

5.0      EQUITABLE FACTORS IGNORED OR MISAPPLIED BY THE TIG EXPERT REPORT

The following sections clarify why I consider the individual adjusted assignments of liability that result
from the use of TIG’s algorithm to be inequitable.

5.1      LIABILITY FOR THE UNKNOWING PLACEMENT OF CONTAMINATED MATERIAL SHOULD
         PRIMARILY BE ASSIGNED TO THE PARTIES THAT CAUSED THE CONTAMINATION
The fact that the overwhelming majority of contamination encountered at the Property was already in
place prior to the redevelopment activities performed during Hanson’s period of operations is undisputed;
each of the pre‐1965 operators at the Property actively and intentionally discharged hazardous
substances to the Property (GLACIER06561, at GLACIER06648‐52). Although TIG asserted that Hanson
“knowingly” dispersed contaminated materials throughout the Property (GLACIER06561, at
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GLACIER06584‐85; GLACIER06653‐54; TIG 2020, 11‐12), TIG has not produced any evidence of Hanson’s
awareness of the contamination present at the Property and Hanson has denied any such awareness.
Considering that the first environmental investigation that confirmed the presence of contamination at
the Property was conducted in 1985, approximately 12 years after Hanson purchased the Property and
nearly 20 years after it is accused of placing contaminated material along the shoreline (KC2005992, at
KC2006012‐15), Hanson’s claims that it was unaware of contamination at the Property during its
redevelopment activities are credible.

Acknowledging the fact that (1) Hanson did not generate any of the contamination that may have been
exacerbated by the redevelopment activities performed during its period of operations, and (2) there is
no evidence to suggest that Hanson was aware of the presence of contamination in the materials that
were redistributed, it is unreasonable to assign all of the liability for the redistribution of those impacts to
Hanson; most, if not all, of the liability for the unknowing placement of contaminated material should
instead remain with the parties that generated the contamination. This position is supported by previous
allocation decisions by courts, including Ashley II of Charleston, LLC v. PCS Nitrogen, Inc., 791 F. Supp.2d
431 (D.S.C. 2011), aff'd 714 F.3d 161 (4th Cir. 2013). In the Ashley II case, two interim owner/operators
were each alleged to have redistributed existing contamination during site development activities. The
owner/operators were unaware of the presence of the contamination, and the court subsequently ruled
that the liability shares of the two parties were 1 and 3 percent.

Analogous to TIG’s opinion that roughly 90 percent of liability for contamination should be assigned to an
operator, leaving approximately 10 percent of the liability with the owner of a property (TIG 2020, 23 and
Table 4), it is my opinion that only 25 percent of the liability should be assigned to parties such as Hanson
that may have unknowingly redistributed contamination generated by others. The remaining 75 percent
of the liability should be assigned to the parties that caused the contamination to be present in the
redistributed material.

5.2      THE DEGREE OF CARE EXERCISED BY PARTIES IS NOT REFLECTED IN THE TIG ALGORITHM
The degree of care exercised by a party to prevent the release or further spread of a release during its
operations or period of ownership is an equitable factor frequently considered in the allocation process,
but the TIG algorithm does not account for this factor in its calculations of liability. This is best illustrated
by the assignment of liability to Reichhold, which does not exceed 30 percent in any of the three options
presented above. During Reichhold’s operation of the chemical manufacturing plant on the Property,
numerous unpermitted discharges of toxic chemicals occurred, resulting in fish kills and investigations of
Reichhold’s operations by regulatory agencies. (GLACIER24884; GLACIER05927; GLACIER24889, at
GLACIER24889‐90; GLACIER24886, at GLACIER24886‐87; Appendix B) As a manufacturer of toxic
chemicals, Reichhold was undoubtedly aware of the adverse impacts that these releases could have on
human health and the environment, yet it elected to continue to discharge these chemicals to the
Property, even constructing an unlined washwater impoundment area along the shoreline of the Property
that was intended to allow discharged water containing elevated concentrations of PCP, D/Fs, and other
COPCs to infiltrate through the underlying soil and impact groundwater. The egregious nature of
Reichhold’s operational practices warrants them an assignment of liability that is significantly larger than
30 percent. In my opinion, Reichhold’s liability share should be 50 percent.

The group of owners and operators of the charcoal and Whetlerite manufacturing plant (which I
characterized as Carlisle, Crown Zellerbach, and the U.S. Government, and which TIG characterized as the
U.S. Army, King County, Carlisle, and the U.S. Government) also demonstrated total disregard for the

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impact of their operations on the environment. The toxic wastes generated at the plant were intentionally
disposed of in “dumping grounds” on the southern portion of the Property, despite the fact that the
Whetlerite being manufactured and tested at the plant was intended for use in gas masks to prevent
human exposure to the types of toxic chemicals that were being dumped on the Property. My collective
assignment of 28 percent liability to this group reflects the poor degree of care they exercised in the
disposal of wastes; the much lower collective assignment of just 17.17 percent of pre‐exacerbation liability
to this group in Table 5 of TIG’s expert report does not, and in this regard misses the mark.

5.3      GLACIER’S FAILURE TO PERFORM THE INVESTIGATION AND REMEDIATION OF IMPACTS
         WITHIN A REASONABLE TIME PERIOD HAS RESULTED IN INCREASED COSTS AND AN
         EXACERBATION OF CONDITIONS AT THE PROPERTY
Glacier, Reichhold, and the Washington State Department of Ecology (Ecology) entered into an Agreed
Order (AO) to complete the investigation and remediation of the Property in 2009 (GLACIER21570). In an
August 10, 2011, letter to ERM as Glacier’s consultant, Ecology expressed disappointment regarding
Glacier’s failure to incorporate many of the edits that Ecology had required Glacier to make to the
previously submitted Draft Remedial Investigation and Feasibility Study Work Plan (RI/FS Work Plan;
GLACIER03706, at GLACIER03706‐08; Appendix E). In another letter from Ecology to Glacier’s consultant,
dated August 31, 2012, following Glacier’s submittal of a third draft version of the RI/FS Work Plan,
Ecology stated that it “…has determined that Glacier Northwest, Inc. and Reichhold, Inc. … have made
insufficient progress to date toward completion of Task 1 – Preparation of the RI/FS Work Plan.” The
August 2012 letter states that Ecology had notified Glacier in a letter dated April 11, 2012, that “continued
unresponsiveness to Ecology’s concerns might result in Ecology completing and finalizing the Plan” and
that Glacier had been advised in a letter dated June 29, 2012, that insufficient progress had been made
on completing “an approvable draft Plan.” (GLACIER05105, at GLACIER05105‐6; Appendix E) As a result of
these repeated warnings from Ecology coupled with the insufficient progress made by Glacier toward the
completion of a plan that sufficiently addressed Ecology’s concerns, Ecology advised Glacier in the August
2012 letter that it had assumed responsibility for the completion of the Final RI/FS Work Plan, which
Ecology indicated it was requiring Glacier to complete in accordance with the schedule outlined in the AO.
Despite the nearly 8 years that have passed since Ecology required Glacier to implement the scope of
work outlined in the work plan, and the nearly 30 years that have passed since Glacier purchased the
Property, Glacier has still not finalized the remedial investigation or feasibility study of the Property, much
less developed or implemented a final cleanup action plan.

Based on my 22 years of environmental consulting practice in Washington State, I can verify that it is
extremely unusual and rare occurrence for Ecology to decree that it will take over the completion of work
that a potentially responsible party (PRP) agreed to perform. Such a decree by Ecology would only be
issued after a PRP grossly and repeatedly failed to comply with the minimum requirements established
for an environmental response under applicable law. Glacier’s failure to adhere to the scheduling
requirements of the AO and the highly unusual step taken by Ecology to assume responsibility for the
completion of the Final RI/FS Work Plan due to Glacier’s lack of sufficient progress leads me to conclude
that some of the actions performed at the Property are not consistent with the purposes of MTCA to
identify, eliminate, or minimize any threat or potential threat posed by hazardous substances to human
health or the environment and are therefore not remedial actions for which costs are recoverable under
MTCA. Likewise, some of the actions performed at the Property by Glacier and Reichhold are not
consistent with the National Contingency Plan and are therefore not recoverable response costs under
CERCLA. Some of the invoices provided by Glacier clearly relate to other environmental matters, including
the investigation of sediments, which are not appropriate for inclusion in Glacier’s proof of claim; some
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of the invoices incorporate block billing so that no one could determine whether the work being billed
related to the Property or some other project (e.g., the $542,680.93 of CH2MHill block billing); and some
of the invoices relate to Glacier's lack of compliance with the AO, Ecology's requests, or MTCA.

Finally, during the nearly 30 years since Glacier purchased the Property, the contamination has continued
to migrate, resulting in an expansion of the impacts and further increases to the cost of investigation and
remediation. As such, Glacier’s assignment of liability should be increased relative to that assigned to its
operations in the TIG algorithm. In my opinion, as assignment of 3 percent to Glacier for its failure to act
in a responsible and timely manner is warranted.

6.0      SUMMARY AND CONCLUSIONS

In its effort to assign liability for past investigative and remedial costs, TIG utilized an algorithm with
metrics that included analytical results of COPCs, operational sizes, and years of operation associated with
each of the current and former owners and operators of the Property since 1936, when industrial
operations at the Property began. This approach is commonly used in allocation proceedings when, as is
the case here, assignments of liabilities cannot reasonably be made based on the distinguishability of the
various PRPs’ past costs or COPCs. However, in this instance, an objective use of this algorithm appears to
have not achieved the desired outcome, so TIG selectively applied a subjective 15 percent exacerbation
factor to just one of the former owner/operators (Hanson) for allegedly redistributing contamination at
the Property during redevelopment of the Property, which resulted in the transfer of liability to Hanson
from the prior industrial operators that generated the vast majority of contamination at the Property.
After transferring additional liability from several of the past owners and operators that TIG
inappropriately identified as “orphans,” the end result of TIG’s algorithm was an assignment of 37.54
percent liability to Hanson, representing an increase of 36.28 percent relative to the 1.26 percent
assignment that TIG had previously assigned Hanson based solely on its former operations.

In applying an exacerbation factor exclusively to Hanson, TIG ignored the fact that at least three other
past operators of the Property engaged in similar redevelopment activities. The redevelopment activities
of other operators, which included the construction and demolition of buildings, the excavation and
backfilling of drainage ditches and other surface water features, and the placement of fill material along
the shoreline of the Property, were conducted in areas of the Property where contamination is known or
suspected to have been present, and presented the same risk of contaminant redistribution as the actions
taken by Hanson. TIG did not provide an explanation for its selective application of an exacerbation factor
to Hanson or a defensible basis for how it calculated the exacerbation factor in the first place.

Redevelopment activities included the placement of material along the shoreline between 1967 and 1968.
The source of the material and its chemical composition at the time of placement are not documented
and I am not convinced that Hanson, which contracted with other firms to perform the demolition of at
least some of the demolition activities, was aware that contaminated material was present in the material
being placed along the shoreline. Unlike the pre‐1965 operators of the Property, each of which handled
and knowingly disposed of toxic chemicals at the Property in the course of normal operations, Hanson is
unlikely to have employed scientists or others familiar with the COPCs present in the subsurface.

Other than Hanson’s possible contribution to the relatively small amount of petroleum and polycyclic
aromatic hydrocarbon impacts present at the Property, which could potentially be attributable to its
operations on the Property and for which TIG assigned Hanson a 1.26 percent share of liability, I consider
Hanson to have been an unwitting potential participant in the redistribution of contamination at the
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Property. It is my opinion that Hanson does not warrant more than a 25 percent assignment of liability for
any impacts that can reasonably be shown to have resulted from Hanson’s redistribution; the remaining
75 percent of liability for impacts that were generated by others should be assigned to the party or parties
that generated the contamination. Hanson does not warrant any liability assignment for impacts that
cannot be attributed to its operations or for impacts that cannot be reasonably shown to have been
redistributed by Hanson.

It is also my opinion that there is a strong correlation between the distribution of COPCs and the pre‐1965
operational and disposal areas where those COPCs were released or migrated via groundwater flow,
vehicle traffic. Therefore, with the possible exception of the impacts present in unsaturated soil located
within the 1967–1968 shoreline expansion area and saturated soil within this same area that contains
elevated concentrations of hydrophobic compounds such as PCBs, PCP, and D/Fs, which I concluded in my
expert report constituted merely 2.8 percent of the total distribution of impacts at the Property, the
impacts at the Property are not reasonably attributable to Hanson’s redevelopment activities.

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                                              FIGURES




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                             APPENDIX A
          CARLISLE LUMBER COMPANY SUPPORTING INFORMATION




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                             APPENDIX B
           REICHHOLD CHEMICAL, INC. SUPPORTING INFORMATION




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                      APPENDIX C
  HANSON PERMANENTE CEMENT, INC. SUPPORTING INFORMATION




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                                   APPENDIX D
                    PORT OF SEATTLE SUPPORTING INFORMATION




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                             APPENDIX E
            GLACIER NORTHWEST, INC. SUPPORTING INFORMATION




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                                           APPENDIX F
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